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                                          No. 25-1087

                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                         IN RE:

   CENTER FOR BIOLOGICAL DIVERSITY, PEOPLE FOR PROTECTING
    PEACE RIVER, BAYOU CITY WATERKEEPER, HEALTHY GULF,
   MANASOTA-88, PORTNEUF RESOURCE COUNCIL, RISE ST. JAMES
      LOUISIANA, SIERRA CLUB, WATERKEEPER ALLIANCE, and
                    WATERKEEPERS FLORIDA,

                                    Petitioners.


             APPENDIX OF ATTACHMENTS IN SUPPORT OF
                 PETITION FOR WRIT OF MANDAMUS

                                VOLUME 4 of 7



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            Substances and Disease Registry,
            Toxicological Profile for Selenium
            (Sept. 2003)
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            Substances and Disease Registry,
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              Toxicological Profile for Cadmium
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   PROFILE



Simplot family

$11.1B       2024 America's Richest Families Net Worth
             as of 2/8/24




                                                                     Alex Cooper's Predictions For The Media
                                                                     Industry And Creator Ecosystem
     From the Editor


 J.R. Simplot (d. 2008) amassed a fortune in potatoes. He
                                                                      Alex Cooper's Predictions For
 dropped out of 8th grade in Idaho, worked odd jobs and
                                                                      The Media Industry And Creato…
 then bought his own potato farm.                                     WAT C H   1 : 1 2 00:00   /   01:12

 His J.R. Simplot Company created the first commercially
 viable frozen French fries in the 1940s and became the
 exclusive supplier to McDonald's.

 The $9.8 billion (2023 estimated sales) business is still          ALSO ON FORBES

 one of the world's biggest fry producers and has
 expanded into phosphate mining and fertilizers.                    ‘Suits LA’ And ‘Grosse Pointe Garden
                                                                    Society’ Plummet In Week 2 On NBC
 Five Simplot family members are on the privately held
 company's board. J.R.'s son Scott is the chairman and
                                                                    Senate Democrats Tell N.Y. State Bar To
 previously served as chief executive.                              Investigate Trump’s Deputy AG For
                                                                    Dropping Eric Adams Charges

                                             APPX ATT_V4_1540
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                                                                                   Nashville To Broadcast First-Ever Live
                                 Wealth History                                    ‘Songwriters Round’ To Theater
                         HOVER TO REVEAL NET WORTH BY YEAR
                                                                                   Audiences Nationwide




Forbes Lists



#40        America's Richest Families (2024)



Personal Stats



Fortune Founded 1929



Source of Wealth agribusiness



Company Headquarters Boise, Idaho




Related People & Companies


        Liu Hanyuan                                          View Profile
        Related by origin of wealth: agribusiness


        Liu Yonghao & family                                 View Profile
        Related by origin of wealth: agribusiness


        Xue Hua                                              View Profile
        Related by origin of wealth: agribusiness


        Xu Yingzhuo                                          View Profile
        Related by origin of wealth: agribusiness


        Shao Genhuo                                          View Profile
        Related by origin of wealth: agribusiness

                                                    APPX ATT_V4_1541
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                                                                             April 7, 2020




             IN THE UNITED STATES ENVIRONMENTAL
                      PROTECTION AGENCY


  REVISED REQUEST FOR APPROVAL OF ADDITIONAL USES
    OF PHOSPHOGYPSUM PURSUANT TO 40 C.F.R. § 61.206


               Use in Road Construction projects authorized by federal, state and local
                          Departments of Transportation or Public Works


 Submitted by:           The Fertilizer Institute on Behalf of Its Members

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                         The Fertilizer Institute
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                                   APPX ATT_V4_1542
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                                            CONTENTS

 This Petition and supporting risk analysis were developed by reviewing the “Applying to EPA
 for Approval of Other Uses of Phosphogypsum: Preparing and Submitting a Complete Petition
 under 40 CFR 61.206, A Workbook” (EPA PG Workbook) and prior petitions, and through a
 series of working meetings with EPA staff to obtain EPA input and direction on key elements of
 the analysis. Throughout this process, the methodologies and technical issues utilized in the
 technical evaluations were informed by EPA’s feedback.
 This Petition includes the following sections:

                           Section                        Description
                     Preamble               Key Definitions
                     I                      Overview
                     II                     Petition Request and Legal Review
                                            Process
                     III                    Regulatory History and Recent
                                            Developments
                     IV                     Summary of Supporting Scientific
                                            Information
                     V                      Application of Risk Management Factors
                                            to use of PG in road construction

                     Attachment A           Reference Road Construction
                                            Specifications

 This Petition is supported by the following information:

                     Appendix                       Description
                    Appendix 1      Summary of the Risk Assessment and Metals
                                    Screening Report (same as October 2019
                                    Petition submission)
                    Appendix 2      Radiological Risk Assessment in Support of
                                    Petition for Beneficial Use of Phosphogypsum
                                    (same as October 2019 Petition submission)
                    Appendix 3      Human Health Risk Screening for Metals and
                                    Metalloids
                    Appendix 4      4a: Response to EPA Comments on January
                                    16, 2020 and 4b: Responses to Second Set of
                                    USEPA Questions on March 6, 2020 –
                                    Reclaimer
                    Appendix 5      Report on recent measurements of PG
                                    radioactivity level in U.S. stacks
                    Appendix 6      Policy Navigation Group, Economic Analysis
                                    of Phosphogypsum Reuse (December 2019)
                    Appendix 7      Location of PG stacks (mailing address for the
                                    Petitioners is the TFI address on the Petition
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                    Appendix 8   Other documents being submitted for the
                                 administrative record




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                                        DEFINITION OF KEY TERMS
 The basic concepts relevant to this Petition are:

 Dose: Dose measures the amount of radiation absorbed by a person. The terms radiation absorbed dose (rad) and
 gray (Gy) describe measurements of the absorbed dose.

 1 gray (Gy) is equivalent to 100 rad; 1 rad = 0.01 Gy

 Dose equivalent adjusts the absorbed dose to include the relative medical effects of gamma rays, alpha or beta
 particles, x-rays, or neutrons, e.g., the effects of alpha and neutron radiation are more damaging to the human body
 than gamma radiation.

 The dose equivalent is measured in rems (roentgen equivalent man) or 1/1000th of a rem (millirem or mrem). A
 rem for each type of radiation is equal to the absorbed dose (in rads) times a quality factor that reflects the fact that
 some types of radiation cause more damage than others [see “Units of Radiation Dose,” 10 CFR § 20.1004]. The
 scientific community is shifting to use the nomenclature developed for the international system unit, so the term
 sievert (Sv) is often used.

 1 rem = 0.01 sievert (Sv); 1 sievert (Sv) = 100 rem; 1 millisievert (mSv) = 0.1 rem or 100 mrem.
 100 rem is equivalent to 1 Sv or 0.1 rem (or 100 mrem) equals 1 mSv.

 Effective Dose is the tissue (organs) weighted sum of equivalent doses summed over all specified tissues and organs
 where each tissue is assigned its own tissue weighting factor (written as wT). The tissue weighting factor is intended
 to represent the relative contribution of that tissue or organ to the total health detriment resulting from unform
 irradiation of the whole body.

 Government Road Project for purposes of this Petition, means a road construction or repair project that is
 authorized by federal, state or local governments consistent with applicable Federal Highway or state Departments
 of Transportation (DOT) standards and specifications, including public works departments that have adopted the
 state DOT standards and specifications or developed such standards in consultation with state regulatory authorities
 (such as the Federal Highway Administration (FHWA) regulations and guidance, State Department of
 Transportation (DOT), American Association of State Highway (AASHTO), American Society for Testing and
 Materials (ASTM)) or other generally accepted specifications for road building.

 Petition Maximum average radium (226) concentration limit: The Petition requests that EPA approve use of
 PG containing an average radium (226) concentration up to 35 pCi/g in road construction. The 3 in 10,000 risk level
 (EPA’s safe level) corresponds to an average radium (226) concentration of 148 pCi/g. Thus, this proposed limit is
 presumptively safe.

 The requested limit of 35 pCi/g is consistent with the 2019 stack sampling and with prior sampling conducted by
 EPA. Specifically, the broad sampling data demonstrates that PG taken from the stacks is not expected to exceed
 that limit. As background, the risk assessment used 27 pCi/g for its baseline evaluation (this correlates to the
 international standard of 1Bq) and extrapolated to reach conclusions for 35 Ci/g (see Nominal radium 226
 concentration definition below). An average radium (226) concentration of 35 pCi/g for PG used in road
 construction materials accounts for potential variability (~30 percent) observed in past testing and during
 implementation of road construction.

 Nominal radium (226) concentration: The radium (226) concentration level utilized in the underlying Risk
 Assessment filed with the petition (the Petition’s Risk Assessment) is a nominal radium (226) concentration of 27
 pCi /g. This particular nominal concentration was chosen so that the submission contained a calculated risk using
 RME, which corresponds to a “nominal” concentration of radium (226). Since the relationship of radium (226)
 concentration in PG to risk is proportional, the risk from using PG containing any other concentration of radium
 (226) in road construction can be calculated from the nominal concentration.

 Radioactivity is a measure of the amount of gamma rays, alpha or beta particles, x-rays, or neutrons that
 disintegrate from a gram of the substance being measured (in our situation, in each gram of PG). The amount of
 radioactivity in a gram of a substance is measured in curies (Ci) or becquerels (Bq). One curie is 3.7 × 10 10

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                                             APPX ATT_V4_1545
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 radioactive decays per second, roughly the amount of decays that occur in 1 gram of radium per second. A
 Becquerel is one disintegration per second. Historically, scientists originally used units of Ci. The International
 System of Units (ISU) now uses Bq.

 A picocurie (pCi) is one-trillionth of a curie.
 1 Bq = 2.70 x 10-11 curies = 0.027 pCi

 Many substances (often naturally occurring substances) are radioactive. Generally, the sources for this explanation
 include EPA, Radiation Terms and Units, available at https://www.epa.gov/radiation/radiation-terms-and-units;
 NRC, available at https://www.nrc.gov; MIT News, Explained: rad, rem, sieverts, becquerels A guide to
 terminology about radiation exposure, available at http://news.mit.edu/2011/explained-radioactivity-0328; National
 Aeronautics and Space Administration, Radiation Math, available at https://www.nasa.gov.

 Radium (226) concentration level that corresponds to 3 in 10,000 risk management level that EPA has
 designated as safe. The risk assessment performed for the Petition demonstrates that PG containing a radium (226)
 concentration of 148 pCi/g presents a risk of 3 in 10,000 (EPA’s safe level).

 Reasonable Maximum Exposure: An estimate of a conservative exposure case, well above the average case, that
 is still within the range of possible exposures.

 Risk: The regulatory risk assessment process converts a dose equivalent (in mrem) into an upper bound risk (or
 probability) of developing fatal cancers. It is based on a regulatory assumption that the dose equivalent may cause
 harmful effects and as the magnitude of this dose increases or decreases, the risk increases or decreases, in direct
 proportion, respectively, i.e., linearly (e.g., if the dose is halved, the calculated risk is halved). The risk assessment
 performed for this Petition concludes that an effective dose of 600 millirem corresponds to a risk of 3 in 10,000 (i.e.,
 if all of the protective assumptions are valid, 3 in 10,000 people may develop a fatal cancer). The actual risk is
 likely to be lower.




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                                             APPX ATT_V4_1546
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     I.   OVERVIEW

          A.        INTRODUCTION

 Approximately 46 million tons of phosphogypsum (PG) is produced annually in the U.S. as a
 byproduct of the phosphate fertilizer production process. 1 For decades, the majority of PG has
 been placed in large engineered gypstacks, instead of using the material in various applications.

 Internationally, PG is used in road construction, concrete and building material production,
 agriculture, mine restoration, marine applications and for daily landfill cover. Scientific studies
 completed in both the U.S. and internationally support these beneficial uses of PG. The studies
 demonstrate use of PG in numerous applications is protective of human health and the
 environment and, at least as protective of human health as storage of PG in a stack.

 This Petition, submitted by The Fertilizer Institute2 (TFI), requests approval for PG use in
 government road construction projects. The request is submitted pursuant to the United States
 Environmental Protection Agency’s (EPA) rule governing the distribution and use of
 phosphogypsum for purposes other than disposal in a stack. See 40 CFR §61.206. 3 Under this
 provision, a request for a proposed use with supporting information 4 must be submitted to EPA.
 The request is followed by EPA review and a determination allowing or rejecting the proposed
 use. EPA may make a determination granting the request if the proposed use is at least as
 protective of public health, in the short and long term, as disposal in a stack. If EPA makes a
 determination approving the proposed use, specific information in connection with the projects
 conducted must be certified and maintained for five years. For example, each time PG is
 removed from the stack for the approved use, the stack owner/operator must certify the identity
 and location of the user, the quantity of PG provided, a description of the end use, and the
 average radium 226 concentration.

 This Petition should be approved by EPA because:




 1
  Policy Navigation Group, Economic Analysis of Phosphogypsum Reuse, 12 (December 2019) (Prepared for TFI),
 based on weighted average PG production per stack.
 2
   TFI is the leading voice of the fertilizer industry, acting as an advocate for fair regulation and legislation, a
 consistent source for trusted information and data, a networking agent, and an outlet to publicize industry initiatives
 in safety and environmental stewardship. The fertilizer industry contributes $155 billion to the nation’s economy.
 TFI, available at https://www.tfi.org/policy-center/economic-impact. The fertilizer producers, wholesalers and
 retailers, along with the businesses that serve them, support nearly half a million U.S. jobs with total annual
 compensation of $36 billion. Id.
 3
  EPA, National Emission Standards for Hazardous Air Pollutants; Radionuclides, 54 Fed. Reg. 51,654 (December
 15, 1989) (1989 Rule).
 4
   The supporting information includes: petitioner identity, description of the proposed use, street location and
 mailing address of the facility where use, handling or processing of PG occurs, quantity of PG to be used, average
 radium (226) concentration in PG that will be used, measures to prevent PG releases to the environment, risk
 associated with the proposed use, including ultimate disposition, management of unused PG, requestor signature.

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           The risk of radiation exposure from use of PG in road construction is low, well within
            EPA’s 3 in 10,000 lifetime cancer risk determined to be safe and well below natural
            background exposure levels.

           Demand for available, cost-effective road construction materials is high. This is
            particularly true where other materials widely used in road construction, such as coal ash,
            are anticipated to become scarce and more expensive due to new regulatory contraints on
            production and storage.5 Radiation from PG is similar or less than other materials
            currently used in road construction.

           Use of PG in road construction has environmental and societal benefits, reducing the
            amount of material required to be stored in stacks (and potentially eliminating existing
            stacks over the longer term).

           There are other economic and societal benefits (discussed in more detail in Appendix 6).

            B.      BACKGROUND

 PG is a byproduct of the phosphate fertilizer production process. At a typical U.S. facility,
 approximately five tons of PG are generated per ton of phosphoric acid produced. Prior to 1989,
 PG was used in various applications (including, among other uses, in the construction of roads
 and in agriculture).

 NESHAP Regulations Governing PG. Thirty years ago, EPA restricted the use of PG based on
 the estimated risk from exposure to naturally occurring radioactive material (NORM) in the
 material. These restrictions are set forth in the regulations governing the management of PG in
 EPA’s National Emission Standards for Hazardous Air Pollutants (NESHAP), Subpart R of title
 40 of the Code of Federal Regulations. Subpart R requires that, with very limited exceptions for
 agricultural use and indoor research, PG must be placed in engineered above ground
 impoundments (commonly referred to as “gypstacks”). 6

 With respect to the stacking exceptions, Section 61.206(a) allows removal of PG from stacks
 without prior approval7 for: (i) outdoor agricultural use of PG containing an average radium-226
 concentration not exceeding 10 picocuries per gram (pCi/g) (§61.204) and (ii) indoor research
 and development not to exceed 7,000 pounds (§61.205). 8 These uses are self-implementing; no

 5
  Texas Department of Transportation, Technical Advisory, Fly Ash Supply Update (updated 2019), available at
 http://ftp.dot.state.tx.us/pub/txdot/mtd/ta/fly_ash_condensed.pdf. Danny L. Gray, Decrease in Fly Ash Spurring
 Innovation Within Construction Materials Industry, Vol. 35, Issue 6, Special Issue: Annual Outlook Issue (Jan.
 2019), available at https://onlinelibrary.wiley.com/doi/pdf/10.1002/gas.22099.
 6
     40 CFR §§ 61.200 - 201.
 7
   EPA later approved placement of PG as landfill cover in a test cell to determine if PG can be used more broadly as
 a landfill cover. Letter from Jeffrey R. Holmstead, Assistant Administrator of the Office of Air and Radiation, to
 Michael Lloyd, Jr., Research Director Chemical Processing, Re: FIPR Petition (December 22, 2004) (Holmstead
 FIPR Letter).
 8
     40 CFR §§ 61.204 - 61.205.

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 additional authorization is required. However, the stack owner and the user must comply with
 specific reporting and record keeping requirements.9

 Any other uses must first be approved by the EPA Assistant Administrator for Air and Radiation.
 Under Section 61.206(c), the request may be approved if the proposed use is determined to be at
 least as protective of public health, in both the short term and the long term, as disposal of PG in
 a stack.

 Post-NESHAP Developments. Since the NESHAP was promulgated decades ago there have
 been a number of developments in various realms that support broader use of PG.

         New Scientific Information. New data are available on the average level of
          radioactivity in the PG. There is also a better understanding in the scientific community
          concerning radiation protection and management related to PG use. Studies have been
          completed in the U.S. and internationally supporting expanded beneficial use of residual
          material from manufacture of fertilizer; these studies demonstrate protectiveness of
          human health and the environment.

         Risk Assessment and Policy Updates. Risk assessment approaches have progressed
          based on experience, analytical advances, and evolving policies since the 1980s.

          For example, EPA’s prior assessments of the risk from use of PG in road construction
          (e.g., in the 1989 regulations and the EPA 1992 Background Information Document) did
          not evaluate the potential radiation risk from every possible road design. Rather, EPA
          recognized that it is not necessary to calculate every potential exposure. It is appropriate
          and consistent with EPA policy to examine risk by utilizing a “reasonable maximum
          exposure” approach (RME). According to EPA, the RME is ”a conservative exposure
          case, (i.e., well above the average case) that is still within the range of possible
          exposures.”10 EPA guidance states that the assessor may derive a high-end estimate of
          exposure by using maximum or near maximum values for one or more sensitive exposure




 9
  40 CFR §§ 61.206 – 209. Approvals under §61.206(b) require compliance with sampling procedures (§61.207),
 certification requirements (§61.208), and records rquirements (§61.209(c)), unless the Assistant Administrator
 decides to waive or modify the record keeping requirements.
 10
   EPA, Risk Assessment Guidance for Superfund: Volume III - Part A, Process for Conducting
 Probabilistic Risk Assessment, EPA 540-R-02-002, 7-1 (2001), available at
 https://www.epa.gov/sites/production/files/2015-09/documents/rags3adt_complete.pdf. (EPA Risk Assessment
 Guidance for Superfund).

 See also Interstate Technology Regulatory Council (ITRC), Decision Making at Contaminated Sites, Issues and
 Options in Human Health Risk Assessment, 6.1.1 (2015), available at https://www.itrcweb.org/risk-
 3/Default.htm#6.%20Exposure%20Assessment.htm#6.1__Determining_Appropriate_Exposure_Factors%3FTocPat
 h%3D6.%2520Exposure%2520Assessment%7C6.1%2520%2520Determining%2520Appropriate%2520Exposure%
 2520Factors%2520%7C_____0 (ITRC, Decision Making at Contaminated Sites) (citing EPA Guidance, which
 states that “[t]he RME . . . can be defined as ‘the maximum exposure that is reasonably expected to occur within a
 potentially exposed population’”).

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          factors, leaving others at their mean value.11 Therefore, RME is not the worst-case
          exposure and a worst-case exposure analysis was not required by EPA.

          RME provides the exposure used to calculate the maximum individual risk (MIR). As
          long as the risk from RME does not exceed 3 in 10,000, the exposure is “safe” (see
          discussion of EPA’s policy on the safe risk level for PG (Section IV, below)). By
          definition, if the risk from a RME exposure for construction workers, truck drivers, road
          users, and residents is below 3 in 10,000 and, therefore, safe, all other exposures to
          workers, truck drivers, road users, and residents present even less risk (and in many
          cases, the risk is much less than 3 in 10,000).

          Additionally, there has been an increased awareness of product lifecycles and
          sustainability. Accordingly, current EPA policies encourage use and recovery of high-
          volume, low-risk waste. This includes increased emphasis on understanding product
          lifecycles and sustainability.

         Regulatory. It has become apparent that the current requirement to obtain regulatory
          approval for each and every application of a new use is unwieldy and slows the process
          of implementing new uses without providing additional protection of human health (i.e.,
          use of updated scientific and risk assessment assumptions demonstrate that road use is
          safe). As a result, the past interpretations impede innovation and economic efficiencies.
          The fact that no PG use requests have been submitted in almost 30 years (except for a
          landfill cover test cell) illustrates this point.

         Commercial Economics and International Use Precedents. The economics of
          gypstacks have changed. The cost to stack and manage gypstacks has increased
          substantially beyond original expectations. These costs adversely affect the ability of the
          U.S. fertilizer industry to compete internationally, where PG may be used.

          PG is used in many countries outside the U.S. in agriculture, mine restoration, building
          materials, marine applications, daily landfill cover, and for road construction. More than
          a dozen beneficial uses have been analyzed worldwide, resulting in significant, successful
          PG use applications in at least 21 countries. 12

         Public Perception. Perceptions of gypstacks have changed. EPA’s 1989 final rule did
          not anticipate the range of public sentiment regarding the long term presence of
          gypstacks. Public pressure to cease this practice is growing.



 11
   EPA, Exposure Factors Handbook 2011 Edition (Final Report), EPA/600/R-09/052F (2011), available at
 https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=236252 (Exposure Factors Handbook).
 12
    See Presetnation by The Fertilizer Institute, Beneficial Use of Phosphosgypsum (Sept.6, 2018). Also see B. Birky,
 J. Hilton, & AE J. Johnston, Phosphogypsum: Sustainable Management and Use, International Fertilizer
 Association, Chp 5, 52-63 (2016), available at
 https://www.fertilizer.org/ItemDetail?iProductCode=10012Hardcopy&Category=ENV (IFA Sustainable PG
 Management Report). This section reviews international and U.S. roads constructed with PG. Other chapters
 address other uses.

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 Beneficial Use of PG in Government Road Projects. Based on the developments and
 framework described above, TFI submits this Petition seeking approval of PG for use in
 government road projects.13 The scope of this request is described below.

            Description. A paved road consists of a solid surface or top layer that is typically
             asphalt, concrete, or some other material or mixture approved for use as pavement. The
             road base is a supporting layer of material approximately 0.25 m thick beneath the
             surface/pavement and underlying the road base is the sub-grade (as shown in Figure 1).
             The proposal is for approval of use of PG as road base or surface pavement.

            Design. PG may be used as road base or surface pavement when mixed with other
             materials such as soil, sand or aggregate or in the surface pavement. This Petition
             requests approval for use of up to (i) 2.5% PG in surface pavement and (ii) 50% PG in
             road base. This mixture is based on a design of up to equal amounts of PG and soil in
             roadbed.14 Using a ratio of 50% or less PG mix in road base, approximately 4000 tons of
             PG per lane-mile would be used in road base and less than 100 tons per lane-mile would
             be used in concrete pavement (Appendix 4a: Response to EPA Comments on January 16,
             2020).

             These ratios are supported by prior technical evaluations. For example, various ratios of
             PG to soil were studied (from 100% sand to 100% PG) and all mixes had California
             Bearing Ratio values higher than sand or PG separately. Studies of the road containing
             PG in Polk County Florida found similar results (Appendix 4a: Response to EPA
             Comments on January 16, 2020).

            Exposure analysis. The road design features analyzed in the Petition (Appendix 2),15 the
             Metals Screening Report (Appendix 3), and Response to EPA Comments on January 16,
             2020 (Appendix 4a)) were determined to represent RME for all road designs, regardless
             of the size of the road. That is, the radioactivity levels emitted from the road in using
             these design assumptions were RME assumptions and did not exceed 3 in 10,000
             (Appendix 4a). Thus, assuming the RME calculation is appropriate, the radioactivity
             exposure risk associated with all other road designs is less than 3 in 10,000, the EPA
             determined acceptable risk level.

             EPA’s 1992 BID risk assessment approved the use of PG for agricultural soil
             amendments as safe.16 The EPA 1992 BID risk assessment assumed biennial
             applications of PG over 100 years on agricultural soil (with the PG containing a radium

 13
  The Petition for PG use in road construction covers only paved roads that meet the definition of “Government
 Road Project” included in this Petition. Unpaved roads have not been evaluated and are not within the request.
 14
   This is an upper bound because industry practice recommends similar ratios or less and EPA’s 1992 risk
 assessment used 33.3 percent PG to 66.6 percent soil (see Appendix 2).
 15
   EPA, Potential Uses of Phosphogypsum and Associated Risks, Background Information Document, 402 R92 002,
 4 26 4 35 (May 1992), available at https://www.epa.gov/sites/production/files/2015-07/documents/0000055v.pdf
 (EPA 1992 BID).
 16
      Id. at 4-26.

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             (226) concentration of 10 pCi/g) and no cover.17 EPA assumed that approximately 2,700
             pounds of PG per acre is “spread over a field and diluted by mixing with the soil.” 18

             Unlike PG in agricultural use, PG used in road base is mixed with soil (50% PG and 50%
             soil), application is one-time and not repeated, and there is no cumulative concentration
             of radium (226).

             In each case, the risk is based on the exposure assumptions utilized. The radiation dose
             (and, therefore the risk) is a function of the average radium (226) in the road base (or
             cement), not the volume of PG used in a road application.

             Figure 1 provides a conceptual view; municipal roads can vary in width and structure.

            PG Users. This Petition requests approval to use PG in government road construction
             projects. Thus, the authorized users of the PG would include federal, state and local
             Departments of Transportation (DOT) or Public Works (PW), and their contractors. Only
             these governmental agencies are authorized to commission governmental roadways.

            Project Locations. Given transportation costs, government PG road construction projects
             are expected to be located in states that are in sufficient proximity to the PG stacks (i.e.,
             Florida, Georgia, North Carolina, Idaho, Louisiana) to make PG use economically viable.
             Appendix 7 provides the location of the PG stacks associated with TFI member
             operations.

            Project Specifications. TFI reviewed how similar materials used in road construction
             are managed to determine how PG would be handled, transported, stored and used in
             federal, state or local government road projects. PG would not be the first byproduct to
             be used in road construction (see below). Nor would it be the first byproduct for which
             road construction specifications were developed to substitute the use of a byproduct for
             other road building material. Government (particularly State) DOTs have considerable
             experience in this regard.

 While there are distinctions between PG and coal ash, the regulation of coal ash by the states is
 analogous because the materials are excluded from federal regulation under the RCRA Bevill
 amendment (42 U.S.C. § 6921(b)(3)(A), Resource Recovery and Conservation Act §
 3001(b)(3)(A)). Currently, according to EPA:

             [S]tate environmental agencies are primarily responsible for regulating beneficial use [of
             coal ash, because the] use of coal combustion residuals is currently excluded from federal
             regulation under EPA's May 2000 regulatory determination that the Bevill amendment
             applies to such uses. [and] [t]he April 2015 final … [coal combustion] disposal rule
             reaffirm[ed] EPA's Bevill determination.19

 17
      Id.at 4-5 - 4-6.
 18
      Id. at 4-5.
 19
   EPA, Coal Ash Reuse, How is the Beneficial Use of Coal Ash Currently Regulated? (last updated July 15, 2019),
 available at https://www.epa.gov/coalash/coal-ash-reuse. Tecnically, the Bevill amendment applies to the type of
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 Analogously, the use of PG is regulated by the Clean Air Act NESHAP regulatory program
 based on the radioactivity in PG, but otherwise is excluded from federal regulation under the
 RCRA Bevill amendment.

 Government road projects are constructed in accordance with overarching Federal Highway
 Administration (FHWA) regulations and guidance, under the direct supervision of state
 Department of Transportation (DOT) requirements. “Because roadway location and design
 decisions affect the development of adjacent areas, it is important that environmental variables
 be given full consideration.”20 These specifications dictate how various materials may be used,
 based on strength and stiffness considerations, permeability, and stability, among other factors. 21
 The FHWA released guidelines for use of coal fly ash and other materials (e.g., kiln dusts) in
 asphalt concrete, Portland cement concrete, stabilized base, flowable fill, and embankment or
 fill.22

 Specifications are designed using various materials testing methods developed by these
 professional organizations, such as AASHTO and ASTM. Thus, since the RME were selected
 based on the road construction project meeting these design criteria, the risk assessment
 represents RME.
 State Regulatory Programs. In addition to EPA’s NESHAP determination, use of PG in road
 construction will be subject to state regulation and oversight. State regulatory programs
 developed for managing use of industrial by-products will apply as will state specifications for
 road construction.

 For example, the Florida Department of Transportation’s Standard Specifications For Road and
 Bridge Construction state that roads must: (a) “[p]rovide erosion control measures where work
 is accomplished in conjunction with the project, to prevent erosion, pollution of water,
 detrimental effects to public or private property adjacent to the project right-of-way and damage
 to work on the project;” (b) “not drive in, operate, or place construction equipment or materials
 in surface waters, wetlands, groundwater, or property beyond the project limits without permitted



 waste, not just to the use. The quote describes EPA’s application of the Bevill amendment in this particular use.
 From a broader perspective, it highlights the fact that state regulators have jurisdiction over many types of waste.
 20
   Association of State Highway and Transportation Officials (AASHTO), A Policy on Geometric Design of
 Highways and Streets, 7th Ed., 2-95 (2018), available at
 https://store.transportation.org/item/collectiondetail/180?AspxAutoDetectCookieSupport=1 (The Green Book)
 (an online guidance that is over 1,000 pages). AASHTO is a nonprofit, nonpartisan association representing
 highway and transportation departments and a leader in setting technical standards for design, construction of
 highways and bridges, materials, and many other technical areas. Consideration of impacts on the environment are
 explicitly required to be considered. Id. at 1-2.
 21
   See Federal Highway Administration, Tech Brief, Bases and Subbases for Concrete Pavements (revised), FHWA-
 HIF-16-005 (August 2017), available at https://www.fhwa.dot.gov/pavement/concrete/pubs/hif16005.pdf.
 22
   Federal Highway Administration, User Guidelines for Waste and Byproduct Materials in Pavement Construction,
 Coal Fly Ash, FHWA-RD-97-148, available at
 https://www.fhwa.dot.gov/publications/research/infrastructure/pavements/97148/016.cfm.

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 authority for permanent or temporary impacts;” and (c) “not allow water that does not meet state
 water quality standards or does not meet the permitted criteria to exit the project limits.” 23

 There are specifications for and policies encouraging the use of fly ash, slag, and/or other
 recycled material in roadways in Florida, North Carolina, Louisiana, and Idaho, among other
 states.24 In Florida, industrial by-products are defined as:
          Materials that have a demonstrated recycling potential, can be feasibly recycled, and have
          been diverted or removed from the solid waste stream for sale, use, or reuse. The term
          does not include any materials that are defined as recovered materials, a mixed waste
          stream that is processed to removed recyclable materials; or materials the recycling or use
          of which is specifically addressed in [FDEP] rules, such as construction and demolition
          debris, ash residue, waste tires, used oil, and compost. Fla. Admin. Code 62-
          701.200(51).
 Industrial by-products are regulated as solid waste unless otherwise exempted under Fla. Admin
 Code 62-701.200(51).
 Florida is required to:

          Encourage recycling and resource recovery as a source of energy and materials. Fla. Stat.
          §403.704(6);

 23
   Florida Department of Transportation, Standard Specifications For Road and Bridge Construction, 131 (July
 2020), available at https://fdotwww.blob.core.windows.net/sitefinity/docs/default-
 source/programmanagement/implemented/specbooks/jul2020/7-20ebook.pdf?sfvrsn=c1f3424e_4 (Florida Spec
 Book).
 24
   See for example: Florida, Department of Transportation, State Materials Office, Frequently Asked Questions,
 available at https://www.fdot.gov/materials/administration/resources/library/issues-trends/recycling-faqs.shtm.

 North Carolina Department Of Transportation Raleigh, Standard Specifications For Roads and Structures, 10-1
 (slag), 1-43 (recycled) (2018), available at
 https://connect.ncdot.gov/resources/Specifications/StandSpecLibrary/2018%20Standard%20Specifications%20for%
 20Roads%20and%20Structures.pdf (North Carolina Spec Book).

 Louisiana Department of Transportation & Development, Louisiana Standard Specifications For Roads And
 Bridges, 152, 200, 392, 965 (2016), available at
 http://wwwsp.dotd.la.gov/Inside_LaDOTD/Divisions/Engineering/Standard_Specifications/Standard%20Specificati
 ons/2016%20Standard%20Specifications%20for%20Roads%20and%20Bridges%20Manual/00%20-%202016%20-
 %20Standard%20Specification%20(complete%20manual).pdf.

 Idaho Transportation Department, 2018 Standard Specifications for Highway Construction (2018), available at
 https://apps.itd.idaho.gov/apps/manuals/SpecBook/SpecBook18.pdf.

 This wide spread development by the states of specifications for the use of various recycled material is strongly
 encouraged by the federal government. Federal Highway Administration, Recycled Roadways, FHWA-HRT-05-
 003 (Jan/Feb 2005), available at https://www.fhwa.dot.gov/publications/publicroads/05jan/02.cfm.

 Similarly, see AASHTO, Center for Environmental Excellence, The Growing Need for and Importance of Waste
 Minimization and Recycling, subchp. 3.12.1, (last updated 2005), available at
 https://environment.transportation.org/environmental_issues/construct_maint_prac/compendium/manual/3_12.aspx.



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             Provide technical assistance to counties, municipalities, and other persons, and cooperate
             with appropriate federal agencies or private organizations in carrying out this Act. Fla.
             Stat. §403.704(2); and

             Assist in and encourage, as much as possible, the development within the state of
             industries and commercial enterprises which are based on resource recovery, recycling,
             and reuse of solid waste. Fla. Stat. §403.704(7). 25

 Further, the Florida DOT is required to encourage the use of products and materials with
 recycled content in its road construction programs and to continually update its bid procedures
 and specifications to encourage the use of such products and materials, see Fla. Stat.
 §336.044(4). Therefore, once EPA authorizes use of PG in road construction, the Florida DOT
 will have a clear path under Florida law to consider whether its existing road specifications are
 adequate or if any modifications are warranted.

 Similarly, North Carolina has design specification guidance. 26 Notably, North Carolina includes
 a policy “to aid in reduction of materials that become a part of our solid waste stream.” 27

 In Idaho, using fly ash as an example, materials may be used only if provided by manufacturers
 approved by the state’s Quality Assurance Program (QAP). Manufacturers not approved under
 the certification program require pre-approval before use. 28 The QAP mandates sampling be
 conducted by accredited labs, among other requirements. Idaho has recently passed a law that
 requires the development of a regulatory program for PG use. 29

 Louisiana’s Solid Waste Management and Resource Recovery Law directs maximum practicable
 use of resource recovery procedures. 30 The Louisiana Solid Waste Regulations include Section
 1105: Beneficial Use of Other Solid Wastes which allows owners of waste streams to request
 that the waste be designated for an approved beneficial use. The application process specifies
 much of the same information required under the NESHAP regulation 40 CFR 61.206(b), and
 indicates that, at least in Louisiana, prior to any use of PG in road construction, the state may be
 required to make a determination similar to EPA, including approval of a handling and storage
 plan. 31



 25
      Fla. Stat. § 403.704.
 26
      North Carolina Spec Book, supra note 24.
 27
      Id. at 1-43, Section 104-13.
 28
   Idaho Transportation Department, Quality Assurance Manual, §230.02.02 (2019), available at
 https://apps.itd.idaho.gov/Apps/manuals/ManualsOnline.html.
 29
   H.B. 367, 65th Leg., 2d Reg. Sess. (Idaho 2020) (signed by Gov. on Mar. 9, 2020, Sess. Law Chp. 51, eff. Jul. 1,
 2020).
 30
      Louisiana Solid Waste Management and Resource Recovery Law, La. Rev. Stat. § 30:2154(1).
 31
      La. Admin. Code 33:VII:1:1105.
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 The existence of these stringent state regulatory programs coupled with the need for a specific
 DOT specification for PG use in roadbuilding provide additional assurances that EPA’s approval
 of PG use in road construction will ensure responsible handling and management of PG in road
 construction. Therefore, once EPA authorizes use of PG in road construction, the states will be
 able to make informed choices as to the most appropriate and cost-effective road construction
 material, while still ensuring the protection of the environment.

 Public Health and Environmental Evaluation. The Petition is accompanied by a Radiological
 Risk Assessment (Appendix 2) and a Human Health Risk Screening for Metals and Metalloids
 (Appendix 3). The scope and approach to these analyses were developed based on the EPA PG
 Workbook, prior petitions, and a series of working meetings with EPA staff that provided the
 benefit of EPA input and direction on key elements of the analysis.

 To assist in this evaluation, TFI members measured the radioactivity level in the PG from
 stacks.32 Results reflect that average radiation levels from the composite samples taken from
 stacks do not exceed: (a) the nominal radium (226) concentration used in the risk analysis (i.e.,
 27 pCi/g) and (b) more importantly, the 148 pCi/g radium (226) concentration corresponds to the
 3 in 10,000 risk management level that EPA has designated as safe (see Sections II(B), III(G), V,
 V(D)(3,4), below).

 Key points of the Radiological Risk Assessment are provided in Attachment B. In summary, this
 assessment demonstrates that PG can be used safely for road construction for the following
 reasons:

 Use of Reasonable Maximum Exposures (RME) Ensures Risk is Less than 3 in 10,000

 All RMEs resulting from use of PG in road construction correspond to a risk of less than the 3 in
 10,000 lifetime cancer risk (the risk level that EPA has determined to be safe for alternative PG
 uses and well below natural background exposure (see Summary Table 1, below, and the
 Petition’s Risk Assessment summarizing the risks from each of the five exposure scenarios
 calculated for this Petition)). EPA staff clarified interest in more risk distribution information on
 how the risk varied with the “variation of the geometry of exposure” and with different exposure
 time frames (Appendix 4a: Response to EPA comments on January 16, 2020). The risk
 distribution is similar in each scenario with the the highest risk associated with the RME
 exposure scenario. Most actual exposures are less than those received by the RME and hence the
 associated risk would also be lower (Appendix 4a: Response to the EPA Question on January 16,
 2020). For example, the risk is lower for workers who are not exposed for the same duration or
 as directly as the RME scenarios. The analysis also shows that the risks for the residential RME
 scenario are much lower than for the construction worker, truck driver, and road user. In each
 case, most of the exposed population have a dose that is lower than the RME dose (see Appendix
 4a: Response to EPA Comments on January 16, 2020).




 32
   A summary of this data was provided to EPA to support this Petition in a separate report, along with the location
 and address of each facility (Appendix 5).
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 Table 1: Dose, Risk, and Background Summary for All RME Scenarios
                                                                                                                  Background Dose
                                                                                                                   from Exposure Exposure Dose
                                                                 Exposure Exposure Dose            Estimated          Duration       Percentage of
 Receptor                         CSM                         Duration (years) (mrem)             Cancer Risk         (mrem)      Background Dose (%)
 Reasonable Maximum Exposure Scenarios
 Road Construction Worker       PG in Road Base                   5               110           0.5 in 10,000          1550               7%
 Road User (Motorist/Bicyclist) PG in Road Base & Surface         26               28           0.1 in 10,000          8060              0.3%
                                PG-containing material for
 Truck Driver                                                     5                93           0.5 in 10,000          1550               6%
                                Road Base
 Nearby Resident                PG in Road Base & Surface         26               16           0.08 in 10,000         8060              0.2%
 Utility Worker                 PG in Road Base                   1               0.8           0.004 in 10,000         310              0.3%
                                            EPA Cancer Risk Management Goal       600           3 in 10,000             600
                                                                         Estimated cancer risk below this goal.

           The highest risk in the Petition’s Risk Assessment was for the RME construction worker
            scenario --- 0.5 in 10,000 and the RME worker dose is 7% of the background dose for a
            worker at a road construction site not using PG (see Table 1, above, summarizing the
            risks from all exposure scenarios).

           The Response to the EPA Comments on January 16, 2020 expanded on the Risk
            Assessment by evaluating the uncertainty in each of these exposure scenarios and finding
            no significant increase even using the assumptions postulated in the EPA comments. In
            any case, the postulated assumptions were in excess of the RME and did not warrant a
            change in the risks in the Petition’s Risk Assessment.

 Risk Distribution Issues

 Most of the exposed populations have a dose that is lower than the dose of the RME individual.
 For example, most road construction workers are exposed to a dose of less than 110 mrem, thus
 the risk is lower than 0.5 in 10,000 (still assuming that the radium (226) concentration is 27
 pCi/g).

 Residents directly adjacent to the road (the RME individual) are calculated to have a risk of 0.08
 in 10,000, which is much lower than the RME construction worker. Additionally, the dose (16
 mrem) is only 0.2% of the background radiation dose of the resident adjacent to a road not using
 PG. Thus, the incremental risk above background from a road containing PG is very low. Dose
 (and, therefore, risk) decreases substantially as distance from the edge of the PG road increases
 (see Figure 2 below). As a result, residents whose houses are not adjacent to the PG road have
 essentially no incremental dose and risk.




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                     Figure 2: Incremental External Gamma Dose with Distance Compared to
                                            Terrestrial Background


                         45
                         40                                                        Range of US
                         35                                                        Background
                         30
               mrem/yr




                         25
                                                                                   Increment
                         20                                                        Beside Florida
                         15                                                        Road
                         10
                                                                                   Florida
                         5
                                                                                   Background
                         0
                              0      50           100          150          200
                                  Distance from Nearest Road Edge (ft)

                 (From Response to EPA Questions on January 16, 2020)
          N.B.: All natural background (as used in Table 1 is higher than the Terresterial
          background utilized in this Figure).

     Uncertainties in RME Selection, Design and Average Radium (226) Concentrations

     The Petitioner’s Risk Assessment and the Arcadis Response to EPA Comments on January
     16, 2020 (Appendix 4a) compile and discuss in more detail the potential uncertainties in the
     risk assessment and the justification for the RMEs. For example, the design criteria used in
     the risk assessment were set at RME. The process of selecting the RMEs for this Petition
     was performed after evaluation of the road construction process and extensive pre-petition
     dialogue with EPA staff.

          For example, TFI’s consultant intentionally chose (and EPA staff tentatively accepted) a
          deterministic approach. A full probabilistic approach is resource intensive, but in this
          situation use of a reasonable maximum exposure (RME) and an explanation of the risk
          distribution achieves the same goal as a probabilistic approach (see Appendix 4a:
          Response to EPA Comments on January 16, 2020). The RME is one point on a
          probabilistic distribution (see conceptual figure provided below, Figure 3, which uses 90 th
          percentile to illustrate the concept). EPA guidance does not dictate a particular percentile
          as an RME, e.g., the RME for the duration of living at home is 90 th percentile, but some
          EPA risk assessments utilize lower percentiles depending upon the facts.




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              Figure 3: Conceptual Illustration of Probabilistic and Deterministic Frameworks




            (This conceptual figure uses a 95th percentile to illustrate a high end exposure. But as
            noted in EPA guidance the assessor may derive a high-end estimate of exposure by using
            maximum or near maximum values for one or more sensitive exposure factors, leaving
            others at their mean value.)33

            The Response to EPA Comments on January 16, 2020 34 describes in more detail the
            substantive rationale for the RME selections and the impact of variations in design
            factors.

            For example, the Petitioner’s Risk Assessment used a distance of 50 ft between roads and
            homes.35 According to the Federal Highway Administration, the “new Interstate road
            needs a right-of-way width of 150 to 300 feet or more; a generation ago, roadbuilders
            could get by with 50 or 75 feet.”36 The larger the right of way, the lower the radiation
            level to residents.

            Also, the Petition’s Risk Assessment calculated the risk based on a road bed containing
            50% PG and 50% soil. A 50:50 mixture of PG and local construction materials:

                    “[I]s likely to be an overestimate of the actual mix. The EPA for example in their
                    1992 BID used a 1:2 mix of PG:sand. This is also the ratio in the Polk and Columbia
                    county roads constructed by FIPR with input on the design and testing of the roads
                    from the University of Miami and the Bureau of Materials & Research, the Florida
                    Department of Transportation. This ratio is less than the ratio of two parts PG to one
                    part soil utilized in EPA’s 1992 BID risk assessment.” 37

 33
      Exposure Factors Handbook, supra note 11.
 34
   Appendix 2 to this Petition is the same as the Petition’s Risk Assessment (Petition’s Risk Assessment). Appendix
 4a addresses questions EPA raised concerning the original risk assessment (Response to EPA Comments on January
 16, 2020).
 35
      Petition’s Risk Assessment at 3-2.
 36
   Federal Highway Administration, Highway History, The Size of the Job, available at
 https://www.fhwa.dot.gov/infrastructure/50size.cfm.
 37
   Petition’s Risk Assessment, supra note 34, at 2-5 n. 9 and Response to EPA Comments on January 16, 2020,
 supra note 34, see answer to EPA question 5.
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 Thus, EPA and other precedent accepts a 50-50 ratio as a RME. If the specific design for a
 particular road contains less than 50% PG then the risk is lower than the risk from RME.

 Similarly, the concentration of radionuclides in concrete paving was assumed to be 2.25% PG,
 based on PG 15% by weight in cement and cement 15% by weight in concrete which is the same
 assumption utilized in the EPA 1992 BID risk assessment. 38 As a practical matter, the literature
 on the use of normal “gypsum” supports an upper limit of 15%. 39 If less than 15% PG is used,
 the average PG in the cement is less than 2.25% PG in surface pavement and the risk is lower
 than calculated in the Risk Assessment. Consistent with EPA policy, 50% PG for road base and
 2.25% for surface pavement are appropriate RMEs. Also evaluated are the inevitable relatively
 slight variations in the risk potentially due to slight variations in the implementation of a 1 to 1
 ratio of PG to soil in the road bed design standard (e.g., if the ratio 1.2 to 0.8 instead of 1 to 1)
 and the 2.25% PG in road surface design standard (e.g., if percentage of PG in the road surface is
 2.7% instead of 2.25%). These variations in the input into the Risk Assessment do not
 significantly increase the risk. As noted above, various ratios of PG to soil were studied (from
 100% sand to 100% PG) and all mixes had California Bearing Ratio values higher than sand or
 PG separately. See generally Appendix 4a.

 As demonstrated in Appendix 4a, most of the other design features do not increase the level of
 radioactive emissions from the road. For example, the dose to a local resident adjacent to the
 road does not increase if the road has eight lanes or two lanes.

 The data on the concentration of Radium-226 in the stacks (see summary above and more
 detailed discussions below in this Petition and in Appendix 5) are all well below the nominal
 concentration used in the risk assessment, therefore, the actual risk from PG use is likely to be
 well below the risk calculated in the Petition’s Risk Assessment.


 38
      Petition’s Risk Assessment, supra note 34, at 2-5.
 39
   Since PG cannot be used in road construction in the U.S., the literature on PG is limited. However, the literature
 on the percentage of gypsum used in cement suggests that 15% is a reasonable number. For example, the “optimum
 addition of gypsum for Atbara clinker would be in the range of 3% to 5%.” Amin Abdelrahman & Mohamad H.
 Aboud, Determination of Optimum Quantity of Raw Gypsum Addition for Atbara Cement Clinker, Khartoum
 University, 5, available at http://www.jeaconf.org/UploadedFiles/Document/82d8a051-43ad-44fa-ab1d-
 1ac182000608.pdf.

 Similarly, the gypsum content of 5% in the composition of cement is referenced. Available at
 https://www.engr.psu.edu/ce/courses/ce584/concrete/library/construction/curing/composition%20of%20cement.htm.

 Further, another article cites the use of 3% to 5% gypsum in cement. Karen L. Scrivener, Vanderley M. John, &
 Ellis M. Gartner, Eco-efficient cements: Potential economically viable solutions for a low-CO2 cement-based
 materials industry, Cement and Concrete Research. Vol. 114, 2-26 (Dec. 2018), available at
 https://www.sciencedirect.com/science/article/pii/S0008884618301480?via%3Dihub.

 There is a significant reduction in the split tensile strength at 15% phosphogypsum content. Thus the optimum
 amount of phosphogypsum in concrete is found to be 10%. Kuriakose Reju & P.K. Shaji, Effect Of Calcined
 Phosphogypsum In Portland Pozzolana Cement Concrete, International Research Journal of Engineering and
 Technology (IRJET) Vol. 05, Issue: 04, 2008 (Apr. 2018), available at
 https://pdfs.semanticscholar.org/d7cc/03c3de65ca412971fff244b37098d479d4ab.pdf.

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 All of the risk values in Table 1, above, are based on the RME assumptions and the assumption
 that the average radium (226) concentration in this PG is 27 pCi/g. The use of a radium (226)
 concentration of 27 pCi/g was chosen so that the submission contained a calculated risk which
 corresponds to a “nominal” concentration of radium (226).40 Since the relationship of radium
 (226) concentration in PG to risk is proportional, the risk from using PG containing any other
 concentration of radium (226) in road construction can be calculated from the nominal
 concentration. Thus, a concentration of radium (226) in PG of 35 pCi/g (the radium (226)
 concentration proposed in the Second Revised Petition as the radium (226) concentration limit
 on PG used in road construction) can easily be calculated to be 0.65 in 10,000 (well below the
 risk management level used in the PG use guidance of 3 in 10,000). Conversely, the risk of 3 in
 10,000 (EPA’s safe risk level) corresponds to a radium (226) concentration in the order of 148
 pCi/g (see this section and Sections III(G), V, V(D)(3,4), below). The discussion of the rationale
 for selecting a radium (226) concentration limit of 35 pCi/g is explained below

 The use of 27 pCi/g is a reasonable value for the “nominal” radium (226) concentration given
 historic sampling of U.S. PG stacks and the average radium (226) concentrations utilized in the
 1992 EPA BID risk assessment. However, TFI members sampled nine stacks located in four
 states in 2019. 41 The average radium (226) concentration of all 90 samples was 18.6 pCi/g with
 individual samples ranging from 6.3 pCi/g to 27.9 pCi/g. 42 The average concentration of radium
 (226) per PG stack ranged from 7.44 to 24.7 pCi/g (which is relevant because the PG for road
 construction use is likely to be from an individual stack). Within each stack sampled, the ratio of
 the highest to lowest measured concentration ranged from 1.2 to 3.7 pCi/g. These recent data
 found average stack radium (226) concentrations are well below the nominal concentration of 27
 pCi/g used in the Petition’s Risk Assessment, the 35 pCi/g concentration limit proposed in the
 Petition as the limit in the PG used in road construction, and significantly below the 148 pC/g
 corresponding to the 3 in 10,000 safe risk level.

 If the average concentration of radium (226) per PG stack measured by TFI members (i.e., 4.77
 to 24.7 pCi/g) is utilized in the risk assessment, the RME construction worker’s risk from the PG
 used in road construction work ranges from about 0.09 in 10,000 to 0.5 in 10,000. Similarly, the
 risk to nearby residents directly adjacent to the road (the RME individual) is approximately 0.01
 in 10,000 (1.4 in one million) to 0.7 in 10,000.

 Given the range of individual concentrations in the historic and recent sampling of PG stacks and
 the variation within the stacks between the highest and lowest radium (226) concentration, it is
 exceedingly unlikely that the average concentration of radium (226) in any stack would be close
 to 148 pC/g. Thus, variations in radium (226) will not significantly increase the risk and, in any
 case, the PG limit is 35 pCi/g, well below the 3 in 10,000 safe risk level. Thus, EPA could
 approve use of PG from stacks without any sampling.


 40
   An average of 35 pCi/g also represents the highest average level identified in prior testing by EPA. To account for
 some potential variability (~30 percent) that has been observed in past testing, the relief sought in this petition seeks
 approval to use PG containing radioactivity levels of up to an average of 35 pCi/g in road construction materials.
 41
   TFI, Supplement to the October 11, 2019 TFI Phosphogypsum Reuse Petition: 2019 Radium-226 Results for U.S.
 Phosphogympsum Stacks,1 (December 5, 2019) (TFI 2019 Sampling). Further discussion of this new data is
 provided below.
 42
      Id. at 1.
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 The proposal in the 2019 Petition and this Second Revised Petition proposes annual sampling to
 provide continuing documentation that each shipment does not contain PG with an average
 radium (226) concentration above 35 pCi/g. The reasons for this suggested limit are as follows.
 First, a radium (226) concentration of 35 pCi/g is well below the radium (226) concentration of
 148 pCi/g that corresponds to the 3 in 10,000 risk level (EPA’s “safe” level). Thus, a maxium
 average concentration of radium (226) of 35 pCi/g is “safe.” Second, TFI recognizes that EPA
 historically has utilized this regulatory approach so the likelihood of approval of the Revised
 Petition will be enhanced if the approval uses a maximum radium (226) concentration. Third,
 the requested limit of an average radium (226) of 35 pCi/g represents the highest average level
 identified in prior testing by EPA. Thus, this approach will make implementation more efficient.
 Fourth, an average radium (226) concentration of 35 pCi/g for PG used in road construction
 materials will account for some potential variability (~30 percent) that has been observed in past
 testing and during implementation of road construction. Finally, as more data is gathered over
 time during the implementation of this new use, TFI reserves to right to request EPA modify its
 approval to include a more efficient implementation approach.

 The Response to the EPA Comments on January 16, 2020 performed a series of additional
 evaluations of the impact from the uncertainty in each of the exposure scenarios and found no
 significant increase in total risk, even when using the assumptions postulated in the EPA
 comments. In any case, the postulated assumptions are all less conservative than the RME
 scenario and did not warrant a change in the risks in the Petition’s Risk Assessment.

 Thus, consistent with the regulations governing EPA’s approval of PG uses, the use of PG in
 road construction is safe and at least as protective as placement of phosphogypsum in a stack.

  Table 2, below provides a summary of comments on risk distributions by exposure pathway.
  The table explains the limited applicability of the RME scenario and the potential for lower
  exposures and doses to occur for a broader population (taken from the Response to EPA
  Comments on January 16, 2020).

          TABLE 2: SUMMARY OF RISK DISTRIBUTION FROM USE OF PG IN ROAD
                                 CONSTRUCTION
 Exposure              RME (small number of people)            Potential Lower Exposures and Risk Distribution
 Scenarios
 Road               Risk: 0.5 in 10,000                     Much less than 0.5 in 10,000
 Construction       Few if any workers would fit the        Most workers are expected to spend less than 100% of
 Worker             RME assumption of 100% of               the workday on the uncovered road base.
                    workdays on the uncovered road base.
                                                            Dose and risk reduce linearly with reduced exposure
                    The RME worker is exposed to less       time. Time on a covered road base was shown in the
                    than 7% of background levels (for all   Risk Assessment to be a factor of 5 lower.
                    members of the public).
                                                            The dose would range down to essentially zero for
                                                            management and supervision who would spend very
                                                            limited time on the road and out of vehicles.
                                                            The number of workers in a road crew is estimated to be
                                                            as small as 6 – 8 workers, which limits the risk
                                                            distribution to a small group.
 Road User          Risk: 0.1 in 10,000                     Well below 0.1 in 10,000


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           TABLE 2: SUMMARY OF RISK DISTRIBUTION FROM USE OF PG IN ROAD
                                  CONSTRUCTION
                    This RME is assumed to be a heavy         Most road users will be on the road for much less than
                    user of the road spending 2 hours         two hours per day.
                    daily on the road. This scenario is
                                                              Dose and risk reduce linearly with reduced exposure
                    unlikely to occur until far into the
                                                              time.
                    future if PG roads become widely
                    available. Until then it is unlikely a    Initially when PG use in roads is newly implemented the
                    commuter would be able to spend this      availability of PG roads will be low reducing the
                    amount of time on a PG road.              opportunity to have substantive usage time.
                    In the extreme case, the RME road         As the total amount of PG roads increase the risk
                    user is exposed to less than 0.3% of      distribution would increase with additional road users
                    background.                               and cumulative usage time.
                                                              The overall risk to an individual however, is not
                                                              expected to exceed the RME estimates. Most road users
                                                              would still have limited time on PG roads and this
                                                              results in a proportionally limited dose and risk.
                                                              The overall number of road users is difficult to specify
                                                              as it depends on several factors including the road type
                                                              and location relative to populated areas. However, the
                                                              dose to road users would remain a small fraction of that
                                                              from unavoidable background radiation.
 Truck Driver       Risk: 0.5 in 10,000                       A truck driver that has less than an RME exposure has
                                                              lower risk than 0.5 in 10,000.
                    The Truck Driver RME is limited to
                    workers who participate in PG road        There are a limited number of truck drivers involved in a
                    construction projects.                    road construction project. In addition, truck drivers will
                                                              support numerous construction projects during the
                    The assumptions for this scenario are
                                                              course of a year and many not involving use of PG. This
                    set to estimate the upper end of likely
                                                              limits the risk distribution for this exposure pathway to a
                    dose and risk for this work.
                                                              relatively small number of people.
                    The RME Truck Driver is exposed to
                                                              In many cases, Truck Drivers will not work on PG road
                    less than 6% of background levels.
                                                              construction as much as assumed for the RME, resulting
                                                              in a lower dose and risk.
 Nearby             Risk: 0.08 in 10,000                      Most residents near a PG road would be exposed to
 Resident                                                     much lower doses and risk, well below 0.08 in 10,000.
                    The Nearby Resident RME is based
                    on extreme assumptions that are           Radiation levels from a PG road decrease rapidly with
                    unlikely to apply to all residents of a   distance from the road and become indistinguishable
                    PG road. The assumptions include          from background at 50’ to 100’.
                    close exposure to the road and long
                                                              As a result, most residents immediately beside a PG road
                    durations of residency throughout the
                                                              would be exposed to much less than the RME risk level,
                    exposure period.
                                                              and residents beyond the immediately adjacent
                    Based on these assumptions the            properties would experience essentially zero incremental
                    Nearby Resident RME is exposed to         risk.
                    0.2% of background levels.
                                                              The overall risk distribution would depend on the overall
                                                              length of the PG road and population density along the
                                                              road but is limited to only those locations immediately
                                                              beside the PG road.
 Utility            Risk: 0.004 in 10,000                     Most Utility Workers would be exposed to risk much
 Worker                                                       less than 0.004 in 10,000.
                    The Utility Worker RME scenario
                    represents an extreme case where a        Most utility repair requirements would involve exposure
                    worker needs to disrupt the road for      scenarios below those assumed for the RME conditions,

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            TABLE 2: SUMMARY OF RISK DISTRIBUTION FROM USE OF PG IN ROAD
                                   CONSTRUCTION
                    road or utility maintenance.              due to smaller trenches and exposure areas, or shorter
                                                              durations.
                    The assumptions use worst case
                    conditions to estimate the risks and      The number of individuals entering a trench in a PG
                    are limited to workers in a trench in a   road is also limited based on the uniqueness of the work
                    PG road and meeting the other             and the limited space.
                    exposure assumptions.
                                                              As a result, the risk distribution for the Utility Worker is
                    The RME Utility Worker is exposed         limited to a small number of individuals.
                    to approximately 0.3% of background
                    levels.
 Reclaimer          Reclaimer is an extreme scenario well     The Reclaimer scenario represents an extreme situation
 Extreme            beyond an RME assumption and              that is unlikely to even occur as described (Appendix 4b:
 Scenario           therefore, is not appropriate to          Responses to Second Set of USEPA Questions -
                    determine whether the use of PG is        Reclaimer). As a result, the risk distribution is
                    safe.                                     effectively zero.
                    This example for ultimate disposal        More realistic situations for the ultimate disposal of the
                    was selected due to the use by EPA in     road include continued use of the road as a road, or reuse
                    1992.                                     of the PG road base for a new road, if the road was to be
                                                              relocated or realigned.
                    Risk: 0.4 in 10,000
                                                              In the extreme case where a road is abandoned and then
                    The Reclaimer would be exposed to
                                                              the land is reused for other purposes, the land
                    approximately 1% of background
                                                              preparation activities will realistically result in blending
                    levels.
                                                              and mixing of the road base to levels that are
                    (total exposure of 78 mrem compared       indistinguishable from background levels.
                    to a Background of 8,060 mrem over
                                                              Overall, the risk distribution would be effectively zero.
                    26 years)


 In summary, the risk distribution from road construction is negligible, beyond the individuals
 who are on or immediately beside the road, as assessed in the Risk Assessment document. Thus,
 consistent with the regulations governing EPA’s approval of beneficial uses, the use of PG in
 road construction is safe and at least as protective as placement of phosphogypsum in a stack. 43


      II.   PETITION REQUEST AND LEGAL REVIEW PROCESS

             A.     Specific Relief Sought

 This Petition requests the following:

 43
   EPA’s “assessment of the maximum individual lifetime risk of fatal cancer from radon emissions from stacks”
 was “less than three in ten thousand (3 x 10-4) to the maximally exposed individual.” EPA, Applying to EPA for
 Approval of Other Uses of Phosphogypsum: Preparing and Submitting a Complete Petition Under 40 CFR 61.206:
 A Workbook, 5 (2005), available at https://www.epa.gov/sites/production/files/2015-05/documents/wrkbk_sub-
 r_appl_1105.pdf (EPA PG Workbook).

 Therefore, “the risk assessment must demonstrate that the proposed other use will not cause a threat to the public or
 environment greater than if the phosphogypsum were left in the stack. This means that the risk assessment must
 show that the chance of developing a fatal cancer in people who are exposed to phosphogypsum as a result of the
 use for which you are applying must not be more than three in ten thousand (3 x10 -4).” Id. at 13.

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          A determination by EPA, pursuant to 40 CFR § 61.206, that PG containing up to an
          average of 35 pCi/g may be used in road base, paving, and various combinations of road
          base and paving in Government Roadway Projects that meet the commitments of this
          petition and are:

                    1.     Authorized by federal, state and local Departments of Transportation
                           (DOT) or Public Works (PW), and

                    2.     Conducted as part of a government road project using appropriate,
                           generally accepted road construction standards and specifications such as
                           ASTM, FHWA, federal or state DOT standards and specifications, or
                           standards developed or approved in consultation with the appropriate
                           regulatory DOT or PW authorities.44

          B.        Legal Review Process

                    1.     Components of Petition

        40 CFR § 61.206(b) provides the Petition must be in writing and should address the
 following topics:

                   The name and address of the person(s) making the request.

                   A description of the proposed use, including any handling and processing that the
                    phosphogypsum will undergo.

                   The location of each facility, including suite and/or building number, street, city,
                    county, state, and zip code, where any use, handling, or processing of the
                    phosphogypsum will take place.

                   The mailing address of each facility where any use, handling, or processing of the
                    phosphogypsum will take place, if different from paragraph (b) (3) of this section.

                   The quantity of phosphogypsum to be used by each facility.

                   The average concentration of radium-226 in the phosphogypsum to be used.

                   A description of any measures which will be taken to prevent the uncontrolled
                    release of phosphogypsum into the environment.

                   An estimate of the maximum individual risk, risk distribution, and incidence
                    associated with the proposed use, including the ultimate disposition of the
                    phosphogypsum or any product in which the phosphogypsum is incorporated.
 44
   There are 50 states and each has its highway design guidance documents. Federal and state transportation
 departments generally cite the Green Book, supra note 20. Attachment B contains representative examples of road
 way specifications (including alternative materials that may be used in road construction from Florida, Louisiana,
 Idaho, and North Carolina and the Green Book).
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                   A description of the intended disposition of any unused phosphogypsum.

                   The Petition must be “signed and dated by a corporate officer or public official in
                    charge of the facility.”

                    2.     EPA’s Determination and Risk Management Decision

 The decision to approve a new use for PG must be made by EPA’s Assistant Administrator for
 the Office of Air and Radiation (OAR). As a matter of policy, the decision involves weighing
 results of a risk assessment, technical analyses, and other factors. 45

 Section IV summarizes the Risk Analysis and metals screening evaluation that have been
 completed and demonstrate the safety of PG use in road construction. Key exposure and risk
 calculations and application of EPA’s risk management criteria are described.

 Section V provides TFI’s justification for approval of this Petition and explains these factors as
 TFI submits they should apply to EPA’s risk management decision. In conclusion, the road
 construction scenarios were evaluated for numerous risks (e.g., a broad scope of RME
 radiological exposures and non-radiological constituents present in PG). The analyses clearly
 demonstrate that:

                   Use of PG in road construction presents no greater risk than stacking of the
                    material; and

                   PG can be safely used in road construction. In scientific terms, the use presents a
                    risk of < 3 x 10,000, the level deemed by EPA to be safe (see discussion below).

                    3.     Information and Certifications Required to Implement EPA
                           Determination

 Once the Assistant Administrator decides to approve use of PG in road construction under 40
 C.F.R. 61.206(c), each of the reporting and records requirements at §§ 61.206(d) and 61.207-209
 must be met. The only limitation on these requirements is that certain record-keeping
 obligations at § 61.209 may be waived. These reporting requirements include reporting the
 annual average radium-226 concentration at the removal location, and certification documenting
 purchaser, quantity and use information, along with a requirement that records must be retained
 for five years. These requirements ensure that EPA records contain information under
 §61.206(b) and in any event ensure that PG use and distribution is closely managed even where
 it is removed from a stack for an approved use.




 45
  Basic concepts and definitions to aid the reader’s understanding of the Petition can be found in Key Definitions
 which is a preamble to this Petition.

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 III.        REGULATORY HISTORY AND CHANGING CONDITIONS

             A.        Regulatory History

                       1.        The Original 1989 NESHAP Rule

 Prior to 1989, PG in the United States was used for beneficial purposes, such as constructing
 roadways and agricultural soil amendments. The 1989 NESHAP rule required that all PG must
 be placed in engineered above ground impoundments (commonly referred to as “gypstacks”) or
 in phosphate mines where it can be used as backfill. 40 CFR § 61.202. EPA’s 1989 regulatory
 analysis was based on an estimate of 66 stacks located in 12 states with two-thirds located in
 Florida, Texas, Illinois, and Louisiana. 46

                       2.        Post-1989 Regulatory Developments

 After the issuance of the 1989 NESHAP rule, TFI petitioned for reconsideration. EPA agreed to
 reconsider that portion of subpart R that required that all PG be disposed in stacks or mines. 47
 On June 3, 1992, EPA published a final rule approving PG use as an agricultural soil amendment
 and for indoor research and creating a framework for approving additional alternative uses. 48
 In particular, EPA approved the use of PG as an agricultural soil amendment as long as the
 average concentration of radium-226 in the PG does not exceed 10 pCi/g (based on a maximum
 individual risk of 3 in 10,000 due to the use) and use of PG for research in amounts not to exceed
 7,000 pounds. 40 CFR § 61.204-205.49

 The amended regulations also allowed OAR to approve, on a case-by-case basis, a new use if it
 is as protective of public health, in both the short and long term, as disposal in a stack or a mine.
 40 CFR § 61.206(a)-(c).50 In 1992, EPA rejected the use of PG in road construction based on an
 analysis that assumed a roadway constructed with PG might be abandoned in the future, with a
 home constructed directly on top of the abandoned roadway with no site preparation (i.e.,
 mixing). This hypothetical scenario included several extreme assumptions that resulted in
 unrealistic levels of exposure (i.e., it was not a RME). 51 For example, the 1992 EPA BID
 assumed a 70 year period for the duration of residential exposure for the hypothetical reclaimer
 exposure scenario even though the 1992 EPA BID used 25 years as the duration of a resident’s
 exposure for the nearby resident. EPA’s current RME for the duration of residential exposure is
 26 years (a 90th percentile of exposure), precisely because “EPA has been criticized for too often



 46
      1989 Rule, supra note 3.
 47
      EPA; NESHAPS for Radionuclides Reconsideration; Phosphogypsum, 55 Fed. Reg. 13,480 (Apr. 10, 1990).
 48
  EPA, National Emission Standards for Hazardous Air Pollutants; National Emissions Standards for Radon
 Emissions from Phosphogypsum Stacks, 57 Fed. Reg. 23,305 (June 3, 1992) (1992 Rule)
 49
      Id. at 23,309, 23,311, 23,316. The volume of PG was increased by a later amendment.
 50
      Id. at 23,319.
 51
      Id. at 23,312.

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 assuming that future use will be residential” and other unrealistic assumptions. 52 Also see
 Appendix 4b: Responses to Second Set of USEPA Questions – Reclaimer.

                     3.      Prior Petitions

 On December 22, 2004, EPA “conditionally” approved the Petition of the Florida Institute of
 Phosphate Research (FIPR) to use PG as cover material in a demonstration landfill test cell
 project (discussions with EPA on this project were initiated in 2002 and the petition submitted
 December 9, 2003).53 PG, however, was never used as cover material in a landfill test cell. As
 TFI understands it, by the time the petition was approved, conditions had changed and the
 landfill owner withdrew its request.

 In 2010, Louisiana State University prepared a proposal to allow the use of PG testing to
 determine if PG could be used to make coastal zone protection devices. 54 TFI’s understanding is
 that this effort proposal did not advance to the submittal of a petition.

 These examples illustrate the unwieldiness of EPA’s current approach to approvals for PG use.
 This has resulted in continued stacking, which has been subject to criticism as an unsustainable
 practice.

            B.       Factors Influencing Future Uses of PG

 A number of factors influence the future uses of PG:

                 1. Current requirements to obtain regulatory approval prior to each individual new
                 use slow the process of implementing beneficial, safe new uses. In many other
                 countries, PG use is encouraged over storage and there are little or no regulatory
                 restrictions on the use of PG up to an average radium (226) content of 27 pCi/g. 55

                 2. The size, costs and complexity of gypstacks have increased (see, Appendix 6
                 Economic Analysis of Regulatory Costs Savings) well beyond original expectations.
                 When the stacking solution was developed, two key factors were not fully
                 recognized: (1) growth in the industry would result in a significant increase in the
                 volume of PG material that would require storage capacity in stacks, and (2) the
                 beneficial use for which PG could safely be employed. Today, active stacks are
                 concentrated in Florida, Idaho, Louisiana, and North Carolina and contain at least 1.7
                 billion tons of stored PG. EPA’s final rule did not anticipate the significant increase
                 in production that would occur, creating a need for new storage capacity to handle the

 52
   EPA, EPA Land Use in the CERCLA Remedy Selection Process, OSWER Dir. No. 9355.7-04, 3 (May 25, 1995),
 available at https://www.epa.gov/sites/production/files/documents/landuse.pdf (Land Use in the CERCLA Remedy
 Selection Process).
 53
      Holmstead FIRP Letter, supra note 7.
 54
   Louisiana State University, Preparation of an Application for Approval to Use Stabilized
 Phosphogypsum as a Fill Material For Coastal Protection Devices, Final Report, Pub. No. 01-197-235 (Apr. 2010),
 available at http://fipr.state.fl.us/wp-content/uploads/2014/12/01-197-235Final.pdf.
 55
      IFA Sustainable PG Management Report, supra note 12.
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                PG production rate of 46 million tons per year. As a result, EPA’s 1989 final rule and
                its underlying analysis did not consider the full extent of present (and future)
                environmental impact and cost of long-term stack storage on a scale compatible with
                modern fertilizer production facilities.

                3. Historically, EPA considered the radium-226 concentrations in individual
                phosphogypsum samples as ranging from 1.4 to 46 pCi/g.56 At EPA’s request, TFI
                members performed radiation sampling on gypstacks across the U.S. in 2019 to
                provide updated information (Appendix 5). Multiple stacks owned and operated by
                three companies were sampled (ten samples per stack were taken). The 2019
                sampling found:57

                        Radium (226) concentrations of individual PG samples ranged 6.3 to 27.9
                         pCi/g.

                        The average radium (226) concentrations of all 90 PG samples from all stacks
                         is 18.6 pCi/g.

                        The average radium (226) concentrations per stack ranged from 7.46 pCi/g to
                         24.7 pCi/g. An EPA 1988 report states the mean concentrtions of radium
                         (226) from Florida stacks ranged from 25 to 34 pCi/g.

                        The average average radium (226) concentrations from PG samples taken
                         from six Central Florida stacks is 19.6 pCi/g and for the Western US stacks is
                         15.8 pCi/g.

                        Limited data reported in the literature on the concentrations of radium (226) in
                         PG outside of the U.S. indicate that concentrations range from 6.7 pCi/g to
                         38.4 pCi/g, well below 148 pCi/g that corresponds to a risk of 3 in 10,000
                         (N.B.: Some data are average concentrations and others report as few as one
                         sample).

                The 2019 data demonstrate that the average radioactivity level for each stack is
                significantly lower than the 35 pCi/g radium (226) concentration limit requested in
                the Petition and less than 148 pCi/g which corresponds to EPA’s safe risk level of 3
                in 10,000. All of 2019 stack averages are below 27 pCi/g (the nominal concentration
                used in the risk assessment), thus, the risk for these stacks is below 0.5 in 10,000. 58




 56
      EPA 1992 BID, supra note 15.
 57
      TFI 2019 Sampling, supra note 41, at 1-5.
 58
   The Risk Assessment found that the nominal level of radium (226) assumed for calculation purposes to be
 contained in PG (27 pCi/g) corresponds to a maximum risk of 0.5 in 10,000. Thus, the EPA PG risk management
 limit of 3 in 10,000 corresponds to a level of 148 pCi/g in PG (using the non-rounded risk for the construction
 worker). Therefore, PG may be safely used as road construction material.

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                 4. The scientific community has developed an updated understanding of relative
                 risks associated with PG.59 This Petition has been prepared to enable EPA’s
                 regulatory decision to be based on the current, best scientific understanding of
                 radiation protection and management related to PG use. The International Atomic
                 Energy Agency (IAEA), an international organization which the U.S. helped establish
                 to provide a scientific source of recommendations on radiation issues, has determined
                 that radionuclide activity concentrations in PG material are less than 1 Bq per gram
                 (Bq/g) (which corresponds to 27 pCi/g) “implying that it is not necessary to
                 regulate.”60 Section IV below summarizes this updated understanding. U.S. and
                 international research, as well as data from uses in developed nations, are now
                 available to support various PG uses and demonstrate that PG use is at least as
                 protective of public health as storage in stacks. More than a dozen beneficial uses
                 have been analyzed worldwide, resulting in significant, successful PG use
                 applications in at least 21 countries. 61

                 Further, U.S. risk assessment approaches have changed based on experience and
                 evolving environmental management policies since the 1980s, along with increased
                 awareness of product lifecycles and sustainability. These changed conditions enable
                 a more thorough and appropriate evaluation of PG use in road construction, and a
                 demonstration that this use is protective of human health and the environment.

                 5. EPA policies encourage use and recovery of high-volume, low-risk waste. EPA’s
                 198962 and 199263 risk management decisions concerning PG uses acknowledge, but
                 do not provide, an effective mechanism to implement PG use decisions that are
                 consistent with the Agency’s overarching policy of supporting recycling. Since 1992,
                 EPA has increased its emphasis on understanding product lifecycles and has adopted
                 sustainability policies and encouraged sustainable practices.

                 6. The economics of gypstacks have changed. The cost to stack PG and manage
                 gypstacks is increasing. These rising costs are a concern to U.S. phosphate fertilizer
                 producers that must remain competitive in a global marketplace. Fertilizer companies
                 outside the U.S. may use or sell for use their PG material safely utilizing the IAEA
                 standards and avoid costs attendant to stacking. This puts U.S. companies at a
                 significant economic disadvantage. The international community has actively moved
                 in the direction of safe PG use and recycling, creating an increasing competitive


 59
   See International Atomic Energy Agency (IAEA), Radiation Protection and Management of NORM Residues in
 the Phosphate Industry, Safety Reports Series No. 78 (2013), available at https://www-
 pub.iaea.org/MTCD/Publications/PDF/Pub1582_web.pdf (Radiation Protection and Management of NORM
 Residues).
 60
   Id. at 56. This statement does not in any way preclude a risk based determination that higher levels might also be
 acceptable.
 61
      IFA Sustainable PG Management Report, supra note 12.
 62
   EPA, Comments and Response to Comments, NESHAP, National Emission Standards for Radon Emissions from
 Phosphogypsum Stacks, EPA-402-R-98-007, 3 (1998).
 63
      1992 Rule, supra note 48, at 23,306.
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                   disadvantage for U.S. industry, particularly when one considers the costs associated
                   with gypstack maintenance, closure, and long term care.

                   7. Perceptions of gypstacks have changed. EPA’s final rule did not anticipate
                   advese public sentiment from local stakeholders regarding the long-term presence of
                   gypstacks, including aesthetic concerns. Some local governments and communities
                   have expressed a preference for use of PG in a manner that encourages
                   redevelopment of land currently utilized by and around gypstacks. 64 Such use
                   increases economic development by generating jobs associated with the
                   transportation and use of PG, and frees up land for other uses (Appendix 6).

                   8. TFI’s proposal represents a significant regulatory burden reduction that will create
                   new commercial markets, industries and jobs. This is in the context of the dramatic
                   increase in PG use worldwide since 2008, from a baseline of close to zero to 35-40
                   million tons consumed worldwide by 2015. 65 To make comparable advancements,
                   the U.S. phosphate industry, EPA approval of TFI’s Petition would support the
                   industry’s sustainable development goals by expanding the list of PG beneficial uses
                   and ameliorate substantial, avoidable regulatory burdens and costs imposed by the
                   NESHAP Subpart R regulations.

 IV.         SUMMARY OF THE EVALUATIONS CONDUCTED FOR THE PETITION

             A.        Overview

 EPA’s document, titled “Applying to EPA for Approval of Other Uses of Phosphogypsum:
 Preparing and Submitting a Complete Petition under 40 CFR 61.206, A Workbook” (EPA PG
 Workbook) provides a guide for the Petition.66 The key requirement expressed in this guidance
 (and the NESHAP) is that in responding to any proposed petition, EPA must decide whether the
 radiological risk associated with the alternative use poses no greater risk than placement in
 stacks.67

 The decision concerning whether the radionuclide risk associated with PG in alternative uses is
 acceptable depends upon many risk analysis elements, including:

                      The specific exposure scenarios that are determined to be appropriate. This
                       Petition seeks approval of the use of PG in road construction based on a risk
                       analysis for a series of specific exposure scenarios;


 64
   See e.g., EPA holds meeting about Mississippi Phosphate Site, St. Louis Post-Dispatch, Jan. 11, 2018, available at
 https://www.stltoday.com/news/world/epa-holds-meeting-about-mississippi-phosphate-site/html_0a41e1fa-96ef-
 54bb-a825-8fcaeb4b4463.html (comment of Pasagoula Mayor, Dane Maxwell, at an EPA public meeting regarding
 the Mississippi Phosphate site cleanup: “We want it clear and ready for development as soon as possible”).
 65
      See IFA Sustainable PG Management Report, supra note 12.
 66
      EPA PG Workbook, supra note 43, at 13.
 67
      Id. at 12.

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                   The RME exposure assumptions or parameters that are selected to estimate a high
                    end radiation dose estimate during the alternative use of PG, i.e., an assumption
                    likely to overestimate exposure. This Petition developed RME exposure
                    assumptions for each exposure scenario and receptor based on high end
                    construction design features that may affect the radiation dose and calculated a
                    high end RME dose;

                   The radiation dose to risk conversion factor used, see Attachment A;

                   The cancer risk estimate based on RME exposure assumptions and the radiation
                    dose to risk conversion factor of 5 in 10 million mrem;

                   EPA’s cancer risk limit for new PG uses of 3 in 10,000 during the use;

                   A comparison of the estimated cancer risk to EPA’s risk limit for new PG uses;
                    and

                   EPA’s Risk Management Decision considering economic and other risk
                    management factors.

 EPA did not assess chemical risk from residual metals in its 1989 risk assessment or its 1992 risk
 assessment (which approved an agricultural use and denied approval to use PG for road
 construction).68 In the 1992 EPA BID risk assessment, EPA stated that PG “contains some trace
 metals in concentrations which the EPA believes may pose a potential hazard to human health
 and the environment,” particularly arsenic, lead, cadmium, chromium, fluoride, zinc, antimony,
 and copper.69 The “trace metals also may be leached… and migrate to nearby surface and
 groundwater resources.”70 However, EPA explicitly decided in the 1992 EPA BID that these
 metals “will not be addressed in the risk assessment.” 71 Thus, neither the 1992 EPA BID risk
 assessment for the approved use of PG as an agricultural amendment nor the 1992 risk
 assessment for use of PG in road construction (which was not approved) included a risk
 assessment or a screening level assessment for metals in PG.

 For this Petition, however, EPA requested that TFI perform a risk screening level evaluation for
 the naturally-occurring radioactivity and metals. Although there is a question concerning
 whether EPA’s NESHAP program has the legal authority to require an risk assessment of the
 impact of metals in PG used for road construction, TFI performed a high end exposure (i.e.,
 RME or higher exposure) for the human health risk screening. That screening assessment
 concluded that the metals levels in PG are not expected to pose an unacceptable level of health
 risks to construction workers or cause an unacceptable impact in groundwater using PG in
 roadway construction. Thus, no further risk evaluation is warranted to assess risks from metals
 in PG used for road construction. Furthermore, proper construction practices employ BMPs such

 68
      EPA 1992 BID, supra note 15. 1992 Rule, supra note 48, at 23,305.
 69
      EPA 1992 BID, supra note 15, at 2-8.
 70
      Id.
 71
      Id.
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 as wetting surfaces to reduce dust formation, and these measures serve to further lower exposure.
 Studies and the nature of the petitioned PG use in road construction material compacted or
 encapsulated below pavement and above the water line indicate that leaching to groundwater (or
 surface water) is unlikely (ie., it is not a complete exposure pathway that warrants a more
 detailed risk assessment of the metals). The relevant Department of Transportation has
 responsibility to ensure that construction, using any construction materials (including PG), is to
 conduct construction activities in a manner that is protective of human health and the
 environment.

          B.        Exposure Scenarios

               1. Overview

 PG use was considered for road construction. This led to the development of the following RME
 exposure scenarios evaluated in the risk assessment:

                   Road Construction Worker who builds roads exclusively with PG material for
                    five years;

                   Road User who routinely commutes on the constructed roadway by vehicle,
                    motorcycle or bicycle for 26 years (motorist/bicyclist was deemed most
                    conservative);

                   Nearby Resident who lives in a home located 50 feet or more from a PG roadway
                    for 26 years. To illustrate the amount of exposure reduction with distance,
                    exposure to a resident who resides 20 feet from the PG roadway for 26 years was
                    also calculated;

                   Truck Driver who delivers PG for road base material to a construction site for five
                    years; and

                   Utility Worker who excavates across a PG roadway during utility maintenance
                    projects and is exposed in a trench for 160 hours in a year.

 These exposure scenarios were selected based on a review of prior regulatory submissions as
 well as discussions with EPA personnel, and the best professional judgment of the scientists
 assisting in the preparation of the Petition.72 This analysis includes receptors not utilized by EPA
 in its 1992 BID risk assessment but added at EPA’s request during the working sessions to fully
 evaluate public health.

 This Petition also includes, at EPA’s request, a hypothetical scenario which assumes a home is
 built upon an abandoned road constructed with PG (the so called Reclaimer scenario), which
 results in an extreme exposure (Extreme Reclaimer), i.e., the exposure is much higher than a
 RME exposure scenario. The probability of this scenario is very remote and implausible in that
 this construction scenario would likely never occur under existing road construction practices
 72
   Arcadis (a firm specializing in design and consultancy for natural and built assets) and Exponent (an engineering
 and scientific consulting firm).

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 and contraints on future land use for public infrastructure and therefore, the assumed scenario is
 not reasonably likely (Appendix 4b: Responses to Second Set of USEPA Questions -
 Reclaimer). Although this scenario also meets the EPA risk management limit of 3 in 10,000, it
 is not a reasonably likely scenario and therefore should not represent a condition of approval.

 The design and construction of roadways is governed by policies and constraints on future land
 use associated with public infrastructure. The Reclaimer scenario of building a house on top of
 an abandoned roadway is not consistent with typical land re-use and sustainability policies, is
 limited by the legal constraints on abandoning public roads, is extremely rare (research has found
 few, if any, examples), and ignores the economic factors favoring using existing roads even if the
 land is being redeveloped. Therefore it is not a reasonably anticipated land use.

 Nevertheless, EPA requested this evaluation to provide historical context for the 1992 EPA BID
 and confirm that this scenario is not a logical concern. This is discussed in further detail in
 Section IV (D)(9), below.

                  2. Reasonable Maximum Exposure (RME)

 In order for there to be a risk, there must be exposure. EPA uses an RME metric to assess
 exposure risk. The “intent of the RME is to estimate a conservative exposure case (i.e., well
 above the average case) that is still within the range of possible exposures.” 73 Each exposure
 factor used to estimate the RME should be selected “so that the resulting estimate of exposure is
 consistent with the higher end of the range of plausible exposures” (citing EPA’s 1991
 guidance).74

 A National Academy of Science (NAS) Committee reviewing EPA’s regulation of
 technologically enhanced naturally occurring radioactive material (TENORM) recommended
 that EPA “should use exposure and dose risk assessments that are ‘reasonably realistic’” in
 developing standards for exposure to the various types of low level naturally occurring
 radiation.75 “The Committee defined ‘reasonably realistic’ as ‘not….intended to greatly
 overestimate or underestimate actual effects for the exposure situation of concern,’” and EPA
 agreed with the Committee’s recommendations. 76

 The exposure calculations in the Petition use currently accepted radiation modeling methods
 such as RESRAD and MicroShield. State regulators, citing to EPA guidance, note that “if high-
 end values are chosen for every exposure factor, then the resulting exposure estimate may no
 longer be consistent with the RME and may exceed the realm of possibility altogether.” 77
 73
  EPA Risk Assessment Guidance for Superfund, supra note 10, at 7-1. See also ITRC, Decision Making at
 Contaminated Sites, supra note 10.
 74
      Id. at 6.1.1.
 75
   EPA, Report to Congress, Evaluation of EPA’s Guidelines for Exposures to Technologically Enhanced Naturally
 Occurring Radioactive Materials (TENORM), EPA 402-R-00-01, 15 (June 2000), available at
 https://www.epa.gov/sites/production/files/2015-04/documents/402-r-00-001.pdf (describing a National Academy of
 Sciences report on TENORM) (EPA Report to Congress Re: TENORM).
 76
      Id.
 77
      ITRC, Decision Making at Contaminated Sites, supra note 10, at 6.1.1.
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 The use of reasonable exposure assumptions is supported by the courts, which have long held
 that exposure assumptions “must bear some rational relationship” to actual conditions, and
 disallowed unduly conservative approaches. For example, a court rejected EPA’s use of an
 extreme assumption - that a child eats sludge applied to roadside cemeteries every day for a five
 year period.78

 Scenario-specific exposure assumptions were selected for this analysis in accordance with EPA
 guidance and methodology (see Table 3 below). These exposure assumptions are contained in
 appendices and accompanied by detailed scientific support, citations to guidance, discussion of
 best professional judgment and prior precedent used to make the selections. A summary of key
 exposure assumptions is provided in Table 3 below.

                             Table 3: Summary of Key Exposure Assumptions

 Person      Description                               Years      Model         Rationale
 RME Scenarios
 Road Worker         Builds roads exclusively          5          RESRAD        The worker who uses PG to
                     with PG material                                           build a road is closest to the
                                                                                PG mixtures in road base
                                                                                and/or paving.
                                                                                Used Florida Department of
                                                                                Transportation construction
                                                                                project data and EPA
                                                                                guidance.
                                                                                Other road construction
                                                                                workers have lower exposure
                                                                                and therefore less risk.
 Truck Driver        Delivers PG to the                5          MicroShield   A truck driver hauls PG to the
                     construction site to be used                               road construction site for 5
                     in road base and/or paving                                 years (the truck body provides
                     materials                                                  some shielding).
 Nearby              Resident lives in a home          26         MicroShield   EPA guidance on exposure
 Resident            located 50 feet or more from                               values. To illustrate the
                     a road                                                     amount of exposure reduction
                                                                                with distance, exposure to a
                                                                                resident who resides 20 feet
                                                                                from the PG roadway for 26
                                                                                years was also calculated.
 Road User           Resident drives on the road       26         RESRAD        EPA guidance on exposure
                     in a vehicle, or on a                                      values.
                     motorcycle or bicycle (the
                     motorist/bicyclist is
                     evaluated as the most
                     conservative)
 Utility             Worker in trench dug across       160        MicroShield   Best professional judgment,
 Worker              a PG roadway (e.g., utility       days                     based, in part, on limited time
                     work)                                                      trenching occurs (since, among

 78
      Leather Indus. of America v. EPA, 40 F.3d 392, 405 (D.C. Cir. 1994).

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                                                                                  other reasons, it obstructs
                                                                                  traffic).

 At EPA’s request, the Petitioner provided a “reclaimer scenario” (an assessment of the extreme
 hypothetical exposure if the road is abandoned and a house is constructed on the abandoned
 roadbed (see Table 4)).

                      Table 4: Reclaimer Scenario Exposure Assumption
  (see the Petition’s Risk Assessment and Appendix 4b: Responses to Second Set of USEPA
                                   Questions – Reclaimer)

 Hypothetical Extreme Exposure Reclaimer Use Scenario
 Reclaimer           Home constructed on an            26        RESRAD           The abandonment of a road and
 Resident            abandoned road                              (for gamma)      construction of residential
                                                                 Spreadsheet      housing at the location is an
                                                                 for radon        extremely unlikely event
                                                                                  included to evaluate the
                                                                                  lifecycle and ultimate
                                                                                  disposition of a PG road and is
                                                                                  not a RME exposure. See
                                                                                  discussion at Section IV(D)(9),
                                                                                  below.

 The RME is used to calculate the dose (i.e., the amount of radiation that the individual in the
 exposure scenario receives over a particular unit of time). In our situation, the annual and total
 doses depend on the length of time exposure occurs for that exposure scenario. Different
 exposure scenarios have different lengths of exposure. Risk is assumed to increase in direct
 proportion to the RME dose (i.e., if the RME dose increases by a factor of two, the risk increases
 by a factor of two).

 The risk is then compared to the EPA risk management levels. EPA has long utilized (and courts
 have long upheld) the principle that a 1 in 10,000 risk level is “safe,” although “[t]he upper
 boundary of the risk range [i.e., the 1 in 10,000 risk level] is not a discrete line.” 79 As a
 unanimous en banc ruling of the Court of Appeals for the District of Columbia Circuit candidly
 noted, the basis for claiming harm from exposure to chemicals at extremely low environmental
 levels is more a function of “the rules of arithmetic rather than because of any knowledge” and
 there was “no particular reason to think that the actual line of the incidence of harm is
 represented” by the assumption selected by EPA.80

 This acknowledgment is also apt for the risks from radionuclides. EPA’s guidance for new uses
 of PG states unequivocally that for new PG uses to be approved, a petitioner must demonstrate
 that the cancer risk to those exposed to phosphogypsum as a result of proposed use “must not be


 79
   EPA, Role of the Baseline Risk Assessment in Superfund Remedy Selection Decisions, OSWER DIRECTIVE
 9355.0-30, 2 (Apr. 22, 1991), available at https://www.epa.gov/sites/production/files/2015-
 11/documents/baseline.pdf.
 80
      Natural Resources Defense Council, Inc. v. U.S. EPA, 824 F.2d 1146, 1165 (D.C. Cir. 1987).

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 more than three in ten thousand” (i.e., 3 x10-4 or 3 in 10,000).81 In the radionuclides NESHAP,
 EPA primarily, but not exclusively, evaluated the maximum individual risk (MIR) (which is the
 added chance of a cancer) and compared it to the NESHAP risk management level of 3 in
 10,000.82

 The use of the 3 in 10,000 “risk threshold is consistent with the determination of a ‘safe’ level
 first announced in the NESHAP for certain benzene source categories (54 FR 38044, September
 13, 1989).”83 As noted above, in the 1989 radionuclide rulemaking, EPA determined that six
 radionuclide source industries presented a cancer risk higher than 1 in 10,000 but that
 nonetheless was “essentially equivalent” to EPA’s safe risk level “in light of the numerous
 uncertainties.”84 Similarly, EPA reaffirmed in 1992 that a 3 in 10,000 risk level was protective
 of human health and consistent with EPA’s long-standing risk management goals. 85 In
 particular, EPA “determined” that the 3 in 10,000 risk level provided “an ample margin of safety,
 considering the cost, scientific uncertainty, and technological feasibility of control technologies
 needed to further reduce the radon emissions from [the PG] stacks.” 86

 In summary, EPA explicitly has determined that the 3 in 10,000 cancer risk for radionuclides
 (including PG) is safe, consistent with overall EPA risk management policy. EPA has concluded
 that the “proposed other use will not cause a threat to the public or environment greater than if
 the phosphogypsum were stored in the stack,” if the risk is not “more than three in ten thousand
 [3 in 10,000].”87

 The relationship between exposure dose and risk is further elaborated on in Appendices 1 and 2.

             C.       International Commission of Radiological Protection (ICRP) Dose to Risk
                      Relationship

 The risk assessment selected in this Petition is the ICRP dose to risk conversion factor. The
 ICRP sets out the basis for evaluating health effects from radiological exposure along with
 recommendations for using specific values for regulatory purposes. While there are broad
 uncertainty bounds at low-dose exposures, the assumption of a linear relationship between
 exposure and risk is maintained regardless of the possibility of a threshold below which there is

 81
      EPA PG Workbook, supra note 43, at 13.

 82
  1989 Rule, supra note 3, at 51,654, 51,659, 51,660. In this context, the risk distribution (i.e. the range of risks to
 which the population is exposed) decreases as distance to the road increases, for PG use in road construction.
 Relatively quickly the dose falls below the dose that corresponds to background. The exposure to the residents is
 below the 3 in 10,000 safe level.
 83
      EPA PG Workbook, supra note 43, at 5.
 84
   1989 Rule, supra note 3, at 51,654, 51,664, 51,666, 51,668-69, 51,677, 51,682. Risks ranged between 1 in 10,000
 and 3 in 10,000. Id.
 85
      1992 Rule, supra note 48, at 23,305, 23,311-12, 23,316.
 86
      EPA PG Workbook, supra note 43, at 5.
 87
      Id. at 13.

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 no risk. In Publication 103, ICRP provides an analysis of the exposure values considered in that
 analysis. On the basis of model uncertainty and epidemiological evidence, the ICRP recommends
 a dose-to-risk coefficient of 5% per Sievert (one Sievert is equivalent to 100 rems or 100,000
 mrem, see explanation of terms in Attachment A). 88 This coefficient is the basis for current
 international radiation safety standards, and is considered by ICRP to be “appropriate for the
 purposes of radiological protection.” Although it is based on cancer mortality as the endpoint, it
 is also approximate for all calculated detrimental effects.

 For our risk analysis, we use a dose conversion expressed in terms of millirems or mrem. 89
 Translating the 5% risk per Sievert recommended by the ICRP for regulatory purposes yields 5 x
 10-7 risk per mrem.

 The risk assessment submitted as part of this Petition estimates the annual dose for each of the
 exposure scenarios, summed over the associated years of exposure, to provide a total dose that is
 then converted to a cancer risk using a dose-to-risk conversion factor of 5x10 -7 risk per mrem
 (i.e., 5/10,000,000).

 Our use of 5 x 10-7 as a conversion factor is consistent with EPA risk assessment procedures. 90
 The EPA’s 2011 guidance provides cancer risk factors for uniform whole-body exposures of
 low-dose gamma radiation to the entire population, and reports an estimated 90% confidence
 interval for cancer mortality of 2.8% to 10% per Gy91 (i.e., from 2.8 x 10-7 to 10 x 10-7 per
 mrem).92 This range is essentially the same dose to risk conversion range derived by ICRP.

 The value we use is also consistent with the perspective of the National Council on Radiation
 Protection and Measurements (NCRP) (the U.S. organization chartered by the U.S. Congress in
 1964 to, among other things, “develop … recommendations about …protection against
 radiation” (i.e., NCRP uses the same dose to risk conversion factor as in the 2007 ICRP)). 93
 88
   International Commission on Radiological Protection (ICRP), The 2007 Recommendations of the International
 Commission on Radiological Protection, ICRP Publication 103, 55, 87 (2007), available at
 https://www.icrp.org/publication.asp?id=ICRP%20Publication%20103 (2007 ICRP Recommendations).
 89
   The mrem is a common unit of radiation dose. In this report, “dose” refers to effective dose, which simply means
 that when a person is exposed to a uniform radiation (e.g., external gamma radiation), all of the doses to the different
 organs are weighted by their radiosensitivity and added together. See Appendices 1 and 2 for more detailed
 discussion of the definitions and application of these factors.
 90
    Similarly, the international community has widely adopted the International Atomic Energy Agency (IAEA)
 determination that 1 millisievert (1 mSv) per year is the acceptable level of radiation exposure (for example, the
 European Union [EU] regulations). See Radiation Protection and Management of NORM Residues, supra note 59,
 at 165. The IAEA and EU determinations are also based on the International Commission on Radiological
 Protection. 2007 ICRP Recommendations, supra note 88, at 55, 97, Table 5, 116, and Table 8.
 91
      For practical purposes as to gamma radiation, 1 Gy = 1 Sv = 100 rem = 100,000 mrem.
 92
   EPA, EPA Radiogenic Cancer Risk Models and Projections for the U.S. Population, EPA 402-R-11-001 (April
 2011), available at https://www.epa.gov/radiation/epa-radiogenic-cancer-risk-models-and-projections-us-population
 (EPA Radiogenic Cancer Risk Models and Projections for the U.S. Population),
 93
   National Council on Radiation Protection and Measurements, Management of Exposure to Ionizing Radiation:
 Radiation Protection Guidance for the United States, NCRP Report No. 180, 42 (2018), available at
 https://ncrponline.org/shop/reports/report-no-180-management-of-exposure-to-ionizing-radiation-radiation-
 protection-guidance-for-the-united-states-2018-2018/ (Management of Exposure to Ionizing Radiation).
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 The ICRP analysis was also relied upon by the European Union (EU) in selecting its general
 population acceptable dose level. 94 The EU appointed a group of experts to provide advice on
 the basic safety standards, taking into account the 2007 recommendations of the ICRP
 (specifically, ICRP Publication 103 since the ICRP reflected “new scientific evidence and
 operational experience”).95

 The most recent report of the NCRP (2018) (Report No. 180) provides a detailed discussion of
 the risks from exposure to ionizing radiation and states that “[t]he value of 5 % Sv–1 [i.e.,
 5/10,000,000 per mrem] is a rounded value for radiation detriment used to inform all the NCRP
 recommendations regarding stochastic effects,”96 (emphasis added).

 In summary, the use of the ICRP dose to risk relationship is scientifically sound and supported
 by many independent governmental entities, including EPA and NCRP. We elaborate further in
 Appendices 1 and 2. The “conservative” nature of the assumptions underlying the dose to risk
 relationship and associated uncertainties are discussed below.

 For the reasons noted above, the risk estimates derived for PG using the ICRP dose to risk
 conversion factor are based on a linear relationship between dose and risk for the very low dose
 exposures derived for this report. Therefore, they are appropriate for use in the Petition and can
 be relied upon by EPA in its decision making.

            D.      Calculation of Risk that Corresponds to the RME

 This section summarizes the RME doses calculated in the Risk Assessment and explains
 generally how they are derived.

                 1. Deriving Dose for the Period of Use

 A dose is the cumulative amount of radioactivity absorbed (weighted to take into account the
 different medical impacts of different types of radiation). The dose is calculated using the RME
 associated with each scenario.

 Duration is specific to the exposure scenario. For a resident, the exposure period is 26 years
 based on standard EPA guidance. 97 For a road construction worker, the length of exposure is

 94
    ICRP is an international expert advisory body that oﬀers its recommendations to regulatory and advisory agencies,
 mainly by providing guidance on the fundamental principles on which appropriate radiological protection is based.
 The 2007 recommendation was produced “after eight years of discussions, involving scientists, regulators, and users
 all around the world.” 2007 ICRP Recommendations, supra note 88, at 3.
 95
   Official Journal of the European Union, Council Directive 2013/59/Euratom, 4 (Dec. 5, 2013), available at
 http://eur-lex.europa.eu/legal-content/EN/TXT/PDF/?uri=OJ:L:2014:013:FULL&from=EN. L 13/2 COUNCIL
 DIRECTIVE 2013/59/EURATOM (setting forth basic safety standards for protection against the dangers arising
 from exposure to ionizing radiation, and repealing Directives 89/618/Euratom, 90/641/Euratom, 96/29/Euratom,
 97/43/Euratom and 2003/122/Euratom) (Council Directive 2013/59/Euratom).
 96
      Management of Exposure to Ionizing Radiation, supra note 93.
 97
  26 year exposure duration for residence – 90th percentile recommended by EPA. EPA, Human Health Evaluation
 Manual, Supplemental Guidance: Update of Standard Default Exposure Factors, OSWER Directive 9200.1-120
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 five years (based on data from roadway construction projects, DOT manuals, and EPA guidance
 (see Petition’s Risk Assessment (Appendix 2) and discussed in more detail in Appendix 4a:
 Response to EPA Comments on January 16, 2020, and below in this Petition, Section V). The
 risk assessment determined that the 3 in 10,000 risk level corresponded to a total cumulative
 dose of 600 mrem and this value can be used to judge the magnitudes of exposure for each
 scenario. Table 5 below summarizes the exposure doses calculated in the risk assessment on an
 annual and scenario basis.

                                     Table 5: Total Dose Summary

                               Annual Dose               Years                      Total Use Exposure Dose
 Person Exposed
                                                                                    (mrem)
 Road Worker                   22 mrem                   5                          110
 Truck Driver                  18.6 mrem                 5                          93
 Nearby Resident               multiple exposures        26                         16
                               over 26 years
 Road User                     1 mrem                    26                         28
 Utility Worker                0.8                       160 hours in 1 year        0.8

               2. Converting the Total Use Dose to Risk

 Radiation risk for cancer is calculated as the product of the RME exposure dose for each scenario
 and the dose-to-risk conversion factor. The distance from the road and durations of exposure are
 key considerations in calculating the total dose risk. While the RME is designed to bound these,
 most residents would be located at greater distances from the road and/or experience shorter
 durations of exposure than the RME individual. Thus, actual doses for the populations would be
 less than those presented here.

 As noted above, using a dose-to-risk conversion factor of 5x10-7 risk per mrem, 600 mrem
 corresponds to a 3 in 10,000 risk level. From this relationship, one can calculate the risk for a
 particular dose. The result of the risk calculations are summarized in Table 6 below. The results
 of the calculations are provided in Appendices 1 and 2 of this Petition.

                    Table 6: Total Use Dose and Risk Table Compared to Background

 RME Exposure Scenario                Total Use Dose          Years                  Risk From the Use
                                      (mrem)
 Road Construction Worker             110                     5                      0.5 in 10,000
 Truck Driver                         93                      5                      0.5 in 10,000
 Road User                            28                      26                     0.1 in 10,000
 Nearby Resident                      16                      26                     0.08 in 10,000
 Utility Worker                       0.8                     160 hours in 1 year    0.004 in 10,000




 (Feb. 6, 2014), available at https://www.epa.gov/sites/production/files/2015-11/documents/oswer_directive_9200.1-
 120_exposurefactors_corrected2.pdf (Update of Standard Default Exposure Factors).

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               3. Road Construction Worker Risk

 Based on the assessments provided in this Petition, the highest estimated RME exposure is for
 the road construction worker placing road base containing PG that contains radium -226 at 27
 picocuries per gram. The exposure dose amounts to ~22 mrem/year (which results in a 110
 mrem total dose for the exposure period of five years). This dose corresponds approximately to
 an incremental cancer risk of 0.5 in 10,000, which is over 5 times less than the PG use risk
 management level of 3 in 10,000.

               4. Risk to the Nearby Resident

 In addition to the highest risk individual (a road construction worker), the risk assessment also
 evaluated the exposure doses and risk to a resident who may live immediately adjacent to the
 road. Consideration was given to all stages of life from childhood through adult. Exposure
 depends on distance, with exposures dropping off quickly as distance from the road increases.
 Nevertheless, for people living immediately adjacent to the road, the exposures and risks are well
 below the risk management level of 3 in 10,000.

 The exposure doses and risks were estimated without considering shielding during the period of
 construction; shielding was included when estimating doses following construction of the road.
 Shielding of residents was afforded by the road surface as well as by embankments and other
 structures that cover the sides of the road base.

 The cumulative incremental dose associated with living in a house adjacent to a road with a PG
 base is 16 mrem and the associated risk is 0.08 in 10,000. These RME exposure dose and risk
 estimates to nearby residents are well below the EPA risk management levels.

               5. RME Risk from the Other Exposure Scenarios

 Doses and associated risks for all other RME exposure scenarios (the truck driver delivering the
 PG, the users of the road, and the utility worker in a trench near the road) are lower than those
 for the road construction worker (see Table 1 and 6).

               6. RME Exposures/Risks, by Definition, are the Highest Exposures

 All exposure scenarios have doses and risks that are less than the EPA’s risk management levels.
 The RME risks are constructed to overestimate rather than underestimate the actual risks and this
 provides confidence for making decisions that are health protective.

 Other workers who are more distant from the PG have lower exposures than the construction
 worker (and, therefore, lower risk). Similarly, most residents living near roadways are exposed
 to lower risk levels and most PG will contain lower radiation levels used in this calculation.
 Moreover, the dominant source of dose is gamma radiation which decreases with distance and
 hence, residents who live more than 50 feet from a road will receive a lower dose (and
 consequent risk) than the RME at a distance of 50 feet from the edge of the road.

 A summary of the risk distribution provided in Table 2, above (which is from Appendix 4a).


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 In summary, the risk distribution from road construction is negligible, beyond the individuals
 who are on or immediately beside the road, as assessed in the Risk Assessment document.

                  7. Comparison to Background

 Because radiation is always present naturally, it is helpful to compare the incremental
 radiological exposures to background levels to provide important perspective. While natural
 background varies geographically (between states and even within states), a value of
 approximately 310 mrem a year was used for comparison because it is a widely used national
 background level. Background radiation varies naturally from ~100 mrem to 1,000 mrem. Thus,
 the ratio of total use exposure to background will vary depending upon the location of the road
 (see Table 1 below and provided above). Given the conservative nature of the exposure
 estimates, these incremental exposures would likely be within the variability of measurement for
 ambient radiation.

  Table 1: Dose, Risk, and Background Summary for All RME Scenarios (repeated for the
                                convenience of the reader)

                                                                                                                  Background Dose
                                                                                                                   from Exposure     Exposure Dose
                                                                 Exposure        Exposure Dose    Estimated           Duration       Percentage of
 Receptor                         CSM                         Duration (years)      (mrem)        Cancer Risk         (mrem)      Background Dose (%)
 Reasonable Maximum Exposure Scenarios
 Road Construction Worker       PG in Road Base                    5              110           0.5 in 10,000          1550                7%
 Road User (Motorist/Bicyclist) PG in Road Base & Surface         26               28           0.1 in 10,000          8060               0.3%
                                PG-containing material for
 Truck Driver                                                     5                93           0.5 in 10,000          1550               6%
                                Road Base
 Nearby Resident                PG in Road Base & Surface         26               16           0.08 in 10,000         8060              0.2%
 Utility Worker                 PG in Road Base                   1               0.8           0.004 in 10,000        310               0.3%
                                            EPA Cancer Risk Management Goal       600           3 in 10,000             600
                                                                         Estimated cancer risk below this goal.




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                                        Figure 4: Estimated Cancer Risks




                 8. Disposition Scenario

 The EPA PG use regulations require an assessment of the risk from the ultimate disposition of
 PG for any product in which the PG is incorporated.98 The RME for the ultimate disposition of a
 new road constructed with PG is that it serves as an established part of municipal (county, state,
 or federal) infrastructure and as such would require periodic repair and expansion as needed.
 Road maintenance activities include removing the surface, grinding and reusing or disposing of
 the materials consistent with federal, state, and local regulations. Exposures and risks associated
 with maintenance of roads and reuse of construction materials are expected to be comparable to
 or less than those detailed in the risk assessment for road construction (Appendix 4a: Response
 to EPA Comments on January 16, 2020).

                 9. Extreme Hypothetical Reclaimer Requested By EPA (> RME)

 Our evaluation is that, in light of current policies and known constraints on future land use for
 public infrastructure, a hypothetical reclaimer scenario does not represent a reasonably
 foreseeable future use for inclusion in the risk analysis for this Petition (Appendix 4b:
 Responses to Second Set of USEPA Questions - Reclaimer). 99

 The reclaimer scenario used in the 1992 BID Risk Assessment as a reasonable disposition
 scenario (without any explanation or scientific support) was the assumption that a house is built

 98
      40 C.F.R. § 61.206 (a)(8)(1).
 99
   Memorandum from TFI to Lee Veal, Director, Radiation Protection Division, U.S. Environmental Protection
 Agency (April 24, 2019). This detailed memorandum explains the reasons that the Reclaimer Exposure Scenario is
 not a RME.

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 on the roadbed at some future time after the road is closed and the road surface has crumbled and
 been removed. (EPA 1992 BID, p. 4-10). This was not an RME disposition scenario then, nor is
 it realistic now.

 First, a diligent search has not found any documentation of paved roads being abandoned and
 residential housing being constructed immediately on the abandoned pavement. 100

 If there are any examples, they are rare (i.e., 90th percentile or above) and beyond the RME
 exposure.

 Second, there are many institutional and legal obstacles to abandoning roads, much less
 constructing homes on them. All public roadways and associated rights of way are
 owned and operated by the government and by law are dedicated to public use. All of
 these public roadways are subject to governmental jurisdiction with zoning and land use
 requirements that support continued roadway use. For example, to abandon a road in
 Florida, there must be notice of the intent to abandon the road, a public hearing, a duly
 adopted and entered resolution of abandonment, and notice of the abandonment
 resolution.101 A road cannot be abandoned if it is a public road and is used by the public
 (see Florida, Idaho, Louisiana, Alabama and several other state laws). Some states, such
 as Alabama, have a statutory preference against abandonment. Federal highways can be
 decommissioned, consistent with a robust public process. In the case of the Pennsylvania
 Turnpike, part of it was converted to a bike path.102 Similarly, the West Side highway in
 New York City was converted into an urban park, not housing. In any event, roads built
 with PG will be constructed and and maintained consistent with state and federal laws.
 Any effort to abandon and repurpose these roads, including for development, also must
 be consistent with federal and state statutes and local ordinances.

 Similarly, some county roads are abandoned to become state roads and some state roads are
 abandoned to become federal roads. Transfer of a state road to the federal highway system or
 vice a versa is not relevant since the road remains a road.

 Maintaining public roadways and associated rights of way into the future is consistent with
 current trends in community plans to maintain and expand roadway infrastructure and utility
 services (buried within right of ways) and to provide access (e.g., ingress/egress to surrounding
 parcels). Converting a roadway to a residential property must be done consistent with state laws
 and would complicate or eliminate access to surrounding parcels in addition to the redeveloped
 residential property103 and is not a realistic assumption. Furthermore “[v]acating a road that

 100
     Abandonment of unpaved roads is not relevant since we are not seeking to approve of the use of PG on unpaved
 roads. This factor and the other factors in the text are summarized from the Petition’s Risk Assessment (Appendix
 2), Responses to Second Set of USEPA Questions – Reclaimer (Appendix 4b), and the legal research on the legal
 obstacles on abandonment of roads provided in the Revised Petition.
 101
       Fla. Stat. § 336.10. See 23 C.F.R. § 620B.
 102
    Abandoned Stretch of Turnpike in PA, ConstructionEquipmentGuide.com, Jan. 11, 2006, available at
 https://www.constructionequipmentguide.com/redirect/6495?story=6495.
 103
   See James J. Fazzalaro, Local Road Abandonment and Abutting Property Owners, OLR Research Report, 2003-
 R-0897 (December 24, 2003), available at https://www.cga.ct.gov/2003/olrdata/tra/rpt/2003-R-0897.htm.
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 eliminates or substantially diminishes access for abutting property owners may likely amount to
 a taking,”104 which is another disincentive to abandonment.

 Third, economics dictates that if an abandoned road is transferred to a housing
 association, the land will remain as a road maintained by the housing association. More
 generally, since storm drains and often utility lines are placed along rights of way, the
 abandoned road is more likely to be used as a private road, not housing. While it is not
 impossible for a house to be be built on an abandoned roadway, it is certain to be
 extremely rare.

 Fourth, the sustainability of roads and the use of road construction materials are key aspects of
 guidance and plans for roads under the jurisdictions of the Federal Highway Administration and
 state Departments of Transportation. The in-place abandonment of municipal infrastructure and
 allowance for construction of residences on top of these abandoned roads runs counter to
 sustainable infrastructure projects involving road construction. In any case, the construction
 activities required for road maintenance result in less exposure than during the original road
 construction (i.e., the construction activities on scale).

 Thus, road abandonment, and the construction of a home on the abandoned road is not an
 RME exposure and, therefore, is not an ultimate disposition scenario. The fact that this
 extreme exposure scenario corresponds to a risk below the EPA risk management level
 confirms that the lesser exposure in the ultimate disposition scenario need not include a
 numerical risk assessment.

 Finally, normally, the removal of unused PG during the road construction project is not
 an appropriate ultimate disposition because from an economic perspective, it is
 unreasonable to purchase more PG than will be used. Appropriate planning will ensure
 that all PG is mixed with soil (in a one to one ratio) and used in the road. In the rare case
 where there is unused PG, it can be used in another ongoing road construction project or
 returned to the PG source to be stored on a PG stack. Thus, a Reclaimer Exposure
 Scenario should not be utilized to determine whether to approve the use of PG for road
 construction.105

 But, since EPA requested that the risk analysis include the extreme hypothetical reclaimer
 scenario, it is summarized below (see Petition’s Risk Assessment and Appendix 4b: Responses

 Florida Office of the Attorney General, Counties, roads and streets, dedication, vacation, Advisory Legal Opinion –
 AGO 78-118 (Sep. 27, 1978), available at
 http://www.myfloridalegal.com/ago.nsf/Opinions/1F43FA7B5F1C0AF18525659300627D32. Association of
 County Commissions of Alabama, Acceptance, Annexation and Vacation of County Roads (May 11, 2016),
 available at https://www.alabamacounties.org/sdm_downloads/creation-acceptance-annexation-and-vacation-of-
 county-roads/.
 104
    Thomas Ruppert, Erin Deady, Jason M. Evans, & Crystal Goodson, Legal Issues When Managing Public Roads
 Affected by Sea Level Rise: Florida, 5 (Spring 2019), available at
 https://www.researchgate.net/publication/332528839_Legal_Issues_When_Managing_Public_Roads_Affected_by_
 Sea_Level_Rise_Florida.
 105
    As a practical matter, if a risk assessment uses extreme enough assumptions, the calculated risk will exceed any
 risk management safe level. Thus, realistic but high-end RME are used.

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 to Second Set of USEPA Questions – Reclaimer, which responds to the technical issues relating
 to the extreme Reclaimer scenario). As part of the hypothetical reclaimer scenario, the exposure
 assumptions still need to be RME assumptions. The duration of exposure is 26 years (because
 that is EPA’s RME residential exposure (i.e., the 90 th percentile of exposure)).106 Normal house
 construction practices were utilized, such as use of non-PG fill to grade the land (which mixes
 the PG with non-PG soil), the use of vapor barriers and a slab beneath the house, and the like (as
 described in Appendix 4a: Response to EPA Comments). The annual total radiation dose is 3
 mrem, which converts to 78 mrem over 26 years (the total use dose). The resident reclaimer
 scenario requested by EPA is an extreme exposure duration. Nonetheless, this risk (which is
 higher than an RME risk) corresponds to about a 0.4 in 10,000 risk, still below the PG use risk
 management level of 3 in 10,000.

 Even this extreme hypothetical scenario does not result in exposures and risks that exceed the
 EPA risk management level of 3 in 10,000. It must be emphasized that the use of the reclaimer
 scenario does not mean it is a foreseeable ultimate disposition. In any event, the fact that this
 extreme exposure scenario presents a risk below 3 in 10,000 demonstrates that any conceivable
 RME scenario related to ultimate disposition will meet the EPA’s risk management level.

            E.       Groundwater Pathway Screening Analysis

 EPA’s PG Petition guidance suggests that the Petition should address other potential pathways of
 exposure, such as the ground water pathway, if they are relevant. 107 The Petition used a
 screening analysis to address these pathways and, where appropriate, referenced EPA’s prior
 evaluations. A conservative screening level analysis generally is used to determine at an early
 stage that no further analysis is warranted.

                 1. Radionuclides in Groundwater

 EPA performed extensive modeling of the likely migration of radionuclides in a 1992 assessment
 of the risk from PG used in agriculture and road construction. Neither concluded that the
 groundwater pathway supported restrictions on the use of PG. 108 EPA’s risk assessment
 determined in 1992 that “no radionuclides are calculated to reach the onsite well via the
 groundwater pathway” nor are any “radionuclide calculated to reach the off-site river or well via
 groundwater.”109 (see SENES 1997110 which also examined the potential for impacts to

 106
    90th percentile exposure means that 90% of the exposed population has that level of exposure or less and only
 10% of the population has higher exposure. EPA published its Superfund Land Use Directive in 1995 (Land Use in
 the CERCLA Remedy Selection Process, supra note 52) and reaffirmed the policy in 2001 (EPA, Reuse
 Assessments: A Tool To Implement The Superfund Land Use Directive, OSWER 9355.7 - 06P (June 4, 2001),
 available at https://nepis.epa.gov). EPA’s 1995 Land Use Directive acknowledges that “EPA has been criticized for
 too often assuming that future use will be residential” and identifies several evaluation factors to identify reasonably
 anticipated future land use, such as current land use, zoning laws and maps, community master planning, population
 growth patterns and projections, accessibility to existing infrastructure, site location, federal/state land use
 designation, and others.
 107
       EPA PG Workbook, supra note 43, at 10.
 108
       EPA 1992 BID, supra note 15, at Chp 4. See discussion in Appendix 2.
 109
    EPA 1992 BID, supra note 15, at 4-31, 4-34, Scenario 8, Tables 4-5, 4-18, n. C, Scenario 11, among other
 sources.
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 groundwater and surface water pathways). These studies found no realistic potential for impacts
 to these pathways, i.e.:

             No radionuclides are calculated to reach the on-site well via the groundwater pathway for
             almost 10,000 years, or the off-site river or well for more than 100,000 years because of
             groundwater velocities and retardation factors. 111

 The radionuclide risks were found to be negligible. The TFI consultants agree with these prior
 assessments and no additional evaluation was deemed necessary. No monitoring data reviewed
 indicates significant groundwater impact from radionuclides. The Response to EPA Comments
 on January 16, 2020 (Appendix 4a) provides a more detailed explanation of the extremely low
 risks from radionuclides in groundwater, which was the basis from the Petition’s Risk
 Assessment not duplicating these conservative calculations.

                    2. Screening Evaluation of the Potential Impact of Non-Radionuclides in PG

 The EPA PG Guidance states:

             [A petitioner] “must provide information on the other toxic or hazardous constituents of
             the waste…to assure that the proposed use does not cause non-radiological risks to
             human health and the environment.”112

             To the extent the phosphogypsum is land applied or will remain in place following the
             test, the risk assessment must examine other potential pathways of exposure, in particular
             with respect to ground-water and surface water. Consideration of multiple pathways,
             particularly pathways associated with ground water, are consistent with our review of
             alternative uses as found in the 1992 rulemaking on phosphogypsum. 113

 Despite this, EPA did not include an assessment of the impact of metals in its review of
 alternative uses of PG in 1989 or 1992 (see Appendix 3).

 However, EPA requested that TFI perform screening analyses of the potential impact of direct
 contact with PG by road construction workers, and evaluate potential metals leaching on ground
 and surface water quality. Thus, these assessments were performed and appear in Appendix 3.

 These analyses confirm that PG is “safe” for worker handling with respect to non-radionucldes
 as well. Road construction workers were assumed to come into direct contact with PG
 (incidental ingestion, inhalation, and dermal contact). The PG concentrations were then
 compared to health-based screening levels. The chemicals in PG were found to be either a low
 risk or present at background levels.

 110
    SENES Consultants Limited, Application for Exemption – For Use of PG in the Construction of Thornhill Road,
 Polk County Florida (Draft), Prepared for the Florida Institute of Phosphate Research (1997).
 111
       EPA 1992 BID, supra note 15, at Chp 4, Note C, Table 4.15.
 112
       EPA PG Workbook, supra note 43, at 9.
 113
       Id. at 12.

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 Appendix 3 contains an assessment of the potential for metals to leach from a roadbed using
 PG. The design of new roads affects the potential for exposures by creating a degree of isolation
 of the base layer from the environment. The PG in the proposed alternative use is placed above
 the water table and underneath the road’s paved surface. Additionally, the roads are sloped to
 drain precipitation.114 This further limits water contact with the PG isolated within the base
 layer. Thus, for purposes of the Petition, leaching of PG to groundwater or surface water is
 likely not a complete exposure pathway of concern for roadbed use and therefore no more
 detailed risk assessment is needed based on the typical screening level approach.

 The metals concentration in the road base (and, therefore, the amount that is leached) is only
 50% of the concentration of metals in PG because the PG is mixed with soil, sand, or aggregate
 (see Appendix 3).

 The literature shows limited leaching directly from PG. For example, a 2011 University of
 Florida study by Mostary (2011) took twelve samples and performed comprehensive leachability
 testing for PG sampled from one stack in Florida (see Appendix 3). In this study, there were no
 exceedances of EPA’s primary drinking water standards in synthetic precipitation leaching
 procedure (SPLP) testing and no exceedances of Resource Conservation and Recovery Act
 (RCRA) toxicity characteristic leaching procedure (TCLP) limits (see Appendix 3). The TCLP
 and the SPLP tests extracted relatively similar metal concentrations (except calcium).

 Another apt risk comparison for the metals in PG are the federal and Florida land application
 limits for biosolids115 (see Appendix 3). EPA limits were based on a risk assessment for 14
 exposure pathways, including groundwater (Table 6 in U.S. EPA 1995 for a guide on the Part
 503 Rule.).116 For metals in biosolids, EPA found that leaching into groundwater or runoff into
 surface waters were not limiting pathways (see Appendix 3).

 For the purposes of an EPA NESHAP review, it is important to understand and consider the fact
 that groundwater protection is primarily governed by state law and is considered under federal
 and state highway guidance. For example, the Florida Department of Transportation’s Standard
 Specifications For Road And Bridge Construction states roads must: (a) “[p]rovide erosion
 control measures where work is accomplished in conjunction with the project, to prevent erosion,
 pollution of water, detrimental effects to public or private property adjacent to the project right-
 of-way and damage to work on the project;” (b) “[d]o not drive in, operate, or place construction
 equipment or materials in surface waters, wetlands, groundwater, or property beyond the project
 limits without permitted authority for permanent or temporary impacts; and (c) [d]o not allow
 water that does not meet state water quality standards or does not meet the permitted criteria to
 exit the project limits.117 That is, metals impact on groundwater will and should be determined at
 the local level.

 114
       Appendix 3.
 115
       40 C.F.R. Part 503. Fla. Admin. Code 62-640.
 116
    EPA, A Guide to the Biosolids Risk Assessments for the EPA Part 503 Rule, EPA/832-B-93-005 (1995),
 available at https://www.epa.gov/sites/production/files/2018-11/documents/guide-biosolids-risk-assessments-
 part503.pdf.
 117
       Florida Spec Book, supra note 23, at 131.
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 The fact that materials utilized to construct roads can impact the environment has been reported
 by the NAS,118 states,119 and other federal agencies, 120 and applies to all road construction
 material, not just PG. States provide comprehensive guidance on roadway design. 121 Thus,
 regardless of the source of the road construction material, the federal, state, and local road
 building agencies will assess the environmental and physical characterization to determine
 whether there is an impact from utilizing material A versus material B and decisions on how to
 mitigate any impacts is within the discretion of these agencies.

 Lastly, the footprint of a road on the landscape is very small compared to agricultural lands upon
 which biosolids and amendments with many higher allowable metal concentrations than those in
 PG are permitted for continuous use (see EPA 1992 BID). The smaller footprint and lower
 likelihood of leaching from a constructed road compared to an agricultural field indicates that the
 influence on groundwater from PG in the road is likely to be comparatively very small. The
 amount of PG in road base is expected to be negligible in comparison and thus can be used safely
 in road construction given the lower metals content in PG and the smaller footprint and
 confinement of the base layer above the water table.

 In summary, the presence of other substances that are not radionuclides in PG is unlikely to
 present an unacceptable worker exposure or adversely impact groundwater or surface water
 quality. The leaching pathway is likely not a complete pathway of concern for the PG use in
 road construction proposed in this Petition.

          F.        Risks From Other Pathways

 The Response to EPA Comments on January 16, 2020 (Appendix 4a) contains an explanation of
 the low risks from other pathways (air, ingestion of food from a garden, etc.) and the rationale
 for not duplicating the risk assessment on these pathways from the 1992 BID risk assessment.




 118
    The National Academies of Science, Assessing and Managing the Ecological Impacts of Paved Roads (2005),
 available at https://www.nap.edu/catalog/11535/assessing-and-managing-the-ecological-impacts-of-paved-roads.
 119
    Idaho Transportation Department, Impacts of Using Salt and Salt Brine for Roadway Deicing, RP 231 (2014),
 available at https://www.ctcandassociates.com/work-samples/saltimpacts.pdf.
 120
    USDA, Reclaimed Materials and Their Application in Road Construction: A Condensed Guide for Road
 Managers (December 2013), available at https://www.fs.fed.us/t-
 d/pubs/pdfpubs/pdf12771807/pdf12771807dpi72.pdf.

 European countries compile information on mitigation environmental impacts. Roadex Network, Environmental
 Issues on Low Volume Roads, available at https://www.roadex.org/e-learning/lessons/environmental-
 considerations-for-low-volume-roads/preface-environmental/.
 121
    Florida Department of Transportation, Manual of Uniform Minimum Standards for Design, Construction and
 Maintenance for Streets and Highways (Draft), Chapter 4 (2018), available at
 https://www.fdot.gov/roadway/floridagreenbook/fgb.shtm (Commonly known as the Florida Greenbook).
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          G.        Comparison of TFI Risk Assessment and Screening Evaluation with EPA’s
                    1992 EPA Background Information Document (BID) Risk Assessment

 Appendix 2 performed a very “high level” and preliminary overview of the main differences that
 we could readily identify between the dose and risk results provided in EPA’s 1992 BID and
 those previously discussed in this report. The following is a list of comparisons:

         A 1:1 dilution of PG with soils (higher PG to soil than EPA’s 1:2 PG to soil in 1992.
          Appendix 2, 1992 BID page 4-9).

         A road thickness of 0.25 m (the same as in 1992).

         The current risk assessment considers the same receptors as EPA did in 1992 as well as
          two additional receptors suggested by the EPA, namely, the truck driver transporting PG
          to the construction site and a utility worker who works some time in a trench cutting
          across a road constructed with PG.

         For the road construction worker, the EPA considered workers standing on the road base
          and unshielded, as was also assumed for the current risk assessment.

         The current risk assessment assumes a worker moves around over the road surface and is
          exposed at the average of the gamma fields at the center and edge of the road. While not
          fully clear, the EPA in 1992 may have assumed a worker was always in the center of the
          road which would largely account for the difference between gamma doses estimated in
          1992 and now.

         The road user is assumed in both cases to drive on a road with a PG base and a cover (in
          1992 asphalt or cement) and in the present analysis, for purpose of illustration, concrete
          road surface was assumed. Only annual dose and risk are available from the 1992 risk
          assessment. The 1992 EPA risk assessment used a 0.6 shielding for the road user, but
          rather than determine the degree to which vehicles have changed in the amount of metal
          in the under carriage of cars, the current risk assessment takes no credit for shielding
          provided by the vehicle that would provide some level of shielding which is a
          conservative assumption and could reasonably be considered.

         The dose to the nearby resident is dominated by exposure to gamma radiation which
          decreases rapidly with increasing distance from the edge of the road. The 1992 risk
          assessment assumed the nearest resident would be at 100 meters (approximately 328 ft)
          from the edge of the road. The current assessment considers the RME exposure scenario
          to be a resident whose home is located a distance of 50 feet from the edge of the road (an
          urban resident whose home is at 20 feet from the edge of the road is also calculated to
          illustrated the change in exposure levels with distance).

         The 1992 BID mentions the presence of metals, but did not consider any substances other
          than radionculides in the 1992 risk assessment. The current Petition includes a metals
          screening evaluation to justify the fact that a quantitative risk assessment is not
          warranted.


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           The EPA BID risk assessments considered a reclaimer scenario with exposures from
            gamma radiation and radon, in which the surface is removed and a house is directly built
            upon PG, and a resident lives in the house for 70 years (see Petition’s Risk Assessment
            and Appendix 4b for a full review of the so called reclaimer scenario).

                    At EPA’s request, this Risk Assessment calculated this reclaimer scenario, even
                     though such a scenario is an extreme hypothetical case that is not a RME
                     exposure. Both the 1992 and present calculation assume the surface is removed,
                     but the current assessment takes into account the necessary construction site
                     preparation and grading, which reduces the thickness and to a lesser degree, the
                     concentration of residual road base construction activity that would be necessary
                     to construct a house.

                    The 1992 BID does not indicate how the risk from radon was calculated (dose
                     from radon was not reported in the 1992 BID).

                    The 1992 BID assumed 70-years residency and the current assessment uses
                     EPA’s current RME for duration living in a residence of 26-year residency (the
                     upper 90th percentile) (see more in depth discussion in Sections I(B), III(A)(2),
                     and IV (D)(9), above). Even the 1992 BID risk assessment used 26 years as the
                     duration a person might reside in the house. Thus, the 70-year residency for the
                     reclaimer scenario in the 1992 BID appears to be inconsistent with the residency
                     lengths used by EPA in other parts of the 1992 as well as current EPA guidance.

                    The current assessment also assumes a 6 ml poly layer which is standard as a
                     vapor barrier in current home construction.

                    Both the 1992 BID Risk Assessment (at Table 4) and the Petition’s Risk
                     Assessment calculated the risk based on an assumed concentration of radium
                     (226) (26 pCi versus 27 pCi/g).122

 These comparisons demonstrate the upper bound nature of the risk assessment. Actual doses and
 risks are likely to be lower.

 V.         RISK MANAGEMENT DECISION

 TFI has provided information required by EPA 123 necessary for completing the agency’s
 evauation and determination that use of PG in road construction may be deemed at least as
 protective of human health as disposal on a stack. Risk management factors favor approving the
 use of PG for road construction. The petition and supporting risk analysis demonstrates that this
 use can be advanced safely. Justifications for this determination include:

 The Risk Management limit of 3 in 10,000 is consistent with other NESHAP risk limits.


 122
       The 1992 BID Risk Assessment include in the table the risk from a range of radium (226) concentrations.
 123
    Information requirements at 40 C.F.R. §§ 61.206(b) (1), (2), (6), (7), (8), and (9) for EPA approval based on a
 risk assessment determination and conditioned upon receipt of information requirement (3), (4), (5), and (10).
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         The highest Reasonably Maximum Exposure (RME) for the use of PG in road
          construction, 0.5 in 10,000 (0.5 in 10,000 is 5 in 100,000), is well below the NESHAP
          radionuclide risk management limit of 3 in 10,000.

         For ease of calculation, this Risk Assessment used a nominal average radioactivity level
          in PG of 27 pCi/g. By “nominal average” we mean this is the average radioactivity level
          we used in our initial calculation. This number is reasonable and is similar to numbers
          EPA previously used.

         Once the risk from the initial calculation is determined, EPA can then estimate the risk
          from higher and lower radioactivity levels. For example, if the average radioactivity
          level for a stack is (13.5 pCi/g, then the risk is one half of that calculated for 27 pCi/g).

         At EPA’s request, TFI members recently sampled PG from multiple gypstacks (Appendix
          5). This report confirms that the existing data supports the use of the PG stacks in the
          U.S for use in road construction. In summary, the average radioactivity level for each
          stack was significantly lower than 27 pCi/g.

         Furthermore, the risk assessment performed for this Petition demonstrates that 27 pCi/g
          corresponds to a cancer risk of 0.5 in 10,000 for the highest RME use of PG in road
          construction (i.e., the road construction worker), therefore the risk from these stacks is
          less than 0.5 in 10,000. Based on the risk assessment performed for this Petition, EPA’s
          PG risk management safe risk level of 3 in 10,000 corresponds to a radium (226)
          concentration in the PG of 148 pCi/g (see Sections I(B) and III(B)(3) and Appendix 2).
          Thus, PG materials in TFI’s member’s stacks may be safely used as road construction
          material. It is extremely unlikely if not impossible for random variation in the PG
          radioactivity levels to exceed an average 148 pCi/g, the radioactivity level that
          corresponds to a 3 in 10,000 risk management level. EPA performed extensive modeling
          of the likely migration of radionuclides from PG used in road construction in a 1992
          assessment discussed below. The EPA concluded that the radionuclide doses from the
          groundwater pathways are all negligible. EPA’s assessment demonstrates that the
          radionuclide risks were found to be zero.

         Screening evaluation of the potential impact of metals in PG shows that PG can be used
          safely by workers in road construction. Paving limits direct contact by the community
          and also limits water contact with PG isolated in the base layer.

         Care has been taken in the assessment process to manage scientific uncertainties by
          choosing values and approaches that are likely to overestimate rather than underestimate
          risks. These result in an RME value, which serves as a reasonable upper bound on the
          risk distribution and is a readily accepted approach for representing maximum exposures
          (see Appendix 2). It also provides insight into risks to the population. RMEs
          overestimate risks for highest exposure situations such that actual risks would be lower.

         For perspective on exposure magnitudes, radiation levels from the use of PG are
          compared to naturally occurring background. Each exposure scenario has incremental
          radiological dose that are well below naturally occurring background levels. Exposures


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            to the public using the road or living immediately adjacent to the road are likely to be
            indistinguishable from the natural variability in background.

           There are naturally occurring background radiation and metals in other non-PG
            construction material including coal ash, fly ash, bottom ash, and other common
            construction materials. These materials have been deemed safe to use in road
            construction and other applications. Similarly, this Petition demonstrates the same is true
            for PG. The use of PG for road construction is consistent with EPA policy on recycling
            of wastes and waste residuals.The use of PG for roadway construction provides a net
            economic benefit.

           Approval of the use of PG for road construction is consistent with the Administration’s
            regulatory reform policies.

            A.       Overview

 The regulatory decision to approve a new use for PG is a risk management decision that is
 assigned to the Assistant Administrator for Air and Radiation. Risk management decisions
 involve weighing the results of a risk assessment with “the results of other technical analyses and
 nonscientific factors, to reach a decision about the need for and extent of risk reduction to be
 sought in particular circumstances and of the means for achieving and maintaining that
 reduction.”124

 This Petition and its Appendices provide the facts and science required to approve this Petition.
 This subsection applies these facts and the science to EPA’s risk management factors and
 explains TFI’s position that approval is appropriate.

            B.       The Risk Management Level of 3 in 10,000 is Consistent with Other
                     NESHAP Goals

 The EPA Office of Air and Radiation policy is to make a case-by-case decision concerning the
 acceptability of the risk from exposure to radionuclides. 125 However, the PG risk management
 limit of 3 in 10,000 is consistent with other typical EPA risk management decisions.

            C.       The Highest RME Risk Scenario for the Use of PG in Road Construction is
                     Below the NESHAP Radionuclide Risk Management Goal of 3 in 10,000

 This Petition demonstrates that the risks of using PG material in constructing roads satisfy the
 risk management goal for approved alternative uses of PG. In fact, the risk of PG in road
 construction is well below the risk management goal of 3 in 10,000.



 124
    Institute of Medicine, Environmental Decisions in the Face of Uncertainty, Box 2-1 (2013), available at
 https://www.ncbi.nlm.nih.gov/books/NBK200844/box/box_2_1/?report=objectonly (Uncertainty in Environmental
 Decisionmaking).
 125
       1989 Rule, supra note 3, at 51,564.

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 The risks from all exposure scenarios were calculated, but the highest RME risk is calculated for
 the road construction worker who is involved with paving the road with PG that is mixed with
 soil (i.e., a cancer risk of 0.5 in 10,000, lower than the PG alternative use risk management goal
 of 3 in 10,000). EPA has long concluded that 3 in 10,000 is the equivalent of the risk from the
 existing PG stacks, so this alternative does not present a meaningful difference in the risk from
 the existing stacks. The focus is on the road construction worker since the risks from all other
 exposure scenarios fall below 110 mrem during road construction use and are of lower risk,
 although the road worker’s risk falls within EPA exposure limits as well.

 The vast majority of road construction workers have much lower risks than those calculated in
 this Petition. Highway construction workers not directly working on the road are located further
 from the PG and the associated risks are lower.

 The risk calculation for the highest RME for a worker placing road base assumes that the PG
 emits 27 pCi/g exposure for five years. Based on the preliminary data on radiation levels from
 PG stacks, the average level of radioactivity from the PG material in each sampled stack is less
 than the nominal 27 pCi/g used in the risk assessment, thus, the risk from these sampled stacks is
 even further below the EPA risk management safe limit of 3 in 10,000 risk level. The calculated
 risk is scalable, i.e., if the radioactivity level in a stack is 13.5 pCi/g, the risk is one half of the
 risk calculated for the nominal radioactivity level of 27 pCi/g (i.e., the 13.5 pCi/g stack
 corresponds to a 0.28 in 10,000 risk level, significantly lower than the EPA PG risk limit of 3 in
 10,000). On average, the RME exposure and the dose to risk conversion for road construction
 workers using PG are likely to overestimate risk.

 Similarly, the highest RME to a resident living near a road (the resident lives in a home located
 50 feet or more from a road for 26 years) assuming the PG contains 27 pCi/g is approximately a
 0.08 in 10,000 cancer risk, again, well below the PG use risk management goal of 3 in 10,000.
 Most residents living near roadways are located further than 50 feet from the edge of the road,
 and the RME exposure and dose to risk conversion are likely to overestimate risk.

 The reclaimer scenario is not a RME since it is such a rare potential event, and should not be
 used in the risk management decision. Nonetheless, the risk assessment report calculated a risk
 using RME-type exposure input below the PG use risk management goal of 3 in 10,000.

            D.      Science Policy Assumptions and Uncertainties are Taken into Account in the
                    Final Risk Management Decision

                    1.      Overview

 Each of the factors EPA considers in its risk management decision has sensitivities, variabilities,
 and uncertainties. EPA specifically considered uncertainties and other nonrisk factors in its 1989
 and 1992 decisions on acceptable alternative uses of PG. 126

 A recent NAS report recommended incorporating an uncertainty analysis, which was broadly
 defined to include sensitivities, variability, and various other uncertainties, into EPA


 126
       EPA PG Workbook supra note 43, at 5.

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 decisions.127 This NAS report recommends that an “uncertainty analysis” be “designed on a
 case-by-case basis.”128 EPA considered uncertainties in previous risk calculations and decisions
 concerning alternative uses of PG.129 However, combining RME with the inherent uncertainties
 in the dose to risk conversion factors can yield risks that are overly conservative compared to
 actual risks.

 Science policy influences both the exposure calculation and the cancer potency and noncancer
 risk factors that convert the exposure to risk. The EPA decision makers and the public need to
 understand how policy influences the risk calculation. Put simply, regulatory risk is not the same
 as actual harm. Unduly conservative risk calculations do not serve the public, since they divert
 limited resources to issues that present less risk. Science policy based on accumulations of
 conservative assumptions, including extra layers based on uncertainties, can distort risk estimates
 and undermine the value and credibility of risk management decisions.

                     2.       Measurement Variation and Uncertainty

 Each calculated risk depends upon how sensitive the calculation is to changes in the
 measurements and input values used in any risk assessment. Risk is assumed to be linearly
 proportional to dose and the length of exposure. For example, if the concentration of
 radionuclide in PG increases by 10%, the dose (and, therefore, the risk) increases by 10%.
 Similarly, if the length of exposure increases by 20%, the total dose increases by 20%. See
 Section IV, above for a discussion of the variation.

                     3.       Variation by Location

 Some of the inputs to risk assessments naturally vary. For example, the average radioactivity
 level in PG stacks depends upon the source of the phosphate ore and other site specific factors.
 This risk assessment assumed average radioactivity levels of 27 pCi/g. However, the average
 level of radioactivity in PG stacks in the TFI 2019 sampling varied from 6.3 to 27.9 pCi/g and
 data from 1988 had average stack concentration of 34 pCi/g (see Sections I(B), III(B)(3), and
 Appendix 5). Even levels of 148 pCi/g are safe. 130 Again, dose is directly proportional to the
 radioactivity level.

                     4.       Variation Due To Design Facts

  The Risk Assessment was developed to examine a conceptual road design, to provide an
  estimate of the upper end RME risks associated with PG use in roads. This approach is
  appropriate because it is impractical to perform a risk assessment that uses different values for
  every conceivable road design. Neither the 1989 nor the 1992 BID risk assessment considered
  every conceivable road design.

 127
       Uncertainty in Environmental Decisionmaking, supra note 124, at 5.
 128
       Id.
 129
       EPA PG Workbook, supra note 43, at 5.
 130
     Based on the risk assessment, PG with radiation levels a couple of times greater than 27 pCi/g may still be
 utilized for road construction. In fact, an average radiation level of 148 pCi/g corresponds to EPA’s risk
 management goal of 3 in 10,000.
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  The following factors utilized to minimize the impact of any uncertainties are discussed in the
  Response to EPA Comments on January 16, 2020 (Appendix 4a).

           The 2019 radiological testing demonstrates that no individual radium (226)
            concentration the exceeds 35 pCi/g radium (226) concentration requested as a
            concentration limit and the measured stack averages are well below the 3 in 10,000 safe
            risk level (i.e., a radium (226) concentration of 148 pCi/g).

           The EPA 1992 BID assumed a 1:2 dilution of PG with soils for a road base
            concentration of 10 pCi/g. The Petition’s Risk Assessment utilized less dilution (1:1
            PG:soil).

           The EPA 1992 BID assumed the road base was 0.25 m thick and 30 feet (9.15m) wide
            and that the road base is covered with a 0.12 m (5 in) thickness of asphalt. The
            Petition’s Risk Assessment utilized a road thickness of 0.25 m (the same as in the EPA
            1992 BID).

           The EPA 1992 BID assumed PG in a concrete road incorporates 15% PG by weight and
            0.12 m thick (5 in) and 24 feet wide (7.32 m). The Petition’s Risk Assessment reviewed
            road base design criteria and concluded 15% was a high-end criterion.

           The EPA 1992 BID used exposure to the critical population group member (nearby
            resident 100 m (i.e., 328 ft) from the edge of the road). The Petition’s Risk Assessment
            calculated the radiation levels at 50 feet from the edge of the road.

           The current risk assessment assumes a worker moves around over the road surface and is
            exposed at the average of the gamma fields at the center and edge of the road, which is
            more reasonable than assuming a worker never moves for 5 years. The stationary
            worker is not realistic or reasonable, therefore it is not an RME.

           The 1992 EPA risk assessment used a 0.6 shielding for the road user, but rather than
            determine the degree to which vehicles have changed the amount of metal in the under
            carriage of cars, the current risk assessment takes no credit for shielding provided by the
            vehicle which would provide some level of shielding which is a conservative assumption
            and could reasonably be considered.

           The current risk assessment considered two receptors beyond those considered in the
            1992 BID (truck driver and utility worker).

                    5.      The Influence of Exposure Policies

 It is well settled that exposure is not sufficient to support regulation unless there is a significant
 risk.131 Because empirical data are often not available, a 2013 National Academies of Science
 131
    "When the administrative record reveals only scant or minimal risk of material health impairment, responsible
 administration calls for avoidance of extravagant, comprehensive regulation. Perfect safety is a chimera; regulation
 must not strangle human activity in the search for the impossible. Indus. Union Dep’t. v. API, 448 U.S. 607, 642
 (1980). See Natural Resources Defense Council v. EPA, 824 F.2d at 1164-65.
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 (NAS) report noted that EPA’s risk assessment policies and practices rely heavily on default
 options or generic approaches. 132 These approaches can introduce high levels of uncertainty into
 risk assessments.

 As noted above, the “intent of the RME is to estimate a conservative exposure case (i.e., well
 above the average case) that is still within the range of possible exposures.” 133 A NAS
 Committee reviewing EPA’s regulation of technologically enhanced naturally occurring
 radioactive material (TENORM) recommended that EPA “should use exposure and dose risk
 assessments that are ‘reasonably realistic’” in developing standards for exposure to the various
 types of low level naturally occurring radiation.134 The Committee defined “reasonably realistic”
 as “not….intended to greatly overestimate or underestimate actual effects for the exposure
 situation of concern” and EPA agreed with the Committee’s recommendations. 135 Thus, by
 definition, RME exposures should be intentionally set at levels that are at the high end, but not
 an extreme worst case.

 The use of defaults has been criticized by independent commentators for: (a) “lack of an
 adequate scientific basis;” (b) the fact that default “can mask the uncertainty;” (c) observations
 that defaults can be “overly conservative;” (d) the fact that cumulative impact of uncertainties is
 not well defined; and (e) concerns “whether there is any basis for believing that the upper-bound
 estimate for one substance has the same relation to the ‘true’ risk as it does for another
 substance.”136

 The Response to EPA Comments on January 16, 2020 (Appendix 4a) summarizes and expands
 on the discussion of the reasons that the RMEs are supportable and consistent with EPA policies
 and the recommendations of learned advisory bodies.

                     6.      Risk Factor Policies and Uncertainties

 EPA has long utilized (and courts have long upheld) the principle that a 1 in 10,000 risk level is
 “safe.” As a unanimous en banc ruling of the Court of Appeals for the District of Columbia
 Circuit candidly noted, the basis for claiming harm from exposure to chemicals at extremely low
 environmental levels is more a function of “the rules of arithmetic rather than because of any
 knowledge” and there was “no particular reason to think that the actual line of the incidence of
 132
    See Uncertainty in Environmental Decisions, supra note 124, at 58. See also National Research Council, Science
 and Judgment in Risk Assessment, 65 (1994), available at
 http://www.nap.edu/openbook.php?record_id=2125&page=65. See also General Accounting Office, Use of
 Precautionary Assumptions in Health Risk Assessments and Benefits Estimates, GAO-01-55, 7 (October 2000),
 available at https://www.gao.gov/products/GAO-01-55.
 133
       EPA Risk Assessment Guidance for Superfund, supra note 10, at 7-1.
 134
       EPA Report to Congress Re: TENORM, supra note 75, at 15.
 135
    Id. citing the NAS Report at p. 245. “If high-end values are chosen for every exposure factor, then the resulting
 exposure estimate may no longer be consistent with the RME and may exceed the realm of possibility altogether.”
 ITRC, Decision Making at Contaminated Sites, supra note 10, at 6.1.1.
 136
    Uncertainty in Environmental Decisions, supra note 124, at 58. The RME and other factors utilized in the risk
 assessment are documented in the literature (see RESRAD documentation, EPA guidance or as justified in the
 various Appendices to this Petition).

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 harm is represented” by the assumption selected by EPA. 137 This acknowledgment is also apt for
 the risks from radionuclides.

 The 2013 NAS noted that:

             EPA originally selected the linear, no-threshold default as a “conservative” or “health-
             protective” policy choice because it assumes that there is no dose below which risks are
             not increased. It is likely to generate the highest, or upper-bound, risk estimate consistent
             with the data; the actual risk almost certainly will not exceed the upper bound and will
             likely fall below it.138

 Use of the International Commission on Radiological Protection (ICRP) value (proposed by the
 international institution whose purpose is to provide such advice) is supported by several factors:

 First, ICRP is an expert advisory body that oﬀers its recommendations to regulatory and advisory
 agencies, mainly by providing guidance on the fundamental principles on which appropriate
 radiological protection is based. The 2007 recommendation was produced “after eight years of
 discussions, involving scientists, regulators, and users all around the world.” 139

 Second, the Petition’s use of the ICRP dose to risk conversion factor is consistent with EPA’s
 radiation risk assessment factors and procedures. For example, the EPA 2011 radiation
 guidance140 provides cancer risk factors for uniform whole-body exposures of low-dose gamma
 radiation to the entire population, essentially the same dose to risk conversion range derived by
 the ICRP.

 Similarly, as noted above, the organization chartered by the U.S. Congress in 1964 to, among
 other things, “develop … recommendations about …protection against radiation” (i.e., the
 United States National Council on Radiation Protection and Measurements (NCRP)) uses the
 same dose to risk conversion factor as the 2007 ICRP.141

 Third, the international scientific and regulatory communities have widely adopted the ICRP
 recommendations.142

 137
       Natural Resources Defense Council v. EPA, 824 F.2d at 1165.

 138
       Uncertainty in Environmental Decisions, supra note 124, at 58.
 139
       2007 ICRP Recommendations, supra note 88, at 3.
 140
       EPA Radiogenic Cancer Risk Models and Projections for the U.S. Population, supra note 92.
 141
       Management of Exposure to Ionizing Radiation, supra note 93, at 42.
 142
    See Radiation Protection and Management of NORM Residues, supra note 59, at 165. The IAEA was founded to
 “establish or adopt … standards of safety for protection of health and minimization of danger to life and property”
 and while “[r]egulating safety is a national responsibility . . . many States have decided to adopt the IAEA’s
 standards for use in their national regulations” (including Sweden, Denmark, the Netherlands, the UK, Japan,
 Canada, Belgium, Japan, and the EU). IAEA, Governmental, Legal and Regulatory Framework for Safety, 7
 (2016), available at https://www.iaea.org/publications/10883/governmental-legal-and-regulatory-framework-for-
 safety.

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 Fourth, the International Atomic Energy Agency (IAEA) (an organization in which the U.S. is a
 member and helped establish) and the European Union (as well as each of its member countries)
 utilized a 1 millisievert (1 mSv) per year acceptable level of radiation exposure, which has been
 widely adopted by the international community, such as the IAEA and EU regulations. This
 corresponds to a 26-year total dose of 26 mSv (i.e., 2,600 mrem).

 The ICRP approach is more stringent than the large, and growing, body of scientific literature
 that radiation risks have a threshold. Also, in 2015, a U.S. Nuclear Regulatory Commission
 (NRC) Advisory Committee acknowledged that:

                     There is a large, and growing, body of scientific literature as well as mechanistic
                     considerations which suggest that 1) the LNT model may overstate the
                     carcinogenic risk of radiation at diagnostic medical, occupational, and
                     environmental doses and 2) such low doses may, in fact, exert a hormetic (i.e., a
                     beneficial or protective) effect.143

 The United Nations Scientific Committee on the Effects of Atomic Radiation notes that below
 doses of 100 to 200 mGy (roughly equivalent to 10,000 to 20,000 mrem), “[e]pidemiological
 studies alone are unlikely to be able to identify significant elevations in risk.” 144

 Because, as a matter of policy, neither EPA nor the Nuclear Regulatory Commission has
 changed its "no threshold" default assumptions, this Petition does not seek to go beyond the
 widely accepted ICRP value. In reality, the actual risk may be lower.

            E.       Comparison of Radioactivity Levels from Use of PG and Naturally
                     Occurring Background

 Each exposure scenario we assessed results in a radiation dose well below the annual natural
 background level (see Table 1, above). The annual background level of naturally occurring
 radiation is 310 mrem.145 For a 26 year period, the cumulative dose is 8,060 (310 mrem times
 26), thus the total dose for a nearby resident (16 mrem) given this PG use is 0.2% of the
 cumulative natural background dose levels ((16 divided by 8,060) (See Section I(B) and Tables 4
 and 5, above)). For the RME construction worker scenario (a risk of 0.5 in 10,000), the RME
 worker dose is 7% of the background dose for a worker at a road construction site not using PG.
 (see Tables 4 and 5, above summarizing the risks from all exposure scenarios). As a result, there


 See Council Directive 2013/59/Euratom, supra note 95.

 See UNSCEAR, Report of the United Nations Scientific Committee on the Effects of Atomic Radiation, 8 and n. 17
 (2010), available at https://www.unscear.org/docs/reports/2010/UNSCEAR_2010_Report_M.pdf (UNSCEAR
 Report).

 143
    Nuclear Regulatory Commission, Advisory Committee on the Medical Uses of Isotopes (ACMUI), Report on the
 Hormesis/Linear No-Threshold Petitions, 1 (October 14, 2015), available at
 https://www.nrc.gov/docs/ML1528/ML15287A494.pdf.
 144
       UNSCEAR Report, supra note 142, at 8.
 145
       Appendix 2.

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 will be no meaningful incremental increase above the background exposure dose for any of the
 exposure scenarios, but particularly for the nearby resident and road user.

 Background levels of radiation are often considered in governmental decisions. For example,
 EPA’s PG Workbook compares the risk from use of PG to background levels of radiation. 146
 When the calculated risk for receptors in a risk assessment is lower than background, it is a
 relevant factor in the risk management decision.

            F.       EPA Policy Supports Recycling of Wastes and Waste Residuals

 EPA’s 1989147 and 1992148 risk management decisions concerning alternative uses of PG took
 into account the Agency’s overarching policy of supporting recycling. Since 1992, EPA has
 increased its emphasis on adopting sustainability policies.

 EPA has prioritized policies to encourage recycling of a wide variety of byproducts and other
 materials.149 Similarly, the U.S. Department of Agriculture also has issued guidance on using
 various reclaimed materials in road construction. 150 The recycling of PG decreases raw material
 costs for companies and government entities that use the PG material. It also decreases
 greenfield impacts, increases beneficial land use, and reduces long-term maintenance costs.
 Reuse of PG avoids potential environmental concerns with long-term storage of PG. As EPA
 notes in the context of coal ash use:

            Beneficial use is the recycling or use of coal ash in lieu of disposal. For example, coal
            ash is an important ingredient in the manufacture of concrete and wallboard, and EPA
            supports the responsible use of coal ash in this manner. This final rule supports the
            responsible recycling of coal ash by distinguishing beneficial use from disposal. 151

 EPA recently concluded that:



 146
    EPA PG Workbook, supra note 43, at 13 (“To put this number in perspective and to illustrate how little
 additional risk is permitted, the risk in the United States of developing a fatal cancer (from all causes) is about one in
 four”).
 147
       1989 Rule, supra note 3.
 148
       1992 Rule, supra note 48, at 23,306.
 149
    “Sustainable Materials Management (SMM) refers to the use and reuse of materials in the most productive and
 sustainable way across their entire life cycle. On a broader scale, SMM looks at social, environmental and economic
 factors to get a more holistic view of the entire system. The benefits of maximizing this connection include
 conserving resources, reducing waste, slowing climate change, and minimizing the environmental impacts of the
 materials we use.” EPA, Advancing Sustainable Materials Management: 2016 Recycling Economic Information
 (REI) Report, EPA 530-R-17-002, 2 (2016), available at https://www.epa.gov/sites/production/files/2017-
 05/documents/final_2016_rei_report.pdf.
 150
       Reclaimed Materials and Their Applications in Road Construction, supra note 120.
 151
   EPA, Frequent Questions about Beneficial Use of Coal Combustion residuals (CCR) (last updated March 26,
 2019), available at https://www.epa.gov/coalash/frequent-questions-about-beneficial-use-coal-ash.

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             [E]nvironmental releases of COPCs from CCR fly ash concrete and FGD gypsum
             wallboard during use by the consumer are comparable to or lower than those from
             analogous non-CCR products, or are at or below relevant regulatory and health-based
             benchmarks for human and ecological receptors. Thus, EPA supports the continued
             beneficial use of coal fly ash in concrete and FGD gypsum in wallboard. Furthermore, the
             Agency believes that these beneficial uses provide significant environmental and
             economic benefits, and opportunities to advance Sustainable Materials Management
             (SMM).152

 The use of CCR for beneficial use in road construction is analogous to and supports the Office of
 Air and Radiation’s approval of the use of PG in road construction. More generally, approval of
 the use of PG in road construction is consistent with EPA’s policy of encouraging recycling.

             G.      Naturally Occurring Background Radioactivity and Metals are Present
                     Widely in the Environment, Including Existing Road Construction Materials

 Many consumer products contain radioactive components (smoke detectors, clocks and watches,
 older camera lenses, older gas lantern mantles, older televisions and computer monitors, sun
 lamps and tanning salons, ceramic materials such as tiles and pottery, glassware, and some EXIT
 signs, among other products).153 Most consumer products contain metals. Similarly,
 “[r]adioactive materials (including uranium, thorium, and radium) exist naturally in soil and
 rock.”154 Essentially all air contains radon and many types of soil and natural rock emit
 radiation.155 In addition, virtually all road construction materials contain radioactivity and
 metals.

 Coal ash, fly ash, bottom ash, natural gypsum, and other common construction materials 156
 contain radioactive material (see Table below).157

 A 2014 evaluation of coal ash beneficial uses concluded that:

             All of the existing evaluations identified concluded that radiation exposures from fly ash
             concrete are not a major source of concern. Several of these existing evaluations
             compared fly ash concrete to analogous products and found that the potential exposures

 152
    EPA, Coal Combustion Residual Beneficial Use Evaluation: Fly Ash Concrete and FGD Gypsum Wallboard, 5-
 25 (Feb. 2014), available at https://www.epa.gov/sites/production/files/2014-12/documents/ccr_bu_eval.pdf (Coal
 Combustion Residual Beneficial Use Evaluation).
 153
    EPA, What kinds of consumer products contain radioactive materials (last updated on September 19, 2019),
 available at https://www.epa.gov/radiation/what-kinds-consumer-products-contain-radioactive-materials.
 154
    U.S. Nuclear Regulatory Agency, Natural Background Sources (last updated October 2, 2017), available at
 https://www.nrc.gov/about-nrc/radiation/around-us/sources/nat-bg-sources.html#terr.

 155
       Id.
 156
       See Attachment B: Road construction specification examples.
 157
       EPA Report to Congress Re: TENORM, supra note 75, at Appendix A.

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             do not represent an appreciable addition to the background radiation that the general
             public is subjected to on an annual basis. Naturally occurring radionuclides are present
             throughout the environment in food, air, water, soil, consumer products, and even the
             human body. All natural resources used in building construction (e.g., cement blocks,
             bricks, granite, soil, rocks) contain some trace level of naturally occurring radionuclides.
             For example, the USGS concluded that “the radioactivity of typical fly ash is not
             significantly different from that of more conventional concrete additives or other building
             materials such as granite and red brick.” The NCRP concluded that exposures from
             living in concrete buildings containing fly ash are “similar to calculations made for
             individuals living in a brick and masonry home. Consequently, it is assumed that the use
             of [coal ash] in building materials has not substantially increased the average dose to an
             individual in the population residing in a building constructed with brick or masonry
             materials.”158

 The United Kingdom Health Protection Agency “concluded that exposures to ‘…members of the
 public from the use of [fly ash] in building materials is negligible.’” 159

 Thus, the appropriate risk management consideration is not whether PG has a low level of
 radioactivity or metals, but whether the risk is below the EPA PG risk management goal of 3 in
 10,000.




 158
       Coal Combustion Residual Beneficial Use Evaluation, supra note 152, at 1-7.
 159
       Id.

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 Table 6 (copied (without footnotes) from “Appendix A – Table 1, TENORM Materials and
 References.”)




          H.        Use of PG For Roadway Construction Provides a Net Economic Benefit and
                    is Consistent with the Administration’s Regulatory Reform Policies

 A detailed report explaining the various economic benefits to be expected from approval of PG
 use in road construction accompanies this Petition. The report concludes that use of PG in road

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 construction is expected to produce cost savings ranging from $37 million to $160 million during
 the period 2020-2042.160

 The approval would impose no new substantive regulatory requirements and is consistent with
 Presidential Executive Orders that encourage: (a) reducing unnecessarily burdensome and costly
 regulation;161 (b) maximizing the use of goods, products and materials produced in the U.S.; 162
 and (c) encouraging innovative strategies and trade policies.163

            I.       Other Benefits to Eliminating PG Stacks

 Construction and maintenance of PG stacks are large engineering projects. There are
 environmental and actuarial risks presented by any such construction project. The approval of
 PG for use in road construction will reduce future potential risk by limiting the size of existing
 and potentially eliminating the need for new PG stacks.

            J.       Final Agency Action

 EPA’s determination that use of PG in road construction is deemed approved, consistent with
 certain criteria that must be met prior to use, constitutes final agency action under the Clean Air
 Act, 42 U.S.C. 7607 (b)(1), and the Administrative Procedures Act, 5 U.S.C. Section 704.

 Under established legal precedents, an agency approval conditioned on specified requirements
 “mark[s] the consummation of the agency’s decision-making process” and determines the “rights
 and obligations” of relevant parties, with “direct and appreciable legal consequences.” 164 The
 approval process outlined above satisfies these legal prerequisites.




 160
    Interestingly, the lost opportunity costs from not using fly in road construction has been estimated at $4.5 billion.
 Transportation Development Foundation, The Economic Impacts of Prohibiting Coal Fly Ash Use in Transportation
 Infrastructure Construction, 5 (Sept. 2011), available at https://www.artba.org/wp-
 content/uploads/2017/06/study2011flyash.pdf. EPA should consider this lost opportunity cost in its risk
 management decision.
 161
    Presidential Executive Order on Reducing Regulation and Controlling Regulatory Costs, Executive Order 13771
 (Jan. 31, 2017).
 162
       Presidential Executive Order on Buy American and Hire American, Executive Order 13788 (April 18, 2017).
 163
   Presidential Executive Order on Establishment of Office of Trade and Manufacturing Policy, Executive Order
 13797 (April 29, 2017).
 164
       Bennett v. Spear, 520 U.S. 154, 178 (1997). Whitman v Am. Trucking, Ass’n, 531 U.S. 457, 478 (2001).
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                                             SIGNATURE PAGE

 I, Andrew (Andy) T. O’Hare, CAE, am Vice President of Public Policy for The Fertilizer
 Institute165 (the national trade association for fertilizer companies, including the companies that
 own and/or operate phosphogypsum stacks). I coordinated the preparation of this Petition and
 am signing on behalf of all of the TFI members who own or operate PG stacks.




                                                      Andrew (Andy) T. O’Hare
                                                      Vice President of Public Policy
                                                      The Fertilizer Institute




 165
    Since multiple companies that own and operate PG stacks are making this request, this Petition was prepared and
 submitted to EPA by TFI on behalf of its members. A representative of TFI is included on the signature page.


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                                              *      *     *       *      *                           Bldg., Rm. 3334, 1301 Constitution Ave.        must publish its reasons for the denial
                                              [FR Doc. 2021–10783 Filed 5–20–21; 8:45 am]             NW, Washington, DC. The Public                 in the Federal Register. A petitioner
                                              BILLING CODE 6560–50–P                                  Reading Room is open from 8:30 a.m. to         may commence a civil action in a U.S.
                                                                                                      4:30 p.m., Monday through Friday,              district court seeking to compel
                                                                                                      excluding legal holidays. The telephone        initiation of the requested proceeding
                                              ENVIRONMENTAL PROTECTION                                number for the Public Reading Room is          within 60 days of a denial or, if EPA
                                              AGENCY                                                  (202) 566–1744, and the telephone              does not issue a decision, within 60
                                                                                                      number for the OPPT Docket is (202)            days of the expiration of the 90-day
                                              40 CFR Chapter I                                        566–0280.                                      period.
                                              [EPA–HQ–OPPT–2021–0174; FRL–10023–                         Due to the public health concerns
                                              55]                                                     related to COVID–19, the EPA Docket            C. What criteria apply to a decision on
                                                                                                      Center (EPA/DC) and Public Reading             this TSCA section 21 petition?
                                              Petition for Rulemaking Under TSCA;                     Room are closed to visitors with limited       1. Legal Standard Regarding TSCA
                                              Reasons for Agency Response; Denial                     exceptions. The EPA/DC staff continue          Section 21 Petitions
                                              of Requested Rulemaking                                 to provide remote customer service via
                                                                                                      email, phone, and webform. For the                TSCA section 21(b)(1) requires that
                                              AGENCY: Environmental Protection                                                                       the petition ‘‘set forth the facts which it
                                              Agency (EPA).                                           latest status information on EPA/DC
                                                                                                      services and docket access, visit https://     is claimed establish that it is necessary’’
                                              ACTION: Petition for rulemaking; denial;                                                               to initiate the proceeding requested. 15
                                                                                                      www.epa.gov/dockets.
                                              reasons for Agency response.                                                                           U.S.C. 2620(b)(1). Thus, TSCA section
                                                                                                      FOR FURTHER INFORMATION CONTACT: For
                                                                                                                                                     21 implicitly incorporates the statutory
                                              SUMMARY: This document announces the                    technical information contact: Brooke
                                                                                                                                                     standards that apply to the requested
                                              availability of EPA’s response to a                     Porter, Existing Chemicals Risk
                                                                                                                                                     actions. Accordingly, EPA has relied on
                                              portion of the petition it received                     Management Division (7404T), Office of
                                                                                                                                                     the standards in TSCA section 21 and in
                                              February 8, 2021, from People for                       Pollution Prevention and Toxics,
                                                                                                                                                     the provisions under which actions
                                              Protecting Peace River, Center for                      Environmental Protection Agency, 1200
                                              Biological Diversity, and 16 other                                                                     have been requested in evaluating this
                                                                                                      Pennsylvania Ave. NW, Washington, DC
                                              organizations. While the petition                                                                      TSCA section 21 petition.
                                                                                                      20460–0001; telephone number: (202)
                                              requested three actions related to TSCA,                564–6388; email address:                       2. Legal Standard Regarding TSCA
                                              EPA has determined that only one of                     porter.brooke@epa.gov.                         Section 4(a)(1)(A)(i)
                                              those actions is an appropriate request:                  For general information contact: The
                                                                                                                                                       EPA must make several findings in
                                              A request to issue a test rule under                    TSCA-Hotline, ABVI-Goodwill, 422
                                                                                                                                                     order to require testing under TSCA
                                              TSCA requiring testing of                               South Clinton Ave., Rochester, NY
                                                                                                                                                     section 4(a)(1)(A)(i) through a rule or
                                              phosphogypsum and process                               14620; telephone number: (202) 554–
                                                                                                                                                     order. EPA must find that the
                                              wastewater from phosphoric acid                         1404; email address: TSCA-Hotline@
                                                                                                                                                     manufacture, distribution in commerce,
                                              production. EPA is treating the other                   epa.gov.
                                                                                                                                                     processing, use, or disposal of a
                                              portions of the petition involving TSCA                 SUPPLEMENTARY INFORMATION:                     chemical substance or mixture, or that
                                              as a petition under the Administrative
                                                                                                      I. General Information                         any combination of such activities, may
                                              Procedure Act (APA); those other
                                                                                                                                                     present an unreasonable risk of injury to
                                              portions request EPA to initiate the                    A. Does this action apply to me?               health or the environment; that
                                              prioritization process for designating
                                                                                                         This action is directed to the public       information and experience are
                                              phosphogypsum and process
                                                                                                      in general. This action may, however, be       insufficient to reasonably determine or
                                              wastewater as high-priority substances
                                                                                                      of interest to those persons who               predict the effects of such activity or
                                              for risk evaluation, and to make a
                                                                                                      manufacture (including import),                activities on health or the environment;
                                              determination by rule under TSCA that
                                                                                                      distribute in commerce, process, use, or       and that testing of the chemical
                                              the use of phosphogypsum in road
                                                                                                      dispose of phosphogypsum and process           substance or mixture is necessary to
                                              construction is a significant new use.
                                                                                                      wastewater. Since other entities may           develop the missing information. 15
                                              Therefore, this document does not
                                                                                                      also be interested, the Agency has not         U.S.C. 2603(a)(1)(A)(i).
                                              provide EPA’s response to these two
                                              TSCA-requested actions. Also, this                      attempted to describe all the specific         3. Legal Standard Regarding TSCA
                                              document does not address the                           entities that may be affected by this          Section 4(a)(1)(A)(ii)
                                              petitioners’ requests under the Resource                action.
                                                                                                                                                        EPA must make several findings in
                                              Conservation and Recovery Act (RCRA).                   B. What is EPA’s authority for taking          order to require testing under TSCA
                                              After careful consideration, EPA has                    this action?                                   section 4(a)(1)(A)(ii) through a rule or
                                              denied the TSCA section 21 portion of                     Under TSCA section 21 (15 U.S.C.             order. EPA must find that the chemical
                                              the petition for the reasons set forth in               2620), any person can petition EPA to          substance or mixture is or will be
                                              this document.                                          initiate a proceeding for the issuance,        produced in substantial quantities, and
                                              DATES: EPA’s response to this TSCA                      amendment, or repeal of a rule under           it enters or may reasonably be
                                              section 21 petition was signed May 5,                   TSCA sections 4, 6, or 8, or to issue an       anticipated to enter the environment in
                                              2021.                                                   order under TSCA sections 4, 5(e), or          substantial quantities or there is or may
                                              ADDRESSES: The docket for this TSCA                     5(f). A TSCA section 21 petition must          be significant or substantial human
                                              section 21 petition, identified by docket               set forth the facts which it is claimed        exposure to such substance or mixture;
jbell on DSKJLSW7X2PROD with PROPOSALS




                                              identification (ID) number EPA–HQ–                      establish that it is necessary to initiate     that information and experience are
                                              OPPT–2021–0174, is available at http://                 the action requested. EPA is required to       insufficient to reasonably determine or
                                              www.regulations.gov or at the Office of                 grant or deny the petition within 90           predict the effects of the manufacture,
                                              Pollution Prevention and Toxics Docket                  days of its filing. If EPA grants the          distribution in commerce, processing,
                                              (OPPT Docket), Environmental                            petition, the Agency must promptly             use, and/or disposal of the chemical
                                              Protection Agency Docket Center (EPA/                   commence an appropriate proceeding. If         substance or mixture on health or the
                                              DC), West William Jefferson Clinton                     EPA denies the petition, the Agency            environment; and that testing of the


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                                                                                                            APPX       ATT_V4_1606
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                                              chemical substance or mixture is                        II. Summary of the TSCA Section 21             is distinct from rulemaking under TSCA
                                              necessary to develop the missing                        Petition                                       section 6(a). Because TSCA section 21
                                              information. 15 U.S.C. 2603(a)(1)(A)(ii).                                                              does not provide an avenue for
                                                                                                      A. What action was requested?
                                                                                                                                                     petitioners to request the initiation of
                                              4. Legal Standard Regarding TSCA                           On February 8, 2021, the People for         the prioritization process for
                                              Section 26                                              Protecting Peace River, Atchafalaya            phosphogypsum and process
                                                                                                      Basinkeeper, Bayou City Waterkeeper,           wastewater, EPA is treating this portion
                                                 TSCA section 26(h) requires EPA, in                  Calusa Waterkeeper, Center for
                                              carrying out TSCA sections 4, 5, and 6,                                                                of the request as a petition for action
                                                                                                      Biological Diversity, Cherokee                 under the APA.
                                              to make science-based decisions using                   Concerned Citizens, Healthy Gulf,                 Petitioners also assert that ‘‘should
                                              ‘‘scientific information, technical                     ManaSota-88, Our Santa Fe River, RISE          EPA initiate prioritization but find that
                                              procedures, measures, methods,                          St. James, Sierra Club’s Florida and           the development of new information is
                                              protocols, methodologies, or models,                    Delta chapters, Suncoast Waterkeeper,          necessary to finalize a prioritization
                                              employed in a manner consistent with                    Suwanee Riverkeeper, Tampa Bay                 decision for phosphogypsum and
                                              the best available science,’’ while also                Waterkeeper, Waterkeeper Alliance,             process wastewater, EPA should
                                              taking into account other                               Waterkeepers Florida, and WWALS                exercise its authority under section
                                              considerations, including the relevance                 Watershed Coalition (the petitioners)          4(a)(2)(B) to obtain that information and
                                              of information and any uncertainties. 15                requested EPA to take several actions          establish priority’’ (Ref. 1, page 41).
                                              U.S.C. 2625(h). TSCA section 26(i)                      under section 7004(a) of RCRA; section         Because EPA is not addressing the
                                              requires that decisions under TSCA                      21 of TSCA; and section 553 of the APA         request for prioritization as part of this
                                              sections 4, 5, and 6 be ‘‘based on the                  related to phosphogypsum and process           petition response and has not otherwise
                                              weight of scientific evidence.’’ 15 U.S.C.              wastewater from phosphoric acid                initiated prioritization on
                                              2625(i). TSCA section 26(k) requires                    production (process wastewater). With          phosphogypsum or process wastewater,
                                              that EPA consider information that is                   respect to TSCA, the petition asks EPA         the Agency is not in a position to
                                                                                                      to (1) initiate the prioritization process     exercise its authority under TSCA
                                              reasonably available in carrying out
                                                                                                      for designating phosphogypsum and              section 4(a)(2)(B) in the manner and for
                                              TSCA sections 4, 5, and 6. 15 U.S.C.                    process wastewater as high-priority
                                              2625(k).                                                                                               the reason described by petitioners.
                                                                                                      substances for risk evaluation under
                                              5. Legal Standard Regarding Mixtures                    TSCA section 6(b)(1)(B)(i), (2) issue a        2. Request for Significant New Use Rule
                                              Under TSCA Section 4(a)(1)(B) and                       test rule under TSCA section 4(a)(1)(A)        Under TSCA Section 5
                                              Section 21(b)(4).                                       requiring phosphogypsum and process               TSCA section 21 does not provide for
                                                                                                      wastewater manufacturers to develop            the submission of a petition seeking the
                                                 In the case of a mixture, per TSCA                   information with respect to health and         initiation of a rule under TSCA section
                                              section 4(a)(1)(B), EPA must also find                  environmental effects relevant to a            5. Significant new use rules are issued
                                              that the effects which the mixture’s                    determination that the disposal of these       under the authority of TSCA section
                                              manufacture, distribution in commerce,                  chemical substances does or does not           5(a)(2). Since TSCA section 21 does not
                                              processing, use, or disposal, or any                    present an unreasonable risk of injury to      provide an avenue for petitioners to
                                              combination of such activities, may                     health or the environment, and (3) make        request the initiation of a proceeding to
                                              have on health or the environment may                   a determination by rule under TSCA             make a determination by rule under
                                              not be reasonably and more efficiently                  section 5(a) that the use of                   TSCA section 5(a), EPA is treating this
                                              determined or predicted by testing the                  phosphogypsum in road construction is          portion of the request as a petition for
                                                                                                      a significant new use. This Federal            action under the APA.
                                              chemical substances which comprise
                                                                                                      Register document specifically
                                              the mixture. 15 U.S.C. 2603(a)(1)(B). In                addresses the petitioners’ TSCA section        3. Request for Issuance of a Test Rule
                                              addition, TSCA section 21 establishes                   21 petition, requesting EPA to issue a         Under TSCA Section 4(a)(1)(A)
                                              standards a court must use to decide                    test rule under TSCA section 4(a)(1)(A).
                                              whether to order EPA to initiate                                                                          TSCA section 21 does provide for the
                                                                                                      As described in Unit II.A.1 and II.A.2,        submission of a petition seeking
                                              rulemaking in the event of a lawsuit                    this Federal Register document does not        issuance of a test rule under TSCA
                                              filed by the petitioner after denial of a               address the TSCA-requested actions             section 4(a)(1)(A). Therefore, this
                                              TSCA section 21 petition. 15 U.S.C.                     which cannot be addressed under TSCA           Federal Register document specifically
                                              2620(b)(4)(B). EPA believes TSCA                        section 21 (i.e., action under TSCA            addresses the only request permissible
                                              section 21(b)(4) does not provide for                   section 6(b)(1)(B)(i) and section 5(a)),       under TSCA section 21, requesting EPA
                                              judicial review of a petition to                        and EPA will consider taking such              to issue a test rule under TSCA section
                                              promulgate a test rule for mixtures.                    action in response to those requests, as       4(a)(1)(A).
                                              TSCA section 21(b)(4)(B)(i) specifies                   appropriate, under the APA. This
                                              that the court’s review pertains to                     Federal Register document also does            4. Request Under RCRA Section 7004(a)
                                              application of the TSCA section 4                       not address the petitioners’ requests             This Federal Register document does
                                              factors to chemical substances.                         under section 7004(a) of RCRA.                 not address the petitioners’ requests
                                              Moreover, TSCA section 21(b)(4)(B)(i)                   1. Request for Prioritization Under            under section 7004(a) of RCRA.
                                              does not contain the additional finding                 TSCA Section 6 and Related Testing             5. Request Under APA Section 553(e)
                                              that TSCA section 4 requires for issuing                Under TSCA section 4(a)(2)(B)
                                                                                                                                                        This Federal Register document does
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                                              a test rule for mixtures (that the effect
                                                                                                         With respect to actions under section       not address the petitioners’ requests
                                              may not be reasonably and more
                                                                                                      6 of TSCA, TSCA section 21 provides            under section 553(e) of the APA.
                                              efficiently determined or predicted by                  only for the submission of a petition
                                              testing the chemical components).                       seeking the initiation of a proceeding for     B. What support did the petitioners
                                              Congress left the complex issues                        the issuance, amendment, or repeal of a        offer?
                                              associated with the testing of mixtures                 rule under TSCA section 6(a).                    The petitioners are not clear as to the
                                              to the Administrator’s discretion.                      Prioritization under TSCA section 6(b)         provision of TSCA section 4(a)(1)(A)


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                                              under which they are seeking a test rule.               quantities under TSCA section                   III. Disposition of TSCA Section 21
                                              On pages 13 and 14 of the petition, for                 4(a)(1)(A)(ii)(I), petitioners provide          Portion of the Petition
                                              example, petitioners list the criteria to               information about the size of                   A. What is EPA’s response?
                                              evaluate the request for testing under                  phosphogypsum stacks, the amount of
                                              TSCA section 4(a)(1)(A)(i). However, in                 phosphogypsum produced annually,                  After careful consideration, EPA has
                                              addition, the petition also includes                    and the volume of process wastewater            denied the TSCA section 21 portion of
                                              reference to TSCA section 4(a)(1)(A)(ii).               that can be stored in stacks (Ref. 1).          the petition. A copy of the Agency’s
                                              Because the petitioners were not clear                                                                  response, which consists of the letter to
                                                                                                      Regarding production in substantial
                                              whether they were seeking testing under                                                                 the petitioners and this document, is
                                                                                                      quantities, petitioners point to an EPA         posted on the EPA petition website at
                                              TSCA section 4(a)(1)(A)(i) or                           web page indicating that
                                              4(a)(1)(A)(ii), EPA considered the                                                                      https://www.epa.gov/assessing-and-
                                                                                                      phosphogypsum is produced in                    managing-chemicals-under-tsca/
                                              criteria in both sections in evaluating
                                              the petition. Additionally, because                     quantities of 5.2 tons for every ton of         tscasection-21#reporting. The response,
                                              petitioners did not indicate whether the                phosphoric acid produced (Ref. 4). In           the petition (Ref. 1), and other
                                              requested testing would pertain to                      addition, petitioners cite to information       information is available in the docket
                                              mixtures or to individual chemical                      indicating that approximately 46                for this TSCA section 21 petition (see
                                              substances within a mixture, EPA                        million tons of phosphogypsum are               ADDRESSES).
                                              considered both in evaluating the                       created in the United States annually
                                                                                                                                                      B. What was EPA’s reason for this
                                              petition.                                               (Ref. 5).
                                                                                                                                                      response to the request for testing under
                                              1. May Present an Unreasonable Risk of                  2. Insufficient Information and                 TSCA section 4?
                                              Injury to Health or the Environment or                  Experience                                         TSCA section 21 does provide for the
                                              Produced in Substantial Quantities                                                                      submission of a petition seeking the
                                                                                                        Without providing supporting                  initiation of a proceeding for the
                                                 The petitioners claim that
                                                                                                      rationale, the petitioners assert that          issuance of a rule under TSCA section
                                              phosphogypsum and process
                                                                                                      updated information is needed,                  4. The petition must ‘‘set forth the facts
                                              wastewater located across the United
                                              States may present an unreasonable risk                 including:                                      which it is claimed establish that it is
                                              of injury to human health and the                         • Information on ‘‘population-level           necessary to issue’’ the requested rule.
                                              environment under TSCA section                          exposure risks’’ for radionuclides and          15 U.S.C. 2620(b)(1). When determining
                                              4(a)(1)(A)(i)(I). The petitioners claim                 radon emissions for phosphogypsum               whether the petition meets that burden,
                                              that in EPA’s 1991 regulatory                           stacks; and                                     EPA will consider whether the
                                              determination under the Bevill                                                                          manufacture, distribution in commerce,
                                                                                                        • Information on the number and size          processing, use, or disposal of a
                                              Amendment to RCRA (section                              of the phosphogypsum stacks.
                                              3001(b)(3)(A) of RCRA), regarding the                                                                   chemical substance or mixture, or any
                                              exemption of processing ores and                          The petitioners also state that the           combination of such activities, may
                                              minerals, including phosphate rock,                     majority of the available                       present an unreasonable risk of injury to
                                              EPA indicated that phosphogypsum and                    phosphogypsum and process                       health or the environment under TSCA
                                              process wastewater were more                            wastewater research is focused on               section 4(a)(1)(A)(i)(I), or whether the
                                              appropriate to address under a TSCA                     potential commercial uses, rather than          chemical substance or mixture is or will
                                              regulatory program. The petitioners                     toxicity and other health and                   be produced in substantial quantities,
                                              make a general assertion that ‘‘EPA’s                   environmental effects relevant to an            and it enters or may reasonably be
                                              investigation of a TSCA regulatory                      unreasonable risk finding (Ref. 1, page         anticipated to enter the environment in
                                              program to manage phosphogypsum and                     40).                                            substantial quantities or there is or may
                                              process wastewater means these                                                                          be significant or substantial human
                                              substances not only may, but do, pose                   3. Testing of Such Substance or Mixture         exposure to such substance or mixture
                                              an unreasonable risk of injury to human                 With Respect to Such Effects Is                 under TSCA section 4(a)(1)(A)(ii)(I). In
                                              health and the environment’’ (Ref. 1,                   Necessary To Develop Such Information           addition, EPA will consider whether
                                              page 40). The petitioners point to the                                                                  ‘‘information available to the
                                                                                                         The petitioners claim that a TSCA            Administrator is insufficient to permit a
                                              following studies and contend that
                                                                                                      section 4 ‘‘testing rule is necessary to fill   reasoned evaluation of the health and
                                              worker exposure at phosphate fertilizer
                                                                                                      gaps in current science and to better           environmental effects of the chemical
                                              plants is associated with adverse health
                                              effects, however, an exposure-response                  inform a future risk evaluation,’’ citing       substance or mixture.’’ 15 U.S.C.
                                              relationship could not be established in                the need for updated information on             2620(b)(4)(B)(i)(I) (see also 15 U.S.C.
                                              these studies:                                          ‘‘population-level exposure risks’’ for         2603(a)(1)). Furthermore, EPA’s
                                                 • Yiin, JH et al., 2016 (Ref. 2); and                radionuclide and radon emissions for            decision to grant a petition for the
                                                 • Kim, Kwang Po et al., 2006 (Ref. 3).               phosphogypsum stack systems since the           promulgation of a TSCA section 4 rule
                                                 In addition, petitioners include                     population around each                          requires a finding that ‘‘testing of such
                                              information regarding the toxicity of                   phosphogypsum stack has likely                  substance or mixture with respect to
                                              several chemical substances they                        increased (Ref. 1, page 40). The                such effects is necessary to develop
                                              indicate are ‘‘phosphogypsum                            petitioners also claim it is necessary to       such information.’’ 15 U.S.C. 2603(a)(1).
                                              constituents’’ (arsenic, lead, nickel,                  update toxicity information using the           In the case of a mixture, the petitioners
                                              cadmium, chromium, silver, antimony,                    Toxicity Characteristic Leaching                must set forth facts to establish that the
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                                              copper, mercury, and thallium), as well                 Procedure (TCLP) method (Ref. 1, page           effects of the mixture would not be
                                              as information on radionuclides                         40). The petitioners provide no further         ‘‘reasonably and more efficiently
                                              (uranium, thorium, and radium) (Ref. 1,                 information identifying specific gaps in        determined or predicted by testing the
                                              pages 19–23).                                           the TCLP information already available,         chemical substances which comprise
                                                 As support for the claim that                                                                        the mixture.’’ 15 U.S.C. 2603(a)(1).
                                                                                                      or why additional testing is necessary
                                              phosphogypsum and process                                                                                  EPA evaluated the information
                                                                                                      under TSCA section 4(a)(1)(A).
                                              wastewater are produced in substantial                                                                  presented or referenced in the petition


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                                              and considered that information in the                  insufficient. The petitioners do not           phosphogypsum and process
                                              context of the applicable authorities and               provide an assessment of existing data         wastewater is needed to develop the
                                              requirements of TSCA sections 4, 21,                    to support a finding of insufficient           necessary information that they claim
                                              and 26. Notwithstanding that the                        information and experience. The                does not exist. Importantly, the
                                              burden is on the petitioners to present                 petitioners present no evidence that           petitioners provided no information
                                              ‘‘the facts which it is claimed establish               they undertook efforts such as a               regarding how testing by manufacturers
                                              that it is necessary’’ for EPA to initiate              literature search of publicly available        of phosphogypsum and process
                                              the rule or issue the order sought, EPA                 information, an analysis and                   wastewater would provide the sort of
                                              nonetheless also considered relevant                    characterization of the results of such a      health and environmental effects data
                                              information that was reasonably                         literature search, or an inventory of          that petitioners believe is necessary. The
                                              available to the Agency during the 90-                  information they claim is missing from         petitioners could have presented
                                              day petition review period. As detailed                 the public domain.                             information about the types of tests that
                                              in Unit III.B.2 and III.B.3, EPA finds that                Extensive information on the heavy          could be conducted, including some
                                              the petitioners have not met their                      metal chemical substances contained in         analysis of the methods that could be
                                              burden as defined in TSCA sections                      phosphogypsum and process                      used to identify the data or information
                                              4(a)(1)(A) and 21(b)(1) because the                     wastewater is readily available. For           submitted or used, hazard thresholds
                                              petitioners have not provided the facts                 example, EPA has published Integrated          recommended, and exposure estimates.
                                              necessary for the Agency to determine                   Risk Information System (IRIS)                 Beyond an assertion that TCLP data is
                                              for phosphogypsum and process                           assessments, which review existing             not available, the petitioners did not
                                              wastewater that existing information                    information and characterize the               include any information on what type of
                                              and experience are insufficient and                     hazards of chemicals, that are available       testing they claim is needed.
                                              testing with respect to such effects is                 for all of the heavy metals mentioned in
                                                                                                      the petition, as well as uranium (Ref. 7).     4. Testing as a Mixture
                                              necessary to develop such information.
                                              These deficiencies, among other                         Furthermore, the Agency for Toxic                 Petitioners do not indicate whether
                                              findings, are detailed in this document.                Substances and Disease Registry                the requested testing would pertain to
                                                                                                      (ATSDR) has published Toxicological            mixtures or to individual chemical
                                              1. May Present Unreasonable Risk of                     Profiles, which characterize the               substances within a mixture. With
                                              Injury to Health or the Environment or                  toxicologic and adverse health effects         regard to testing phosphogypsum and
                                              Produced in Substantial Quantities                      information for hazardous substances,          process wastewater as a mixture,
                                                 EPA is not opining on the sufficiency                for all of the metals, as well as for radon    petitioners have not set forth facts
                                              of the information presented for                        and the radionuclides referenced in the        sufficient to support the required
                                              purposes of determining whether                         petition (Ref. 8). The petitioners make        finding for mixtures under TSCA
                                              phosphogypsum or process wastewater                     no mention of the IRIS assessments, nor        section 4(a)(1): That the effects of
                                              may present unreasonable risk because                   have they provided the facts necessary         phosphogypsum and process
                                              the Agency finds that petitioners have                  to show that this extensive body of            wastewater would not be ‘‘reasonably
                                              not provided the facts necessary for the                existing information on toxicological          and more efficiently determined or
                                              Agency to determine that existing                       effects, including the ATSDR                   predicted by testing the chemical
                                              information and experience are                          Toxicological Profiles cited in the            substances which comprise the
                                              insufficient and testing with respect to                petition, is insufficient. TSCA section        mixture.’’ 15 U.S.C. 2603(a)(1). EPA has
                                              such effects is necessary to develop                    21 requires the petitioner, not EPA, to        broad discretion to make this finding,
                                              such information, as described in more                  ‘‘set forth the facts which it is claimed      and although petitioners did not specify
                                              detail below. However, EPA agrees that                  establish that it is necessary to issue,       whether their request was for testing of
                                              phosphogypsum and process                               amend, or repeal a rule under TSCA             phosphogypsum and process
                                              wastewater are or will be produced in                   sections 4, 6, or 8, or an order under         wastewater as a mixture, EPA does not,
                                              substantial quantities under TSCA                       TSCA sections 4 or 5(e).’’ 15 U.S.C.           at this time, believe this finding is
                                              4(a)(1)(A)(ii)(I).                                      2620. Therefore, petitioners have failed       warranted.
                                              2. Insufficient Information and                         to meet their burden.
                                                                                                                                                     5. Environmental Justice Considerations
                                              Experience                                              3. Testing of Such Substance or Mixture           Petitioners express environmental
                                                 The petition does not set forth the                  With Respect to Such Effects Is                justice concerns and include examples
                                              facts necessary to demonstrate that there               Necessary To Develop Such Information          of a phosphogypsum and process
                                              is ‘‘insufficient information and                          The petition did not include any data,      wastewater facility near a historic Black
                                              experience’’ on which the effects of                    information, or analysis related to the        neighborhood, and another facility in a
                                              phosphogypsum and process                               need for testing of phosphogypsum and          region of Louisiana which they state has
                                              wastewater on health or the                             process wastewater or for the chemical         environmental justice concerns related
                                              environment can reasonably be                           substances, including the heavy metals         to impacts from a variety of industrial
                                              determined or predicted. The                            and radionuclides contained in                 activities (Ref. 1, pages 36–38).
                                              petitioners only claim that updated                     phosphogypsum and process                         As a general matter, EPA shares the
                                              toxicity information using the TCLP                     wastewater. A petition without such            petitioners’ concerns regarding the
                                              method is necessary and assert that                     information is facially incomplete             potential for disproportionate impacts
                                              information available is from an                        because it fails to provide minimum            in communities with environmental
                                              outdated ‘‘Extraction Procedure.’’                      factual information for EPA to make the        justice concerns. However, petitioners
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                                              However, EPA has found that there are                   threshold findings needed to respond to        must set forth the facts which it is
                                              TCLP data related to phosphogypsum                      and act on the petition as contemplated        claimed establish that it is necessary to
                                              and process wastewater available in the                 by TSCA section 21. Even if the                issue a rule or order requiring testing
                                              public domain (Ref. 6). The petitioners                 petitioners had successfully                   under TSCA section 4(a)(1)(A). As
                                              failed to present facts indicating the                  demonstrated the insufficiency of              petitioners have not set forth facts
                                              nature and extent of existing TCLP data                 existing information, they still failed to     sufficient for EPA to make these
                                              and articulate why this data is                         demonstrate that testing of                    findings, EPA is not able to issue a test


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                                              rule under TSCA section 4 in response                       sites/production/files/2020-10/            Docket No. NTSB–2021–0004. All
                                              to this TSCA section 21 petition.                           documents/4-7-2020_pg_petition.pdf.        comments received will be posted
                                                                                                      6. EPA. Mosaic Fertilizer, LLC Settlement.     without change to http://
                                              6. What were EPA’s conclusions?                             September 16, 2020. https://               www.regulations.gov, including any
                                                                                                          www.epa.gov/enforcement/mosaic-
                                                 EPA denied the request to initiate a                     fertilizer-llc-settlement.
                                                                                                                                                     personal information provided.
                                              proceeding for the issuance of a rule                   7. EPA. Integrated Risk Information System.
                                                                                                                                                       Docket: For access to the docket, go to
                                              under TSCA section 4 because the                            March 26, 2021. https://www.epa.gov/       http://www.regulations.gov and search
                                              TSCA section 21 petition does not set                       iris.                                      Docket No. NTSB–2021–0004.
                                              forth the facts establishing that it is                 8. Agency for Toxic Substances and Disease     FOR FURTHER INFORMATION CONTACT:
                                              necessary for the Agency to issue such                      Registry. March 16, 2021. https://         Kathleen Silbaugh, General Counsel,
                                              a rule. In particular, the petition does                    www.atsdr.cdc.gov/toxprofiledocs/          (202) 314–6080, rulemaking@ntsb.gov.
                                                                                                          index.html.                                SUPPLEMENTARY INFORMATION:
                                              not demonstrate that existing
                                              information and experience on the                         Authority: 15 U.S.C. 2601 et seq.
                                                                                                                                                     I. Background
                                              effects of phosphogypsum and process                    Michal Freedhoff,
                                              wastewater are insufficient or that                                                                       The NTSB prescribes regulations
                                                                                                      Principal Deputy Assistant Administrator,      governing the notification and reporting
                                              testing of phosphogypsum and process                    Office of Chemical Safety and Pollution
                                              wastewater with respect to such effects                                                                of accidents involving civil aircraft. As
                                                                                                      Prevention.
                                              is necessary to develop such                                                                           an independent federal agency charged
                                                                                                      [FR Doc. 2021–09998 Filed 5–20–21; 8:45 am]    with investigating and establishing the
                                              information. Therefore, the petitioners
                                              have not demonstrated that the rule they
                                                                                                      BILLING CODE 6560–50–P                         facts, circumstances, and probable cause
                                              requested is necessary.                                                                                of every civil aviation accident in the
                                                                                                                                                     United States, the NTSB has an interest
                                              IV. References                                          NATIONAL TRANSPORTATION                        in redefining a UAS accident in light of
                                                                                                      SAFETY BOARD                                   recent developments in the industry.
                                                The following is a listing of the                                                                       For NTSB purposes, ‘‘unmanned
                                              documents that are specifically                         49 CFR Part 830                                aircraft accident’’ means an occurrence
                                              referenced in this document. The docket                                                                associated with the operation of an
                                              includes these documents and other                      [Docket No.: NTSB–2021–0004]
                                                                                                                                                     unmanned aircraft that takes place
                                              information considered by EPA,                          RIN 3147–AA20                                  between the time that the system is
                                              including documents that are referenced                                                                activated with the purpose of flight and
                                              within the documents that are included                  Amendment to the Definition of                 the time that the system is deactivated
                                              in the docket, even if the referenced                   Unmanned Aircraft Accident                     at the conclusion of its mission, and in
                                              document is not physically located in                                                                  which any person suffers death or
                                                                                                      AGENCY: National Transportation Safety
                                              the docket. For assistance in locating                                                                 serious injury, or in which the aircraft
                                              these other documents, please consult                   Board (NTSB).
                                                                                                                                                     has a maximum gross takeoff weight of
                                              the technical person listed under FOR                   ACTION: Notice of proposed rulemaking
                                                                                                                                                     300 lbs. or greater and receives
                                              FURTHER INFORMATION CONTACT.                            (NPRM).
                                                                                                                                                     substantial damage.
                                              1. Curran, Rachael, People for Protecting               SUMMARY: The National Transportation              At the time this definition was
                                                   Peace River, and Lopez, Jaclyn, Center             Safety Board (NTSB) proposes                   contemplated, the weight-based
                                                   for Biological Diversity to the                    amending the definition of ‘‘Unmanned          requirement was necessary because
                                                   Administrator of the Environmental                                                                defining an accident solely on
                                                   Protection Agency. Re: Petition for
                                                                                                      aircraft accident’’ by removing the
                                                                                                      weight-based requirement and replacing         ‘‘substantial damage’’ would have
                                                   Rulemaking Pursuant to Section 7004(a)                                                            required investigations of numerous
                                                   of the Resource Conservation and                   it with an airworthiness certificate or
                                                                                                      airworthiness approval requirement.            small UAS crashes with no significant
                                                   Recovery Act; Section 21 of the Toxic
                                                   Substances Control Act; and Section 553            The weight threshold is no longer an           safety issues. See Final Rule, 75 FR
                                                   of the Administrative Procedure Act                appropriate criterion because unmanned         51953, 51954 (Aug. 24, 2010).
                                                   Concerning the Regulation of                       aircraft systems (UAS) under 300 lbs.          Consequently, there is no legal
                                                   Phosphogypsum and Process Wastewater               are operating in high-risk environments,       requirement to report or for the NTSB to
                                                   from Phosphoric Acid Production.                   such as beyond line-of-sight and over          investigate events involving substantial
                                                   Received February 8, 2021.                                                                        damage to UAS weighing less than 300
                                              2. Yiin, JH et al. A study update of mortality
                                                                                                      populated areas. The proposed
                                                                                                      definition will allow the NTSB to be           lbs. because these are not recognized
                                                   in workers at a phosphate fertilizer                                                              ‘‘unmanned aircraft accidents’’ under
                                                   production facility. American Journal of           notified of and quickly respond to UAS
                                                                                                      events with safety significance.               the NTSB’s regulations. While this
                                                   Industrial Medicine 59(1):12–22. January
                                                                                                                                                     definition ensured that the NTSB
                                                   2016. https://doi.org/10.1002/                     DATES: Send comments on or before July
                                                   ajim.22542.                                                                                       expended resources on UAS events
                                                                                                      20, 2021.                                      involving the most significant risk to
                                              3. Kim, Kwang Po et al. Characterization of
                                                   Radioactive Aerosols in Florida                    ADDRESSES: You may send comments,              public safety, the advent of higher
                                                   Phosphate Processing Facilities. Aerosol           identified by Docket Number (No.)              capability UAS applications—such as
                                                   Science and Technology 40(6):410–421.              NTSB–2021–0004, by any of the                  commercial drone delivery flights
                                                   February 2006. https://doi.org/10.1080/            following methods:                             operating in a higher risk environment
                                                   02786820600643313.                                    • Federal e-Rulemaking Portal: http://      (e.g., populated areas, beyond line-of-
                                              4. EPA. TENORM: Fertilizer and Fertilizer               www.regulations.gov.                           sight operations, etc.)—has prompted
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                                                   Production Wastes. April 7, 2021.                     • Email: rulemaking@ntsb.gov.               the agency to propose an updated
                                                   https://www.epa.gov/radiation/tenorm-                 • Fax: 202–314–6090.                        definition of ‘‘unmanned aircraft
                                                   fertilizer-and-fertilizer-production-
                                                   wastes.
                                                                                                         • Mail/Hand Delivery/Courier: NTSB,         accident.’’ Moreover, in the August 24,
                                              5. The Fertilizer Institute. Revised Request            Office of General Counsel, 490 L’Enfant        2010, Final Rule, the NTSB anticipated
                                                   for Approval of Additional Uses of                 Plaza East SW, Washington, DC 20594.           future updates of the definition given
                                                   Phosphogypsum Pursuant to 40 CFR                      Instructions: All submissions in            the evolving nature of UAS technology
                                                   61.206. April 2020. https://www.epa.gov/           response to this NPRM must include             and operations. Id.


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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA



                                                    )
                                                    )
  UNITED STATES OF AMERICA,                         )
  FLORIDA DEPARTMENT OF                             ) No.
  ENVIRONMENTAL PROTECTION                          )
                       Plaintiffs,                  )
                 v                                  )
                                                    ) CIVIL COMPLAINT
  MOSAIC FERTILIZER, LLC,                           )
                                                    )
                                   Defendant.       )
  ~~~~~~~~~~~~~~~)


         The United States of America, by authority of the Attorney General of the United States

  and through the undersigned attorneys acting at the request of the Administrator of the United

  States Environmental Protection Agency (EPA), together with the Florida Department of

  Environmental Protection (FDEP), by and through its Office of General Counsel, file this

  Complaint and allege as follows:

                              I.     NATURE OF THIS ACTION

  1.     This is a civil action brought pursuant to Section 3008(a) and (g) of the Resource

  Conservation and Recovery Act (RCRA), 42 United States Code (U.S.C.) § 6928(a) and (g), and

  pursuant to the Florida Resource Recovery and Management Act, specifically

  § 403.727, Florida Statutes (F.S.), against Mosaic Fertilizer, LLC, (Mosaic or Defendant). The

  United States and FDEP (Plaintiffs) seek injunctive relief and the assessment of civil penalties

  for environmental violations at Mosaic's Bartow, Riverview, Green Bay, New Wales, and South

  Pierce Facilities, as well as the assessment of civil penalties for environmental violations at

  Mosaic's Mulberry facility, all of which are located in Florida (respectively the Bartow Facility,




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  the Riverview Facility, the Green Bay Facility, the New Wales Facility, the South Pierce

  Facility, and the Mulberry Facility, collectively the Facilities).

  2.      As set forth below, and as set forth in Plaintiffs' RCRA inspection reports or RCRA

  notices of violation, Defendant has violated the statutory and regulatory requirements applicable

  to the management and disposal of solid and/or hazardous waste, found at

  §§ 403.721and403.722, F.S., the Florida Resource Recovery and Management Act, and the

  regulations promulgated thereunder, including Chapter 62-730 Florida Administrative Code

  (F.A.C.) (the corresponding federal citations are Sections 3004 and 3005 of RCRA, 42 U.S.C.

  §§ 6924, 6925, and the regulations promulgated thereunder, including 40 C.F.R. Parts 261, 262,

  264, 265, 268 and 270).

                                         II.   PARTIES

  3.      Plaintiffs are the United States of America and FDEP.

  4.      Defendant Mosaic is incorporated in the State of Delaware, and is licensed to do business

  in Florida.

  5.      On October 22, 2004, concurrent with the merger of the Cargill fertilizer business with

  IMC Global, the name of Cargill Fertilizer, LLC was changed to Mosaic Fertilizer, LLC.

  (Mosaic). Mosaic is, and at all times relevant to this lawsuit has been, the owner and operator of

  the Facilities.

                            III.   JURISDICTION AND VENUE

  6.      This Court has jurisdiction over the parties and the subject matter of this action pursuant

  to RCRA Section 3008(a), 42 U.S.C. § 6928(a), and 28 U.S.C. §§ 1331 (federal.question

  jurisdiction), 1332 (diversity), 1345 (jurisdiction when the United States is a plaintiff), 1355

  (jurisdiction over penalties arising under federal claims), and 1367 (supplemental jurisdiction).

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  7.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391 (b) and 1395(a), and

  RCRA Section 3008(a)(l), 42 U.S.C. § 6928(a)(l), because Defendant is located and is doing

  business in this District and the violations occurred in this District.

  8.      Authority to bring this civil action is vested in the Attorney General of the United States

  and the Administrator of EPA pursuant to Section 3008(a) ofRCRA, 42 U.S.C. § 6928(a), and

  28 U.S.C. §§ 516 and 519.

  9.      Authority to bring this civil action is vested in FDEP pursuant to§§ 20.255, 403.121,

  403.131, 403.727, and 403.805, F.S.

  10.     The United States has provided notice to the State of Florida prior to the commencement

  of this action in accordance with RCRA Section 3008(a)(2), 42 U.S.C. § 6928(a)(2).

              IV.     STATUTORY AND REGULATORY BACKGROUND

  11.     Federal regulation of hazardous waste is primarily based on RCRA, enacted on October

  21, 1976 to amend the Solid Waste Disposal Act, and on the Hazardous and Solid Waste

  Amendments (HSWA) enacted by Congress in 1984 to further amend the Solid Waste Disposal

  Act. RCRA establishes a "cradle-to-grave" program to be administered by the Administrator of

  EPA and authorized states for regulating the generation, transportation, treatment, storage, and

  disposal of hazardous waste. See 42 U.S.C. § 6901 et seq.

  12.     RCRA's Subchapter III (RCRA §§ 3001-3023, 42 U.S.C. §§ 6921-6940, known as

  "Subtitle C") required EPA to promulgate regulations establishing performance standards

  applicable to facilities that generate, transport, treat, store, or dispose of hazardous wastes.

  Together, RCRA Subtitle C and its implementing regulations, set forth at 40 C.F.R. Parts 260 -

  279, comprise EPA's RCRA hazardous waste program.




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  13.     RCRA Section 3006, 42 U.S.C. § 6926, allows the Administrator to authorize a state to

  administer its own hazardous waste program in lieu of the federal program when the

  Administrator deems the state program to be equivalent to and consistent with the federal

  program.

  14.     Pursuant to Section 3006(b) ofRCRA, 42 U.S.C. § 6926(b), the State of Florida was

  granted final authorization by EPA to administer and enforce a hazardous waste program on

  February 12, 1985; on November 17, 2000, the State of Florida was authorized to implement a

  corrective action program under the HSW A. Part IV, Resource Recovery and Management, of

  Chapter 403, F.S., provides statutory authority for the state regulatory program as implemented

  in Chapter 62-730, F.A.C. "Hazardous Waste," including the regulations that are part of the

  authorized state program. FDEP is the State agency designated to implement the authorized

  RCRA program in Florida.

  15.    Although EPA has granted the State authority to enforce its own hazardous waste

  program, EPA retains jurisdiction and authority to initiate an independent enforcement action,

  pursuant to Section 3008(a)(2) of RCRA, 42 U.S.C. § 6928(a)(2).

  16.    As the authorized provisions of Florida's hazardous waste program operate in lieu of the

  federal RCRA program, the citations for the violations of those authorized provisions alleged

  herein will be to the authorized Florida program; however, for ease ofrefere111ce, the federal

  citations will follow in parentheses.

  17.     F.A.C. Rule 62-730.020 (40 C.F.R. § 261.2) defines a solid waste as any discarded

  material that is not otherwise excluded under F.A.C. Rule 62-730.030 (40 C.F.R.

  § 261.4(a)) or that is not excluded by variance. A discarded material is any material which is

  abandoned, recycled, inherently waste-like, or a military munition. Materials are solid waste, as

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  defined in F.A.C. Rule 62-730.020 (40 C.F.R. § 261.2), if they are abandoned by being disposed

  of, burned or incinerated, or accumulated, stored, or treated (but not recycled) before, or in lieu

  of, being abandoned by being disposed of, burned, or incinerated.

  18.    A solid waste is a hazardous waste if it is not excluded from regulation as a hazardous

  waste under F.A.C. Rule 62-730.030 (40 C.F.R. § 261.4(b)) and it exhibits any of the

  characteristics of hazardous waste identified in F.A.C. Rule 62-730.030 (40 C.F.R. Part 261,

  Subpart C) or it is listed in F .A.C. Rule 62-730.030 (40 C.F .R. Pait 261, Subpait D).

  19.    Characteristic hazardous wastes are assigned "D" codes in F.A.C. Rule 62-730.030 (40

  C.F.R. Patt 261, Subpait C) depending on the specific hazardous characteristic that the waste

  exhibits. A hazardous waste with a pH of less than or equal to 2.0 or greater than or equal to 12.5

  exhibits the characteristic of corrosivity and is assigned the D002 hazardous waste code pursuant

  to F.A.C. Rule 62-730.030 (40 C.F.R. § 261.22).

  20.    Certain solid wastes from the extraction, beneficiation, and processing of ores and

  minerals to generate a saleable product are excluded from the definition of hazardous wastes

  pursuant to F.A.C. Rule 62-730.030 (40 C.F.R. § 261.4(b)(7))(the Bevill Exclusion).

  21.    "Materials that are saleable, either as raw materials to other types of industrial processes

  (e.g. chemical manufacturing such as MAP/DAP) or as finished products, are considered final

 products." [54 Fed. Reg. 36,620, September 1, 1989].

  22.    While the first saleable product for the phosphoric acid industry is typically 52% to 54%

 phosphoric acid with less than 1% solids, which is known as Merchant Grade Acid (MGA), EPA

 made it clear during the 1990 rule-making that the Bevill Exclusion can end before MGA is

 produced if intermediate mineral products are used as feedstocks to other industrial processes,




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  such as monoammonium phosphate (MAP), diammonium phosphate (DAP), Superphosphoric

  Acid (SPA), Purified Acid, or other chemical manufacturing processes. [Id.]

  23.     For a mineral processing waste to be excluded under the Bevill Exclusion, it must fall

  into one of the twenty specific categories of excluded wastes listed at F .A.C. Rule 62-730.030

  (40 C.F.R. § 261.4(b)(7)(ii)).

  24.     The Bevill Exclusion applies to only two wastes generated from phosphoric acid mineral

  processing operations: "(p)hosphogypsum from phosphoric acid production," (F.A.C. Rule 62-

  730.030 (40 C.F.R. § 261.4(b)(7)(ii)(D))), and "process wastewater from phosphoric acid

  production" ( F.A.C. Rule 62-730.030 (40 C.F.R. § 261.4(b)(7)(ii)(P))).

  25.     Chemical manufacturing wastes, cleaning wastes, air pollution control device

  ("scrubber") wastes, and wastes generated after the first saleable product are not "process

  wastewater from phosphoric acid production" and do not qualify for the Bevill Exclusion.

  26.     When Bevill-excluded phosphogypsum and process wastewater from phosphoric acid

  production are mixed with hazardous non-excluded wastes, if the resulting mixture continues to

  exhibit a hazardous characteristic of the non-excluded waste, then the entire mixture is a

  hazardous waste pursuant to the Bevill Mixture Rule, promulgated at F.A.C. Rule 62-730.030

  (40 C.F.R. § 261.3(a)(2)(i)).

  27.     In addition, if a Bevill-excluded waste is mixed with a listed hazardous waste, the

  resultant mixture is a listed hazardous waste pursuant to F .A.C. Rule 62-730.030 (40 C.F .R.

  § 261.3(a)(2)(iv)).

  28.    F.A.C. Rule 62-730.180 (40 C.F.R. Parts 264/265) applies to owners and operators of

  facilities that treat, store or dispose of hazardous waste.




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  29.     FDEP's (and EPA's) statutes and regulations (as relevant to this Complaint) require that

  generators of solid waste and hazardous waste must, among other things:

                  a.     Determine whether generated solid wastes are hazardous, F.A.C. Rule 62-

                  730.030 (40 C.F.R. § 262.11);

                  b.     Keep records of hazardous waste detenninations, F.A.C. Rule 62-730.160

                  (40 C.F.R. § 262.40(c));

                  c.     Treat, store, and dispose of hazardous waste in compliance with a permit

                  and other applicable regulatory requirements, or, if they qualify for interim status,

                 with interim status requirements, including obtaining financial assurance where

                  applicable, § 403.722, F.S. (Section 3005(a) ofRCRA, 42 U.S.C. § 6925(a));

                 d.      Meet certain requirements for waste treatment prior to placement or

                 disposal of hazardous waste on the land, F.A.C. Rule 62-730.183 (40 C.F.R. Pmi

                 268).

  30.     Pursuant to Sections 3008(a) and (g) and 3006(g) of RCRA, 42 U.S.C. §§ 6928(a) and (g)

  and 6926(g), the United States may enforce the federally-approved Florida hazardous waste

  program, as well as the federal regulations that remain effective in Florida, by filing a civil action

  in.United States District Comi seeking civil penalties not to exceed $25,000 per day per violation

  (prior to January 30, 1997), and injunctive relief.

  31.    Pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C.

  § 2471, as amended by 31 U.S.C. § 3701, and as provided in 40 C.F.R. Part 19, the amount

  specified in the foregoing Paragraph increases to $27,500 per day for each violation occurring

  after January 30, 1997, further increases to $32,500 per day for each violation occurring after

 March 15, 2004 and fmther increases to $37,500 per day for each violation occurring after

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  January 12, 2009. Each day of such violation constitutes a separate violation pursuant to Section

  3008(g) of RCRA, 42 U.S.C. § 6928(g).

  32.     Pursuant to§ 403.727, F.S., FDEP is authorized to enforce its hazardous waste

  regulations and to seek judicial imposition of penalties of up to $50,000 per day for each

  violation.

                         V.     GENERAL RCRA ALLEGATIONS

  33.     Defendant Mosaic is a "person" within the meaning of Section 1004(15) of RCRA, 42

  U.S.C. § 6903(15), which includes corporations; and within the meaning ofF.A.C. Rule 62-

  730.020(1) (40 C.F.R.§ 260.10).

  34.    Defendant Mosaic is an "owner" and "operator" of the Facilities within the meaning of

  F.A.C. Rule 62-730.020(1) (40 C.F.R. § 260.10).

  35.    The phosphogypsum generated at the Mosaic Facilities meets the definition of

  "(p)hosphogypsum from phosphoric acid production" at 40 C.F .R. § 261.4(b)(7)(ii)(D) and is

  therefore a Bevill-excluded waste. Wastewaters generated at the Mosaic Facilities from

  phosphoric acid production processes, including non-ammoniated animal feed ingredients, are

  also Bevill-excluded pursuant to 40 C.F .R. § 261.4(b)(7)(ii)(P).

  36.    Wastewaters generated at the Mosaic Facilities from processes associated with

  MAP/DAP production, among others (chemical manufacturing), certain air pollution control

  scrubbers, and pipe, tank, or other process equipm~nt cleaning and maintenance, are not Bevill-

  excluded process wastewaters. When these wastes at the Mosaic Facilities exhibit a hazardous

  characteristic pursuant to F.A.C. Rule 62-730.030(1) (40 C.F.R. Part 261, Subpart C), they are

 hazardous wastes.




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                 A. GENERAL NEW WALES FACILITY ALLEGATIONS

  Facility Process Description

  37.    The New Wales Facility is a production facility for phosphoric acid, sulfuric acid, DAP,

  MAP, granulated monoammonium phosphate (GMAP), and powdered monoammonium

  phosphate (PMAP), and the non-ammoniated animal feed ingredients monocalcium phosphate

  (Biofos) and tricalcium/defluorinated phosphate (Multifos ).

  38.    The New Wales Facility has been in operation at its current location since March 1975.

  The facility is approximately 2,200 acres in size. The New Wales Facility was originally owned

  by IMC Phosphates, but was purchased by Cargill in 2002, which later became Mosaic Fe1iilizer

  on October 22, 2004.

  39.    The New Wales Facility rnanuf~ctures annually approximately 3.9 million tons of MAP,

  DAP, GMAP and PMAP through mineral processing and chemical manufacturing methods.

  40.    Operations at the New Wales Facility fall into several categories, only some of which are

  mineral processing.

  41.    At the New Wales Facility, sulfuric acid is reacted with mineral phosphate rock to

  produce phosphoric acid (mineral processing). Different concentrations of phosphoric acid are

  blended to reach the desired phosphoric acid concentration and then reacted with ammonia to

  produce MAP, DAP, GMAP and PMAP (chemical manufacturing).

  42.    Biofos is produced by reacting deflourinated phosphoric acid with limestone. The process

  wastewater generated from this non-ammoniated animal feed ingredient production is subject to

  the Bevill Exclusion.

  43.    Multifos, a tricalcium phosphate product primarily used in poultry feed is produced by

  combining phosphate rock with soda ash and 45% phosphoric acid (blended from 54%

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  phosphoric acid and pond water). The process wastewater generate from this non-ammoniated

  animal feed ingredient production is subject to the Bevill Exclusion.

  44.     On December 9, 2003, EPA conducted a compliance evaluation inspection (CEI) at the

  New Wales Facility and received a compact disk containing sampling data on Sulfuric Acid

  Plant wastes generated from regenerating the ion exchange resin within demineralizer units from

  July 2002 to the date of inspection.

  45.    On November 16-17, 2004, EPA conducted a CEI, and on December 13-15, 2004, EPA

  conducted a Sampling Investigation (SI) at the New Wales Facility to determine the Facility's

  compliance with state and federal RCRA requirements.

  Sulfuric Acid Production

  46.    The manufacturing of MAP, DAP, GMAP, PMAP, Biofos, or Multifos at the New Wales

  Facility begins with the production of sulfuric acid. New Wales produces sulfuric acid in five (5)

  sulfuric acid plants on-site (designated as Sulfuric Acid Plants #1, #2, #3, #4 and #5). The

  sulfuric acid is stored in large tanks until piped to the Phosphoric Acid Plant's three reactors for

  use.

  47.    Hazardous waste generated from the New Wales Facility's Sulfuric Acid Plants includes

  spills and leaks, as well as wastewater from regenerating the ion exchange resin within

  demineralizer units. The cationic exchange resin is regenerated with sulfuric acid and the anionic

  exchange resin is regenerated with sodium hydroxide. The New Wales Facility discharged the

  spills, leaks and corrosive hazardous regeneration wastewater to a concrete ditch that channeled

  the wastewaters beneath an equipment-cleaning area and a metal walkway before flowing-

  through a spillway into an earthen ditch and then to an unlined eaiihen surface impoundment

  called the Stormwater Retention Pond.

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  48.     Sulfuric acid is also used as an additive to process wastewater to aid in cleaning tanks,

  pipes, evaporators, and other production equipment.

  49.     Sulfuric acid manufacturing and storage is not mineral processing. Wastes generated

  from this process are not subject to the Bevill Exclusion.

  Phosphoric Acid Production

  50.     Sulfuric acid is piped from the storage tanks in the Sulfuric Acid Plants to three

  phosphoric acid reactors within a single Phosphoric Acid Plant (designated as the Prayon East

  Reactor, the Prayon West Reactor, and the Prayon Third Reactor). In the reactors, the sulfuric

  acid is mixed with phosphate rock to produce weak phosphoric acid [approximately 30%

  phosphorus pentoxide (P20 5) (hereafter referred to as weak phosphoric acid)]. A by-product of

  the reaction is calcium sulfate dihydrate, typically referred to as phosphogypsum.

  Phosphogypsum is separated from the weak phosphoric acid by filtration. To recover additional

  weak phosphoric acid, the filtered phosphogypsum is rinsed with process wastewater pumped

  from the ponds and ditches circling the phosphogypsum stack. After the third rinse with process

  wastewater, minimal additional phosphoric acid is recoverable from the phosphogypsum, so the

  rinsed phosphogypsum is mixed with water (slurried) and pumped to the 704-acre South

  phosphogypsum stack lined with 60-mil high density polyethylene (HDPE) for disposal.

  51.    To meet material specifications for phosphate fertilizer production, the New Wales

  Facility concentrates the 30% phosphoric acid in three stages. The first concentration step is

  achieved through evaporation, resulting in 40% phosphoric acid. The 40% phosphoric acid is

  further concentrated to 43% phosphoric acid through another evaporation step. The 43%

 phosphoric acid is ultimately concentrated to 54% phosphoric acid through a third evaporation

  step. If MGA is being produced, the solids within the 54% phosphoric acid are reduced to less

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  than one percent. A blend of the 30% phosphoric acid and 54% phosphoric acid is used in the

  MAP, DAP, GMAP and PMAP production processes described in paragraphs 55- 58 below.

  52.       Phosphoric acid production processes leading to the manufacture of MGA are mineral

  processing.

  53.       The diversion of phosphoric acid from MGA production for use in chemical

  manufacturing (MAP, DAP, GMAP and PMAP) is not mineral processing.

  54.       Contaminants are accumulated in the water used throughout production of phosphoric

  acid up to MGA, resulting in aqueous wastes referred to as "process wastewater." Prior to reuse

  in the various processes, the process wastewater must be cooled and excess contaminants must

  be removed. A majority of the excess contaminants precipitate (settle) from the wastewater as it

  cools in the phosphogypsum stack system. Approximately 86,600 gallons per minute (gpm) of

 process wastewater is sent from the phosphoric acid production plant to the phosphogypsum

  stack system for cooling and contaminant settling.

 Fertilizer Production

  55.       MAP, DAP, GMAP and PMAP fertilizer products are manufactured at the facility in four

  (4) Plants designated as #1 DAP/MAP, #2 DAP, #3 GMAP and PMAP (collectively Fe1iilizer

 plants).

 56.        MAP, DAP and GMAP production consists of reacting a mixture of 30% phosphoric acid

 and 54% phosphoric acid with anhydrous ammonia in a reactor (pre-neutralizer). The resultant

 slurry is removed from the pre-neutralizer and pumped into a rotating drum granulator, where the

 product forms into round, solid, pebble-like granules. This solid material passes through a dryer

 followed by a system of sizing screens and mills to achieve the desired granule size. The product




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  is then cooled and stored. It is shipped off-site as bulk granular fertilizer for blending and use on

  farm crops.

  57.    PMAP production consists of reacting phosphoric acid with ammonia in a pipe reactor.

  The product is then cooled and stored.

  58.    Fertilizer plants' production operations are chemical manufacturing, not mineral

  processing, and as such solid wastes from these operations are not subject to the Bevill

  Exclusion.

  Air Pollution Control Devices (Phosphoric Acid and Fertilizer Production)

  59.    Air particulates emitted from the phosphoric acid production process are captured

  ("scrubbed") from the reactors, filters, and other production equipment (e.g. clarifiers and

  storage tanks) using air pollution control devices commonly referred to as scrubbers. The

  scrubbing liquid for each of these scrubbers is process wastewater that is pumped from the

  phosphogypsum stack system through the scrubbers to collect pmiiculate air emissions in a

  single pass through the scrubber before being discharged directly back into the phosphogypsum

  stack system.

  60.    Most of the ammonia and fugitive air particulates emitted from the pre-neutralizer,

  granulator, dryer, etc., during DAP/MAP, and PMAP production are captured in a series of

  scrubbers similar to the phosphoric acid scrubbers described above. Mosaic uses process

  wastewater from the phosphogypsum stack system in the secondary scrubbers in the #1

 DAP/MAP, # 2 DAP, and PMAP plants, and uses fresh water in the scrubber for the #3 GMAP

 plant, to collect these particulate air emissions. The scrubber effluent is discharged back into the

 phosphogypsum stack system.




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  61.     The operation of scrubbers is not part of mineral processing, and the wastewater from

  these scrubbers are not subject to the Bevill Exclusion. The wastewater from the #3 GMAP plant

  scrubber is not hazardous because fresh water is used in the scrubber.

  Pipe and Tank Cleaning

  62.     Mosaic cleans its pipes, tanks, evaporators, and other process equipment throughout the

  phosphoric acid and fertilizer production areas on a regular basis, using process wastewater,

  phosphogypsum stack system wastewater, or a mixture of either with sulfuric acid as the

  cleaning agent. After use, the spent corrosive hazardous cleaning agent is discharged to the

  phosphogypsum stack system. Cleaning wastes are generated on a daily basis during normal

  plant operations and during scheduled maintenance periods.

  63.    Pipe and tank cleaning operations are not part of mineral processing, and the wastewater

  from such cleaning operations are not subject to the Bevill Exclusion.

  Spills and Leaks of Sulfuric Acid and Phosphoric Acid

  64.    In Mosaic's phosphoric acid and fertilizer production, spills and leaks of phosphoric acid

  and sulfuric acid occur. These spills and leaks commingle with process wastewater being

  transp01ied from the production areas to the phosphogypsum stack system.

  65.    Spills and leaks of sulfuric acid and phosphoric acid are not paii of mineral processing

  and are therefore not subject to the Bevill Exclusion.

  Phosphogypsum Stack System

  66.    As described above, Mosaic currently disposes of slurried phosphogypsum in a 704-acre

  phosphogypsum stack lined with 60-mil HDPE. The South phosphogypsum stack is located

  south of the closed 394-acre unlined North phosphogypsum stack.




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  67.    The closed North phosphogypsum stack and the lined active South phosphogypsum stack

  described above operate in conjunction with the existing unlined cooling pond system (together

  this entire system is referred to as the phosphogypsum stack system). The unlined cooling pond

  system consists of a 280-acre main cooling pond located southeast of the production complex

  and the north, east, and west cooling channels that circulate process wastewater around the

  phosphogypsum stacks. Outside of the footprint of the phosphogypsum stack system, Mosaic

  operates a 94-acre below-grade auxiliary holding pond. Mosaic operates the phosphogypsum

  stack system under Industrial Wastewater Facility Permit Number FL0036421 issued by FDEP.

  68.    Mosaic's entire New Wales site is encompassed by a comprehensive groundwater

  monitoring system that is monitored and operated in accordance with an approved groundwater

  monitoring plan under Industrial Wastewater Facility Permit Numbers FL0036421 and

  FLOl 78527 issued by FDEP. The groundwate1· monitoring program began in 1987, and in 1989,

  IMC Fertilizer Inc., predecessor to Mosaic, entered into a consent order with the FDEP (then the

  Florida Department of Environmental Regulation) to evaluate the vertical and horizontal extent

  of groundwater impacts within and/or beyond its permitted zone of discharge resulting from

  waste management practices. In October 1992, Mosaic completed a Contamination Assessment

  Report that delineated the extent of contamination and risk to human health and the environment.

  As a result of the contamination assessment, Mosaic identified and sealed twelve former

  recharge well bore holes within the main cooling pond that were contributing to g_roundwater

  impacts.

  69.    In 1998, Florida enacted § 403.4155, F.S., which requires FDEP to promulgate rules

  related to closure and financial responsibility for phosphogypsum stacks. Rules were duly

  promulgated in Chapter 62-673, F.A.C. As a result, Mosaic is required by FDEP to annually

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  estimate the cost for closing the phosphogypsum stack system (including water treatment and

  management costs) at the end of the useful life of the facility and the cost associated with long-

  term monitoring of the effectiveness of closure (post-closure care or long-term care). Based on

  the estimated cost for closure and long-term care, Mosaic is required to establish Financial

  Assurance to guarantee the funds are available to close the facility at the end of the useful life.

  To meet its Financial Assurance obligations under Chapter 62-673, F.A.C., Mosaic established a

  corporate guarantee with FDEP.

                        NEW WALES FACILITY CLAIMS FOR RELIEF

                                    i.    First Claim (or Relief

                         (Failure to Make Hazardous Waste Determinations)

  70.    The allegations in Paragraphs I through 69 are realleged and incorporated herein by

  reference.

  71.    Pursuant to F.A.C. Rule 62-730.160(1) (40 C.F.R. § 262.11), Defendant, as a generator of

  solid waste, is required to make a hazardous waste determination.

  72.    At the time of the December 9, 2003 CEI (and since July 2002), Defendant routinely

  generated wastewaters from regenerating demineralizer units for which hazardous waste

  determinations had not been made.

  73.    At the time of the November 16-17, 2004 CEI and the December 13-15, 2004 SI,

  Defendant routinely generated the following solid wastes for which hazardous waste

  determinations had not been made:

                a.       Phosphoric Acid Plant scrubbers' effluent;

                b.       #2 DAP Plant scrubbers' effluent;

                c.       PMAP Plant scrubber effluent;

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                d.       Spent sulfuric acid and wastewaters generated from cleaning phosphoric

                acid production pipes and equipment;

                e.      Wastewaters generated from cleaning the Fertilizer Plants' production

                pipes and equipment;

                f.      Spills and leaks from phosphoric acid and fe1iilizer production.

  74.    Based on EPA's knowledge of the processes at the New Wales Facility, the December 9,

  2003 and November 16-17, 2004 CEis and the December 13-15, 2004 SI, EPA determined the

  following solid wastes are D002 hazardous wastes:

                 a.     Phosphoric Acid Plant scrubbers' effluent;

                 b.     PMAP Plant scrubber effluent;

                 c.     #2 DAP Plant scrubbers' effluent;

                 d.     Spent sulfuric acid and wastewaters generated from cleaning phosphoric

                 acid production pipes and equipment;

                 e.     Wastewater generated from cleaning the Fertilizer Plants' production

                 pipes and equipment;

                 f.     Wastewater generated from regenerating demineralizer units at the

                 Sulfuric Acid Plants; and

                 g.     Spills and leaks from phosphoric acid and fertilizer production.

  75.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day that it failed to make a hazardous

  waste determination for solid wastes generated at its New Wales Facility in violation of F.A.C.

  Rule 62-730.160(1) (40 C.F.R. § 262.11).




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                                   ii.   Second Claim (or Relief

  (Treatment, Storage and Disposal of Hazardous Waste in the Phosplwgypsum Stack System,
     an Earthen Ditch and an Unlined Surface Impoundment (Stormwater Retention Pond)
  without a Permit or Interim Status in Violation of§ 403. 722 F.S. (Section 3005 of RCRA, 42
  U.S.C. § 6925), and the applicable regulatory requirements found at F.A.C. Rules 62-730.180
         and 62-730.220 (40 C.F.R. Part 264, Subparts A-G, Kand CC, and Part 270)).

  76.     The allegations in Paragraphs 1 through 75 are realleged and incorporated herein by

  reference.

  77.     Section 403.722, F.S. (RCRA Section 3005(a), 42 U.S.C. § 6925(a)), and F.A.C. Rule

  62-730.180 (40 C.F.R. Paiis 264, Subpa1is A-G, Kand CC, and 270), require, among other

  things, that the owner and operator of a hazardous waste management unit must have a permit or

  interim status for the treatment, storage and/or disposal of any hazardous waste during the active

  life of the unit.

  78.     Since at least November 16, 2004 and continuing to at least the date of the filing of this

  Complaint, Defendant has routinely treated, stored and disposed of the following D002

  hazardous wastes in the New Wales Facility's phosphogypsum stack system:

                      a.   Phosphoric Acid Plant scrubbers' effluent;

                      b.   PMAP Plant scrnbber effluent;

                      c.   #2 DAP Plant scrubbers' effluent;

                      d.   Spent sulfuric acid and wastewaters generated from cleaning phosphoric

                           acid production pipes and equipment;

                      e.   Wastewater generated from cleaning the Fertilizer Plants' production

                           pipes and equipment; and

                      f.   Spills and leaks from phosphoric acid, and fertilizer production.



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  79.     Since at least July 2002 and continuing to at least November 2004, Defendant routinely

  treated, stored and disposed of wastewater generated from regenerating deinineralizer units

  associated with the Sulfuric Acid Plants, a D002 hazardous waste, in an earthen ditch and the

  Stormwater Retention Pond.

  80.    Since at least July 2002 Defendant has operated its Facility's earthen ditch and

  Stormwater Retention Pond, as hazardous waste management units, i.e., surface impoundments,

  and is subject to the hazardous waste requirements at Chapter 62-730, F.A.C. (40 C.F.R. Part

  264, Subparts A-G, K (Surface Impoundments), CC (Air Emission Standards for Tanks, Surface

  Impoundments and Containers)).

  81.    Since at least November 2004, Defendant has operated its Facility's phosphogypsum

  stack system, as a hazardous waste management unit, i.e., surface impoundment, and is subject to

  the hazardous waste requirements at Chapter 62-730, F.A.C. (40 C.F.R. Part 264, Subpaiis A-G,

  K (Surface Impoundments), CC (Air Emission Standards for Tanks, Surface Impoundments and

  Containers)).

  82.    Defendant has neither a RCRA hazardous waste permit nor interim status for treatment,

  storage or disposal of hazardous waste in its phosphogypsum stack system, eatihen ditch, or

  Stormwater Retention Pond, and is therefore in violation of§ 403.722, F.S. (Section 3005 of

  RCRA, 42 U.S.C. § 6925), and the applicable regulatory requirements found at F.A.C. Rules 62-

  730.180 and 62-730.220, (40 C.F.R. Part 264, Subparts A-G, Kand CC, and Part 270).

  83.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it treated, stored, and/or

  disposed of hazardous waste in its phosphogypsum stack system, earthen ditch, and Stormwater

  Retention Pond at its New Wales Facility without a permit or interim status.

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                                 iii.    Third Claim for Relief

                        (Failure to Pe1form Land Disposal Determinations)

  84.    The allegations in Paragraphs 1 through 83 are realleged and incorporated herein by

  reference.

  85.    Pursuant to F.A.C. Rule 62-730J83 (40 C.F.R. § 268.7(a)(l)), Defendant is required,

  among other things, to determine if its hazardous waste needs to be treated before it can be land

  disposed.

  86.    Since at least July 2002 and continuing to at least November 2004, Defendant routinely

  generated hazardous wastewaters from regenerating demineralizer units at the Sulfuric Acid

  Plants and failed to determine whether this waste must be treated before it can be land disposed.

  87.    Since at least November 2003 and continuing to at least the date of filing of this

  Complaint, Defendant has routinely generated the following hazardous wastes and failed to

  determine if these wastes must be treated before they can be land disposed:

                 a.     Phosphoric Acid Plant scrubbers' effluent;

                 b.     PMAP Plant scrubber effluent;

                 c.     #2 DAP Plant scrubbers' effluent;

                 d.     Spent sulfuric acid and wastewaters generated from cleaning phosphoric

                 acid production pipes and equipment;

                 e.     Wastewaters generated from cleaning the Fertilizer Plants' production

                pipes and equipment; and

                f.      Spills and leaks from phosphoric acid and fertilizer production.

  88.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to determine if these

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                                        APPX ATT_V4_1630
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  hazardous wastes generated at its New Wales Facility must be treated before they can be land

  disposed. Each such failure is a violation ofF.A.C. Rule 62-730.183 (40 C.F.R.

  § 268.7(a)(l)).

                                iv.    Fourth Claim for Relief

          (Failure to Meet Land Disposal Restrictions for Prohibited Hazardous Wastes)

  89.    The allegations in Paragraphs 1 through 88 are realleged and incorporated herein by

  reference.

  90.    Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. § 268.9(c)), Defendant, among other

  things, is prohibited from land disposing a waste that exhibits a hazardous characteristic under

  F.A.C. Rule 62-730.030(1) (40 C.F.R. Part 261, Subpart C), unless the waste complies with the

  treatment standards under F.A.C. Rule 62-730.183 (40 C.F.R. Part 268, Subpart D).

  91.    Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. Pmi 268, Subpa1i D). D002 wastewaters,

  must meet the DEACT treatment standard before the waste can be disposed.

  92.    Pursuant to F .A.C. Rule 62-730.183 (Subpart D of 40 C.F .R. Part 268), the "Universal

  Treatment Standards" regulations, require, among other things, that prohibited wastewaters must

  contain no more than 1.4 milligrams per liter (mg/L) of arsenic; no more than 0.69 mg/L of

  cadmium; and no more than 2.77 mg/L of chromium to be land disposed.

  93.    Based on the results of the November 16-17, 2004 CEI and the December 13-15 2004 SI,

  and EPA's knowledge of the composition of the Mosaic New Wales Facility's effluent, Mosaic

  was land disposing the following hazardous wastes in the phosphogypsum stack system, which

  wastes did not meet the DEACT standard for D002 (corrosivity) or the Universal Treatment

  Standard of 1.4 milligrams per liter (mg/L) of arsenic; 0.69 mg/L cadmium; and 2.77 mg/L of

  chromium prior to land disposal:

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                 a.       Phosphoric Acid Plants scrubbers' effluent;

                 b.       PMAP Plant scrubber effluent;

                 c.       #2 DAP Plant scrubbers' effluent;

                 d.       Spent sulfuric acid and wastewaters generated from cleaning phosphoric

                 acid production pipes and equipment;

                 e.       Wastewaters generated from cleaning the Fertilizer Plants' production

                 pipes and equipment; and

                 f.       Spills and leaks from phosphoric acid and fertilizer production.

  94.    Since at least July 2002 and continuing to at least November 2004, Defendant disposed

  of hazardous wastewaters from regenerating demineralizer units at the sulfuric acid piants into an

  earthen ditch and the Stormwater Retention Pond, and did not meet the DEA CT standard for

  D002 prior to land disposal.

  95.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day that it failed to meet the standards

  set forth at F .A.C. Rule 62-730.183 (40 C.F.R. Part 268, Subpart D) prior to land disposing

  prohibited waste in the phosphogypsum stack system, earthen ditch, and the Stormwater

  Retention Pond at the New Wales Facility, in violation of F .A.C. Rule 62-730.183 (40 C.F .R.

  § 268.9(c), and Part 268, Subpart D).

                                   v.     Fifth Claim for Relief

                      (Failure to Prepare an Adequate Cost Estimate for Closure)

  96.    The allegations in Paragraphs 1 through 95 are realleged and incorporated herein by

  reference.




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  97.     Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), each owner or operator

  is required to meet the requirements ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.142) (Cost

  Estimate for Closure).

  98.     Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.142(a)), each owner or operator

  must have a detailed written estimate, in current dollars, of the cost of closing the facility in

  accordance with the requirements in 40 C.F.R. §§ 264.111through264.115, and the other

  applicable closure requirements listed in 40 C.F.R. § 264.142(a).

  99.     Since at least the December 9, 2003 and November 16-17, 2004 CEis and the December

  13-15, 2004 SI, and continuing through at least the date of the filing of this Complaint,

  Defendant had not established an adequate cost estimate for closure of its New Wales Facility

  phosphogypsum stack system in violation of the requirements of F .A.C. Rule 62-730.180(1) (40

  C.F .R. §§ 264, 111 through § 264.115), and the other applicable closure requirements listed in 40

  C.F.R. § 264.142(a).

  100.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to have an

  adequate cost estimate for the closure of its New Wales Facility phosphogypsum stack system.

                                  vi.    Sixth Claim (or Relief

                 (Failure to Establish Adequate Financial Assurance for Closure)

  101.   The allegations in Paragraphs 1 through 100 are realleged and incorporated herein by

  reference.

  102.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. §§ 264.140(a)), each owner or

  operator of a treatment, storage and disposal facility must establish financial assurance for

  closure of the facility (Financial Assurance for Closure).

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  103.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. §§ 264.143(a)), the owner or operator

  must choose from the options set forth at 40 C.F.R. § 264.143(a) through (f) and F.A.C. Rule 62-

  730.226(5) and (6).

  104.    Since at least the December 9, 2003 and November 16-17, 2004 CEis and the December

  13-15, 2004 SI, and continuing through at least the date of the filing of this Complaint,

  Defendant had not established adequate financial assurance for closure of its hazardous waste

  units (phosphogypsum stack system, earthen ditch and Stormwater Retention Pond) at its New

  Wales Facility in violation ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.143(a) through (f)).

  105.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to establish adequate

  financial assurance for closure of its New Wales Facility phosphogypsum stack system.

                                vii.   Seventh Claim for Relief

               (Failure to Prepare an Adequate Cost Estimate for Post-Closure Care)

  106.   The allegations in Paragraphs 1 through 105 and are realleged and incorporated herein by

  reference.

  107.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. 40 C.F.R. § 264.140(b)), each owner

  or operator of disposal facilities, piles, surface impoundments, tank systems and containment

  buildings must prepare a cost estimate for post closure of its facility to meet the requirements of

  F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.144) (Cost Estimate for Post-Closure Care).

  108.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.144(a)), the owner or operator of

  a disposal surface impoundment required under 40 C.F.R. § 264.228 to prepare a contingent

  closure and post-closure plan, must have a detailed written estimate, in current dollars, of the




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  annual cost of post-closure monitoring and maintenance of the facility in accordance with F.A.C.

  Rule 62-730.180(1) (40 C.F.R. §§ 264.117 through 264.120, and 40 C.F.R. § 264.228).

  109.      Since at least the December 9, 2003 and November 16-17, 2004 CEis and the December

  13-15, 2004 SI, and continuing through at least the date of the filing of this Complaint,

  Defendant did not have an adequate detailed written estimate, in current dollars, of the annual

  cost for post-closure monitoring and maintenance of its New Wales Facility phosphogypsum

  stack system in accordance with the applicable post-closure regulations set forth at F.A.C. Rule

  62-730.180(1) (40 C.F.R. §§ 264.117 through 264.120, and 40 C.F.R. § 264.228).

  110.      Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to prepare an

  adequate post-closure care cost estimate for its New Wales Facility phosphogypsum stack

  system.

                                  viii.   Eighth Claim for Relief

               (Failure to Establish Adequate Financial Assurance for Post-Closure Care)

  111.      The allegations in Paragraphs 1 through 110 are realleged and incorporated herein by

  reference.

  112.      Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(b)), each owner or operator

  of disposal facilities, piles, surface impoundments, tank systems and containment buildings are

  required to meet the requirements ofF.A.C. Rule 62-730.180(1) (40 C.F.R. 264.145) and F.A.C.

  Rule 62-730.226 (Financial Assurance for Post-Closure Care).

  113.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.145), the owner or operator of a

  hazardous waste unit subject to the requirements of 40 C.F.R. § 264.144 must establish financial

  assurance for post-closure care in accordance with the approved post-closure plan for its facility

                                                     25 .



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  60 days prior to the initial receipt of hazardous waste or the effective date of the regulation,

  whichever is later.

  114.    Since at least the December 9, 2003 and November 16-17, 2004 CEis and the December

  13-15, 2004 SI, and continuing through at least the date of the filing of this Complaint,

  Defendant was subject to the requirements ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.145)

  and had not established adequate financial assurance for post-closure care.

  115.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to establish adequate

  financial assurance for post-closure care of its New Wales Facility phosphogypsum stack system.

                                  ix.   Ninth Claim for Relief

         (Failure to Establish Adequate Financial Responsibility for Third Party Liability)

  116.   The allegations in Paragraphs 1through115 are realleged and incorporated herein by

  reference.

  117.   Owners and operators of treatment, storage and disposal facilities are required by F .A. C.

  Rule 62-730.180(1) (40 C.F.R. § 264.140(a)) to meet the requirements ofF.A.C. Rule 62-

  730.226 and 40 C.F.R. § 264.147(a) (Liability Requirements).

  118.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(a)), the owner or operator of

  each treatment, storage and disposal facility must establish financial responsibility for bodily

  injury and property damage to third parties caused by sudden accidental occurrences arising from

  operations of the facility, and must choose from the options as specified in paragraphs (a) (1)

  through (6) of 40 C.F.R. § 264.147 and F.A.C. Rule 62-730.180(1).

  119.    Owners and operators of surface impoundments, landfills, land treatment facilities, or

  hazardous waste disposal miscellaneous units are required by F .A.C. Rule 62-730.180(1) (40

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  C.F.R. § 264.140(a)), to meet the requirements ofF.A.C. Rule 62-730.226, and 40 C.F.R.

  § 264.147(b) (Liability Requirements).

  120.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(b)), owners or operators of

  each surface impoundment, landfill, land treatment facility, or hazardous waste disposal

  miscellaneous unit must establish financial responsibility for bodily injury and property damage

  to third parties caused by non-sudde.n accidental occurrences arising from operations of the

  facility, and must choose from the options as specified in paragraphs (b) (1) through (6) of 40

  C.F.R. § 264.147 and F.A.C. Rule 62-730.180(1).

  121.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(b)), owners and operators

  who are subject to 40 C.F.R. § 264.147(b) may combine coverage for sudden and non-sudden

  accidental occurrences.

  122.    Since at least the December 9, 2003 and Novemberl6-l 7, 2004 CEis and the December

  13-15, 2004 SI, and continuing through at least the date of the filing of this Complaint,

  Defendant had not established adequate financial responsibility for third party liability for

  sudden or non-sudden accidental occurrences .using any of the options specified in paragraphs

  (a)(l) through (6) or (b)(l) through (6) of 40 C.F.R. § 264.147 as required by F.A.C. Rule 62-

  730.180(1 ).

  123.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to establish adequate

  financial responsibility for third party liability at its New Wales Facility. Such failure is in

  violation ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147).




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                 B. GENERAL RIVERVIEW FACILITY ALLEGATIONS

  Facility Process Description

  124.   The Riverview Facility is a production facility for sulfuric acid, phosphoric acid, MAP,

  DAP, :fluorosilicic acid (FSA) and animal feed ingredients (AFI).

  125.   The Riverview Facility has been in operation at the current approximate 866-acre site

  since 1925. The Riverview Facility was originally owned by Gardiner Inc. Cargill Fertilizer, Inc.,

  a predecessor in interest to Cargill Fertilizer, LLC, purchased the Facility from Gardiner, Inc. in

  1985. On October 22, 2004, Cargill Fertilizer, LLC became Mosaic Fertilizer, LLC.

  126.   The Riverview Facility manufactures sulfuric acid, phosphoric acid, MAP, DAP, FSA,

  and AFI through mineral processing and chemical manufacturing methods described in

  paragraphs 132-144 below.

  127.   At the Riverview Facility, sulfuric acid is reacted with mineral phosphate rock to produce

  phosphoric acid (mineral processing). Different concentrations of phosphoric acid are then

  reacted with ammonia to produce MAP or DAP (chemical manufacturing).

  128.   Fluoride vapors emitted during the phosphoric acid evaporation steps are captured,

  condensed, and concentrated to produce FSA (chemical manufacturing).

  129.   Phosphoric acid is defluorinated and reacted with limestone to produce AFI. The

  production of non-ammoniated AFI is subject to the Bevill Exclusion.

  130.   Operations at the Riverview Facility fall into several categories, only some of which are

  mineral processing.

  131.   On December 8, 2003, EPA conducted a CEI, on March 1, 2005, EPA conducted a CEI,

  and on May 10-11, 2005, EPA conducted a SI at the Riverview Facility to determine the

  Facility's compliance with state and federal RCRA requirements.

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  Sulfuric Acid Production

   132.   The manufacturing of phosphoric acid, FSA, MAP, DAP, and AFI at the Riverview

  Facility begins with the production of sulfuric acid. The Riverview Facility produces sulfuric

  acid in three (3) Sulfuric Acid Plants on-site. The sulfuric acid is stored in large tanks until piped

  to the Phosphoric Acid Plant's two reactors for use in digesting the phosphate rock to produce

  phosphoric acid.

  133.    Sulfuric acid is also used to clean production and storage equipment, mainly evaporators

  and pipes.

  134.    Sulfuric acid production is not a mineral processing activity and is not subject to the

  Bevill Exclusion.

  Phosphoric Acid Production

  135.    Phosphate rock is received from the Defendant's mines by truck or rail car.

  136.    Sulfuric acid is piped from the storage tanks in the Sulfuric Acid Plants to two

  phosphoric acid reactors within a single Phosphoric Acid Plant (designated as the Prayon

  Reactor and the Dorrco Reactor). In the reactors, the sulfuric acid is mixed with phosphate rock

  to produce weak phosphoric acid [approximately 30% phosphorus pentoxide (P 2 0 5) (hereafter

  referred to as weak phosphoric acid)]. A by-product of the reaction is calcium sulfate dihydrate,

  typically referred to as phosphogypsum. Phosphogypsum is separated from the weak phosphoric

  acid by filtration. To recover additional weak phosphoric acid, the filtered phosphogypsum is

  rinsed with process wastewater pumped from the HDPE-lined ponds and ditches circling the

  phosphogypsum stack. After rinsing with process wastewater, minimal additional phosphoric

  acid is recoverable from the phosphogypsum, so the rinsed phosphogypsum is mixed with water

  (slurried) and pumped to the 480 acre HDPE-lined phosphogypsum stack for disposal.

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  137.    To meet material specifications for phosphate fertilizer production, the Riverview

  Facility concentrates the 30% phosphoric acid in two stages. The first concentration step is

  achieved through evaporation, resulting in 43% phosphoric acid. The 43% phosphoric acid is

  ultimately concentrated to 54% phosphoric acid through a second evaporation step. A blend of

  the 30% phosphoric acid and the 54% phosphoric acid is used in the MAP and DAP production

  processes described in paragraphs 141-144 below.

  138.   Phosphoric acid production processes leading to the manufacture ofMGA are mineral

  processing.

  139.   The diversion of phosphoric acid from MGA production for use in chemical

  manufacturing (FSA, MAP, DAP) is not mineral processing.

  140.   Contaminants are accumulated in the water used throughout production of phosphoric

  acid up to MGA, resulting in aqueous wastes referred to as "process wastewater." Prior to reuse

  in the various processes, the process wastewater must be cooled and excess contaminants must

  be removed. A majority of the excess contaminants precipitate (settle) from the wastewater as it

  cools in the phosphogypsum stack system. Approximately 60,000 gallons per minute (gpm) of

  process wastewater is sent from the phosphoric acid production plant to the phosphogypsum

  stack system for cooling and contaminant settling.

   Fertilizer Production

  141.   MAP and DAP fertilizer products are manufactured at the facility in two (2) Plants

  designated as #5 DAP and #6 DAP/MAP (collectively, Fertilizer Plants).

  142.   DAP production consists of reacting a mixture of 30% phosphoric acid and 54%

  phosphoric acid with anhydrous ammonia in a reactor ("pre-neutralizer"). The resultant slurry is

  removed from the pre-neutralizer and pumped into a rotating drum granulator, where the product

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  forms into round, solid, pebble-like granules. This solid material then passes through a dryer

  followed by a system of sizing screens and mills to achieve the desired granule size. The product

  is then cooled and stored. It is shipped offsite as bulk granular fertilizer for blending and use on

  farm crops.

  143.    During the production of phosphoric acid up to MGA, an impure phosphoric acid with

  high solids is generated. This high solids phosphoric acid is reacted with ammonia in a spray

  tower to produce MAP. The resultant product is dried and ground.

  144.    The Fertilizer Plants' production operations are chemical manufacturing, not mineral

  processing and as such are not subject to the Bevill Exclusion.

  Air Pollution Control Device (Phosphoric Acid and Fertilizer Production)

  145.    Air particulates emitted from the phosphoric acid production process are captured

  ("scrubbed") from the reactors, filters, and other production equipment (e.g. clarifiers and

  storage tanks) using air pollution control devices commonly referred to as scrubbers. The

  scrubbing liquid for scrubbers at the Riverview Facility is process wastewater that is pumped

  from the phosphogypsum stack system through the scrubbers to collect particulate air emissions

  in a single pass through the scrubbers before being discharged directly back into the

  phosphogypsum stack system.

  146.    Most of the ammonia and fugitive air particulates emitted from the pre-neutralizer,

  granulator, dryer, etc., during MAP and DAP production are captured in a series of scrubbers

  similar to the phosphoric acid scrubbers described above. Mosaic uses process wastewater from

  the phosphogypsum stack system in the last stage of air scrubbing (tail gas scrubbers) in the

  Fertilizer Plants to collect these particulate air emissions. At the Riverview Facility, process

  wastewater is pumped from the cooling pond system to a combined header that splits the process

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  wastewater and sends part of it to the tail gas scrubber in the #5 DAP Plant and the other half to

  the tail gas scrubber in the #6 DAP/MAP Plant. The effluent from the tail gas scrubbers

  combines to a single flow that is returned to the phosphogypsum stack system cooling pond

  system.

   14 7.    The operation of scrubbers is not part of mineral processing, and the wastewater from

  these scrubbers are not subject to the Bevill Exclusion.

  FSA Production

  148.      The Riverview Facility produces FSA depending on market conditions.

  149.      FSA is produced from the vapors emitted during the first and second stage evaporation of

  phosphoric acid. In the first stage, each evaporator is equipped with a FSA recovery unit, also

  called a "Swift Tower." The gas is condensed in the Swift Tower and continuously strengthened

  until the desired strength of FSA is obtained, typically a 24 to 25% solution, at which time it is

  transferred to a receiving tank.

  150.     FSA solutions meeting customer specifications in the receiving tank are transferred to

  storage tanks and sold to customers off-site.

  151.     At the time of the December 8, 2003 and March 1, 2005 CEis, and the May 10-11, 2005

  SI, Defendant discharged FSA solutions not meeting customer specifications to the process

  wastewater system.

  152.     FSA production is not a mineral processing activity and as such is not subject to the

  Bevill Exclusion.

  Pipe and Tank Cleaning

  153.     Mosaic cleans its pipes, tanks, evaporators, and other process equipment throughout the

  phosphoric acid and fertilizer production areas on a regular basis, using process wastewater,

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  phosphogypsum stack system wastewater, or a mixture of either with sulfuric acid as the

  cleaning agent. After use, the spent corrosive hazardous cleaning agent is discharged to the

  phosphogypsum stack system. Cleaning wastes are generated on a daily basis during normal

  plant operations and during scheduled maintenance periods.

  154.    Pipe and tank cleaning operations are not part of mineral processing and the wastes

  generated from such cleaning operations are not subject to the Bevill Exclusion.

  Phosphogypsum Stack System

  15 5.   Mosaic disposes of slurried phosphogypsum in a 370-acre clay-lined phosphogypsum

  stack. A 110 acre expansion to the 370-acre phosphogypsum stack is lined with 60-mil HDPE.

  The phosphogypsum stack and the expansion are located northeast of the facility, across US

  Hwy41.

  156.    The 480-acre combined lined phosphogypsum stack operates in conjunction with a 160-

  acre process wastewater system that is lined with 80-mil HDPE. The process wastewater system

  consists of a 32-acre transfer pond located directly east of the production complex, and the

  pond's connecting ditches. Mosaic operates the pond system under Industrial Wastewater

  Facility Permit Number FL0000761 issued by FDEP.

  157.    Mosaic's entire Riverview Facility is encompassed by a comprehensive groundwater

  monitoring system that is monitored and operated in accordance with an approved groundwater

  monitoring plan under Industrial Wastewater Facility Permit Numbers FL0000761 and

  FLOl 77130 issued by FDEP.

  158.    In 1998, Florida enacted§ 403.4155, F.S., which required FDEP to promulgate rules

  related to closure and financial responsibility for phosphogypsum stacks. Rules were duly

  promulgated in Chapter 62-673, F.A.C. As a result, Mosaic is required annually to estimate the

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  cost for closing the phosphogypsum stack system (including water treatment and management

  costs) at the end of the useful life of the facility and the cost associated with long-term

  monitoring of the effectiveness of closure (post-closure care or long-term care). Based on the

  estimated cost for closure and long-term care, Mosaic is required to establish Financial

  Assurance to guarantee the funds are available to close the facility at the end of the useful life.

  To meet its Financial Assurance obligations under Chapter 62-673, F.A.C., Mosaic established a

  corporate guarantee with FDEP.

  Spills & Leaks of Sulfuric Acid, Phosphoric Acid and FSA

  159.   In Mosaic's phosphoric acid and fertilizer production areas, spills and leaks of sulfuric

  acid, phosphoric acid and FSA occur. These spills and leaks are commingled with process

  wastewater being transported from the production areas to the phosphogypsum stack system.

  160.   Spills and leaks of sulfuric acid, phosphoric acid and FSA are not part of mineral

  processing and are therefore not subject to the Bevill Exclusion.

                     THE RIVERVIEW FACILITY CLAIMS FOR RELIEF

                                      x.     Tenth Claim for Relief

                        (Failure to Make Hazardous Waste Determinations)

  161.   The allegations in Paragraphs 1through36 and 124 through 160 are realleged and

  incorporated herein by reference.

  162.   Pursuant to F .A.C. Rule 62-730.160(1) (40 C.F .R. § 262.11 ), Defendant, as a generator of

  solid waste, is required to make a hazardous waste determination.

  163.   At the time of the December 8, 2003 and March 1, 2005 CEis, and the May 10-11, 2005

  SI, Defendant routinely generated the following solid wastes for which hazardous waste

  determinations had not been made:

                                                    34



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                a.     Phosphoric Acid Plant scrubbers' effluent;

                b.     #5 DAP Plant reactor/granulator/cooler equipment scrubber effluent;

                c.     # 5 DAP Plant dryer unit scrubber effluent;

                d.     #6 DAP Plant dryer unit scrubber effluent;

                e.     #6 DAP Plant cooler unit scrubber effluent;

                f.     Spent sulfuric acid and wastewaters generated from the cleaning of

                phosphoric acid production pipes and equipment;

                g.     Wastewaters generated from cleaning the Fetiilizer Plants' and FSA

                production pipes and equipment;

                h.     Spills and leaks from phosphoric acid and fertilizer production; and

                i.     FSA not meeting customer specifications (wastewater).

  164.   Based on EPA's knowledge of the processes at the Riverview Facility and the December

  8, 2003 and March 1, 2005 CEis and May 10-11, 2005 SI, EPA determined the following solid

  wastes are D002 hazardous wastes:

                a.     Phosphoric Acid Plant scrubbers' effluent;

                b.     #5 DAP Plant reactor/granulator/cooler equipment scrubber effluent;

                c.     #5 DAP Plant dryer unit scrubber effluent;

                d.     #6 DAP Plant dryer unit scrubber effluent;

                e.     #6 DAP Plant cooler unit scrubber effluent;

                f.     Spent sulfuric acid and wastewaters generated from the cleaning of

                phosphoric acid production pipes and equipment;

                g.     Wastewaters generated from cleaning the Fetiilizer Plants' and FSA

                production pipes and equipment;

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                      h.   Spills and leaks from phosphoric acid and fertilizer production; and

                      1.   FSA not meeting customer specifications (wastewater).

  165.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day it failed to make a hazardous

  waste determination for solid wastes generated at its Riverview Facility as required by F.A.C.

  Rule 62-730.160(1) (40 C.F.R. § 262.11).

                                 xi.   Eleventh Claim for Relief

   (Treatment, Storage and Disposal of Hazardous Waste in the Phosphogypsum Stack System
   Without a Permit or Interim Status in Violation of§ 403. 722 F.S. ((Section 3005 of RCRA, 42
   U.S.C. § 6925) and the applicable regulatory requirements found at F.A.C. Rules 62-730.180
          and 62-730.220 (40 C.F.R. Part 264, Subparts A-G, Kand CC, and Part 270)).

  166.    The allegations in Paragraphs 1through36 and 124 through 165 are realleged and

  incorporated herein by reference.

  167.     Section 403.722 F.S. (RCRA Section 3005(a), 42 U.S.C. § 6925(a)), and F.A.C. Rule

  62-730.180 (40 C.F.R. Pa1is 264, Subparts A-G, Kand CC, and 270), require, among other

  things, that the owner and operator of a hazardous waste management unit must have a permit or

  interim status for the treatment, storage and/or disposal of any hazardous waste during the active

  life of the unit.

  168.    Since at least March 2005 and continuing to at least the filing date of this Complaint,

  Defendant routinely treated, stored and disposed of the following D002 hazardous wastes in the

  Riverview Facility's phosphogypsum stack system:

                      a.   Phosphoric Acid Plant scrubbers' effluent;

                      b.   #5 DAP Plant reactor/granulator/cooler equipment scrubber effluent;

                      c.   #5 DAP Plant dryer unit scrubber effluent;


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                  d.     #6 DAP Plant dryer unit scrubber effluent;

                  e.     #6 DAP Plant cooler unit scrubber effluent;

                  f.     Spent sulfuric acid and wastewaters generated from the cleaning of

                         phosphoric acid production pipes and equipment;

                  g.     Wastewaters generated from cleaning the Fertilizer Plants' and FSA

                         production pipes and equipment;

                  h.     Spills and leaks from phosphoric acid and fertilizer production; and

                  1.     FSA not meeting customer specifications (wastewater).

  169.    Defendant has neither a RCRA hazardous waste permit nor interim status for treatment,

  storage or disposal of hazardous waste in its phosphogypsum stack system in violation of

  § 403.722, F.S. (Section 3005 ofRCRA, 42 U.S.C. § 6925) and the applicable regulatory

  requirements ofF.A.C. Rules 62-730.180 and 62.730.220 (40 C.F.R. Paits 264, Subparts A-G, K

  and CC, and 270).

  170.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it treated, stored, and/or

  disposed of hazardous waste in its phosphogypsum stack system at its Riverview Facility without

  a permit or interim status.

                                xii.   Twelfth Claim (or Relief

                         (Failure to Perform Land Disposal Determinations)

  171.   The allegations in Paragraphs 1 through 36 and 124 through 170 are realleged and

  incorporated herein by reference.




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  172.    Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. § 268.7(a)(l)), Defendant is required,

  among other things, to determine if its hazardous waste needs to be treated before it can be land

  disposed.

  173.    Since at least March 2005 and continuing to at least the date of filing of this Complaint,

  Defendant routinely generated the following D002 hazardous wastes and failed to determine

  whether these wastes must be treated before they can be land disposed:

                 a.      Phosphoric Acid Plant scrubbers' effluent;

                 b.      Spent sulfuric acid and wastewaters generated from the cleaning of

                 phosphoric acid production pipes and equipment;

                 c.      Wastewaters generated from cleaning the Fertilizer Plants' and FSA

                 production pipes and equipment;

                 d.      Spills and leaks from phosphoric acid and fertilizer production; and

                 e.      FSA not meeting customer specifications (wastewater).

  174.   Since at least March 2005 and continuing to at least April 2014, Defendant routinely

  generated the following D002 hazardous wastes and failed to determine whether these wastes

  must be treated before they can be land disposed:

                 a.      #5 DAP Plant reactor/granulator/cooler equipment scrubber effluent; and

                 b.      #5 DAP Plant dryer unit scrubber effluent.

  175.   Since at least 2005 and continuing to at least April 2013, Defendant routinely generated

  the following D002 hazardous wastes and failed to determine whether these wastes must be

  treated before they can be land disposed:

                 a.     #6 DAP Plant dryer unit scrubber effluent; and

                 b.     #6 DAP Plant cooler unit scrubber effluent.

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   176.   Defendant has violated F.A.C. Rule 62-730.183 (40 C.F.R. § 268.7(a)(l) for failure to

  make hazardous waste determinations before land disposal.

   177.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.72, F.S. for each day that it failed to determine whether

  these hazardous wastes generated at its Riverview Facility must be treated before they can be

  land disposed.

                              xiii.   Thirteenth Claim for Relief

          (Failure to Meet Land Disposal Restrictions for Prohibited Hazardous Wastes)

   178.   The allegations in Paragraphs 1 through 36 and 124 through 177 are realleged and

  incorporated herein by reference.

   179.   Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. § 268.9(c)), Defendant, among other

  things, is prohibited from land disposing a waste that exhibits a characteristic under F.A.C. Rule

  62-730.030(1) (40 C.F.R. Part 261, Subpart C) unless the waste complies with the treatment

  standards under F.A.C. Rule 62-730.183 (40 C.F.R. Part 268, Subpart D).

  180.    Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. Part 268, Subpart D), D002 corrosive

  wastewaters, must meet the DEACT code before the waste can be land disposed.

  181.    Since at least March 2005 and continuing to at least the date of the filing of this

  Complaint, Mosaic was land disposing the following hazardous wastes in the phosphogypsum

  stack system, which wastes did not meet the DEA CT treatment standard prior to land disposal:

                   a.     Phosphoric Acid Plant scrubbers' effluent;

                   b.     Wastewaters generated from the cleaning of phosphoric acid production

                   pipes and equipment;



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                 c.       Wastewaters generated from the cleaning of the MAP and DAP Plants'

                 and FSA production equipment;

                 d.       Spills and leaks from phosphoric acid and fertilizer production; and

                 e.       FSA not meeting customer specifications (wastewater).

  182.   Since at least March 2005 and continuing until at least April 2014, Mosaic was land

  disposing the following hazardous wastes n the phosphogypsum stack system, which wastes did

  not meet the DEA CT treatment standard prior to land disposal:

                 a.       #5 DAP Plant reactor/granulator/cooler/equipment scrubber effluent; and

                 b.       #5 DAP Plant dryer unit scrubber effluent.

  183.   Since at least March 2005 and continuing April 2013, Mosaic was land disposing the

  following hazardous wastes in the phosphogypsum stack system, which wastes did not meet the

  DEA CT treatment standard prior to land disposal:

                 a.       #6 DAP Plant dryer unit scrubber effluent; and

                 b.       #6 DAP Plant cooler unit scrubber effluent.

  184.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for failure to meet the standards set forth at

  F.A.C. Rule 62-730.183 (40 C.F.R. § 268.40(a) prior to land disposing prohibited waste in its

  phosphogypsum stack system at the Riverview Facility, in violation ofF.A.C. Rule 62-730.183

  (40 C.F.R. §§ 268.9(c) and 268.40(a)).

                              xiv.    Fourteenth Claim for Relief

                      (Failure to Prepare an Adequate Cost Estimate for Closure)

  185.   The allegations in Paragraphs 1through36 and 124 through 184 are realleged and

  incorporated herein by reference.

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   186.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), each owner or operator

  is required to meet the requirements of F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.142) (Cost

  Estimate for Closure).

  187.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.142(a)), each owner or operator

  must have a detailed written estimate, in current dollars, of the cost of closing the facility in

  accordance with the requirements in 40 C.F.R. §§ 264.111through264.115 and the other

  applicable closure requirements listed in 40 C.F.R. § 264.142(a).

  188.    Since at least the December 8, 2003 CEI, March 1, 2005 CEI, and May 10-11, 2005 SI,

  and continuing through at least the date of the filing of this Complaint, the Defendant had not

  prepared an adequate cost estimate for closure of its hazardous waste units (phosphogypsum

  stack system) at its Riverview Facility in violation of the requirements 40 C.F.R. §§ 264.111

  through 264.115, and the other applicable closure requirements listed in F.A.C. Rule 62-

  730.180(1) (40 C.F.R. § 264.142(a)).

  189.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to prepare an

  adequate cost estimate for the closure of its Riverview Facility phosphogypsum stack system.

                               xv.     Fifteenth Claim (or Relief

                 (Failure to Establish Adequate Financial Assurance for Closure)

  190.    The allegations in Paragraphs 1through36 and 124 through 189 are realleged and

  incorporated herein by reference.

  191.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), each owner or operator

  of a treatment, storage and disposal facility must establish financial assurance for closure of the

  facility (Financial Assurance for Closure).

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  192.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.143(a)), the owner or operator

  must choose from the options set forth at 40 C.F.R. § 264.143(a) through (f).

  193.    Since at least the December 8, 2003 CEI, March 1, 2005 CEI, and May 10-11, 2005 SI,

  and continuing through the date of the filing of this Complaint, Defendant had not established

  adequate financial assurance for closure of its phosphogypsum stack system at the Riverview

  Facility in violation ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.143(a) through (f)).

  194.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to establish

  adequate financial assurance for closure of its Riverview Facility phosphogypsum stack system.

                              xvi.    Sixteenth Claim for Relief

               (Failure to Prepare an Adequate Cost Estimate for Post-Closure Care)

  195.    The allegations in Paragraphs 1 through 36 and 124 through 194 are realleged and

  incorporated herein by reference.

  196.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. 40 C.F.R. § 264.140(b)), each owner

  or operator of disposal facilities, piles, surface impoundments, tank systems and containment

  buildings must prepare a cost estimate for post-closure care of its facility to meet the

  requirements of F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.144) (Cost Estimate for Post-

  Closure Care).

  197.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.144(a)), the owner or operator of

  a disposal surface impoundment required under 40 C.F.R. § 264.228 to prepare a contingent

  closure and post-closure plan, must have a detailed written estimate, in current dollars, of the

  annual cost of post-closure monitoring and maintenance of the facility in accordance with

  40 C.F.R. §§ 264.117 through 264.120, and 40 C.F.R. § 264.228.

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  198.    Since at least the December 8, 2003 CEI, March 1, 2005 CEI, and May 10-11, 2005 SI,

  and continuing through at least the date ofthe filing of this Complaint, Defendant did not have

  an adequate detailed written estimate, in current dollars, of the annual cost for post-closure

  monitoring and maintenance of its Riverview Facility phosphogypsum stack system in

  accordance with the applicable post-closure regulations set forth at 40 C.F .R. §§ 264.117 through

  264.120, and 40 C.F.R. § 264.228.

  199.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to prepare an

  adequate post-closure care cost estimate for its Riverview Facility phosphogypsum stack system.

                             xvii.    Seventeenth Claim for Relief

            (Failure to Establish Adequate Financial Assurance for Post-Closure Care)

  200.    The allegations in Paragraphs 1through36 and 124 through 199 are realleged and

  incorporated herein by reference.

  201.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(b)) each owner or operator

  of disposal facilities, piles, surface impoundments, tank systems and containment buildings are

  required to meet the requirements of F .A.C. Rule 62-730.180(1) (40 C.F .R. § 264.145) and

  F.A.C. Rule 62-730.226 (Financial Assurance for Post-Closure Care).

  202.   Pursuant to F .A.C. Rule 62-730.180(1) (40 C.F .R. § 264.145), the owner or operator of a

  hazardous waste unit subject to the requirements of 40 C.F .R. § 264.144 must establish financial

  assurance for post-closure care in accordance with the approved post-closure plan for its facility

  60 days prior to the initial receipt of hazardous waste or the effective date of the regulation,

  whichever is later.




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  203.    Since at least the December 8, 2003 CEI, March 1, 2005 CEI, and May 10-11, 2005 SI,

  and continuing through the date of the filing of this Complaint, Defendant was subject to the

  requirements ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.145(a)) and had not established

  adequate financial assurance for post-closure care.

  204.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to establish adequate

  financial assurance for post-closure for its Riverview Facility phosphogypsum stack system.

                            xviii.    Eighteenth Claim (or Relief

           (Failure to Establish Adequate Financial Assurance for Third Party Liability)

  205.   The allegations in Paragraphs 1 through 36 and 124 through 204 are realleged and

  incorporated herein by reference.

  206.   Owners and operators of treatment, storage and disposal facilities are required by F.A.C.

  Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), to meet the requirements of 40 C.F.R.

  § 264.147(a) and F.A.C. Rule 62-730.226, F.A.C. (Liability Requirements).

  207.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(a)), the owner or operator of

  each treatment, storage and disposal facility must establish financial responsibility for bodily

  injury and property damage to third parties caused by sudden accidental occurrences arising from

  operations of the facility, and must choose from the options as specified in paragraphs (a) (1)

  through (6) of 40 C.F.R. § 264.147.

  208.   Owners and operators of surface impoundments, landfills, land treatment facilities, or

  hazardous waste disposal miscellaneous units are required by F.A.C. Rule 62-730.180(1) (40

  C.F.R. § 264.140(a)), to meet the requirements of 40 C.F.R. § 264.147(b) and F.A.C. Rule 62-

  730.226 (Liability Requirements).

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  209.    F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(b)) requires that the owner or.operator

  of each surface impoundment, landfill, land treatment facility, or hazardous waste disposal

  miscellaneous unit establish financial responsibility for bodily injury and property damage to

  third parties caused by non-sudden accidental occurrences arising from operations of the facility,

  and must choose from the options as specified in paragraphs (b)(l) through (6) of 40 C.F.R.

  § 264.147.

  210.    Pursuant to F.A.C. Rule 62-730.180(1) (C.F.R. § 264.147(b)), owners and operators who

  are subject to 40 C.F.R. § 264.l47(b) may combine coverage for sudden and non-sudden

  accidental occurrences.

  211.    Since at least the December 8, 2003 CEI, March 1, 2005 CEI, and May 10-11, 2005 SI,

  and continuing through the date of the filing of this Complaint, Defendant had not established

  adequate financial responsibility for third party liability for sudden or non-sudden accidental

  occurrences using any of the options specified in paragraphs (a)(l) through (6) or (b)(l) through

  (6) of 40 C.F.R. § 264.147.

  212.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to establish adequate

  financial responsibility for third paiiy liability at its Riverview Facility. Such failure is in

  violation ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147).

                    C. GENERAL BARTOW FACILITY ALLEGATIONS

  Facility Process Description

  213.    The Bartow Facility is a production facility for sulfuric acid, phosphoric acid, FSA, MAP

  andDAP.




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  214.    The Baiiow Facility operates a Reverse Osmosis (RO) Unit for the treatment of process

  wastewater to produce clean, discharge-quality water.

  215.    The Bartow Facility began operations in 1929 at the current approximate 8,500 acre site

  as a phosphate rock storage, drying, and shipping facility associated with an adjacent phosphate

  mine. Cargill Fe1tilizer, Inc., a predecessor in interest to Cargill Fertilizer, LLC, purchased the

  Facility from Seminole Fertilizer Corporation in 1993. On October 22, 2004, concurrent with the

  merger of the Cargill fertilizer business with IMC Global, the name of Cargill Fertilizer, LLC

  was changed to Mosaic Fertilizer, LLC. Mosaic Fertilizer, LLC is the 100% owner of the Baiiow

  Facility.

  216.    At the Bartow Facility, sulfuric acid is reacted with mineral phosphate rock to produce

  phosphoric acid (mineral processing). Different concentrations of phosphoric acid are then

  reacted with ammonia to produce MAP or DAP (chemical manufacturing).

  217.    Fluoride vapors emitted during the phosphoric acid evaporation steps are captured,

  condensed, and concentrated to produce FSA (chemical manufacturing).

  218.    Some process wastewater is treated at the Bartow Facility through the use of an RO

  system. Any unclean discharge (reject), if hazardous, from the RO system is not a mineral

  processing waste and is not subject to the Bevill Exclusion.

  219.    Operations at the Bartow Facility fall into several categories, only some of which are

  mineral processing.

  220.    On March 7-10, 2006, EPA conducted a CEI and SI at the Bartow Facility to determine

  the facility's compliance with state and federal RCRA requirements.




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  Sulfuric Acid Production

  221.    The manufacturing of phosphoric acid, FSA, MAP, and DAP at the Bartow Facility

  begins with the production of sulfuric acid. The Bmiow Facility produces sulfuric acid in three

  (3) Sulfuric Acid Plants on-site. The sulfuric acid is stored in large tanks until piped to the

  Phosphoric Acid Plant's two reactors for use in digesting the phosphate rock to produce

  phosphoric acid.

  222.    Sulfuric acid is also used to clean production and storage equipment, mainly evaporators

  and pipes.

  223.   Sulfuric acid production is not a mineral processing activity and is not subject to the

  Bevill Exclusion.

  Phosphoric Acid Production

  224.   Phosphate rock is received from the Defendant's mines by truck or rail car.

  225.   Sulfuric acid is piped from the storage tanks in the Sulfuric Acid Plants to two

  phosphoric acid reactors within a single Phosphoric Acid Plant (designated as the Prayon

  Reactor V and the Prayon Reactor U). In the reactors, the sulfuric acid is mixed with phosphate

  rock to produce weak phosphoric acid [approximately 30% phosphorus pentoxide (P 20 5)

  (hereafter referred to as weak phosphoric acid)]. A by-product of the reaction is calcium sulfate

  dihydrate which is typically referred to as phosphogypsum. Phosphogypsum is separated from

  the weak phosphoric acid by filtration. To recover additional weak phosphoric acid, the filtered

  phosphogypsum is rinsed with process wastewater that is pumped from the ponds and ditches

  circling the phosphogypsum stack. After rinsing with process wastewater, the rinsed

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  phosphogypsum is mixed with process wastewater (slurried) and pumped to the 420-acre 60 mil

  HDPE lined phosphogypsum stack for disposal.

  226.       To meet material specifications for phosphate feiiilizer production, Baiiow concentrates

  the 30% phosphoric acid in two stages. The first concentration step is achieved through

  evaporation, resulting in 40% phosphoric acid. The 40% phosphoric acid is ultimately

  concentrated to 54% phosphoric acid through a second evaporation step. A blend of the 30%

  phosphoric acid and the 54% phosphoric acid is used in the MAP and DAP production processes.

  227.       Phosphoric acid production processes leading up to the manufacture of MGA are mineral

  processmg.

  228.       The diversion of phosphoric acid from MGA production for use in chemical

  manufacturing (FSA, MAP, DAP) is not mineral processing.

  229.       Contaminants are accumulated in the water used throughout production of up to MGA,

  resulting in aqueous wastes referred to as "process wastewater." Prior to reuse in the various

  processes, the process wastewater must be cooled and excess contaminants must be removed. A

  majority of the excess contaminants precipitate from the water as it cools in the phosphogypsum

  stack system. Approximately 50,000-60,000 gpm of process wastewater is sent from the

  phosphoric acid production plant to the phosphogypsum stack system for cooling and

  contaminant settling.

  Fertilizer Production

  230.       MAP and DAP fertilizer products are manufactured at the Ba1iow Facility in two (2)

  Plants designated as MAP/DAP #3 and MAP/DAP #4 (collectively referred to as the Fertilizer

  Plants).




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  231.     DAP production consists of reacting a mixture of 30% phosphoric acid and 54%

  phosphoric acid with anhydrous ammonia in a pre-neutralizer. The resultant slurry is removed

  from the pre-neutralizer and pumped into a rotating drum granulator, where the product forms

  into round, solid, pebble-like granules. This solid material then passes through a dryer followed

  by a system of sizing screens and mills to achieve the desired granule size. The product is then

  cooled and stored. It is shipped off-site as bulk granular fertilizer for blending and use on farm

  crops.

  232.     During the production of phosphoric acid up to MGA, an impure phosphoric acid with

  high solids is generated. This high solids phosphoric acid is reacted with ammonia in a spray

  tower to produced MAP. The resultant product is dried and ground.

  233.     Mosaic's Fertilizer Plants' production operations are chemical manufacturing, not

  mineral processing and as such are not subject to the Bevill Exclusion.

  Air Pollution Control Devices (Phosphoric Acid and Fertilizer Production)

  234.     Air particulates emitted from the phosphoric acid production process are captured

  ("scrubbed") from the reactors, filters, and other production equipment (e.g. clarifiers and

  storage tanks) using scrubbers. The scrubbing liquid for scrubbers at the Bartow Facility is

  process wastewater that is pumped from the phosphogypsum stack system through the scrubbers

  to collect particulate air emissions in a single pass through the scrubber before being discharged

  back into the phosphogypsum stack system.

  235.     Most of the ammonia and fugitive air particulates emitted from the pre-neutralizer,

  granulator, cooler, dryer, etc., during MAP and DAP production are captured in a series of

  scrubbers similar to the phosphoric acid scrubbers described above. The Bartow Facility uses

  water from a separate pond dedicated to MAP/DAP production (pH greater than 2) to scrub air

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  particulates from all of the Fertilizer Plants' scrubbers except for the MAP/DAP #3 Cooler

  Scrubber. The MAP/DAP #3 Cooler Scrubber uses once-through process wastewater from the

  phosphogypsum stack system to collect these particulate air emissions. At the Bartow Facility,

  the process wastewater effluent from all of the scrubbers except for the MAP/DAP #3 Cooler

  Scrubber is pumped back to a common sump and then from the sump to the dedicated DAP

  Pond. Process wastewater effluent from the MAP/DAP #3 Cooler Scrubber is returned to the

  phosphogypsum stack system cooling pond system.

  236.   The operation of scrubbers is not part of mineral processing, and the wastewater from

  these scrubbers are not subject to the Bevill Exclusion.

  FSA Production

  237.   The Bartow Facility produces FSA depending on market conditions.

  238.   FSA is produced from the vapors emitted during the first and second stage evaporation of

  phosphoric acid. In the first stage, each evaporator is equipped with a FSA recovery unit, also

  called a "Swift Tower." The gas is condensed in the Swift Tower and continuously strengthened

  until the desired strength of FSA is obtained, typically a 24% to 25% solution.

  239.   Solutions meeting customer specifications in the receiving tank are transferred to storage

  tanks and sold to customers off-site.

  240.   At the time of the March 7-10, 2006, CEI and SI, and continuing through the date of the

  filing of this Complaint, Mosaic discharged FSA solutions not meeting customer specifications

  to the process wastewater system.

  241.   FSA production is not a mineral processing activity and as such FSA solutions not

  meeting customer specifications are not subject to the Bevill Exclusion.




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  Pipe and Tank Cleaning

  242.      Mosaic cleans its pipes, tanks, evaporators, and other process equipment throughout the

  phosphoric acid and fertilizer production areas on a regular basis, using process wastewater,

  phosphogypsum stack system wastewater, or a mixture of either of these with sulfuric acid, as

  the cleaning agent. After use, the spent corrosive hazardous cleaning agent is discharged to the

  phosphogypsum stack system. Cleaning wastes are generated on a daily basis during normal

  plant operations and during scheduled maintenance periods.

  243.      Pipe and tank cleaning operations are not part of mineral processing and the wastewater

  from such cleaning operations are not subject to the Bevill Exclusion.

  Reverse Osmosis System for Water Treatment

  244.      In order to meet its NPDES permit limitations when discharging water, the Bartow

  Facility operates a RO system to treat its process wastewater prior to discharge. The RO system

  has five trains and is capable of processing 1.4 million gallons of process wastewater per day.

  The process wastewater is pumped into the RO system from the phosphogypsum stack system

  for treatment. Treatment produces clean water ("permeate") and a more concentrated unclean

  water (reject).

  245.      The permeate may be discharged to local water bodies under FDEP NPDES Permit

  Number FL0001589.

  246.      The reject that exits the RO system is discharged back into the phosphogypsum stack

  system.

  24 7.     RO system operation is not part of mineral processing. The reject and any cleaning waste

  generated at the RO system are not subject to the Bevill Exclusion.

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  Spills & Leaks of Phosphoric Acid, FSA and Sulfuric Acid

  248.   In Mosaic's phosphoric acid and fertilizer production areas, spills and leaks of FSA,

  phosphoric acid and sulfuric acid occur. These spills and leaks commingle with process

  wastewater being transported from the production areas to the phosphogypsum stack system.

  249.   Spills and leaks of FSA, phosphoric acid and sulfuric acid are not part of mineral

  processing and are therefore not subject to the Bevill Exclusion.

  Phosphogypsum Stack System

  250.   The Bartow Facility currently disposes of slurried phosphogypsum in the south

  phosphogypsum stack expansion, a 575-acre, 60 mil HDPE- lined phosphogypsum stack located

  southeast of the facility, across US Hwy 60. When originally constructed, the base of the south

  phosphogypsum stack did not have a liner; however, beginning in 2000, the south

  phosphogypsum stack was expanded vertically and a liner was placed on top of the

  phosphogypsum stack as the Bartow Facility expanded the phosphogypsum stack in three

  phases. The combined expansion phases are referred to as the south phosphogypsum stack

  expansion. Phosphogypsum is now deposited on top of the liners. The combined lined

  phosphogypsum stack operates in conjunction with a 75-acre process wastewater system, and

  together are referred to as the south phosphogypsum stack system.

  251.   The Bartow Facility's process wastewater system encompasses 325 acres, 250 acres of

  which are associated with the closed north phosphogypsum stack, and 75 acres which are

  associated with the south phosphogypsum stack expansion. Process wastewater enters the

  process wastewater system on the western portion of the north phosphogypsum stack and flows

  clockwise around the north phosphogypsum stack before being returned to the plant for use. The

  eastern and southern portions of the north phosphogypsum stack system have a soil-bentonite

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  cut-off wall keyed into the clay upper confining layer between the surficial aquifer and the

  artesian drinking water aquifer.

  252.    The process wastewater recirculation system, perimeter dikes, and miscellaneous ditches

  associated with the south phosphogypsum stack/south phosphogypsum stack expansion occupy

  approximately 75 acres. This system primarily receives leachate and runoff from the south

  phosphogypsum stack/south phosphogypsum stack expansion.

  253.     Mosaic operates the north phosphogypsum stack system and the south phosphogypsum

  stack system under an Industrial Wastewater Facility Permit issued by FDEP.

  254.    Mosaic's entire Bartow Facility is encompassed by a comprehensive groundwater

  monitoring system that is monitored and operated in accordance with an approved groundwater

  monitoring plan under Industrial Wastewater Facility Permit Numbers FL0001589 and

  FL0267911 issued by FDEP.

  255.    In 1998, Florida enacted§ 403.4155, F.S., which required FDEP to promulgate rules

  related to closure and financial responsibility for phosphogypsum stacks. Rules were duly

  promulgated in Chapter 62-673, F.A.C. As a result, the Bartow Facility is required to annually

  estimate the cost for closing the phosphogypsum stack system (including water treatment and

  management costs) at the end of the useful life of the facility and the cost associated with long-

  term monitoring of the effectiveness of closure (post-closure care or long-term cate). Based on

  the estimated cost for closure and long-term care, the Bartow Facility is required to establish

  financial assurance to guarantee the funds are available to close the facility at the end of its

  useful life. To meet its financial assurance obligations under Chapter 62-673.640, F.A.C., the

  Bartow Facility established a corporate guarantee with FDEP.




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                         BARTOW FACILITY CLAIMS FOR RELIEF

                              xix.    Nineteenth Claim for Relief

                       (Failure to Make Hazardous Waste Determinations)

  256.   The allegations in Paragraphs 1 through 36 and 213 through 255 are realleged and

  incorporated herein by reference.

  257.   Pursuant to F.A.C. Rule 62-730.160(1) (40 C.F.R. § 262.11), Defendant, as a generator of

  solid waste, is required to make a hazardous waste determination.

  258.   At the time of the March 7 - 10, 2006 CEI and SI, Defendant routinely generated the

  following solid wastes for which hazardous waste determinations had not been made:

                a.      Phosphoric Acid Plant scrubbers' effluent;

                b.      MAP/DAP #3 cooler scrubber effluent;

                c.      FSA not meeting customer specifications (wastewater);

                d.      RO reject;

                e.      Spent sulfuric acid and wastewaters generated from the cleaning of

                phosphoric acid production pipes and equipment;

                f.      Wastewaters generated from cleaning the Fertilizer Plants' and FSA

                production pipes and equipment; and

                g.      Spills and leaks from phosphoric acid and fertilizer production.

  259.   Based on EPA's knowledge of the processes at the Bartow Facility and the March 7-10,

  2006 CEI and SI, EPA determined the following solid wastes are D002 hazardous wastes:

                a.      Phosphoric Acid Plant scrubbers' effluent;

                b.      MAP/DAP #3 cooler scrubber effluent;

                c.      FSA not meeting customer specifications (wastewater);

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                  d.     RO reject;

                  e.     Spent sulfuric acid wastewaters generated from the cleaning of phosphoric

                  acid production pipes and equipment;

                  f.     Wastewaters generated from the cleaning of Fertilizer Plants' and FSA

                  production pipes and equipment; and

                  g.     Spills and leaks from phosphoric acid and fertilizer production.

  260.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day that it failed to make hazardous

  waste determinations for solid wastes generated at its Bartow Facility as required by F.A.C. Rule

  62-730.160(1) (40C.F.R. § 262.11).

                               xx.    Twentieth Claim for Relief

    (Treatment, Storage and Disposal of Hazardous Waste in the South Phosphogypsum Stack
   and the North Phosphogypsum Stack System without a Permit or Interim Status in Violation
    of§ 403. 722 F.S. ((Section 3005 of RCRA, 42 U.S.C. § 6925) and the applicable regulatory
  requirements found at F.A.C. Rules 62-730.180 and 62-730.220 (40 C.F.R. Part 264, Subparts
                                  A-G, Kand CC, and Part 270)).

  261.    The allegations in Paragraphs 1 through 36 and 213 through 260 are realleged and

  incorporated herein by reference.

  262.    Section 403.722 F.S. (RCRA Section 3005(a), 42 U.S.C. § 6925(a)), and F.A.C. Rule 62-

  730.180 (40 C.F.R. Parts 264, Subparts A-G, Kand CC, and 270), require, among other things,

  that the owner and operator of a hazardous waste management unit must have a permit or interim

  status for the treatment, storage and/or disposal of any hazardous waste during the active life of

  the unit.

  263.    Since at least March 2006 and continuing to at least the date of the filing of this

  Complaint, Defendant has routinely treated, stored and disposed of the following D002
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  hazardous wastes in its south phosphogypsum stack system and its north phosphogypsum stack

  system at the Bartow Facility:

                  a.     Phosphoric Acid Plant scrubbers' effluent;

                  b.     FSA not meeting customer specifications (wastewater);

                  c.     RO reject;

                  d.     Spent sulfuric acid wastewaters generated from the cleaning of phosphoric

                  acid production pipes and equipment;

                  e.     Wastewaters generated froth the cleaning of Fertilizer Plants' and FSA

                 production pipes and equipment; and

                 f.      Spills and leaks from phosphoric acid and fertilizer production.

  264.    Since at least March 2006 and continuing to at least December 2009, Defendant

  routinely treated, stored and disposed of scrubber effluent from the MAP/DAP #3 Cooler

  Scrubber, a D002 hazardous waste in its south phosphogypsum stack system and its north

  phosphogypsum stack system at the Bartow Facility.

  265.    Defendant neither has a RCRA hazardous waste permit nor interim status for treatment,

  storage or disposal of hazardous waste in its south phosphogypsum stack system and its north

  phosphogypsum stack system at the Bartow Facility, and is therefore in violation of§ 403.722,

  F.S. (Section 3005 of RCRA, 42 U.S.C. § 6925) and the applicable regulatory requirements of

  F.A.C. Rules 62-730.180 and 62.730.220 (40 C.F.R. Parts 264, Subparts A-G, Kand CC, and

  270).

  266.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S.F.S. for each day that it treated, stored, and/or




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  disposed of hazardous waste in its south phosphogypsum stack system and its north

  phosphogypsum stack system at its Bartow Facility without a permit or interim status.

                            xxi.      Twentv-First Claim for Relief

                        (Failure to Pe1form Land Disposal Determinations)

  267.   The allegations in Paragraphs 1through36 and 213 through 266 are realleged and

  incorporated herein by reference.

  268.   Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. § 268.7(a)(l)), Defendant is required,

  among other things, to determine if its hazardous waste needs to be treated before it can be land

  disposed.

  269.    Since at least March 2006 and continuing to at least the date of filing of this Complaint,

  Defendant has routinely generated the following D002 hazardous wastes and failed to determine

  whether these wastes must be treated before they can be land disposed:

                 a.     Phosphoric Acid Plant scrubbers' effluent;

                 b.     FSA not meeting customer specifications (wastewater);

                 c.     RO reject;

                 d.     Spent sulfuric acid and wastewaters generated from the cleaning of

                phosphoric acid production pipes and equipment;

                 e.     Wastewaters generated from cleaning the Fertilizer Plants' and FSA

                production pipes and equipment; and

                 f.     Spills and leaks from phosphoric acid and fertilizer production.

  270.   Since at least March 2006 and continuing to at least December 2009, Defendant routinely

  generated MAP/DAP #3 cooler scrubbe1' effluent, a D002 hazardous waste and failed to

  determine whether this waste must be treated before it can be land disposed.

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  271.   Defendant has violated F.A.C. Rule 62-730.183 (40 C.F.R. § 268.7(a)(l)), for failure to

  make a hazardous waste determination before land disposal.

  272.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.72, F.S. for each day that it failed to determine whether

  these hazardous wastes generated at its Bartow Facility must be treated before they can be land

  disposed.

                          xxii.    Twentv-Second Claim for Relief

          (Failure to Meet Land Disposal Restrictions for Prohibited Hazardous Wastes)

  273.   The allegations in Paragraphs 1 through 36 and 213 through 272 are realleged and

  incorporated herein by reference.

  274.   Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. § 268.9(c)), Defendant, among other

  things, is prohibited from land disposing a waste that exhibits a characteristic under F.A.C. Rule

  62-730.030(1) (40 C.F.R. Part 261, Subpart C), unless the waste complies with the treatment

  standards under F.A.C. Rule 62-730.183 (Subpart D of 40 C.F.R. Part 268) ..

  275.   Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. Part 268, Subpart D), D002 corrosive

  wastewaters must meet the DEACT code before the waste can be land disposed.

  276.   Since at least March 2006 and continuing to at least the date of filing of this Complaint,

  the Bartow Facility routinely land disposed of the following hazardous wastes in the

  phosphogypsum stack system that did not meet the DEACT standard for D002 prior to land

  disposal:

                 a.      Phosphoric acid plants' scrubber effluents;

                 b.      FSA not meeting customer specifications (wastewater);

                 c.      RO reject;

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                 d.        Spent sulfuric acid and wastewaters generated from the cleaning of

                 phosphoric acid production pipes and equipment;

                 e.        Wastewaters generated from cleaning the Fertilizer Plants' and FSA

                 production pipes and equipment; and

                 f.        Spills and from phosphoric acid and fertilizer production.

  277.   Since at least 2006 and continuing to at least December 2009, Defendant routinely

  disposed of MAP/DAP #3 cooler scrubber effluent, a D002 (corrosive) hazardous waste, in the

  phosphogypsum stack system that did not meet the DEACT standard for D002 (corrosivity) prior

  to land disposal.

  278.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day that it failed to meet the standards

  set forth at F.A.C. Rule 62-730.183 (40 C.F.R. §§ 268.40(a)), prior to land disposing prohibited

  waste in its South phosphogypsum stack system and its North phosphogypsum stack system at

  the Bartow Facility, in violation of F .A.C. Rule 62-730.183 (40 C.F .R. §§ 268.9(c) and

  268.40(a)).

                            xxiii.    Twentv-Tltird Claim for Relief

                      (Failure to Prepare an Adequate Cost Estimate for Closure)

  279.   The allegations in Paragraphs 1through36 and 213 through 278 are realleged and

  incorporated herein by reference.

  280.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), each owner or operator

  is required to meet the requirements of F .A.C. Rule 62-730.180(1) (40 C.F .R. §264.142) (Cost

  Estimate for Closure).




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  281.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.142(a)), each owner or operator

  must have a detailed written estimate, in current dollars, of the cost of closing the facility in

  accordance with the requirements in 40 C.F.R. §§ 264.111through264.115 and the other

  applicable closure requirements listed in 40 C.F.R. § 264.142(a).

  282.    Since at least the March 7 - 10, 2006 CEI and SI, and continuing through at least the date

  of the filing of this Complaint, the Defendant had not prepared an adequate cost estimate for

  closure of its hazardous waste units (phosphogypsum stack systems) at its Bartow Facility in

  violation of the requirements ofF.A.C. Rule 62-703.180(1) (40 C.F.R. §§ 264.111 through

  264.115), and the other applicable closure requirements listed in F.A.C. Rule 62-730.180(1) (40

  C.F.R. § 264.142(a)).

  283.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to prepare an

  adequate cost estimate for the closure of its phosphogypsum stack systems at the Bartow

  Facility.

                          xxiv.     Twentv-Fourth Claim for Relief

                 (Failure to Establish Adequate Financial Assurance for Closure)

  292.    The allegations in Paragraphs 1through36, and 213 through 291 are realleged and

  incorporated herein by reference.

  293.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), each owner or operator

  of a treatment, storage and disposal facility must establish financial assurance for closure of the

  fadlity (Financial Assurance for Closure).

  294.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.143(a)), the owner or operator

  must choose from the options set forth at 40 C.F.R. § 264.143(a) through (f).

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  295.    Since at least the March 7 - 10, 2006 CEI and SI, and continuing through the date of the

  filing of this Complaint, Defendant had not established adequate financial assurance for closure

  of its phosphogypsum stack systems at the Bartow Facility in violation of F .A.C. Rule 62-

  730.180(1) (40 C.F.R. § 264.143(a) through (t)).

  296.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to establish

  adequate financial assurance for closure of its phosphogypsum stack systems at the Bartow

  Facility.

                              xxv.    Twenty-Fifilt Claim (or Relief

               (Failure to Prepare an Adequate Cost Estimate for Post-Closure Care)

  297.    The allegations in Paragraphs 1 through 36 and 213 through 296 are realleged and

  incorporated herein by reference.

  298.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R .. § 264.140(b)), each owner or operator

  of disposal facilities, piles, surface impoundments, tank systems and containment buildings must

  prepare a cost estimate for post-closure care of its facility to meet the requirements ofF.A.C.

  Rule 62-730.180(1) (40 C.F.R. § 264.144) (Cost Estimate for Post-Closure Care).

  299.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.144(a)), the owner or operator of

  a disposal surface impoundment required under 40 C.F.R. § 264.228 to prepare a contingent

  closure and post-closure plan, must have a detailed written estimate, in current dollars, of the

  annual cost of post-closure monitoring and maintenance of the facility in accordance with F.A.C.

  Rule 62-730.180(1) (40 C.F.R. §§ 264.117 through 264.120, and 40 C.F.R. § 264.288).

  300.    Since at least the March 7 - 10, 2006 CEI and SI, and continuing through at least the date

  of the filing of this Complaint, Defendant did not have an adequate detailed written estimate, in

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  current dollars, of the annual cost for post-closure monitoring and maintenance of its

  phosphogypsum stack systems in accordance with the applicable post-closure regulations set

  forth at F.A.C. Rule 62-730.180(1) (40 C.F.R. §§ 264.117 through 264.120, and 40 C.F.R.

  § 264.228).

  301.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the § 403.727, F.S. for each day that it failed to prepare an

  adequate post-closure care cost estimate for its phosphogypsum stack systems at the Bartow

  Facility. ·

                             xxvi.     Twentv-Sixtlt Claim for Relief

            (Failure to Establish Adequate Financial Assurance for Post-Closure Care)

  302.    The allegations in Paragraphs 1through36 and 213 through 301 are realleged and

  incorporated herein by reference.

  303.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(b)) each owner or operator

  of disposal facilities, piles, surface impoundments, tank systems, and containment buildings are

  required to meet the requirements ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.145)

  (Financial Assurance for Post-Closure Care).

  304.   Pursuant to F .A.C. Rule 62-730.180(1) (40 C.F .R. § 264.145), the owner or operator of a

  hazardous waste unit subject to the requirements of 40 C.F.R. § 264.144 must establish financial

  assurance for post-closure care in accordance with the approved post-closure plan for its facility

  60 days prior to the initial receipt of hazardous waste or the effective date of the regulation,

  whichever is later.

  305.   Since at least the March 7 -10, 2006 CEI and SI, and continuing through the date of the

  filing of this Complaint, Defendant was subject to the requirements ofF.A.C. Rule 62-

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  730.180(1) (40 C.F.R. § 264.145(a)) and had not established adequate financial assurance for

  post-closure care.

  306.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to establish adequate

  financial assurance for post-closure for its phosphogypsum stack systems.

                           xxvii.     Twentv-Seventh Claim for Relief

           (Failure to Establish Adequate Financial Assurance for Third Party Liability)

  307.   The allegations in Paragraphs 1 through 36 and 213 through 306 are realleged and

  incorporated herein by reference.

  308.   Owners and operators of treatment, storage and disposal facilities are required by F.A.C.

  Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), to meet the requirements of F.A.C. Rule 62-

  730.226 (40 C.F.R. § 264.147(a)) (Liability Requirements).

  309.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(a)), the owner or operator of

  each treatment, storage and disposal facility must establish financial responsibility for bodily

  injury and property damage to third parties caused by sudden accidental occurrences arising from

  operations of the facility, and must choose from the options as specified in paragraphs (a) (1)

  through (6) of 40 C.F.R. § 264.147.

  310.   Owners and operators of surface impoundments, landfills, land treatment facilities, or

  hazardous waste disposal miscellaneous units are required by F.A.C. Rule 62-730.180(1) (40

  C.F.R. § 264.140(a)), to meet the requirements of 40 C.F.R. § 264.147(b) and Rule 62-730.226,

  F.A.C. (Liability Requirements).

  311.   F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(b)), require that the owner or operator

  of each surface impoundment, landfill, land treatment facility, or hazardous waste disposal

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  miscellaneous unit must establish financial responsibility for bodily injury and property damage

  to third parties caused by non-sudden accidental occurrences arising from operations of the

  facility, and must choose from the options as specified in paragraphs (b)(l) through (6) of 40

  C.F.R. § 264.147.

  312.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(b)), owners and operators

  who are subject to 40 C.F.R. § 264.147(b) may combine coverage for sudden and non-sudden

  accidental occurrences.

  313.    Since at least the March 7 - 10, 2006 CEI and SI, and continuing through the date of the

  filing of this Complaint, Defendant had not established adequate financial responsibility for third

  party liability for sudden or non-sudden accidental occurrences using any of the options specified

  in paragraphs (a)(l) through (6) or (b)(l) through (6) of 40 C.F.R. § 264.147.

  314.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to establish adequate

  financial responsibility for third party liability at its Bartow Facility. Such failure is in violation

  ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147).

                      D. GENERAL GREEN BAY FACILITY ALLEGATIONS

  Facility and Process Description

  315.    The Green Bay Facility was a production facility for sulfuric acid, phosphoric acid, FSA,

  DAP and MAP.

  316.   In October 2005, Defendant ceased production of DAP at the Green Bay Facility.

  317.   In May 2006, Defendant idled the phosphoric acid manufacturing plant and MAP

  production and ceased all production operations at the Green Bay facility. The Green Bay

  Facility is currently undergoing closure pursuant to FDEP Closure Permit Number FL0000752.

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  318.    On March 8, 2006, EPA conducted a CEI and SI at the Green Bay Facility to determine

  the Facility's compliance with state and federal RCRA requirements.

  319.    The Green Bay Facility is approximately 2,545 acres and is located at 4390 State Road

  640 West in Bartow, Florida. The Facility began operation in 1965 under the ownership of

  Farmland Industries, Inc. Primary operations at that time included one production line for the

  manufacture of phosphoric acid. In 1971, a second fertilizer production plant was constructed

  within the chemical complex. In November 1991, a joint venture known as Farmland Hydro

  Limited Partnership was formed between Norsk Hydro USA Inc. and Farmland Industries, Inc.

  Farmland Hydro LLP purchased an ammonia terminal and pipeline from Seminole Fertilizer

  Corporation. Farmland Hydro LLP manufactured sulfuric acid, phosphoric acid, DAP, and MAP.

  Cargill Fertilizer, Inc. purchased the facility in 2002 and continued the previous manufacturing

  operations. On October 22, 2004, concurrent with the merger of the Cargill fertilizer business

  with IMC Global, the name of Cargill Fertilizer, LLC was changed to Mosaic Fertilizer, LLC.

  Mosaic Fertilizer, LLC is the 100% owner of the Green Bay Facility.

  320.   Prior to idling all operations at the Green Bay Facility, sulfuric acid was reacted with

  mineral phosphate rock to produce phosphoric acid (mineral processing). Different

  concentrations of phosphoric acid were then reacted with ammonia to produce MAP or DAP

  (chemical manufacturing).

  321.   Fluoride vapors emitted during the phosphoric acid evaporation steps were captured,

  condensed, and concentrated to produce FSA (chemical manufacturing).

  322.   Some process wastewater is treated at the Green Bay Facility thorough the use of an RO

  system. Any unclean discharge (reject) from the RO system, if hazardous, is not mineral

  processing and is not subject to the Bevill Exclusion.

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  323.   Operations at the Green Bay Facility fall into several categories, only some of which are

  mineral processing.

  Sulfuric Acid Production

  324.   The manufacturing of phosphoric acid, FSA, and MAP (DAP was not being produced at

  the time of the March 8, 2006 CEI) at the Green Bay Facility began with the production of

  sulfuric acid. The Green Bay Facility produced sulfuric acid in three (3) Sulfuric Acid Plants on-

  site. The sulfuric acid was stored in large tanks until piped to the two Phosphoric Acid Plants'

  reactors for use in digesting the phosphate rock to produce phosphoric acid.

  325.   Sulfuric acid production is not a mineral processing activity and is not subject to the

  Bevill Exclusion.

  Phosphoric Acid Production

  326.   Phosphate rock was received from the Defendant's mines by truck or rail car.

  327.   Sulfuric acid was piped from the storage tanks in the Sulfuric Acid Plants to reactors

  within the Phosphoric Acid Plants. In the reactors, the sulfuric acid was mixed with phosphate

  rock to produce weak phosphoric acid. A by-product of the reaction is calcium sulfate dihydrate,

  which is typically referred to as phosphogypsum. Phosphogypsum was separated from the weak

  phosphoric acid by filtration and rinsed with process wastewater that was pumped from the

  ponds and ditches circling the phosphogypsum stack. After rinsing with process wastewater to

  recover residual phosphoric acid, the rinsed phosphogypsum was mixed with process wastewater

  and pumped to the phosphogypsum stack for disposal.

  328.   The Green Bay Facility concentrated the weak phosphoric acid to 54% phosphoric acid

  through evaporation. The first concentration step usually resulted in 40% phosphoric acid. The




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  second concentration usually resulted in the production of 54% phosphoric acid. A blend of the

  weak phosphoric acid and the 54% phosphoric acid was used in MAP production.

  329.    Production processes leading to the manufacture of up to MGA are mineral processing.

  330.    The diversion of phosphoric acid from the production ofMGA for use in chemical

  manufacturing (FSA, MAP) is not mineral processing.

  331.    Contaminants accumulated in the water used throughout production of phosphoric acid

  up to MGA, resulting in aqueous wastes referred to as "process wastewater." Prior to reuse in the

  various processes, the process wastewater was cooled and excess contaminants removed.

  Fertilizer Production

  332.   MAP fertilizer products were manufactured at the facility in two (2) Plants designated as

  the North MAP/DAP Plant and the South MAP/DAP Plant. Only the South MAP/DAP Plant was

  operational during the March 8, 2006 CEI.

  333.   MAP was produced by reacting phosphoric acid solution produced on site with ammonia.

  The resultant ammoniated phosphoric acid slurry was piped from the reactor to pugmills

  (granulators) where the product was ground and sprayed with acid to adjust the size of the

  granules. The product was then sent to a drier to remove residual water. The dried granules were

  cooled and screened. The final product was then conveyed to a MAP/DAP storage warehouse

  until shipment.

  334.   MAP fertilizer production is chemical manufacturing and as such, is not subject to the

  Bevill Exclusion.

  Air Pollution Control Devices (Phosphoric Acid and Fertilizer Production)

  335.   Air particulates emitted from the phosphoric acid production process were captured

  ("scrubbed") from the reactors, filters, and other production equipment (e.g. clarifiers and

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  storage tanks) using scrubbers. The scrubbing liquid for scrubbers at the Green Bay Facility was

  process wastewater that was pumped from the phosphogypsum stack system through the

  scrubbers to collect paiticulate air emissions ill a single pass through the scrubber before being

  discharged back into the phosphogypsum stack system.

  336.   Most of the ammonia and fugitive air particulates emitted from the reactor, granulator,

  cooler, dryer, etc., during MAP production were captured in a series of scrubbers similar to the

  phosphoric acid scrubbers described above. The Green Bay Facility MAP scrubbers were

  designated as the "Cooler Scrubber," the "Dryer Scrubber," the "RIG [Reactor/ Granulator]

  Scrubber," and the "SIM [Screens & Mills] Scrubber." The RIG Scrubber was segregated into

  two components: the RIG Scrubber Acid Side, and the RIG Scrubber Water Side. In addition to

  the typical configuration of the aforementioned scrubbers, the South Plant was equipped with a

  scrubber that interrupted the gas flow from the SIM Fan and from the Dryer Fan exiting the

  Dryer Stack. This scrubber was referred to as the "Cross Flow Scrubber." The input for the Cross

  Flow Scrubber (CFS) was process wastewater and the effluent was piped to the CFS Tank. The

  CFS Tank also had a process wastewater input and discharged to the RIG Scrubber Water Side.

  The RIG Scrubber discharged to the phosphogypsum stack system via the "Hotwell

  Tank/Sump." The only scrubber at the South Plant that discharged to the phosphogypsum stack

  system [via the Hotwell Tank/Sump] was the RIG Scrubber. Although a majority of scrubber

  water from the Cooler Scrubber, the S/M Scrubber, and the Dryer Scrubber recirculated through

  a "Recycle Tank," all of the scrubbers had at least one process wastewater input which acted as

  either the scrubber medium or as a knock-out stream to remove additional contaminants after the

  gas stream left the scrubber and before it was vented to the Title V permitted stack. A portion of




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  all of these process wastewater streams were recirculated to the CFS Tank and were ultimately

  discharged to the phosphogypsum stack system.

  33 7.   The operation of air pollution control devices is not part of mineral processing and as

  such, the wastewaters from the scrubbers are not subject to the Bevill Exclusion.

  Pipe and Tank Cleaning

  338.    Mosaic cleaned its pipes, tanks, evaporators, and other process equipment throughout the

  phosphoric acid and fertilizer production areas on a regular basis, using process wastewater,

  phosphogypsum stack system wastewater, or a mixture of either with sulfuric acid as the

  cleaning agent. After use, the spent corrosive hazardous cleaning agent was discharged to the

  floors of the phosphoric acid plants. The washdown waters flowed to a ditch on the south side of

  the Phosphoric Acid Plants. The ditch then connected to the RG Combined Sump (also called the

  "Hotwell Tank/Sump" in MAP South, which subsequently flowed to the phosphogypsum stack

  system. Cleaning wastes were generated on a daily basis during normal plant operations and

  during scheduled maintenance periods.

  339.    Pipe and tank cleaning operations are not part of mineral processing and the wastewaters

  from such cleaning operations are not subject to the Bevill Exclusion.

  Reverse Osmosis System for Water Treatment

  340.    As part of its closure plan set forth in the closure permit for the Green Bay Facility and

  the water management plan required by Chapter 62-673 F.A.C., Mosaic included the operation

  of a RO system for the treatment of process wastewater through RO membranes for separation

  into a purified water stream ("permeate") and a concentrated process wastewater stream

  ("reject"). The Green Bay Facility returns the reject stream to the phosphogypsum stack system




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  and discharges the permeate to the Alafia River watershed as authorized by Permit No.

  FL0000752.

  341.    The RO system receives process wastewater inputs from the Green Bay Facility

  phosphogypsum stack system and from the Regional Holding Pond, which has commingled

  process wastewater from Defendant's Bartow, Mulberry, and Green Bay Facilities.

  342.    RO system operation is not part of mineral processing. The reject and any cleaning waste

  generated at the RO system are not subject to the Bevill Exclusion.

  Phosphogypsum Stack Systems

  343.    The Green Bay Facility operated one unlined (closed) phosphogypsum stack and one

  lined phosphogypsum stack. Closure of the lined (no11h) phosphogypsum stack system is

  authorized under Permit Number FL0000752 which was issued by the FDEP on February 10,

  2014 (expiring February 9, 2019). This permit incorporated applicable regulatory requirements

  for FDEP's wastewater program and its state authorized NPDES program under Section 402 of

  the Clean Water Act, 33 U.S.C.

  § 1251 et~· Closure of the unlined (south) phosphogypsum stack is under the facility's Closure

  Permit Number FLA267929.

  344.    Mosaic's entire Green Bay Facility is encompassed by a comprehensive groundwater

  monitoring system that is monitored and operated in accordance with an approved groundwater

  monitoring plan under Industrial Wastewater Facility Permit Number FL0000752 issued by

  FDEP.

  345.    In 1998, Florida enacted§ 403.4155, F.S., which required FDEP to promulgate rules

  related to closure and financial responsibility for phosphogypsum stacks. Rules were duly

  promulgated in F.A.C. Chapter 62-673. As a result, Mosaic is required to annually estimate the

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  cost for closing the phosphogypsum stack systems (including water treatment and management

  costs) at the end of the useful life of the facility and the cost associated with long-term

  monitoring of the effectiveness of closure (post-closure care or long-term care). Based on the

  es.timated cost for closure and long-term care, Mosaic is required to establish Financial

  Assurance to guarantee the funds are available to close the facility at the end of the useful life.

  To meet its Financial Assurance obligations under F.A.C. Rule 62-673.640, Mosaic established a

  corporate guarantee with FDEP.

  Spills & Leaks of Phosphoric Acid and Sulfuric Acid

  346.   In Mosaic's phosphoric acid and fertilizer production, spills and leaks of phosphoric acid

  and sulfuric acid occurred. These spills and leaks commingled with process wastewater being

  transpotied from the production areas to the phosphogypsum stack systems.

  347.   Spills and leaks of phosphoric acid are not part of mineral processing and are therefore

  not subjecfto the Bevill Exclusion.

                        GREEN BAY FACILITY CLAIMS FOR RELIEF

                             xxviii.    Twentv-Eighth Claim (or Relief

                        (Failure to Make Hazardous Waste Determinations)

  348.   The allegations in Paragraphs 1 through 36 and 315 through 347 are realleged and

  incorporated herein by reference.

  349.   Pursuant to F.A.C. Rule 62-730.160(1) (40 C.F.R. § 262.11), Defendant, as a generator of

  solid waste, is required to make a hazardous waste determination.

  350.   At the time of the March 8, 2006 Green Bay Facility CEI and SI and continuing to at

  least May 2006, Defendant routinely generated the following solid wastes for which hazardous

  waste determinations had not been made:

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                 a.     Phosphoric Acid Plants scrubbers' effluent;

                 b.     South MAP/DAP plant scrubber effluent;

                 c.     RO reject;

                 d.     Spent sulfuric acid and wastewaters generated from cleaning phosphoric

                 acid production pipes and equipment; and

                 e.     Spills and leaks from phosphoric acid and MAP production.

  351.   Based on EPA's knowledge of the processes at the Green Bay Facility and the March 8,

  2006 CEI and SI, EPA determined the following solid wastes are D002 hazardous wastes:

                 a.     Phosphoric Acid Plants scrubbers' effluent;

                 b.     RO reject;

                 c.     Spent sulfuric acid and wastewaters generated from cleaning phosphoric

                 acid production pipes and equipment;

                 d.     Wastewaters generated from cleaning the South MAP/DAP Plant

                 production equipment; and

                 e.     Spills and leaks from phosphoric acid and MAP production.

  352.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day that it failed to make hazardous

  waste determinations for solid wastes generated at its Green Bay Facility as required by F.A.C.

  Rule 62-730.160(1) (40 C.F.R. § 262.11).




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                               xxix.    Twentv-Ninth Claim (or Relief

  (Treatment, Storage and Disposal ofHazardous Waste in the RG Recovery Return Sump and
  the Phosphogypsum Stack System Without a Permit or Interim Status in Violation of
  § 403. 722 F.S. ((Section 3005 of RCRA, 42 U.S.C. § 6925) and the applicable regulatory
  requirements found at F.A.C. Rules 62-730.180 and 62-730.220 (40 C.F.R. Part 264, Subparts
  A-G, Kand CC, and Part 270)).

  353.    The allegations in Paragraphs 1 through 36 and 315 through 352 are realleged and

  incorporated herein by reference.

  354.    Section 403.722 F.S. (RCRA Section 3005(a), 42 U.S.C. § 6925(a)), and F.A.C. Rule 62-

  730.180 (40 C.F.R. Parts 264, Subparts A-G, Kand CC, and 270), require, among other things,

  that the owner and operator of a hazardous waste management unit must have a permit or interim

  status for the treatment, storage and/or disposal of any hazardous waste during the active life of

  the unit.

  355.    Since at least March 8, 2006 and continuing to at least the date of filing of this

  Complaint, Defendant routinely treated, stored and disposed of the following D002 hazardous

  wastes in the RG Recovery Return Sump and/or the phosphogypsum stack system at the Green

  Bay Facility:

              a. RO reject;

              b. Phosphoric Acid Plants scrubbers' effluent;

              c. South MAP/DAP Plant's scrubbers

              d. Spent sulfuric acid and wastewaters generated from cleaning phosphoric acid

                  production pipes and equipment; and

              e. Spills and leaks from phosphoric acid and fertilizer production.

  284.    Defendant neither has a RCRA hazardous waste permit nor interim status for treatment,

  storage or disposal of hazardous waste in its RG Recovery Sump or phosphogypsum stack
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  systems, and has therefore violated§ 403.722, F.S. (Section 3005 of RCRA, 42 U.S.C. § 6925)

  and the applicable regulatory requirements ofF.A.C. Rules 62-730.180 and 62.730.220 (40

  C.F.R. Patis 264, Subpatis A-G, Kand CC, and 270).

  356.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it treated, stored, and/or

  disposed of hazardous waste in its RG Recovery Sump and phosphogypsum stack systems at its

  Green Bay Facility without a permit or interim status.

                                 xxx.     Thirtieth Claim for Relief

                        (Failure to Pe1form Land Disposal Determinations)

  357.   The allegations in Paragraphs 1through36 and 315 through 356 are realleged and

  incorporated herein by reference.

  358.   Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. § 268.7(a)(l)), Defendant is required,

  among other things, to determine if its hazardous waste needs to be treated before it can be land

  disposed.

  359.   Since at least March 8, 2006 and continuing to at least May 2006, Defendant routinely

  generated the following hazardous wastes and failed to determine whether these wastes must be

  treated before they can be land disposed:

                 a.     Phosphoric Acid Plants scrubbers' effluent;

                 b.     South MAP/DAP Plant scrubber effluent;

                 c.     RO reject;

                 d.     Spent sulfuric acid and wastewaters generated from cleaning phosphoric

                 acid production pipes and equipment; and

                 e.     Spills and leaks from the production of phosphoric acid and MAP.

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  360.   Defendant has violated F.A.C. Rule 62-730.183 (40 C.F.R. § 268.7(a)(l)), for failure to

  make hazardous waste determinations before land disposal.

  361.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.72, F.S. for each day that it failed to determine whether

  these hazardous wastes generated at its Green Bay Facility must be treated before they can be

  land disposed.

                               xx.xi.    Thirtv-First Claim for Relief

          (Failure to Meet Land Disposal Restrictions for Prohibited Hazardous Wastes)

  362.   The allegations in Paragraphs 1 through 36 and 315 through 361 are realleged and

  incorporated herein by reference.

  363.   Pursuant to F .A.C. Rule 62-730.183 (40 C.F .R. § 268.9(c)), Defendant, among other

  things, is prohibited from land disposing a waste that exhibits a characteristic under F.A.C. Rule

  62-730.030 (Subpart C of40 C.F.R. Part 261), unless the waste complies with the treatment

  standards under F.A.C. Rule 62-730.183 (Subpart D of 40 C.F.R. Part 268).

  364.   Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. Part268, SubpartD), D002 corrosive

  wastewaters, must meet the DEACT treatment standard before the waste can be disposed.

  365.   Pursuant to F.A.C. Rule 62-730.183 (Subpart D of 40 C.F.R. Part 268), the "Universal

  Treatment Standards" regulations, require, among other things, that prohibited wastewaters must

  contain no more than 1.4 mg/L of arsenic to be land disposed.

  366.   Based on the results from the March 8, 2006 CEI and SI and EPA's knowledge of the

  composition of the Mosaic Green Bay Facility's hazardous wastes, Mosaic was land disposing

  the following wastes in the phosphogypsum stack system, which wastes did not meet the

  DEA CT standard for D002 wastes prior to land disposal:

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                  a.       Phosphoric Acid Plants scrubbers' effluent;

                  b.       RO reject:

                  c.       Spent sulfuric acid and wastewaters generated from cleaning phosphoric

                  acid production pipes and equipment; and

                  d.       Spills and leaks from the production of phosphoric acid and MAP.

  367.   Based on the results of the March 8, 2006 CEI and SI and EPA's knowledge of the

  composition of the Mosaic Green Bay Facility's hazardous wastes, the South MAP/DAP Plant

  scrubber effluent was being land disposed in the phosphogypsum stack systems and did not meet

  the DEACT standard for D002 (corrosivity) or the Universal Treatment Standard of 1.4 mg/L of

  arsenic prior to land disposal.

  368.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day that it failed to meet the standards

  set forth at F.A.C. Rule 62-730.183 (40 C.F.R. Subpart D) prior to land disposing prohibited

  waste in its phosphogypsum stack systems at the Green Bay Facility, is in violation ofF.A.C .

  Rule 62-730.183 (40 C.F.R. § 268.9(c), and Subpart D).

                               xxxii.   Thirtv-Second Claim for Relief

                       (Failure to Prepare an Adequate Cost Estimate for Closure)

  369.   The allegations in Paragraphsl through 36 and 315 through 368 are realleged and

  incorporated herein by reference.

  370.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), each owner or operator

  is required to meet the requirements of F .A.C. Rule 62-730.180(1) (40 C.F.R. § 264.142) (Cost

  Estimate for Closure).




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  371.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.142(a)), each owner or operator

  must have a detailed written estimate, in current dollars, of the cost of closing the facility in

  accordance with the requirements in 40 C.F.R. §§ 264.111through264.115, and the other

  applicable closure requirements listed in 40 C.F.R. § 264.142(a).

  372.    Since at least the March 8, 2006 Green Bay Facility CEI and SI, and continuing through

  at least the date of the filing of this Complaint, Defendant had not established an adequate cost

  estimate for closure of its hazardous waste units (phosphogypsum stack systems) at its Green

  Bay Facility in violation of the requirements F.A.C. Rule 62-730.180(1) (40 C.F.R. §§ 264.111

  through 264.115) and the other applicable closure requirements listed in 40 C.F.R. § 264.142(a).

  373.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to establish an

  adequate cost estimate for the closure of its Green Bay Facility.

                              xxxiii.    Thirtv-Third Claim for Relief

                 (Failure to Establish Adequate Financial Assurance for Closure)

  374.   The allegations in Paragraphs 1through36 and 315 through 373 are realleged and

  incorporated herein by reference.

  375.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), each owner or operator

  of a treatment, storage and disposal facility must establish financial assurance for closure of the

  facility (Financial Assurance for Closure).

  376.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.143(a)), the owner or operator

  must choose from the options set forth at 40 C.F.R. § 264.143(a) through (f).

  377.   Since at least the March 8, 2006 Green Bay Facility CEI and SI, and continuing through

  at least the date of the filing of this Complaint, Defendant had not established adequate financial

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  assurance for closure of its Green Bay phosphogypsum stack systems in violation ofF.A.C. Rule

  62-730.180(1) (40 C.F.R. § 264.143(a) through (f)).

  378.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the § 403.727, F.S. for each day that it failed to establish

  adequate financial assurance for closure of its Green Bay Facility's phosphogypsum stack

  systems.

                             xxxiv.     Tltirtv-Fourtlt Claim for Relief

               (Failure to Prepare an Adequate Cost Estimate for Post-Closure Care)

  379.   The allegations in Paragraphs 1through36 and 315 through 378 are realleged and

  incorporated herein by reference.

  380.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(b)), each owner or operator

  of disposal facilities, piles, surface impoundments, tank systems and containment buildings, must

  prepare a cost estimate for post-closure of its facility to meet the requirements ofF.A.C. Rule 62-

  730.180(1) (40 C.F.R. § 264.144) (Cost Estimate for Post-Closure Care).

  381.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.144(a)), the owner or operator of

  a disposal surface impoundment required under 40 C.F.R. § 264.228 to prepare a contingent

  closure and post-closure plan, must have a detailed written estimate, in current dollars, of the

  annual cost of post-closure monitoring and maintenance of the facility in accordance with F.A.C.

  Rule 62-730.180(1) (40 C.F.R. §§ 264.117 through 264.120, and 40 C.F.R. § 264.228.)

  382.   Since at least the March 8, 2006 Green Bay Facility CEI and SI, and continuing through

  at least the date of th_e filing of this Complaint, Defendant did not have an adequate detailed

  written estimate, in current dollars, of the annual cost for post-closure monitoring and

  maintenance of its Green Bay Facility's phosphogypsum stack systems in accordance with the

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  applicable post-closure regulations set forth at F.A.C. Rule 62-730.180(1) (40 C.F.R. §§ 264.117

  through 264.120, and 40 C.F.R. § 264.228).

  383.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to prepare an

  adequate post-closure care cost estimate for its Green Bay Facility's phosphogypsum stack

  systems.

                               xx.xv.    Thirtv-Fifth Claim for Relief

             (Failure to Establish Adequate Financial Assurance for Post-Closure Care)

  384.    The allegations in Paragraphs 1 through 36 and 315 through 383 are realleged and

  incorporated herein by reference.

  385.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(b)), each owner or operator

  of disposal facilities, piles, surface impoundments, tank systems and containment buildings are

  required to meet the requirements ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.145)

  (Financial Assurance for Post-Closure Care).

  386.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.145), the owner or operator of a

  hazardous waste unit subject to the requirements of 40 C.F .R. § 264.144 must establish financial

  assurance for post-closure care in accordance with the approved post-closure plan for its facility

  60 days prior to the initial receipt of hazardous waste or the effective date of the regulation,

  whichever is later.

  387.   Since at least the March 8, 2006 Green Bay Facility CEI and SI, and continuing through

  the date of the filing of this Complaint, Defendant was subject to the requirement of F.A.C. Rule

  62-730.180(1) (40 C.F.R. § 264.145) and had not established adequate financial assurance for

  post-closure care.

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  388.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to establish adequate

  financial assurance for post-closure care for its Green Bay Facility.

                              xxxvi.     Thirtv Sixth Claim (or Relief

           (Failure to Establish Adequate Financial Assurance for Third Party Liability)

  389.    The allegations in Paragraphs 1through36 and 315 through 389 are realleged and

  incorporated herein by reference.

  390.    Owners and operators of treatment, storage and disposal facilities are required by F.A.C.

  Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), to meet the requirements of 40 C.F.R.

  § 264.147(a) and F.A.C. Rule 62-730.226, F.A.C. (Liability Requirements).

  391.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(a)), the owner or operator of

  each treatment, storage and disposal facility must establish financial responsibility for bodily

  injury and property damage to third parties caused by sudden accidental occurrences arising from

  operations of the facility, and must choose from the options as specified in paragraphs (a) (1)

  through (6) of 40 C.F.R. § 264.147.

  392.   Owners and operators of surface impoundments, landfills, land treatment facilities, or

  hazardous waste disposal miscellaneous units are required by F.A.C. Rule 62-730.180(1) (40

  C.F.R. § 264.140(a)), to meet the requirements of 40 C.F.R. § 264.147(b) and F.A.C. Rule 62-

  730.226, F.A.C. (Liability Requirements).

  393.   F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(b)), require that the owner or operator

  of each surface impoundment, landfill, land treatment facility, or hazardous waste disposal

  miscellaneous unit must establish financial responsibility for bodily injury and property damage

  to third parties caused by non-sudden accidental occurrences arising from operations of the

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  facility, and must choose from the options as specified in paragraphs (b)(l) through (6) of 40

  C.F.R. § 264.147.

  394.    Pursuant to F.A.C. Rule 62-730.180(1) (C.F.R. § 264.147(b)), owners and operators who

  are subject to 40 C.F.R. § 264.147(b) may combine coverage for sudden and non-sudden

  accidental occurrences.

  395.    Since at least the March 8, 2006 Green Bay Facility CEI and SI, and continuing through

  at least the date of the filing of this Complaint, Defendant had not established adequate financial

  responsibility for third party liability for sudden or non-sudden accidental occurrences using any

  of the options specified in paragraphs (a)(l) through (6) or (b)(l) through (6) of 40 C.F.R.

  § 264.147.

  396.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to establish adequate

  financial responsibility for third party liability at its Green Bay Facility. Such failure is in

  violation ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147).

                      E. GENERAL MULBERRY FACILITY ALLEGATIONS

  Facility and Process Description

  397.   The Mulberry Facility was a phosphoric acid and sulfuric acid production facility.

  398.   As of 2000, the Mulberry phosphoric acid plant was no longer operational and has since

  been completely demolished. The sulfuric acid plant remained operational.

  399.   Until 2001, the Mulberry Facility was owned by Mulberry Phosphates. Upon the

  bankruptcy of Mulberry Phosphates, Cargill Crop Nutrition, the predecessor to Mosaic Fe1iilizer,

  purchased the sulfuric acid production operations at the site. On October 22, 2004, concurrent




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  with the merger of the Cargill fertilizer business with IMC Global, the name of Cargill Fertilizer,

  LLC was changed to Mosaic Fertilizer, LLC.

  400.    On December 10-11, 2003, EPA conducted a CEI, and on March 9, 2006, EPA

  conducted a CEI and SI at the Mulberry Facility to determine the Facility's compliance with

  state and federal RCRA requirements.

  401.    In September 2008, all sulfuric acid production operations ceased and the sulfuric acid

  plant has since been demolished.

  Sulfuric Acid Production

  402.    The Mulberry Facility produced sulfuric acid in one plant on-site.

  403.    Hazardous waste generated from the Mulberry Facility sulfuric acid plant included

  wastewater from regenerating the ion exchange resin within demineralizer units. The cationic

  exchange resin was regenerated with sulfuric acid and the anionic exchange resin was

  regenerated with sodium hydroxide. The Mulberry Facility discharged the sulfuric acid

  hazardous regeneration wastewater to a cracked concrete pad. The wastewater flowed over the

  concrete pad to a concrete sump that was interconnected to an earthen surface impoundment of

  approximately 60 feet by 30 feet. This earthen surface impoundment was also referred to as the

  Mosquito Pond.

  404.   By March 2006, the Mosquito Pond had been emptied, treated with caustic, filled with

  soil and provided a grass cover.

  405.   Sulfuric acid manufacturing and storage is not mineral processing and wastes generated

  from this process are not subject to the Bevill Exclusion.




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                          MULBERRY FACILITY CLAIMS FOR RELIEF

                                xxxvii. Thirtv-Seventh Claim for Relief

                        (Failure to Make Hazardous Waste Determinations)

  406.   The allegations in Paragraphs 1 through 36 and 397 through 405 are realleged and

  incorporated herein by reference.

  407.   Pursuant to F .A.C. Rule 62-730.160(1) (40 C.F.R. § 262.11 ), Defendant, as a generator of

  solid waste, is required to make a hazardous waste determination.

  408.   At the time of the December 10 -11, 2003 CEI and March 9, 2006 CEI and SI, Defendant

  routinely generated wastewaters from the regeneration of demineralizer units associated with

  sulfuric acid production for which hazardous waste determinations had not been made.

  409.   Based on EPA' s knowledge of the processes at the Mulberry Facility and the December

  10- 11, 2003 CEI and March 9, 2006 CEI and SI, EPA determined the wastewaters from the

  regeneration of demineralizer units associated with sulfuric acid production were D002

  hazardous wastes.

  410.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day that it failed to make a hazardous

  waste determination for solid wastes generated at its Mulberry Facility as required by F.A.C.

  Rule 62-730.160(1) (40 C.F.R. § 262.11).




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                                 xxxviii. Thirtv-Eighth Claim for Relief

  (Treatment, Storage and Disposal of Hazardous Waste at the Sulfuric Acid Plant in a Swface
  Impoundment Without a Permit or Interim Status in Violation of§ 403. 722 F.S. ((Section
  3005 of RCRA, 42 U.S.C. § 6925) and the applicable regulatory requirements found at F.A.C.
  Rules 62-730.180 and 62-730.220 (40 C.F.R. Part 264, Subparts A-G, Kand CC, and Part
  270)).

  411.    The allegations in Paragraphs 1through36 and 397 through 410 are realleged and

  incorporated herein by reference.

  412.    Section 403.722, F.S. (RCRA Section 3005(a), 42 U.S.C. § 6925(a)), and F.A.C. Rule

  62-730.180 (40 C.F.R. Parts 264, Subpa1is A-G, Kand CC, and 270), require, among other

  things, that the owner and operator of a hazardous waste management unit must have a permit Gr

  interim status for the treatment, storage and/or disposal of any hazardous waste during the active

  life of the unit.

  413.    Since at least 2003 and continuing to at least March 2008, Defendant routinely treated,

  stored and disposed ofwastewaters from sulfuric acid production, D002 hazardous waste, in or

  near the Mosquito Pond, a surface impoundment.

  285.    Defendant neither had a RCRA hazardous waste permit nor interim status for treatment,

  storage or disposal of hazardous waste in the Mosquito Pond and has therefore violated

  § 403.722, F.S. (Section 3005 ofRCRA, 42 U.S.C. § 6925) and the applicable regulatory

  requirements ofF.A.C. Rules 62-730.180 and 62.730.220 (40 C.F.R. Parts 264, Subparts A-G, K

  and CC, and 270).

  414.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it treated, stored, and/or

  disposed of hazardous waste in its surface impoundment at its Mulberry Facility without a permit

  or interim status.
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                                  xx.xix. Thirty-Ninth Claim (or Relief

                         (Failure to Pe1form Land Disposal Determination)

  415.    The allegations in Paragraphs 1through36 and 397 through 414 are realleged and

  incorporated herein by reference.

  416.    Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. § 268.7(a)(l)), Defendant is required,

  among other things, to determine if its hazardous waste needs to be treated before it can be land

  disposed.

  417.    Since at least 2003 and continuing to at least March 2008, Defendant routinely

  generated wastewaters from the regeneration of demineralizer units associated with sulfuric acid

  production, which are D002 hazardous wastes, and failed to determine whether these wastes

  must be treated before they can be land disposed.

  418.   Defendant has violated F.A.C. Rule 62-730.183 (40 C.F.R. § 268.7(a)(l)), for failure to

  make a hazardous waste determination before land disposal.

  419.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to determine whether

  these hazardous waste's generated at its Mulberry Facility must be treated before they can be land

  disposed.

                                      xi. Fortieth Claim (or Relief

          (Failure to Meet Land Disposal Restrictions for Prohibited Hazardous Wastes)

  420.   The allegations in Paragraphs 1 through 36 and 397 through 419 are realleged and

  incorporated herein by reference.

  421.   Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. § 268.9(c)), Defendant, among other

  things, is prohibited from land disposing a waste that exhibits a characteristic under F.A.C. Rule

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  62-730.030(1) (Subpa1t C of 40 C.F.R. Patt 261) unless the waste complies with the treatment

  standards under F.A.C. Rule 62-730.183 (Subpatt D of 40 C.F.R. Part 268).

  422.   Pursuant to F.A.C. Rule 62-730.183 (Subpart D of 40 C.F.R. Part 268), corrosive

  wastewaters, must meet the DEA CT standard before the waste can be land disposed.

  423.    Since at least 2003 and continuing to at least March 2008, Defendant had land disposed

  ofwastewaters from the regeneration of demineralizer units associated with sulfuric acid

  production, which are D002 hazardous waste, in the Mosquito Pond without meeting the

  DEA CT standard prior to land disposal.

  424.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day that it failed to meet the DEACT

  standard set forth at F.A.C. Rule 62-730.183 (40 C.F.R. § 268.40(a)) prior to land disposing

  prohibited waste in surface impoundments at the Mulberry Facility, in violation ofF.A.C. Rule

  62-730.183 (40 C.F.R. §§ 268.40(a) and 268.9(c)).

                   F. GENERAL SOUTH PIERCE FACILITY ALLEGATIONS

  Facility and Process Description

  425.   The South Pierce Facility was formerly a sulfuric acid, phosphoric acid, FSA, MGA, and

  granular triple superphosphate (GTSP) production facility.

  426.   On May 31, 2006, the South Pierce Facility idled all operations with the exception of

  sulfuric acid production.

  427.   On November 17, 2010, the South Pierce Facility received a final closure permit from

  FDEP and began closing its phosphogypsum stack system.

  428.   The South Pierce Facility manufactures 1800 tons of sulfuric acid per day.




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   429.   On December 9, 2003, EPA conducted a CEI. On November 18, 2004, EPA conducted a

   CEI, and on December 16, 2004, EPA conducted a SI at the South Pierce Facility to determine

  the facility's compliance with state and federal RCRA requirements.

  Sulfuric Acid Production

  430.    The South Pierce Facility produces sulfuric acid in two plants on-site.

  431.    Hazardous waste generated from the South Pierce Facility's sulfuric acid plants include

  wastewater from regenerating the ion exchange resin within demineralizer units. The cationic

  exchange resin is regenerated with sulfuric acid and the anionic exchange resin is regenerated

  with sodium hydroxide. The South Pierce Facility discharged hazardous regeneration wastewater

  to an elementary neutralization unit (ENU) for treatment. On 20 days in 2002 and 166 days in

  2003, the wastewater from the ENU was not properly treated and was still hazardous after

  leaving the ENU. The ENU discharged to an earthen ditch that flowed to an earthen surface

  impoundment.

  432.    Sulfuric acid manufacturing and storage is not mineral processing and wastes generated

  from this process are not subject to the Bevill Exclusion.

                        SOUTH PIERCE FACILITY CLAIMS FOR RELIEF

                                xii. Fortv-First Claim for Relief

                        (Failure to Make Hazardous Waste Determinations)

  433.    The allegations in Paragraphs 1 through 36 and 425 through 432 are realleged and

  incorporated herein by reference.

  434.    Pursuant to F .A.C. Rule 62-730.160(1) (40 C.F .R. § 262.11 ), Defendant, as a generator of

  solid waste, is required to make a hazardous waste determination.




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  435.    At the time of the December 9, 2003 CEI, the November 18, 2004 CEI, and the

  December 16, 2004 SI, Defendant routinely generated wastewaters from the regeneration of

  demineralizer units associated with sulfuric acid production for which hazardous waste

  determinations had not been made.

  436.    Based on EPA's knowledge of the processes at the South Pierce Facility and the

  December 9, 2003 CEI, the November 18, 2004 CEI, and the December 16, 2004 SI, EPA

  determined the wastewaters from the regeneration of demineralizer units associated with sulfuric

  acid production are hazardous.

  437.    Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day that it failed to make a hazardous

  waste determination for solid wastes generated at its South Pierce Facility as required by F.A.C.

  Rule 62-730.160(1) (40 C.F.R. § 262.11).

                                   xiii. Fortv-Second Claim for Relief

  (Treatment, Storage and Disposal ofHazardous Waste at the Sulfuric Acid Plant in a Swface
  Impoundment without a Permit or Interim Status in Violation of§ 403. 722 F.S. ((Section 3005
  of RCRA, 42 U.S.C. § 6925) and the applicable regulatory requirements found at F.A.C. Rules
  62-730.180 and 62-730.220 (40 C.F.R. Part 264, Subparts A-G, ](and CC, and Part 270)).

  438.    The allegations in Paragraphs 1 through 36 and 425 through 437 are realleged and

  incorporated herein by reference.

  439.    Section 403.722 F.S. (RCRA Section 3005(a), 42 U.S.C. § 6925(a)), and F.A.C. Rule 62-

  730.180 (40 C.F.R. Parts 264, Subparts A-G, Kand CC, and 270), require, among other things,

  that the owner and operator of a hazardous waste management unit must have a permit or interim

  status for the treatment, storage and/or disposal of any hazardous waste during the active life of

  the unit.


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  440.    Since at least 2003 and continuing to at least the filing date of this Complaint, Defendant

  has routinely treated, stoi:ed and disposed of wastewaters from sulfuric acid production, a D002

  hazardous waste, in its surface impoundment.

  286.    Defendant neither has a RCRA hazardous waste permit nor interim status for treatment,

  storage or disposal of hazardous waste in its surface impoundment, and has therefore violated

  § 403.722, F.S. (Section 3005 of RCRA, 42 U.S.C. § 6925) and the applicable regulatory

  requirements ofF.A.C. Rules 62-730.180 and 62.730.220 (40 C.F.R. Parts 264, Subparts A-G, K

  and CC, and 270).

  441.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it treated, stored, and/or

  disposed of hazardous waste in its surface impoundment at its South Pierce Facility without a

  permit or interim status.

                                   xliii. Fortv-Tltird Claim for Relief

                         (Failure to Perform Land Disposal Determinations)

  442.   The allegations in Paragraphs 1through36 and 425 through 441 are realleged and

  incorporated herein by reference.

  443.   Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. § 268.7(a)(l)), Defendant is required,

  among other things, to determine if its hazardous waste needs to be treated before it can be land

  disposed.
                                                                                                -
  444. · For 20 days in 2002 and 166 days in 2003, Defendant generated wastewaters from the

  sulfuric acid production equipment in the Sulfuric Acid Plant, D002 hazardous wastes, and failed

  to determine whether these wastes must be treated before they can be land disposed.




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  445.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.72, F.S. for each day that it failed to determine whether

  these hazardous wastes generated at its South Pierce Facility must be treated before they can be

  land disposed.

                                  xliv. Fortv-Fourth Claim for Relief

          (Failure to Meet Land Disposal Restrictions for Prohibited Hazardous Wastes)

  446.   The allegations in Paragraphs 1 through 36 and 425 through 445 are realleged and

  incorporated herein by reference.

  447.   Pursuant to F.A.C. Rule 62-730.183 (40 C.F.R. § 268.9(c)), Defendant, among other

  things, is prohibited from land disposing a waste that exhibits a characteristic under F.A.C. Rule

  62-730.030(1) (Subpart C of 40 C.F.R. Part 261), unless the waste complies with the treatment

  standards under F.A.C. Rule 62-730.183 (Subpart D of 40 C.F.R. Part 268).

  448.   Pursuant to F.A.C. Rule 62-730.183 (Subpart D of 40 C.F.R. Part 268), corrosive

  wastewaters must meet the DEACT standard before the waste can be disposed.

  449.   For 20 days in 2002 and 166 days in 2003, Mosaic land disposed ofwastewaters from the

  sulfuric acid production equipment in the Sulfuric Acid Plant, D002 hazardous wastes, in a

  surface impoundment, which wastes did not meet the DEA CT standard prior to land disposal.

  450.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S., for each day that it failed to meet the standards

  set forth at F.A.C. Rule 62-730.183 (40 C.F.R. § 268.40(a)) prior to land disposing prohibited

  waste in its surface impoundment at the South Pierce Facility, in violation of F.A.C. Rule 62-

  730.183 (40 C.F.R. § 268.40(a)).



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                                      xiv. Fortv-Fifth Claim (or Relief

                     (Failure to Prepare an Adequate Cost Estimate for Closure)

  451.    The allegations in Paragraphs I through 36 and 425 through 450 are realleged and

  incorporated herein by reference.

  452.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), each owner or operator

  is required to meet the requirements of 40 C.F.R. § 264.142 (Cost Estimate for Closure).

  453.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.142(a)), each owner or operator

  must have a detailed written estimate, in current dollars, of the cost of closing the facility in

  accordance with the requirements in 40 C.F.R. §§ 264.111through264.115 and the other

  applicable closure requirements listed in 40 C.F.R. § 264.142(a).

  454.    Since at least the December 9, 2003 and November 18, 2004 CEis, and the December 16,

  2004 CEI and SI, and continuing through at least the date of the filing of this Complaint,

  Defendant had not prepared an adequate cost estimate for closure of its South Pierce Facility in

  violation of the requirements ofF.A.C. Rule 62-730.180(1) (40 C.F.R. §§ 264.111 through

  264.115) and the other applicable closure requirements listed in 40 C.F.R. § 264.142(a).

  455.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to prepare an

  adequate cost estimate for the closure of its South Pierce surface impoundment.

                                    xlvi. Fortv-Sixth Claim (or Relief

                 (Failure to Establish Adequate Financial Assurance for Closure)

  456.   The allegations in Paragraphs I through 36 and 425 through 455 are realleged and

  incorporated herein by reference.




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  457.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), each owner or operator

  of a treatment, storage and disposal facility must establish financial assurance for closure of the

  facility (Financial Assurance for Closure).

  458.    Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. §§ 264.143(a)), the owner or operator

  must choose from the options set forth at F.A.C. Rule 62-226(5) and (6) (40 C.F.R.

  § 264.143(a) through (f)).

  459.    Since at least the December 9, 2003 and November 18, 2004 CEis, and the December 16,

  2004 SI, and continuing through at least the date of the filing of this Complaint, Defendant had

  not established financial assurance for closure of its hazardous waste unit (surface impoundment)

  at its South Pierce Facility in violation ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.143(a)).

  460.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to establish

  adequate financial assurance for closure of its South Pierce surface impoundment.

                                  xlvii. Fortv-Seventh Claim for Relief

               (Failure to Prepare an Adequate Cost Estimate for Post-Closure Care)

  461.   The allegations in Paragraphs 1 through 36 and 425 through 460 and are .realleged and

  incorporated herein by reference.

  462.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(b)), each owner or operator

  of disposal facilities, piles, surface impoundments, tank systems and containment buildings, must

  prepare a cost estimate for post-closure care of its facility to meet the requirements ofF.A.C.

  Rule 62-730.180(1) (40 C.F.R. § 264.144) (Cost Estimate for Post-Closure Care).

  463.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.144(a)), the owner or operator of

  a disposal surface impoundment required under 40 C.F.R. § 264.228 to prepare a contingent

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  closure and post-closure plan, must have a detailed written estimate, in current dollars, of the

  annual cost of post-closure monitoring and maintenance of the facility in accordance with F.A.C.

  Rule 62-730.180(1) (40 C.F.R. §§ 264.117 through 264.120, and 40 C.F.R. § 264.228).

  464.    Since at least the December 9, 2003 and November 18, 2004 CEis, and the December 16,

  2004 SI, and continuing through at least the date of the filing of this Complaint, Defendant did

  not have an adequate detailed written estimate, in current dollars, of the annual cost for post-

  closure monitoring and maintenance of its South Pierce Facility in accordance with the

  applicable post-closure care regulations set forth at F.A.C. Rule 62-730.180(1) (40 C.F.R.

  §§ 264.117 through 264.120, and 40 C.F.R. § 264.228).

  465.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and the§ 403.727, F.S. for each day that it failed to prepare an

  adequate post-closure care cost estimate for its South Pierce surface impoundment.

                                  xlviii. Fortv-Eighth Claim (or Relief

            (Failure to Establish Adequate Financial Assurance for Post-Closure Care)

  466.   The allegations in Paragraphs 1 through 36 and 425 through 465 are realleged and .

  incorporated herein by reference.

  467.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.140(b)), each owner or operator

  of disposal facilities, piles, surface impoundments, tank systems and containment buildings are

  required to meet the requirements of F.A.C. Rule 62-730.180(1) and F.A.C. Rule 62-730.226 (40

  C.F.R. § 264.145) (Financial Assurance for Post-Closure Care).

  468.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.145), the owner or operator of a

  hazardous waste unit subject to the requirements of 40 C.F.R. § 264.144 must establish financial

  assurance for post-closure care in accordance with the approved post-closure plan for its facility

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  60 days prior to the initial receipt of hazardous waste or the effective date of the regulation,

  whichever is later.

  469.    Since at least the December 9, 2003 and November 18, 2004 CEis, and the December 16,

  2004 SI, and continuing through at least the date of the filing of this Complaint, Defendant was

  subject to the requirement ofF.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.145) and had not

  established adequate financial assurance for post-closure care.

  470.   Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and§ 403.727, F.S. for each day that it failed to establish adequate

  financial assurance for post-closure care at its South Pierce surface impoundment

                                 xlix. Fortv-Ninth Claim for Relief

           (Failure to Establish Adequate Financial Assurance for Third Party Liability)

  471.   The allegations in Paragraphs 1through36 and 425 through 470 are realleged and

  incorporated herein by reference.

  472.   Owners and operators of treatment, storage and disposal facilities are required by F.A.C.

  Rule 62-730.180(1) (40 C.F.R. § 264.140(a)), to meet the requirements of 40 C.F.R.

  § 264.147(a) and F.A.C. Rule 62-730.226 (Liability Requirements).

  473.   Pursuant to F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(a)), the owner or operator of

  each treatment, storage and disposal facility must establish financial responsibility for bodily

  injury and property damage to third parties caused by sudden accidental occurrences arising from

  operations of the facility, and must choose from the options as specified in paragraphs (a)(l)

  through (6) of 40 C.F.R. § 264.147.

  474.   Owners and operators of surface impoundments, landfills, land treatment facilities, or

  hazardous waste disposal miscellaneous units are required by F.A.C. Rule 62-730.180(1) (40

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  C.F.R. § 264.140(a)) to meet the requirements of 40 C.F.R. § 264.147(b) and F.A.C. Rule 62-

  730.226 (Liability Requirements).

  475.    F.A.C. Rule 62-730.180(1) (40 C.F.R. § 264.147(b)), require that the owner or operator

  of each surface impoundment, landfill, land treatment facility, or hazardous waste disposal

  miscellaneous unit must establish financial responsibility for bodily injury and property damage

  to third parties caused by non-sudden accidental occurrences arising from operations of the

  facility, and must choose from the options as specified in paragraphs (b)(l) through (6) of 40

  C.F.R. § 264.147.

  476.    Pursuant to F.A.C. Rule 62-730.180(1) (C.F.R. § 264.147(b)), owners and operators who

  are subject to 40 C.F.R. § 264.147(b) may combine coverage for sudden and non-sudden

  accidental occurrences.

  477.    Since at least the December 9, 2003 and November 18, 2004 CEis, and the December 16,

  2004 SI, and continuing through at least the date of the filing of this Complaint, Defendant had

  not established adequate financial responsibility for third party liability for sudden or non-sudden

  accidental occurrences using any of the options specified in paragraphs (a)(l) through (6) or

  (b)(l) through (6) of 40 C.F.R. § 264.147.

  478.    .Defendant is liable for injunctive relief and civil penalties pursuant to Section 3008(a) of

  RCRA, 42 U.S.C. § 6928(a), and § 403.727, F.S. for each day that it failed to establish adequate

  financial responsibility for third party liability at its South Pierce Facility, in violation of 40

  C.F.R. § 264.147 and Chapter 62-730, F.A.C

                                        PRAYER FOR RELIEF


                  WHEREFORE, Plaintiffs, the United States and the Florida Department of

     Environmental Protection, respectfully request that this Court:
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      1. Order the Defendant to immediately comply with the statutory and regulatory

      requirements cited in this Complaint;

      2. Assess civil penalties against the Defendant for up to the amounts provided pursuant to

      Sections 3008(a) and 3008(g) of RCRA, 42 U.S.C. §§ 6928(a) and 6928(g); Section 403.727,

     F.S; and 28 U.S.C. § 2471, as amended by 31 U.S.C. § 3701; and

      3. Grant the United States and the Florida Department of Environmental Protection such

     other relief as this Court deems just and proper.



                                         Respectfully submitted,


  FOR THE UNITED STATES OF AMERICA:




                                       JOHN C. CRUDEN
                                       Assistant Attorney General
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  Date:   c;/zJ/zo;S                   ~~.
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  CIVIL COMPLAINT:            United States et al. v. Mosaic Fertilizer, LLC



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  CIVIL COMPLAINT:      United States et al. v. Mosaic Fertilizer, LLC



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                          APPENDIX 2




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                               APPENDIX 2: FINANCIAL ASSURANCE

         This Appendix sets forth the obligations of Defendant to secure and maintain Financial
 Assurance, as required under Paragraph 25 of the Consent Decree, including schedules and
 notice requirements. Submittals requiring EPA approval shall be submitted pursuant to Section
 V (Compliance), Paragraphs 27-31, and Section XV (Notices) of the Consent Decree. “EPA
 approval” or “determination” as used in this Appendix shall encompass the approval or
 determination by FDEP and such approval or determination may be transmitted by either EPA or
 FDEP. An EPA approval or determination shall be subject to dispute resolution pursuant to
 Section XI (Dispute Resolution) of the Consent Decree, including judicial review, unless this
 Appendix specifies otherwise. The standard of review regarding any EPA approval or
 determination under this Appendix (including requirements incorporated by reference) shall be
 governed by Paragraph 70.a of the Consent Decree. If, in situations where judicial review is not
 precluded by this Appendix, Mosaic seeks but does not prevail on judicial review of such EPA
 approval or determination, Mosaic shall pay all costs incurred by the United States and FDEP in
 connection with such judicial review, including attorneys’ fees.

        Any modification of a time period specified by this Appendix or its Attachments is a
 non-material modification for purposes of Section XVIII (Modification) of the Consent Decree
 and may be modified by written agreement of the Parties.

          Under this Appendix, when required to provide an originally signed certification by the
 Chief Financial Officer (“CFO”), unless otherwise specified, another designated corporate
 officer may provide the signed certification if authority to sign has been assigned or delegated in
 accordance with corporate procedures and bylaws (“duly designated corporate officer”).
 Defendant shall use the form provided in Attachment A (“CFO Certification”) of this Appendix
 for this certification.

 I. Definitions

         Except as otherwise provided in this Appendix, definitions for the terms presented herein
 shall be incorporated from 40 C.F.R. § 264.141.1 Whenever the terms set forth below are used in
 this Appendix, the definitions set forth below shall apply. However, the Parties are not bound by
 these definitions in connection with any matter not relating to Financial Assurance under this
 Consent Decree.

 “Affiliate” shall have the same meaning as set forth in the Statement of Financial Accounting
 Standards No. 57, Appendix B (Glossary) (Financial Accounting Standards Board - Original
 Pronouncements, as amended): “A party that, directly or indirectly, through one or more
 intermediaries, controls, is controlled by, or is under common control with the enterprise.”



 1
   Florida has promulgated financial assurance regulations by incorporating by reference 40 C.F.R. Part 264, Subpart
 H (including all appendices), except as otherwise provided by the Florida Administrative Code (“F.A.C.”). See
 F.A.C. R. 62-730(180)1. FDEP has incorporated by reference all federal regulations cited in this Appendix (except
 for some of the federal regulations specified in the definition of “Environmental Obligations”).
                                                         1
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 “Anniversary Date” shall mean the annual anniversary of the date that Financial Assurance is
 provided unless otherwise stated in this Appendix. The Anniversary Date for a Self-Assurance
 Mechanism shall be ninety (90) Days after the end of the Defendant’s fiscal year. As specified
 in Paragraph 29.d, the Anniversary Date for Financial Assurance provided pursuant to Paragraph
 10.a.(1)(c) shall be March 31.

 “Assets” shall mean all existing and all probable future economic benefits obtained or controlled
 by a particular entity, as represented on the company’s Independently Audited balance sheet.

 “Assets located within the United States” shall mean the sum of all Assets located in the United
 States.

 “Certified Public Accountant” or “CPA” shall mean an accountant who has demonstrated the
 requisite certification requirements of the American Institute of Certified Public Accountants
 (“AICPA”) and met all statutory and licensing requirements of the State in which (s)he works.

 “Closing Facilities” shall mean Green Bay and South Pierce, as defined in Paragraph 8(f) of the
 Consent Decree.

 “Closure Plan” shall mean the plan (including, as applicable, the Initial Closure Plan or
 Permanent Closure Plan) prepared for Phosphogypsum Stack System Closure, Long Term Care,
 and associated Water Management activities, in accordance with the requirements of Appendix
 1, Attachment D or the Florida Phosphogypsum Rules, as applicable under Paragraphs 21-23 of
 the Consent Decree.

 “Control” shall have the same meaning as set forth in the Statement of Financial Accounting
 Standards No. 57, Appendix B (Glossary) (Financial Accounting Standards Board - Original
 Pronouncements, as amended): “The possession, direct or indirect, of the power to direct or
 cause the direction of management and policies of an enterprise through ownership, by contract,
 or otherwise.”

 “Corrective Action” shall have the meaning set forth in the Consent Decree.

 “Corrective Action Cost Estimate” shall mean the estimate of the costs at a Facility for Plan
 Work as set forth in Section IV (Corrective Action) of this Appendix.

 “Cost Estimate” shall mean the estimate of the costs for Phosphogypsum Stack System Closure
 and Long Term Care at a Facility as set forth in Section II of this Appendix.


 “Current Assets” or “CA” shall mean cash or other assets or resources reasonably expected to be
 realized within one (1) year during the normal operating cycle of the business, as represented on
 the company’s Independently Audited balance sheet.

 “Current Dollars” shall mean U.S. dollars in the year actually received or paid, unadjusted for
 price changes or inflation.

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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA,            )
   and                                )
 LOUISIANA DEPARTMENT OF              )
 ENVIRONMENTAL QUALITY                )
                                      )
                                      )
                   Plaintiffs,        )   Civil Action No. 2:15-cv-04889
                                      )
                                      )   Section:
       v.                             )
                                      )   Magistrate:
 MOSAIC FERTILIZER, LLC,              )
                                      )
                   Defendant.         )


                                  CONSENT DECREE




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                                        CONSENT DECREE

         WHEREAS, Plaintiffs, the United States of America (United States), on behalf of the

 United States Environmental Protection Agency (EPA), and the Louisiana Department of

 Environmental Quality (LDEQ), an agency of the State of Louisiana to which the Louisiana

 Legislature has delegated the power and duty to enforce the Louisiana Environmental Quality

 Act (EQA) and Louisiana Environmental Quality Regulations, including the authority to bring

 actions in courts of competent jurisdiction for violations of the EQA (La. R.S. 30:2001 et seq.)

 and Louisiana’s Hazardous Waste Regulations (LAC 33: V. Subpart 1), (together the Plaintiffs),

 have filed a complaint alleging that Defendant, Mosaic Fertilizer, LLC (Mosaic) has violated the

 Resource Conservation and Recovery Act (RCRA), 42 United States Code (U.S.C.) § 6901 et

 seq., La. R.S. 30:2001 et seq, and the applicable regulations in 40 C.F.R. Parts 260-270, and

 LAC 33:V.Subpart 1, at its sulfuric acid, phosphoric acid and fertilizer manufacturing facilities

 located in Uncle Sam and Saint James, Louisiana, respectively the Uncle Sam Facility and the

 Faustina Facility (collectively the Facilities);

         WHEREAS, the Complaint includes allegations that Mosaic failed to characterize and

 illegally treated, stored and disposed of hazardous waste from various processes at its Facilities,

 including: the production of sulfuric acid, diammonium phosphate (DAP) and monoammonium

 phosphate (MAP) fertilizer, and fluorosilicic acid (FSA); wastes generated during cleaning of the

 phosphoric acid plant and fertilizer plant equipment; and wastewaters generated from the

 scrubbers used to control air pollution from the phosphoric acid plants and from other chemical

 and waste management processes at its Facilities without a RCRA permit or interim status. The

 Complaint also alleges that Mosaic illegally placed hazardous wastes in the Uncle Sam

 Phosphogypsum Stack System dedicated for managing phosphoric acid production wastes



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 exempt from hazardous waste regulation pursuant to the Bevill Exemption, 40 C.F.R. §

 261.4(b)(7), thus violating Sections 3004 and 3005 of RCRA, 42 U.S.C. §§ 6924-25, and the

 applicable regulations in 40 C.F.R. Parts 260-270, and La. R.S. 30:2001 et seq. and the

 applicable regulations in LAC 33:V.Subpart 1, and that those hazardous wastes remain in the

 Uncle Sam Phosphogypsum Stack System;

         WHEREAS, Mosaic denies the applicability of Sections 3004 and 3005 of RCRA, 42

 U.S.C. §§ 6924-25, and the applicable regulations in 40 C.F.R. Parts 260-270, and La. R.S.

 30:2001 et seq. and the applicable regulations in LAC 33:V.Subpart 1, and the regulations

 promulgated thereunder to certain practices at the Mosaic Facilities that are the subject of the

 Complaint, denies the violations alleged in the Complaint, and maintains that it has been and

 remains in compliance with RCRA and is not liable for civil penalties or injunctive relief;

         WHEREAS, the objective of the Parties in this Consent Decree is to resolve the civil

 claims alleged in the Complaint by 1) establishing certain injunctive relief and environmental

 projects, whereby Mosaic shall modify certain operating practices with respect to its

 management of hazardous wastes and Bevill-Exempt Wastes, implement environmental controls,

 remediation, and financial assurance, and undertake certain pollution reduction and other

 beneficial projects; and 2) assessing an appropriate penalty;

         WHEREAS, Mosaic has conducted itself in good faith in its discussions with the

 Plaintiffs concerning the violations alleged in the Complaint, and has already implemented

 certain operational changes at its Facilities and remedial measures, obviating the need for certain

 injunctive relief;

         WHEREAS, by agreeing to entry of this Consent Decree, Mosaic makes no admission

 of law or fact with respect to the allegations in the Complaint, and continues to deny any non­



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 compliance or violation of any law or regulation identified therein or in this Consent Decree.

 For the purpose of avoiding litigation among the Parties, however, Mosaic, and where applicable

 The Mosaic Company, agree to the requirements of this Consent Decree;

        WHEREAS, the Parties agree that the United States’ filing of the Complaint and entry

 into this Consent Decree constitutes diligent prosecution by the United States and LDEQ, under

 Section 7002(b)(1)(B) of RCRA, 42 U.S.C. § 6972(b)(1)(B), of all matters alleged in the

 Complaint and addressed by this Consent Decree through the date of lodging of this Consent

 Decree; and

        WHEREAS, the Parties recognize, and the Court by entering this Consent Decree finds,

 that this Consent Decree has been negotiated by the Parties in good faith and will avoid litigation

 among the Parties and that this Consent Decree is fair, reasonable, and in the public interest.

        NOW, THEREFORE, before the taking of any testimony, without the adjudication or

 admission of any issue of fact or law except as provided in Section I (Jurisdiction and Venue),

 below, and with the consent of the Parties,

        IT IS HEREBY ADJUDGED, ORDERED, AND DECREED as follows:



                                I. JURISDICTION AND VENUE

        1.      This Court has jurisdiction over the subject matter of this action and over the

 Parties, pursuant to Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), and 28 U.S.C. §§ 1331,

 1332, 1345, 1355 and 1367. Venue is proper in this judicial district pursuant to 28 U.S.C. §§

 1391(b) and (c) and 1395(a), and Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), because

 Mosaic’s Facilities are located in this judicial district. For purposes of this Consent Decree, or

 any action to enforce this Consent Decree, the Parties consent to the Court’s jurisdiction over this



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 Consent Decree and any such action and over Mosaic and The Mosaic Company, and further

 consent to venue in this judicial district.

         2.      Pursuant to Section 3008(a)(2) of RCRA, 42 U.S.C. § 6928(a)(2), notice of the

 commencement of this action has been given to LDEQ.

         3.      For purposes of this Consent Decree only, Mosaic agrees that the Complaint

 states claims upon which relief may be granted pursuant to Sections 3004 and 3005 of

 RCRA, 42 U.S.C. §§ 6924 and 6925, and La. R.S. 30:2001 et seq.

                                        II. APPLICABILITY

         4.      The obligations of this Consent Decree apply to and are binding upon the United

 States, LDEQ, Mosaic, and, as provided herein, The Mosaic Company, and any successors,

 assigns, or other entities or persons otherwise bound by law. Rights granted to EPA under this

 Consent Decree may be exercised by LDEQ upon the written agreement of EPA and LDEQ with

 notice to Mosaic. Nothing in this Consent Decree shall apply to administrative or enforcement

 proceedings other than this action or an action to enforce this Consent Decree. Nor does anything

 in this Consent Decree relieve Mosaic of its obligation to comply with any federal and state laws

 applicable to activities that are not within the definition of Work in this Consent Decree.

         5.      No transfer of ownership or operation of all or a portion of a Facility, whether in

 compliance with the procedures of this Paragraph or otherwise, shall relieve Mosaic of its

 obligation to ensure that the terms of this Consent Decree are implemented, unless: (1) the

 transferee agrees in writing to undertake the obligations required by this Consent Decree and to

 be substituted for Mosaic as a Party to the Consent Decree and thus be bound by the terms

 thereof; and (2) the United States, after consultation with LDEQ, consents in writing to relieve

 Mosaic and the Mosaic Company of their respective obligations under this Consent Decree



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 pursuant to Section XVIII (Modification) of this Consent Decree. At least thirty (30) Days prior

 to a proposed transfer of Mosaic’s obligations under this Consent Decree, or such other period

 agreed to by the Parties in writing: (i) Mosaic shall provide a copy of this Consent Decree to the

 proposed transferee, if not previously provided; and (ii) shall provide written notice of the

 prospective transfer, together with a copy of the proposed written agreement (subject to

 Paragraphs 82 and 83 of this Consent Decree and as may otherwise be agreed in writing)

 transferring obligations to the transferee, to EPA, LDEQ, the United States Attorney for the

 Eastern District of Louisiana, and the United States Department of Justice, in accordance with

 Section XV (Notices) of this Consent Decree, together with a request for approval. The United

 States’ decision whether to approve the transferee’s substitution for Mosaic under this Consent

 Decree, and what conditions may attend approval, will take into account: (i) the status of the

 projects in Appendix 6 (RCRA Compliance Schedule), (ii) whether the transferee has or will

 have prior to the transfer the financial and technical capability to comply with this Consent

 Decree, (iii) and other factors that may be deemed relevant, including but not limited to the

 environmental compliance history of the proposed transferee and the environmental management

 capabilities of the proposed transferee. As set forth in Appendix 2, Paragraph 36, any such

 transfer will not include the Financial Assurance obligations specified for Mosaic therein, and

 therefore will include Financial Assurance conditions appropriate to the transferee. Any transfer

 of ownership or operation of all or a portion of the Facilities without complying with this

 Paragraph constitutes a violation of this Consent Decree. The United States’ refusal to approve,

 or approval with conditions for, the substitution of the transferee for Mosaic under this Consent

 Decree shall be subject to dispute resolution pursuant to Section XI (Dispute Resolution) of this

 Consent Decree, but any judicial review shall be conducted pursuant to Paragraph 76(a) of this



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 Consent Decree. If Mosaic does not prevail in such judicial review, Mosaic shall pay all costs

 incurred by the United States in connection with such judicial review, including attorney’s fees.

        6.      Mosaic shall: (1) provide a copy of this Consent Decree to its President/CEO,

 Executive Vice Presidents, Senior Environmental Counsel, and the General Manager,

 Environmental Manager, and Maintenance Manager of each Facility, and shall ensure that any

 employees and contractors whose duties might reasonably include compliance with any

 provision of this Consent Decree are made aware of this Consent Decree and specifically aware

 of the requirements of this Consent Decree that fall within such person’s duties; (2) place an

 electronic version of the Consent Decree on its internal environmental website; and (3) post

 notice of lodging of the Consent Decree and its availability in a location at each Facility where

 legal notices are posted. Mosaic shall be responsible for ensuring that all employees and

 contractors involved in performing any Work pursuant to this Consent Decree perform such

 Work in compliance with the requirements of this Consent Decree.

        7.      In any action to enforce this Consent Decree, Mosaic shall not raise as a defense

 the failure by any of its officers, directors, employees, agents, or contractors to take any actions

 necessary to comply with the provisions of this Consent Decree.

                                        III. DEFINITIONS

        8.      Every term expressly defined by this Section shall have the meaning given that

 term herein, regardless of whether it is elsewhere defined in federal or state law. Every other

 term used in this Consent Decree that is also a term used under RCRA, as amended, 42 U.S.C.

 §§ 6901 et seq., its implementing regulations, or La. R.S. 30:2001 et seq. and its implementing

 regulations, shall have the same meaning in this Consent Decree as such term has under RCRA

 or under federal or Louisiana regulations. In the case of a conflict between federal and state



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 definitions, federal definitions shall control. For purposes of this Consent Decree, whenever

 terms defined below or in Appendices 1-9 hereto are used in this Consent Decree, such

 definitions shall apply:

            a. Bevill-Exempt Wastes shall mean Phosphogypsum and Process Wastewater from

 phosphoric acid production through mineral processing, which are solid wastes excluded from

 hazardous waste regulation pursuant to 40 C.F.R. § 261.4(b)(7)(ii)(D) and (P);

            b. Big Holding Tank (BHT) shall mean the tank(s) that Mosaic will install as

 compliance projects and that are designated as Big Holding Tank(s) in the Uncle Sam Facility

 Report;

            c. BHT Effluent shall mean the output solution consisting of any or all of the inputs

 to the BHT that are described in the Uncle Sam Facility Report;

            d. BHT Recovery Units comprise the BHT and those units in Downstream

 Operations from which, as specified in the Uncle Sam Facility Report, cleaning wastes and other

 materials will be circulated to the BHT for recovery in Upstream Operations or reuse as a

 cleaning solution following completion of the relevant compliance projects;

            e. Complaint shall mean the complaint filed by the United States and LDEQ in this

 action;

            f. Consent Decree shall mean this Consent Decree and all Appendices identified in

 Section XXIV (Appendices) and attached hereto. In the event of any conflict between this

 Consent Decree and any Appendix hereto, this Consent Decree shall control;

            g. Corrective Action Work shall mean 1) the activities described in Paragraphs 17 ­

 19 of Appendix 1, Attachment A; 2) the activities described in Section II.D of Appendix 1,




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 Attachment B; and/or 3) other activities taken at the express direction of EPA or LDEQ pursuant

 to their respective legal authorities to address a release of:

                 (1) the following products, including intermediates and wastes: phosphoric acid,

 sulfuric acid, and FSA;

                 (2) the following cleaning solutions, including entrained wastes and solids: SACS,

 PACS, and FSACS;

                 (3) Process Wastewater, including mixtures and entrained wastes and solids;

                 (4) Phosphogypsum Stack System Wastewater, including mixtures and entrained

 wastes and solids;

                 (5) BHT Effluent, IGPU Effluent, or GHT Effluent, including entrained wastes and

 solids when such releases occur: a) within Upstream or Downstream Operations; b) from Mixed-

 Use, Grandfathered, or Recovery Units; or c) from the Phosphogypsum Stack System, as identified

 in a Facility’s Facility Report. Corrective Action Work does not include other activities to be

 taken at the direction of EPA or LDEQ pursuant to their residual authorities to address other

 releases of hazardous waste and/or hazardous constituents that may affect human health and the

 environment, which directions and activities will be undertaken outside of, and will not be subject

 to, this Consent Decree (“Non-CD Corrective Action”);

             h. DAP shall mean diammonium phosphate, which is manufactured in Granulation;

             i. Day shall mean a calendar day unless expressly stated to be a business day. In

 computing any period of time under this Consent Decree, where the last day would fall on a

 Saturday, Sunday, or federal or State of Louisiana holiday, the period shall run until the close of

 business of the next business day;




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            j. Defendant or Mosaic shall mean Mosaic Fertilizer, LLC. Mosaic’s parent

 company, The Mosaic Company, shall be referred to by its full corporate name;

            k. Downstream Operations shall mean all Facility operations involving the storage,

 management, transport, treatment, disposal or further processing of the First Saleable Product,

 manufacturing operations that use the First Saleable Product as a feedstock, and fluorosilicic acid

 (FSA) production operations, unless designated as a Mixed-Use Unit or Grandfathered Unit in

 that Facility’s Facility Report.

            l. EPA shall mean the United States Environmental Protection Agency and any of

 its successor departments or agencies;

            m. Effective Date is defined in Section XVI (Effective Date);

            n. Facility or Facilities shall mean any one or more of Mosaic’s Louisiana operations

 at Uncle Sam or Saint James (Faustina), which include manufacturing plants, Phosphogypsum

 Stack Systems, and such other contiguous or adjacent property owned and/or operated by

 Mosaic, as delineated in Appendix 3 (Site Maps).

            o. Facility Reports shall mean the reports dated September 8, 2015 (Uncle Sam), and

 September 29, 2015 (Faustina), attached hereto collectively as Appendix 4, prepared by EPA

 following inspections of Mosaic’s Uncle Sam and Faustina Facilities, which identify, where

 appropriate, the Facility’s Upstream and Downstream Operations, its Mixed-Use Units, BHT

 Recovery Units, Grandfathered Units, Granulation Plant Units, Interim Granulation Plant Units,

 Granulation Sump Ditches, compliance projects, and proposed future installations;

            p. Financial Assurance shall mean financial assurance for the benefit of EPA and

 LDEQ in order to ensure coverage for Third-party Liability, Phosphogypsum Stack System




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 Closure, and Long Term Care, as set forth in Appendix 2 (Financial Assurance) of this Consent

 Decree;

            q. First Saleable Product shall mean:

                 (1)   Merchant Grade Acid (MGA), whether or not it is actually placed into

 commerce; or,

                 (2)   if applicable, any intermediate phosphoric acid product with a P2O5

 content less than or equal to MGA that is diverted from further processing into MGA in order to

 be placed into commerce, further concentrated above 54% P2O5 (by weight), or used as a

 feedstock in manufacturing MAP/DAP, Superphosphoric Acid (SPA), Purified Acid, or other

 chemical manufacturing products;

            r. FSA shall mean fluorosilicic acid (H2SiF6).

            s. FSA Cleaning Solution (FSACS) shall mean a solution of FSA or wastewater

 from FSA production (excluding waste solids not entrained in cleaning solutions but instead

 mechanically removed from FSA production, such as filtration residue, tank bottoms, and Swift

 Tower clean-out residue) with Non-Hazardous Aqueous Cleaning Solution (NHACS),

 Phosphogypsum Stack System Wastewater, and/or Process Wastewater used for cleaning pipes,

 tanks or other equipment;

            t. Grandfathered Unit shall mean a pipe, tank and/or other production, storage, or

 transportation unit in Downstream Operations specifically identified in the Uncle Sam Facility

 Report as not feasibly segregable from Upstream Operations;

            u. Granulation shall mean the process of converting liquid phosphoric acid,

 ammonia, secondary nutrients, and/or micronutrients into solid ammonium phosphate fertilizer in

 Downstream Operations;



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            v. Granulation Plant Units (GPUs) shall mean those units identified in the Faustina

 Facility Report that Mosaic has installed or will install as compliance projects to manage, store

 or transport Downstream wastes for use in Granulation;

            w. Granulation Plant Unit Effluent (GPU Effluent) shall mean the output solution

 consisting of any or all of the inputs to the GPUs that are described in the Faustina Facility

 Report;

            x.Granulation Plant Holding Tank(s) shall mean the GPUs that Mosaic will install as

 a compliance project to replace certain of the IGPUs and to manage, store or transport

 Downstream wastes for use in Granulation.

            y. Interim Granulation Plant Units (IGPUs) shall mean those units identified in the

 Faustina Facility Report that manage, store or transport Downstream wastes for use in

 Granulation until they discontinue handling Downstream wastes in compliance with Appendix 6

 (RCRA Project Narrative and Compliance Schedule) or such time as the Granulation Plant

 Holding Tanks are put in service to replace them.

            z. Interim Granulation Plant Unit Effluent (IGPU Effluent) shall mean the output

 solution consisting of any or all of the inputs to the IGPUs that are described in the Faustina

 Facility Report;

            aa. Granulation Sump Ditches are identified in the Faustina Facility Report.

            bb. Interest shall mean the interest rate specified in 28 U.S.C. § 1961;

            cc. LDEQ shall mean the State of Louisiana Department of Environmental Quality

 and any of its successor departments or agencies;

            dd. MAP shall mean monoammonium phosphate;




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            ee. Merchant Grade Acid (MGA) shall mean phosphoric acid that is typically 52% to

 54% (by weight) of P2O5 but may vary slightly across the phosphoric acid industry,

 manufactured from the direct reaction of phosphate rock and sulfuric acid and containing less

 than one percent (1%) solids content;

            ff. DAP Recycle Pond is the ditch and pond system described in LDEQ Permit P­

 0092RI and depicted in the Facility Report;

            gg. Mixed-Use Unit shall mean a pollution control device, pipe, tank and/or other

 production, storage, or transportation unit specifically identified in the Uncle Sam Facility

 Report as serving both Upstream Operations and Downstream Operations;

            hh. Non-Hazardous Aqueous Cleaning Solution (NHACS) shall mean an aqueous

 solution, including without limitation fresh water, non-hazardous condensate, non-hazardous

 recycled water, and non-hazardous recovered groundwater, used for cleaning pipes, tanks or

 other equipment that, if evaluated as a solid waste before use, is not a RCRA listed or

 characteristic hazardous waste as defined by 40 C.F.R., Part 261, Subparts C and D;

            ii. Paragraph shall mean a portion of this Consent Decree identified by an arabic

 numeral;

            jj. Parties shall mean the United States, LDEQ, Mosaic and, where applicable, The

 Mosaic Company;

            kk. Phosphogypsum shall mean calcium sulfate and byproducts produced by the

 reaction of sulfuric acid with phosphate rock to produce phosphoric acid. Phosphogypsum is a

 solid waste within the definition of Section 1004(27) of RCRA, 42 U.S.C. § 6903(27);




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            ll. Phosphogypsum Stack shall mean any defined geographic area associated with a

 phosphoric acid production plant in which Phosphogypsum is disposed of or stored, other than

 within a fully enclosed building, container or tank;

            mm.         Phosphogypsum Stack System shall mean the defined geographic area

 associated with a phosphoric acid production facility in which Phosphogypsum and Process

 Wastewater is disposed of or stored, together with all pumps, piping, ditches, drainage,

 conveyances, water control structures, collection pools, cooling/surge ponds (including former

 cooling/surge ponds that have been converted to lime treatment sludge ponds), auxiliary holding

 ponds, regional holding ponds, and any other collection or conveyance system associated with

 the transport of Phosphogypsum from the phosphoric acid plant to the Phosphogypsum Stack, its

 management at the stack, and the Process Wastewater return to phosphoric acid production. This

 definition specifically includes toe drain systems and ditches and other leachate collection

 systems, but does not include conveyances within the confines of the phosphoric acid or fertilizer

 production plant(s) or emergency diversion impoundments used in emergency circumstances

 caused by rainfall events of high volume or duration for the temporary storage of Process

 Wastewater to avoid discharges to surface waters of the State;

            nn. Phosphogypsum Stack System Wastewater shall mean waste water in the

 Phosphogypsum Stack System containing Bevill-Exempt Wastes commingled with hazardous

 wastes as alleged in the Complaint;

            oo. Phosphoric Acid Cleaning Solution (PACS) shall mean a solution of phosphoric

 acid (generated from an operation in which at least 50 percent of the feedstock in a calendar year

 was from ores or minerals or beneficiated ores or minerals) and Non-Hazardous Aqueous




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 Cleaning Solution, Phosphogypsum Stack System Wastewater, and/or Process Wastewater used

 for cleaning pipes, tanks or other equipment;

            pp. Pond 11 is the surface impoundment described in LDEQ Permit P-0063 and

 depicted in the Faustina Facility Report;

            qq. Process Wastewater shall mean process wastewater from phosphoric acid

 production. The following wastestreams constitute process wastewater from phosphoric acid

 production: water from phosphoric acid production operations through concentration to the First

 Saleable Product; process wastewater generated from Upstream Operations that is used to

 transport Phosphogypsum to the Phosphogypsum Stack; Phosphogypsum Stack runoff

 (excluding non-contact runoff); process wastewater generated from a uranium recovery step in

 phosphoric acid production; process wastewater generated from non-ammoniated animal feed

 production (including defluorination, but excluding ammoniated animal feed production)

 operations that qualify as mineral processing operations based on the definition of mineral

 processing that EPA finalized on September 1, 1989; and process wastewater generated from a

 superphosphate production process that involves the direct reaction of phosphate rock with dilute

 phosphoric acid with a concentration less than Merchant Grade Acid [see 55 Fed. Reg. 2328,

 January 23, 1990];

            rr. Purified Phosphoric Acid (PPA) shall mean a refined grade of phosphoric acid

 where contaminants have been removed from wet-process phosphoric acid through solvent

 extraction, chemical precipitation, filtration, or other purification processes to produce a purified

 phosphoric acid product suitable for food grade or other higher purity phosphoric acid

 applications (as of the date of lodging of this Consent Decree, Mosaic does not manufacture

 Purified Phosphoric Acid);



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            ss. RCRA Requirements shall mean the requirements of RCRA Subtitle C, the

 applicable regulations in 40 C.F.R. Parts 260-270, and La. R.S. 30:2171 et seq. and the

 applicable regulations in LAC 33:V.Subpart 1;

            tt. Section shall mean a portion of this Consent Decree identified by a roman

 numeral;

            uu. State shall mean the State of Louisiana;

            vv. Sulfuric Acid Cleaning Solution (SACS) shall mean a solution of sulfuric acid

 and Non-Hazardous Aqueous Cleaning Solution, Phosphogypsum Stack System Wastewater,

 and/or Process Wastewater used for cleaning pipes, tanks or other equipment;

            ww.         Superphosphoric Acid (SPA) shall mean liquid phosphoric acid (not a

 solid phosphate product such as granulated triple superphosphoric acid) generally with a P2O5

 content greater than MGA, resulting from the concentration of wet process acid that does not

 involve the direct reaction of phosphate ore in such concentration operations (as of the date of

 lodging of this Consent Decree, Mosaic does not manufacture SPA);

            xx. Treatment for the purposes of Paragraph 18 herein shall mean any method,

 technique, or process, including neutralization, designed to change the physical, chemical, or

 biological character or composition of a waste so as to neutralize such waste or so as to recover

 energy or material resources from the waste, or so as to remove or reduce a hazardous

 constituent of the waste or make it safer to transport, store, or dispose of, or amenable for

 recovery, amenable for storage, or reduced in volume;

            yy. United States shall mean the United States of America, acting on behalf of EPA;

            zz. Upstream Operations shall mean all phosphoric acid mineral processing

 operations resulting in the manufacture of the First Saleable Product; and



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              aaa.       Work shall mean any activity that Mosaic must perform to comply with

 the requirements of this Consent Decree, including Appendices.

                                       IV. CIVIL PENALTY

        9.        Within thirty (30) Days after the Effective Date of this Consent Decree, Mosaic

 shall pay the sum of $3,900,000.00 as a civil penalty, together with Interest accruing from the

 date on which the Consent Decree is lodged with the Court, at the rate specified in 28 U.S.C. §

 1961 as of the date of lodging, in accordance with Paragraphs 10 and 11.

        10.       Mosaic shall pay the sum of $2,350,000.00, together with Interest accruing from

 the date on which the Consent Decree is lodged with the Court, to the United States by FedWire

 Electronic Funds Transfer (EFT) to the U.S. Department of Justice, in accordance with written

 instructions to be provided by the Financial Litigation Unit of the U.S. Attorney’s Office for the

 Eastern District of Louisiana, 500 Poydras Street, Suite 210, New Orleans, Louisiana, 70130

 (504) 680-3000 to Mosaic within ten (10) days of lodging of the Consent Decree. At the time of

 payment, Mosaic shall send a copy of the EFT authorization form and the EFT transaction

 record, together with a transmittal letter, to the United States in accordance with Section XV

 (Notices) of this Consent Decree; by email to acctsreceivable.CINWD@epa.gov; and by mail to:

             EPA Cincinnati Finance Office
             26 Martin Luther King Drive
             Cincinnati, OH 45268
 The transmittal letter shall state that the payment is for the civil penalty owed pursuant to the

 Consent Decree in United States et al. v. Mosaic Fertilizer, LLC, and shall reference the civil

 action number and DOJ case number 90-7-1-08388.

        11.       Mosaic shall pay the sum of $1,550,000.00 as a civil penalty, together with

 Interest accruing from the date on which the Consent Decree is lodged with the Court, to LDEQ

 by EFT in accordance with instructions that will be provided by LDEQ within ten (10) Days of

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 the lodging of this Consent Decree. At the time of payment, Mosaic shall send a copy of the

 EFT authorization form and the EFT transaction record, together with a transmittal letter, to

 LDEQ in accordance with Section XV (Notices) of this Consent Decree. The transmittal letter

 shall state that the payment is for a civil penalty owed pursuant to the Consent Decree in United

 States et al. v. Mosaic Fertilizer LLC, and shall reference LDEQ File Number 015-176-SET­

 038and DOJ case number 90-7-1-08388.

        12.     Mosaic shall not deduct any penalties paid under this Consent Decree pursuant to

 this Section or Section IX (Stipulated Penalties) in calculating its federal or Louisiana or local

 income tax.

                             V. COMPLIANCE REQUIREMENTS

        13.     Compliance Projects and Schedule.

        (a)     Completed Activities. Mosaic has already completed the following activities at

 the Faustina Facility in compliance with the below-referenced Consent Decree Paragraph(s) or

 Appendices/Attachments to this Consent Decree: Granulation Plant Sump System (Paragraph

 16); Phase 1 of the DAP Pond Sampling and characterization (Paragraph 23).

        (b)     Uncle Sam Facility. Mosaic shall undertake the actions set forth in Appendix 5

 (Best Management Practices (BMP) Plan) and Appendix 6 (RCRA Project Narrative and

 Compliance Schedule) of this Consent Decree to improve its waste management practices,

 pursuant to the description and schedule set forth in Appendix 6 (RCRA Project Narrative and

 Compliance Schedule). For any wastes generated by or managed in units that are identified in

 Section VI (Compliance Projects) of the Uncle Sam Facility Report found in Appendix 4

 (Facility Reports) as part of the compliance projects set forth in Appendix 6 (RCRA Project

 Narrative and Compliance Schedule) requiring installation, construction, modification, shut



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 down, or replacement to cease commingling of hazardous wastes with Bevill-Exempt Wastes,

 and for any wastes that will be managed differently as a result of installing, constructing,

 modifying, shutting down, or replacing units, as specified in Section VI (Compliance Projects) of

 Appendix 4 (Facility Reports), Mosaic’s waste management obligations under this Section V

 (Compliance Requirements) shall become effective upon completion of those compliance

 projects.

        (c)     Faustina Facility. Mosaic shall implement certain Facility changes at the Faustina

 Facility pursuant to the description and schedule set forth in the Faustina Facility Report found in

 Appendix 4 (Facility Reports) and Appendix 6 (RCRA Project Narrative and Compliance

 Schedule). For any wastes that will be managed differently as a result of installing, constructing,

 modifying, shutting down, or replacing units, as specified in Section VI (Compliance Projects) of

 Appendix 4 (Facility Reports), Mosaic’s waste management obligations under this Section V

 (Compliance Requirements) shall become effective upon completion of those compliance

 projects.

        14.     Hazardous Waste Determinations.

        (a)     Uncle Sam Facility. Mosaic shall make a RCRA hazardous waste determination,

 pursuant to 40 C.F.R. § 262.11, of all solid wastes generated at the Uncle Sam Facility within

 Upstream or Downstream Operations, or from Mixed-Use, Grandfathered Units, or BHT

 Recovery Units other than: (1) Bevill-Exempt Wastes; and (2) those wastes that Paragraphs 15­

 18 of this Consent Decree allow to (i) be input to Upstream Operations or (ii) managed in BHT

 Recovery Units or (iii) managed with Bevill Exempt Wastes, and, if the wastes are hazardous,

 Mosaic shall manage such wastes in compliance with the RCRA Requirements.




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        (b)     Faustina Facility. Mosaic shall make a RCRA hazardous waste determination,

 pursuant to 40 C.F.R. § 262.11, of all solid wastes generated at the Faustina Facility other than

 those wastes that Paragraph 16 allows to be input to Granulation or managed in IGPUs, GPUs or

 the Granulation Sump Ditches, and, if the wastes are hazardous, Mosaic shall manage such

 wastes in compliance with the RCRA Requirements.

        15.     Wastes from Upstream Operations and Co-Managed Wastes at the Uncle Sam
                Facility.

        (a)     Provided that any Phosphogypsum Stack System ultimately receiving the wastes

 enumerated below is subject to the requirements of Appendix 1, Attachment B (Groundwater

 Requirements), Attachment C (Phosphogypsum Stack System Construction and Operational

 Requirements), and Sections I, II, III and VI of Attachment D (Closure of Phosphogypsum

 Stacks/Stack Systems), as modified by Paragraph 22(a)(2)(i), and the Financial Assurance

 requirements of this Consent Decree set forth in Paragraph 25 and Appendix 2 (collectively the

 Stack System Requirements), the following wastes may be: (i) input into Upstream Operations;

 or (ii) treated, stored, managed, transported or disposed of together with Bevill-Exempt Wastes

 in accordance with this Consent Decree:

                (1)     Process Wastewater, Phosphogypsum Stack System Wastewater, and

                Phosphogypsum;

                (2)     Wastes from air pollution control devices that are associated with

                Upstream Operations or that are identified as Mixed-Use Units in the Uncle Sam

                Facility Report; and

                (3)     Wastes generated from the use of Phosphogypsum Stack System

                Wastewater, Process Wastewater, a Non-Hazardous Aqueous Cleaning Solution,

                or any combination thereof, to clean pipes, tanks, process equipment, or other

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                storage or transport units that are:

                          (i)     Part of Upstream Operations;

                          (ii)    Serve to manage, store, or transport Bevill-Exempt Wastes; or

                          (iii)   Identified as Mixed-Use or Grandfathered Units in the Uncle Sam

                          Facility Report.

        (b)     Prior to commencement of operations of Compliance Project 1 (Big Holding Tank

 and Wash Solution System in the Phosphoric Acid Plant) and Project 2 (Cleaning Solution

 Return Piping) of Section VI (Compliance Projects) of Appendix 4 (Facility Reports) at the

 Uncle Sam Facility, Mosaic may continue to manage wastes generated from Upstream

 Operations, Mixed-Use Units, Grandfathered Units, BHT Recovery Units, or units that serve to

 manage, store, or transport Bevill-Exempt Wastes as specifically documented in Mosaic’s

 consolidated waste management practices submittal dated September 8, 2015.

        (c)     Following commencement of operations of Compliance Project 1 (Big Holding

 Tank and Wash Solution System in the Phosphoric Acid Plant) and Project 2 (Cleaning Solution

 Return Piping) of Section VI (Compliance Projects) of Appendix 4 (Facility Reports) for the

 Uncle Sam Facility, the following wastes may be input to Upstream Operations via the BHT as

 described in Projects 1 and 2 of Section VI (Compliance Projects) of the Uncle Sam Facility

 Report set forth in Appendix 4 and in accordance with the BMP set forth in Appendix 5:

                    (1)           Spills and leaks of all grades of phosphoric acid, sulfuric acid,

                    FSA, SACS, PACS, FSACS, or BHT Effluent; or NHACS, Process

                    Wastewater, or Phosphogypsum Stack System Wastewater when mixed with

                    any of the preceding solutions due to spills, leaks, or cleaning of spills and

                    leaks;



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                   (2)         Wastes generated from the use of SACS, PACS, BHT Effluent,

                   FSA, FSACS, NHACS, Process Wastewater, and/or Phosphogypsum Stack

                   Wastewater to clean pipes, tanks, process equipment, or other storage or

                   transport units that are:

                               (i)      Part of Upstream Operations;

                               (ii)     Serve to manage, store, or transport Bevill-Exempt Wastes;

                               or

                               (iii)    Identified as Mixed-Use, Grandfathered, or BHT Recovery

                               Units in the Uncle Sam Facility Report.

        In the event of a process upset after commencement of operations of the BHT and

 Cleaning Solution Return Piping Projects that prevents the input of SACS, PACS, BHT Effluent,

 FSA, or FSACS to Upstream Operations via the BHT, Mosaic: (1) shall not discharge to the

 Phosphogypsum Stack System any SACS, PACS, BHT Effluent, FSA, or FSACS in cleaning

 those units affected by the process upset; and (2) shall make a RCRA hazardous waste

 determination, pursuant to 40 C.F.R. § 262.11, of any cleaning wastes generated from BHT

 Recovery Units and not input to the BHT and, if the wastes are hazardous, shall manage such

 wastes in compliance with the RCRA Requirements. (d) If Mosaic, in the cleaning of Upstream

 Operations, Mixed-Use, Grandfathered, or BHT Recovery Units, uses any cleaning materials

 other than Phosphogypsum Stack System Wastewater, Process Wastewater, BHT Effluent,

 PACS, SACS, FSA, FSACS, or NHACS that, if evaluated as a solid waste before use, would be

 a RCRA listed or characteristic hazardous waste as defined by 40 C.F.R., Part 261, Subparts C

 and D and would generate a hazardous waste when mixed with Bevill-Exempt Process

 Wastewater under the Bevill Mixture Rule, 40 C.F.R. § 261.3(a)(2)(i) and (g)(4), then Mosaic



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 shall make a RCRA hazardous waste determination pursuant to 40 C.F.R. § 262.11, of the

 cleaning waste and, if the waste is hazardous, Mosaic shall manage such waste in compliance

 with the RCRA Requirements.

        (e)     Mosaic shall manage any solids removed by means other than cleaning solutions

 from Upstream Operations, Mixed-Use, Grandfathered, and BHT Recovery Units in accordance

 with the BMP set forth in Appendix 5.

        (f)     Equipment maintenance, repair activities, and emergency situations in

 Downstream Operations at a Facility may occasionally require Mosaic to temporarily store or

 transport a First Saleable Product in or through tanks or pipes that are part of Upstream

 Operations, and/or Mixed-Use or Grandfathered Units. Provided that: a) the use of any

 individual unit in Upstream Operations, or any Mixed-Use or Grandfathered Unit, for such

 temporary storage of a First Saleable Product does not exceed ninety (90) Days consecutively or

 one-hundred twenty (120) Days cumulatively per calendar year; and b) if the First Saleable

 Product is not stored or transported for greater than ninety (90) Days consecutively outside of

 Downstream Operations, then the cleaning wastes generated from such units that are used for the

 temporary transport and storage of the First Saleable Product may be managed with wastes from

 Upstream Operations. Notice of such temporary use of tanks or pipes that are part of Upstream

 Operations, or of Mixed-Use or Grandfathered Units, for a First Saleable Product must be given

 to EPA and LDEQ within seven (7) Days of the commencement of such temporary use, but

 advance approval will not be required. Mosaic shall keep a log of all such temporary uses. If

 Mosaic violates any of the time limits set forth in this Paragraph, Mosaic shall not manage

 cleaning wastes generated outside the prescribed time period with wastes from Upstream

 Operations. In the event of a second violation of any of these time limits within three-hundred



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 and sixty-five (365) Days of a first violation, Mosaic within 30 Days shall construct a separate

 system for the temporary transport and storage of the First Saleable Product, which system shall

 be part of Downstream Operations. Violations of the time limits set forth in this Paragraph are

 not subject to Paragraph 32 (Correction of Non-Compliance) but may be subject to dispute

 resolution (but not judicial review) under Section XI of this Consent Decree (Dispute

 Resolution) or to a claim under Section X (Force Majeure).

        16.     Wastes from Downstream Operations at Uncle Sam and Faustina. Unless

 otherwise authorized by Paragraphs 15(a), (b), (c), (e) or (f), Paragraphs 16 (a) - (c), below, or

 Paragraphs 17(a) or (b), Mosaic shall manage all hazardous wastes generated from: Downstream

 Operations (including, without limitation, units that transport, store, treat, or manage the First

 Saleable Product (e.g., pipes, tanks, railcars, barges); chemical manufacturing processes that use

 the First Saleable Product as a feedstock (e.g., MAP/DAP, SPA or PPA processes); FSA

 production processes; pollution control devices, waste storage, transport and treatment units,

 cleaning wastes (liquid and solids), and spills and leaks from all such processes and units) in

 compliance with the RCRA Requirements, regardless of the use of any Bevill-Exempt Wastes as

 influent to such Downstream Operations. If any Mixed-Use Units or Grandfathered Units are

 replaced, modified, or reconfigured after the date of the Uncle Sam Facility Report such that they

 serve to manage, store or transport materials from Downstream Operations that are not identified

 in that Facility Report as being associated with those Units, they will be deemed to serve

 Downstream Operations, and any hazardous wastes generated thereafter from such Units will be

 subject to this Paragraph.

        (a)     Waste Management at Uncle Sam. Mosaic may re-use or recover certain wastes

 from Downstream Operations in Upstream or Downstream Operations as specifically



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 documented in the Uncle Sam Facility Report.

        (b)      Waste Management at Faustina. The Faustina Facility does not engage in mineral

 processing and does not generate Bevill-Exempt wastes. All solid wastes generated at the

 Faustina Facility as described in Faustina’s Facility Report are generated from Downstream

 Operations. Prior to completion of the Faustina Facility changes required pursuant to Paragraph

 13(b) above, Mosaic may continue to manage wastes from the Granulation Sump Ditches,

 IGPUs, and GPUs as specifically documented in Mosaic’s consolidated waste management

 practices submittal dated September 8, 2015. Upon completion of Faustina Project 3

 (Granulation Plant Holding Tank Installation) set forth in Appendix 6 (RCRA Project Narrative

 and Compliance Schedule), Mosaic shall no longer use the IGPUs to manage wastes.

                 (1) Cleaning Wastes. Wastes generated from the use of NHACS, SACS, IGPU

 Effluent or GPU Effluent to clean pipes, tanks, process equipment, or other storage or transport

 units and spills and leaks of NHACS, IGPU Effluent, GPU Effluent, SACS, phosphoric acid, or

 sulfuric acid may be input to Granulation, as described in Section V (Current Configuration) of

 Faustina’s Facility Report. In the event of a process upset that prevents the input of such wastes

 to Granulation , Mosaic shall make a RCRA hazardous waste determination of the cleaning

 wastes generated from those units affected by the process upset, pursuant to 40 C.F.R. § 262.11

 and, if the wastes are hazardous, shall manage such wastes in compliance with the RCRA

 Requirements.

                 (2)    Projects. Mosaic has already modified certain of the containment pads

 and sumps at the Faustina Facility, as identified in the Faustina Facility Report.

 _                      (i) Granulation Sump Ditches. Mosaic shall implement Project 9

 (Inspections, Maintenance and Repair of Ditches Flowing in the Granulation Sump) for the



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 Granulation Sump Ditches in compliance with Appendix 6 (RCRA Project Narrative and

 Compliance Schedule) for Project 7 and thereafter shall manage the Granulation Sump Ditches

 in compliance with Project 7.

                       (ii) IGPUs. Mosaic shall implement Projects 4 (Interim Granulation Plant

 Units - Tanks and Transfer Lines Operating Requirements) and 5 (Interim Granulation Plant

 Units - Sump Operating Requirements) for all IGPUs in compliance with Appendix 6 (RCRA

 Project Narrative and Compliance Schedule) until completion of Faustina Project 3 (Granulation

 Plant Holding Tank Installation) set forth in Appendix 6 (RCRA Project Narrative and

 Compliance Schedule).

                       (iii) Other Projects. Mosaic shall implement Projects 3 (Granulation Plant

 Holding Tank Installation), 6 (RCRA Requirements), 7 (40 CFR Part 265, Subpart J- Tank

 Standards for the Granulation Sump), 8 (40 CFR Part 265, Subpart J- Tank Standards for the

 Existing Holding Tank Sump), and 10 (RCRA Training) in compliance with and on the

 schedules set forth in Appendix 6 (RCRA Project Narrative and Compliance Schedule). Upon

 completion of those projects, Mosaic shall comply with 40 C.F.R. Parts 262 and 265 and the

 regulations in LAC 33:V. Ch. 11 and 19.

 Notwithstanding the foregoing requirements of this Paragraph 16(b), Mosaic may re-use or

 recover certain wastes generated at the Faustina Facility in Downstream Operations as

 specifically documented in the Faustina Facility Report.

         17.    FSA at the Uncle Sam Facility.

          (a)   FSA, and wastewater carrying entrained solids from FSA production, a part of

 Downstream Operations, may be managed as described in Section IV.D (Fluorosilicic Acid




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 (FSA) Standard Process Configuration) and Section VI Compliance Project 1 (BHT) and Project

 3 (BHT piping) of Appendix 4 (Facility Reports) for the Uncle Sam Facility.

        (b)     Waste solids not entrained in cleaning solutions but instead mechanically

 recovered from FSA production (such as filtration residue, tank bottoms, and Swift Tower clean-

 out residue) shall be managed in accordance with the BMP Plan set forth in Appendix 5.

        (c)     Wastes generated from FSA production that are not subject to Paragraphs 17(a)

 and 17(b) shall be managed in compliance with the RCRA Requirements.

        18.     Wastes from Treatment of Uncle Sam Phosphogypsum Stack System Wastes.

 Provided that any Phosphogypsum Stack System ultimately receiving the wastes complies with

 the Stack System Requirements set forth in Paragraph 15(a), wastes generated from the

 Treatment of materials in the Phosphogypsum Stack System through (i) the use of reverse

 osmosis or (ii) any other Treatment process that does not introduce into such materials hazardous

 constituents or other contaminants that would result in a violation of applicable discharge limits

 may be: (1) input to Upstream Operations; or (2) treated, stored, managed, transported and

 disposed of together with Bevill-Exempt Wastes, in accordance with this Consent Decree.

        19.     Transfer of Wastes between the Facilities. In the event that Mosaic transfers

 hazardous waste, or Bevill-Exempt Wastes historically commingled with hazardous waste,

 between the Facilities, Mosaic shall comply with the RCRA Requirements. Nothing in this

 Consent Decree shall restrict the transfer and management of Bevill-Exempt Wastes and non­

 hazardous waste between the Facilities that is in compliance with all federal and Louisiana laws.

        20.     Sulfuric Acid Plant. Mosaic shall manage hazardous wastes generated at the

 Uncle Sam sulfuric acid plant in accordance with applicable law.




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        21.     Site Assessment and Corrective Action.

                (a)     Mosaic has already completed or will complete certain site assessment

 activities pursuant to existing RCRA Section 3013 Orders for both Facilities that are deemed to

 satisfy the requirements of Paragraphs 1-16 of Appendix 1, Attachment A (Site Assessment,

 Reporting and Corrective Action). Mosaic’s obligation to complete the Corrective Action Work

 are part of the Work required by this Consent Decree, but shall be set forth in and governed by an

 administrative agreement, permit, or order issued by LDEQ under its authorized state program,

 and subject to EPA’s residual RCRA authorities under RCRA and Paragraphs 21(c) and 88 of this

 Consent Decree. Mosaic’s performance of its obligations pursuant to the preceding sentence shall

 be subject to Paragraph 9 - 16 of Appendix 1, Attachment A, as applicable.

                (b) Mosaic’s obligations under Paragraphs 17-19 of Attachment A of Appendix 1

 shall be deemed to be fully satisfied on the date that LDEQ confirms Mosaic’s certification that

 Mosaic has completed all requirements of any such administrative agreement, permit, or order

 issued by LDEQ to govern the Corrective Action Work defined in Paragraph 8(g)(1), provided

 that EPA does not exercise its residual authorities under RCRA and this Consent Decree as set

 forth in Paragraph 21(c), below. Appendix 1, Attachment A is included as part of this Consent

 Decree in order to advise the Court and the public of sampling and analysis activities already

 completed or that will be completed by Mosaic, pursuant to the RCRA Section 3013 Orders, as

 part of its settlement with the United States and LDEQ, and the Parties’ intent to implement any

 necessary risk assessment and/or Corrective Action Work under LDEQ’s administrative

 authorities, and to reflect Plaintiffs’ residual authority to secure necessary Corrective Action

 Work pursuant to their reservation of rights in Paragraphs 86 and 88 of this Consent Decree.




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                (c)    EPA reserves the right to fully and directly enforce all the requirements of

 Appendix 1, Attachment A, if EPA: (i) notifies Mosaic within sixty (60) Days of LDEQ’s

 issuance of an administrative agreement, permit, or order setting forth and governing the

 Corrective Action Work defined in Paragraph 8(i)(a), that such administrative agreement, permit,

 or order does not adequately address the Corrective Action Work required under Paragraph 18

 of Appendix 1, Attachment A; (ii) after consultation with LDEQ, notifies Mosaic that it has

 determined that Mosaic is not in compliance with an issued administrative agreement, permit, or

 order or (iii) notifies Mosaic within sixty (60) Days of LDEQ’s failure to issue an administrative

 agreement, permit, or order for Corrective Action Work that should be required under the terms

 of Paragraph 18 of Appendix 1, Attachment A. Any decision by EPA to directly enforce these

 Work requirements shall not be subject to judicial review, but shall be subject to dispute

 resolution (other than judicial review) pursuant to Section XI (Dispute Resolution) of this

 Consent Decree, although Mosaic retains its right to invoke dispute resolution as set forth in

 Section XI (Dispute Resolution) regarding any liability for asserted non-compliance with the

 Work requirements of this Consent Decree, including any liability for stipulated penalties.

        22.     Phosphogypsum Stack Systems at the Facilities.

        (a)     Uncle Sam Facility. If Mosaic is in compliance with the requirements of

 Paragraph 22(a), such compliance shall be deemed to satisfy the corresponding requirements of

 the Louisiana Solid Waste Management and Resource Recovery Law (La. R.S. 30:2151 et seq.)

 and the regulations promulgated thereunder (LAC 33:VII, Subpart 1), applicable to

 Phosphogypsum Stack Systems, with respect to the Uncle Sam Phosphogypsum Stack System.

                (1) Mosaic shall comply with all requirements set forth in Appendix 1,

 Attachment B (Groundwater Requirements), Attachment C (Phosphogypsum Stack System



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 Construction and Operational Requirements), Attachment D (Closure of Phosphogypsum

 Stacks/Stack Systems), Attachment E (Imminent and Substantial Endangerment Diagnostic

 Requirements), and Attachment G (Phosphogypsum Stack System Closure Application) at the

 Uncle Sam Facility, except as provided in Appendix 8. The Parties agree that AOC MM-AOA­

 14-00269 shall be terminated as a separate order as of the Effective Date.

                (2) Liner Alternatives

                (i)    Plaintiffs agree that the Uncle Sam Phosphogypsum Stack System, subject

 to Mosaic’s completion of the Work required pursuant to Appendix 7 (Liner Compliance

 Requirements, Exemptions and Conditions) of this Consent Decree, either (i) meet the liner

 requirements of Appendix 1, Attachment C (Phosphogypsum Stack System Construction and

 Operational Requirements); or (ii) complies or will comply with the requirements, exemptions

 and conditions of Appendix 7 (Liner Compliance, Exemptions and Conditions) upon completion

 of the projects identified in Appendix 7, and thereby are or will be deemed to be environmentally

 protective and an acceptable alternative to the requirements of Appendix 1, Attachment C

 (Phosphogypsum Stack System Construction and Operational Requirements).

                (ii)   In the event that Mosaic determines that it is not in compliance with the

 requirements, exemptions, and/or conditions set forth in Appendix 7 for the Uncle Sam Facility,

 Mosaic within ninety (90) Days of identifying the non-compliance shall investigate the cause of

 the non-compliance and submit an Evaluation of Remedial Options to address the non­

 compliance for approval by EPA, in consultation with LDEQ. The Evaluation of Remedial

 Options must: (i) evaluate the cause of the failure to meet the requirements and/or conditions in

 Appendix 7; (ii) identify and evaluate those measures needed to return to compliance with

 Appendix 7; (iii) identify and evaluate potential remedial alternatives to address any groundwater



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 contamination that has migrated beyond the Point(s) of Compliance for the Uncle Sam Facility

 as provided in Appendix 1, Attachment B (Section IV); (iv) identify and evaluate potential

 remedial alternatives to prevent or mitigate further migration of groundwater contamination; and

 (v) recommend one of the identified remedial alternatives for implementation.

                (iii)   If EPA, in consultation with LDEQ, determines that Mosaic is not in

 compliance with the requirements, exemptions, and/or conditions set forth in Appendix 7 for a

 the Uncle Sam Facility, EPA shall so notify Mosaic in a written statement explaining the basis

 for its conclusion. Within ninety (90) Days of receiving such notice from EPA, Mosaic shall

 submit to EPA for approval, in consultation with LDEQ, the Evaluation of Remedial Options as

 required by Paragraph 22(a)(ii) or shall submit pursuant to Paragraphs 27-31 a written

 explanation of why it does not believe the alleged failure exists.

                (3) If Mosaic determines to construct a Lateral Expansion of the existing Uncle

 Sam Phosphogypsum Stack System adjacent to the existing Phosphogypsum Stack System (e.g.,

 "Expansion Stack 5A") with an alternative design than Appendix 1, Attachment C, Section VI,

 then, no less than eighteen months prior to the start of construction of Expansion Stack 5A,

 Mosaic shall submit a proposed design to EPA and LDEQ for their review and approval, and a

 solid waste permit major modification request to LDEQ in accordance with applicable provisions

 of the Louisiana Solid Waste regulations. Any Phosphogypsum Stack System expansion

 documentation submitted pursuant to Appendix 2 (Financial Assurance) shall not affect LDEQ’s

 permit authority under the Louisiana Solid Waste regulations. If LDEQ approves an alternative

 liner in accordance with applicable Louisiana Solid Waste Regulations, which is subject to “EPA

 review” under Paragraph 31, the alternative liner shall be deemed to satisfy the liner

 requirements of Appendix 1, Attachment C, Section VI.



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                (4) Mosaic shall submit the Initial Phosphogypsum Stack System Closure Plan

 required in Appendix 1, Attachment D, Section II simultaneously with its first annual updated

 Cost Estimate submitted pursuant to Appendix 2, Paragraph 4(b).

        (b)     Faustina Facility. Mosaic shall comply with Section VI (Long Term Care for

 Phosphogypsum Stacks/Stack Systems) requirements of Appendix 1, Attachment D (Closure of

 Phosphogypsum Stacks/Stack Systems), all groundwater monitoring requirements of Attachment

 B (Groundwater Requirements), and Section I of Attachment E (Imminent and Substantial

 Endangerment Requirements) for the Faustina Facility. If Mosaic is in compliance with the

 approved post-closure plan for this Facility, such compliance shall be deemed to satisfy the

 Work requirements of Appendix 1, Attachment D.

        23.     DAP Recycle Pond at the Faustina Facility. Mosaic shall comply with

 requirements in Appendix 6 (RCRA Project Narrative and Compliance Schedule) regarding

 Plaintiffs’ April 9, 2014 approval of Mosaic’s Sampling and Analysis Report and future closure

 of the DAP Recycle Pond. Mosaic shall not place wastes in the DAP Recycle Pond, but may

 continue to use the DAP Recycle Pond to collect stormwater. Provided that Mosaic complies

 with this requirement, it shall not be required under this Consent Decree to conduct additional

 sampling of the DAP Recycle Pond, although EPA and LDEQ reserve all authorities to require

 sampling under applicable federal or state law. The final plan for the closure of the DAP Recycle

 Pond is subject to the LDEQ Risk Evaluation/Corrective Action program (RECAP), and

 Paragraphs 27-31.

         24.     Aboveground Facilities for the Permitted UIC Well. Mosaic shall comply with

  Appendix 8.




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        25.     Financial Assurance. Mosaic shall secure and maintain Financial Assurance for

 the benefit of EPA and LDEQ pursuant to the requirements of Appendix 2 (Financial Assurance)

 of this Consent Decree as specified in Paragraphs 25(a) and 25(b) below. Mosaic’s inability to

 secure and/or maintain adequate Financial Assurance for the Uncle Sam and/or Faustina

 Facilities shall in no way excuse performance of the Work or any other requirement of this

 Consent Decree.

          (a)   Uncle Sam Facility. Mosaic shall secure and maintain Financial Assurance for

 the benefit of EPA and LDEQ pursuant to the requirements of Appendix 2 (Financial Assurance)

 of this Consent Decree, including a corporate guarantee provided by The Mosaic Company and

 attached hereto as Appendix 2, Attachment I, in order to ensure coverage for: (i) Third-party

 Liability; and (ii) Phosphogypsum Stack System Closure (and Long-Term Care).

          (b)   Faustina Facility. Mosaic shall secure and maintain Financial Assurance for the

 benefit of EPA and LDEQ pursuant to the requirements of Appendix 2 (Financial Assurance) of

 this Consent Decree, including a corporate guarantee provided by The Mosaic Company and

 attached hereto as Appendix 2, Attachment I, in order to ensure coverage for: (i) Third-party

 Liability; (ii) Phosphogypsum Stack System Long Term Care; and (iii) Closure and Long Term

 Care, as defined in Appendix 2, for the DAP Recycle Pond.

          (c)   If Mosaic establishes Financial Assurances under Paragraphs 25(a) and 25(b)

 pursuant to the requirements of Appendix 2, such Financial Assurances shall also satisfy

 Mosaic’s obligations to comply with LAC 33:V. Chapter 37 and LAC 33:VII. Chapter 13,

 including the reporting requirements thereof, with respect to (a) Closure and Post-Closure Care

 for the Phosphogypsum Stack System at the Uncle Sam Facility, (b) Post-Closure Care for the




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 Phosphogypsum Stack System at the Faustina Facility, and (ii) Closure and Post-Closure Care

 for the DAP Recycle Pond at the Faustina Facility.

          (d)   Corrective Action Work at Uncle Sam and Faustina Facilities. In the event that

 LDEQ or EPA determine that, pursuant to Paragraphs 21 or 22, Corrective Action Work is

 required, then Financial Assurance for the Corrective Action Work shall be addressed through an

 administrative agreement, order, or the modification of the Facility’s solid waste permit in the

 manner provided in LAC 33:VII.1305. If EPA, in lieu of LDEQ, directs Corrective Action Work

 pursuant to this Consent Decree, then Mosaic shall secure and maintain Financial Assurance for

 Corrective Action Work for the benefit of EPA pursuant to Appendix 2, Section IV.

        26.     In addition to the financial assurance information included in the reports required

 pursuant to Section VIII (Reporting Requirements) of this Consent Decree, Mosaic or The

 Mosaic Company as guarantor shall provide to EPA and LDEQ, upon request, any information

 or reports that Plaintiffs are authorized to request pursuant to Section 3007 of RCRA, 40 C.F.R.

 Part 264 Subpart H, La. R.S. 30:2001 et seq. and LAC 33:VII.Chapter 13, or any other

 applicable statutory or regulatory information-gathering authorities, regarding the financial status

 of Mosaic or The Mosaic Company as guarantor, the financial mechanism(s) provided by Mosaic

 or The Mosaic Company as guarantor to meet its obligation for Financial Assurance, and the

 financial institution or guarantor providing the financial mechanism(s) to secure Mosaic’s or The

 Mosaic Company’s obligations, pursuant to Appendix 2 (Financial Assurance).

        27.     Review and/or Approval of Submissions. Where any provision of this Consent

 Decree requires Mosaic to submit a plan, notification, report, procedure, protocol or other

 deliverable, the submission shall be subject to either "EPA approval" or "EPA review," as set

 forth in Paragraphs 28-31, below. If there is any question as to whether a particular submission



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 requires EPA approval or review, it shall be submitted for approval subject to EPA’s discretion

 to treat it as a submission for review. All work plans, reports and other items that are developed

 and submitted to EPA for approval pursuant to this Consent Decree shall be complete and

 technically adequate, and shall incorporate all applicable requirements of Appendix 1.

        28.     Submissions Subject to EPA Approval. After review of any work plan, report, or

 other item set forth below that is required to be submitted, or revised and resubmitted to EPA for

 approval pursuant to this Consent Decree, EPA, after consultation with LDEQ, shall in writing:

 (a) approve the submission; (b) approve the submission upon specified conditions; (c) approve

 part of the submission and disapprove the remainder; or (d) disapprove the submission. In the

 event of disapproval of any portion of the submission, EPA shall include a statement of the

 reasons for such disapproval in its response. The following submissions required under

 Appendix 1 are subject to EPA approval:

                1.     Groundwater Monitoring Plan (Attachment B, Section III (1) and (2));
                2.     Stack Closure Plan (Attachment D, Section I, Section III (1));
                3.     Initial Stack Closure Plan (Attachment D, Section II (1));
                4.     Corrective Action Plan (Attachment A, (18)) and Attachment B, Section IV
                       (3));
                5.     Interim Stack System Monitoring Program and Monitoring Program
                       Revisions (Attachment C, Section I (6));
                6.     Dike Concerns, including Problems, Proposals to Upgrade or Retrofit
                       Dikes, Submissions of Interim Measures for Dike Stability and Submissions
                       of Proposals to Modify the Existing Dike System (Attachment C, Section II
                       (1), (2), (3) and (5));
                7.     Liners for New Stack Systems Construction: (1) Submission of
                       Construction Quality Assurance Plan for Composite Liner Design; (2)
                       Provision of Liner System Installation Report of Compliance with
                       Construction Quality Assurance Plan after Installation of Liner is Complete;
                       (3) Submission of Documentation of Quality Control Testing of the Liner
                       Construction (Attachment C, Section VI);
                8.     Alternatives Plan and Implementation Schedule for Water Management
                       (Attachment C, Section VII 6(h) and (7)(c));
                9.     Requests for Temporary Deactivation of Stack System on a Yearly Basis
                       (Attachment D, Section IV (1) - (7));
                10.    Use of Closed Phosphogypsum Stack Systems (Attachment D, Section

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                        V (5));
                11.     Reduced Long-Term Care Schedule (Attachment D, Section VI (2));
                12.     Submission of outline for a Sampling and Analysis Workplan (Attachment
                        A, (1));
                13.     Submission of Sampling and Analysis Workplan and Sampling and
                        Analysis Report (Attachment A, (2) and (5));
                14.     Submission of Risk Assessment Plan and Report (Attachment A, (18));
                15.     Submission of an Interim Measures Plan and Report (Attachment A, (18));
                16.     Approval to Construct Perimeter Dikes that do not meet minimum 1.5 safety
                        factor (Attachment C, Section III, (1)(e)(ii)):
                17.     Alternate Final Cover (Attachment D, Section III, (7)(c)); and
                18.     Corrective Action Certification Report (Attachment A (18)(a)(iii).

        29.     Approval or Conditional Approval. If the submission is approved pursuant to

 Paragraph 28(a), Mosaic shall take all actions required by the plan, report, or other document, in

 accordance with the schedules and requirements of the plan, report, or other document, as

 approved. If the submission is conditionally approved or approved only in part, pursuant to

 Paragraph 28(b) or (c), Mosaic shall, upon written direction from EPA, take all actions required

 by the approved plan, report, or other item that EPA determines are technically severable from

 any disapproved portions, subject to Mosaic's right to dispute only the specified conditions, the

 disapproval, or the determination of the technical severability of portions of the submission

 under Section XI (Dispute Resolution) of this Consent Decree.

        30.     Disapproval in Whole or Part.

        (a)     If the submission is disapproved in whole or in part pursuant to Paragraph 28(c)

 or 28(d), Mosaic shall, within sixty (60) Days or such other time as the Parties agree to in

 writing, correct all deficiencies and resubmit the plan, report, or other item, or disapproved

 portion thereof, for approval, in accordance with the preceding Paragraphs. If the submission

 has been previously disapproved, EPA may impose an earlier due-date for resubmission, but not

 less than fourteen (14) Days. If the resubmission is approved in whole or in part, Mosaic shall

 proceed in accordance with the provisions of this Paragraph governing approval of submissions.

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        (b)     If a resubmitted plan, report, or other item, or portion thereof, is disapproved in

 whole or in part, EPA, after consultation with LDEQ, may again require Mosaic to correct any

 deficiencies in accordance with the preceding Paragraphs, may itself correct any deficiencies, or

 may finally disapprove the submission, subject to Mosaic's right to invoke dispute resolution

 under Section XI (Dispute Resolution) and the right of EPA and LDEQ to seek stipulated

 penalties as provided in the following Sub-Paragraph. If the resubmission is approved or

 corrected in whole or in part, Mosaic shall proceed in accordance with Paragraph 29.

        (c)     Any stipulated penalties applicable to the original submission, as provided in

 Section IX (Stipulated Penalties) of this Consent Decree, shall accrue during the sixty (60) Day

 period or other agreed upon period, but shall not be payable unless the resubmission is untimely

 or is disapproved in whole or in part; provided that, if the original submission was so deficient as

 to constitute a material breach of Mosaic's obligations under this Consent Decree, the stipulated

 penalties applicable to the original submission shall be due and payable notwithstanding any

 subsequent resubmission.

        31.     Submissions subject to EPA Review. For submissions set forth below that are

 subject to EPA review, EPA, in consultation with LDEQ, within 60 Days of receiving the

 submission may provide written comments on the submission, in whole or in part, or EPA may

 decline to comment, or may notify Mosaic that comments will be provided at a later date not to

 exceed 120 Days from the date of submission. If EPA provides written comments, Mosaic

 within 45 Days of receiving such comments shall modify the submission consistent with EPA's

 written comments unless it has invoked Dispute Resolution pursuant to Section XI of the

 Consent Decree. A decision by EPA to decline to comment does not constitute approval of the

 submission or waive any obligation by Mosaic to comply with the requirements of this Consent



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 Decree or any applicable federal, Louisiana, or local laws governing such submissions. The

 following submissions required by Appendix 1 and this Consent Decree are subject to EPA

 review:

                1.     Groundwater Monitoring Well Reports (Attachment B, Section III (3)(a)
                       and (b));
                2.     Inspection of Phosphogypsum Stack Report (Attachment C, Section
                       VII (3));
                3.     Information on Perimeter Dikes (Attachment C, Section II (1));
                4.     Report on Final Survey and Record Drawings after Permanent Closure is
                       complete (Attachment D, Section V (2));
                5.     Certification of Closure Construction Completion (Attachment D, Section
                       V (3));
                6.     Certification of Long-Term Care Completion (Attachment D, Section VI
                       (4));
                7.     Notification of Groundwater Sampling Schedule (Attachment B, Section
                       II (3)(d));
                8.     Notification of Start Date of Construction of New Dikes (Attachment C,
                       Section III (5)(a));
                9.     Report on Conditions for Temporary Non-emergency Use of the Design
                       Freeboard (Attachment C, Section IV, (2)(b) and (c));
                10.    File on Inspection of a New Phosphogypsum Stack System (Attachment
                       C, Section V (4));
                11.    Annual Contingency Plan and Training Plan (Attachment C, Section VIII
                       (1) and (2));
                .12.   Replacement of Monitoring Device within Sixty (60) Days of Notification
                       to EPA (Attachment D, Section VI (3));
                13.    Documentation Demonstrating the Continued Safety and Stability of the
                       Dike (Attachment E, Section II (1));
                14.    Expansion Stack 5A alternative liner (Consent Decree ¶ 22(a)(3));
                15.    Submission of Report of Critical Condition and Proposal for Correction
                       (Attachment E, Section I (1) and Section III (1));
                19.    Final Construction Quality Assurance Report (Attachment D, Section III
                       (8));
                20.      Remedial EDI Plan (Attachment E, Section IV (4)); and
                21.    Corrective Action Work Implementation Plan (Attachment A (18)(a)(ii)(2).
                22.    Submission of a RECAP Evaluation (Attachment B, Section IV); and
                23     New Phosphogypsum Stack System or Lateral Expansion designed with an
                       appropriate safety factor (Attachment C, Section VI, (4);




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        32.     Correction of Non-Compliance at the Uncle Sam Facility.

        (a)     If Mosaic determines, with or without notice from EPA and/or LDEQ, that it is

 violating, or will violate, any requirement of Section V (Compliance Requirements) of this

 Consent Decree, other than those set forth in Paragraphs 15(f) (temporary storage of First

 Saleable Product) and 25 (Financial Assurance obligations governed by Appendix 2 (Financial

 Assurance)), Mosaic shall submit with its report of the violation, pursuant to Section VIII

 (Reporting Requirements) of this Consent Decree, and shall subsequently implement, a

 Correction Plan to rectify the violation, if it has not already corrected the violation by the time of

 the report. The Correction Plan shall include a schedule for correcting the violation.

        (b) In the event of a violation subject to Paragraph 32(a), Mosaic shall be considered to

 be in compliance with this Consent Decree for purposes of: (1) continuing to manage wastes that

 Paragraphs 15 through 18 allow to be input to Upstream Operations or Downstream Operations

 or managed in BHT Recovery Units or together with Bevill-Exempt Wastes; and (2) assessing

 Mosaic’s compliance with this Consent Decree under Paragraphs 34, 85, 86 and 87 of this

 Consent Decree, provided that:

          (1)   Mosaic deposits wastes governed by Paragraphs 15-18 only in a Phosphogypsum

        Stack System subject to the Stack System Requirements set forth in Paragraph 15(a); and

          (2)   Mosaic:

                 (i).    Timely implements and completes its Correction Plan; or

                 (ii).   Refers an allegation of non-compliance with Section V (Work

                 Requirements) or with a Correction Plan to dispute resolution pursuant to

                 Section XI (Dispute Resolution) and either

                         a.     Prevails in the dispute resolution or



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                        b.      Satisfactorily complies with an EPA or judicial directive to correct

                        any instances of non-compliance

 (collectively, Continuing Compliance Criteria). Nothing in this Paragraph shall be construed as

 EPA approval of Mosaic’s correction efforts pursuant to this Paragraph, as a waiver of stipulated

 penalties for the violation pursuant to Section IX (Stipulated Penalties), or as limiting the rights

 reserved by Plaintiffs under Section VI (Work Takeover) or Paragraph 88 of this Consent

 Decree. EPA reserves the right to require, upon written request that a Correction Plan be

 submitted to EPA for approval in accordance with Paragraphs 27 - 31, above. Mosaic’s

 compliance with this Paragraph is without prejudice to its rights under Section X (Force

 Majeure) and Section XI (Dispute Resolution) of this Consent Decree.

        33.     Permits. Where any compliance obligation under this Section requires Mosaic to

 obtain a federal, Louisiana, or local permit, or other form of approval, Mosaic shall submit

 timely and complete applications and take such actions as are necessary to obtain all such

 permits or approvals. A request for supplementation by the permitting agency does not

 constitute a notice or finding that an application was incomplete for the purpose of this

 Paragraph unless the permitting agency determines that the original application was so deficient

 as to constitute a material breach of Mosaic’s obligations under this Consent Decree. Mosaic

 may seek relief under the provisions of Section X (Force Majeure) of this Consent Decree for

 any delay in the performance of any such obligation resulting from a failure to obtain, or a delay

 in obtaining, any permit or approval required to fulfill such obligation, if Mosaic has submitted

 timely and complete applications and has taken such actions as are necessary to timely obtain all

 such permits or approvals.




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        34.     Provided that Mosaic remains in compliance with Section V (Compliance

 Requirements) or the Continuing Compliance Criteria set forth in Paragraph 32 at the Uncle Sam

 Facility, that Facility shall not be required to operate as a Treatment Storage and Disposal

 Facility pursuant to Section 3005 of RCRA and its implementing federal and/or Louisiana

 regulations, with respect to:

                (a) the treatment, storage, transport, management, and disposal of Bevill-Exempt

        Wastes that have been commingled with hazardous wastes or otherwise managed in

 violation of law as alleged in the Complaint,

                        (i) prior to the lodging of this Consent Decree,

                        (ii) prior to completing the compliance projects set forth in Appendix 6

        (RCRA Project Narrative and Compliance Schedule) as provided by Paragraph 13, or

                        (iii) during timely implementation of a Correction Plan as set forth in

        Paragraph 32; and

                (b) wastes that Paragraphs 15 through 18 allow to be input to Upstream

 Operations or Downstream Operations or managed in BHT Recovery Units or together with

 Bevill-Exempt Wastes.

                                     VI. WORK TAKEOVER

        35.     In the event EPA determines that Mosaic has: (a) ceased implementation of any

 portion of the Work; or (b) is seriously or repeatedly deficient or late in its performance of the

 Work; or (c) is implementing the Work in a manner that may cause an endangerment to human

 health or the environment, EPA, after consultation with LDEQ and with the joint approval of the

 EPA Region 6 Regional Administrator and the Assistant Administrator for the EPA Office of

 Enforcement and Compliance Assurance, may issue a written notice (Work Takeover Notice) to



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 Mosaic. Any Work Takeover Notice issued by EPA shall specify the grounds upon which such

 notice was issued and shall provide Mosaic a period of thirty (30) Days within which to remedy

 the circumstances giving rise to EPA’s issuance of such notice.

        36.     If, after expiration of the thirty (30) Day period specified in Paragraph 35 of this

 Section, the Work Takeover Notice has not been withdrawn by EPA and Mosaic has not

 remedied to EPA’s satisfaction the circumstances giving rise to EPA’s issuance of the Work

 Takeover Notice, EPA at any time thereafter may undertake Work Takeover by: (a) assuming

 and/or directing the performance of; (b) seeking the appointment of a receiver to direct the

 performance of; or (c) accessing Financial Assurance (with the concurrence of LDEQ) to finance

 the performance of all or any portions of the Work that EPA deems necessary to correct the

 violations or conditions that triggered the Work Takeover Notice pursuant to Paragraph 35

 (Work Takeover). EPA shall notify Mosaic in writing (which writing may be electronic) if EPA

 determines that implementation of a Work Takeover is warranted under this Section of the

 Consent Decree. In the event that EPA seeks to appoint a receiver to direct the performance of

 the Work, Mosaic shall not oppose such appointment on grounds other than lack of competence

 or conflict of interest, but shall retain its right to challenge the underlying Work Takeover in

 Dispute Resolution, as set forth in the following Paragraph and Section XI (Dispute Resolution)

 of this Consent Decree. In implementing any Work Takeover, EPA shall make reasonable

 efforts not to interfere with Facility operations not directly affected by the conditions that

 triggered the Work Takeover.

        37.     In the event that Mosaic invokes Section XI (Dispute Resolution) of this Consent

 Decree with respect to EPA’s Work Takeover and/or its selection of options set forth in

 Paragraph 36 (which must be disputed together with the underlying Work Takeover and pursuant



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 to Paragraph 76(a) of this Consent Decree), EPA during the pendency of any such dispute may,

 in its unreviewable discretion, commence and continue a Work Takeover until the earlier of: (a)

 the date that Mosaic remedies, to EPA’s satisfaction, the circumstances giving rise to issuance of

 the Work Takeover Notice; or (b) the date that a final decision is rendered in accordance with

 Section XI (Dispute Resolution) of the Consent Decree requiring EPA to terminate such Work

 Takeover.

        38.     After commencement and for the duration of any Work Takeover, EPA or any

 appointed receiver shall have immediate access to and benefit of any Financial Assurance

 provided pursuant to Paragraph 25 of this Consent Decree and Appendix 2 to implement the

 Work. If EPA or any appointed receiver are unable to access the Financial Assurance, or the

 Work addressed by the Work Takeover is not covered by Financial Assurance, then any

 unreimbursed costs incurred by EPA in connection with the Work Takeover shall be considered

 a financial obligation owed by Mosaic to the United States and collectible in an action to enforce

 this Consent Decree. Nothing in this Paragraph shall be construed to relieve Mosaic of its

 obligation to provide adequate Financial Assurance pursuant to Appendix 2. In the event that it

 is determined in Dispute Resolution that the Work Takeover was not warranted, any unexpended

 funds in a Stand-by Trust that originated from a letter of credit, surety bond or corporate

 guarantee shall be used to restore any pre-existing Trust Fund to the pre-Work Takeover level, if

 necessary, and any balance of unexpended funds shall be released and used to re-establish the

 original financial mechanism(s).

                     VII. BENEFICIAL ENVIRONMENTAL PROJECTS

        39.     Within thirty (30) Days after the Effective Date of the Consent Decree, Mosaic

 shall deposit $1,000,000.00 into an escrow account established and administered by LDEQ, in



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 accordance with instructions that will be provided by LDEQ within sixty (60) Days of the

 lodging of this Consent Decree, for the purpose of LDEQ’s conducting the beneficial

 environmental projects (BEPs) identified in this Section. After January 1, 2020, any funds that

 remain in this escrow account and that have not been committed to the BEPs identified in this

 Section will be transferred by LDEQ to the Louisiana Hazardous Waste Clean-Up Fund.


         40.    Minerals Toxicity Study and Mineral Criteria Assessment BEP. LDEQ will

 assess statewide water quality criteria/standards for minerals (e.g., chlorides, sulfates) based

 upon a thorough review of scientific literature, data from aquatic toxicity tests, and a review of

 criteria/standards from other states and jurisdictions. BEP funding will be utilized in conducting

 aquatic toxicity testing that will be utilized in establishing a statewide formula for the

 development of mineral criteria and/or standards protective of waters of the State. The results of

 these studies will provide data that may be used by Louisiana to help develop or refine state

 mineral related standards.

         41.    Minerals Toxicity Study and Mineral Criteria Assessment BEP Objectives. The

 objectives for the BEP referenced in Paragraph 40 are to: (1) Develop a study, including acute

 and chronic toxicity tests, on representative Louisiana species across a range of hardness values

 (including low hardness waters) typical of Louisiana; and (2) Conduct toxicity studies to

 determine acute and chronic effects to calculate ratios and/or genus mean acute values that can

 be used to help develop State standards for chlorides, sulfates, and/or other appropriate minerals

 criteria.

         42.    Producer-Specific Watershed Nutrient Management Plans BEP. LDEQ, in

 coordination with the Louisiana State University Agricultural Center, will develop producer-

 specific master programs and Watershed Nutrient Management Plans (collectively WNMP) to be

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 utilized by beef cattle, dairy, and poultry producers for the purpose of reducing pollution, such as

 excess nutrients, into the environment through improved farm practices specific to producer

 needs. These WNMPs will enhance the Comprehensive Nutrient Management Plans that are

 available from the United States Department of Agriculture (USDA) by incorporating

 complementary activities for nutrient management, such as operation and maintenance, tracking,

 monitoring, and beneficial use.

        43.         Producer-Specific Watershed Nutrient Management Plans BEP Objectives. The

 objectives for the BEP referenced in Paragraph 42 are to: (1) Develop WNMPs to address

 nutrients, potentially including the completion of an environmental needs assessment to identify

 the water quality issues for a watershed; and (2) Develop WNMPs for the identified producer-

 specific commodities in targeted watersheds.

        44.         Mosaic’s funding of the escrow account shall not be construed as an endorsement

 of, and Mosaic reserves all rights to dispute, any methodologies, analyses, conclusions or findings

 resulting from the BEPs described above.

              45.      If Defendant fails to deposit funds in the escrow account in accordance with

    Paragraph 39, stipulated penalties may be assessed under Section IX (Stipulated Penalties).

                                VIII. REPORTING REQUIREMENTS

        46.         If Mosaic determines that it has violated or will violate, any requirement of this

 Consent Decree, Mosaic shall notify EPA and LDEQ of such violation and its likely duration, in

 writing (unless otherwise directed by EPA or LDEQ), within twelve (12) Days of the date

 Mosaic first becomes aware of the violation, with an explanation of the likely cause of the

 violation and of the remedial steps taken, or to be taken, to prevent or minimize such violation.

 If the cause of a violation cannot be fully explained at the time the report is due, Mosaic shall so



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 state in the report. Mosaic shall investigate the cause of the violation and shall then submit an

 amendment to the report, including a full explanation of any identifiable cause(s) of the

 violation, within thirty (30) Days of the date Mosaic becomes aware of the violation. Nothing in

 this Paragraph or Paragraphs 47 and 48 relieves Mosaic of its obligation to provide the notice

 required by Section X of this Consent Decree (Force Majeure).

        47.     Periodic Reporting

        (a)     Uncle Sam. Within forty-five (45) Days after the end of each calendar-quarter

 after lodging of this Consent Decree (quarters shall be calculated based on Mosaic’s December

 31st end-of-fiscal-year), until the quarter ending after the completion of all the projects listed in

 Appendix 6 (RCRA Narrative and Compliance Schedule) for the Uncle Sam Facility , Mosaic

 shall submit to EPA and LDEQ a report for the Uncle Sam Facility for the preceding calendar

 quarter that shall include (a) the status of any construction or compliance measures described in

 Appendix 6; (b) completion of milestones set forth in Appendix 6; (c) problems encountered or

 anticipated, together with implemented or proposed solutions, with projects described in

 Appendix 6; (d) status of permit applications for projects described in Appendix 6; (e) status of

 plans for closure and long-term care and status of permit application, as applicable, for closure or

 long-term care; (f) operation and maintenance difficulties or concerns relating to compliance

 with Paragraphs 15 and 17 - 18; (g) status of Financial Assurance; (h) a description of any

 violation of the requirements of this Consent Decree reported under Paragraph 46 and an

 explanation of the likely cause of such violation and of the remedial steps taken, or to be taken,

 to prevent or minimize such violation; (i) the log of any temporary use of units in Upstream

 Operations, Mixed-Use Units or Grandfathered Units for the storage of the First Saleable

 Product; (j) the log of spills and leaks tracked pursuant to the BMP set forth in Appendix 5; and



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 (k) identification of any confirmed “critical condition” as defined and reported to LDEQ and/or

 EPA pursuant to Appendix 1. Thereafter, and for a period of two (2) years, Mosaic shall submit

 such reports to Plaintiffs on a semi-annual basis. Thereafter, Mosaic shall submit such reports

 annually until such time as Mosaic submits the Uncle Sam Closure Application pursuant to

 Appendix 1, Attachments D (Closure of Phosphogypsum Stacks/Stack Systems) and G

 (Phosphogypsum Stack System Closure Application). Mosaic shall submit its next report within

 one-hundred-eighty (180) Days after the submission of the Uncle Sam Closure Application, and

 annually thereafter until this Consent Decree is terminated with respect to the Uncle Sam

 Facility.

         (b)    Faustina. Within forty-five (45) Days after the end of each calendar-quarter after

 lodging of this Consent Decree (quarters shall be calculated based on Mosaic’s December 31st

 end-of-fiscal-year), until the quarter ending after the completion of Projects 1 - 5, 7 - 8, and 10

 listed in Appendix 6 (RCRA Narrative and Compliance Schedule) for the Faustina Facility,

 Mosaic shall submit to EPA and LDEQ a report for the Faustina Facility for the preceding

 calendar quarter that shall include (a) the status of any construction or compliance measures

 described in Appendix 6; (b) completion of milestones set forth in Appendix 6; (c) problems

 encountered or anticipated, together with implemented or proposed solutions, with projects

 described in Appendix 6; (d) status of permit applications for projects described in Appendix 6;

 (e) status of plans for long-term care and status of permit application, as applicable, for closure

 or long-term care; (f) operation and maintenance difficulties or concerns relating to compliance

 with Paragraph 16; (g) status of Financial Assurance; (h) a description of any violation of the

 requirements of this Consent Decree reported under Paragraph 46 and an explanation of the

 likely cause of such violation and of the remedial steps taken, or to be taken, to prevent or



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 minimize such violation; and (i) any notification or reporting pursuant to 40 CFR 265.196(d) or

 LAC 33:V.1913.D, as set forth in Project 6 in Appendix 6 (RCRA Narrative and Compliance

 Schedule) for the Faustina Facility. Thereafter, Mosaic shall submit such reports annually until

 this Consent Decree is terminated with respect to the Faustina Facility.

        48.     Whenever any violation of this Consent Decree, or any other event affecting

 Mosaic’s performance under this Consent Decree or the performance of its Facility, may pose an

 immediate threat to the public health or welfare or the environment, Mosaic shall, unless

 otherwise directed, notify EPA and LDEQ in Section XV (Notices) orally or by electronic or

 facsimile transmission as soon as possible, but no later than twenty-four (24) hours after Mosaic

 first knew of the event, and shall comply with the requirements of Appendix 1, Attachment E

 (Imminent and Substantial Endangerment Diagnostic Requirements). Any violation of this

 notice requirement shall be deemed to terminate on the Day that both Plaintiffs have received

 actual notice of the violation or event from Mosaic or by other means. This notice requirement

 does not relieve Mosaic of its obligation to comply with any federal and state laws applicable to

 the violation or event. This notice requirement is in addition to the requirement to provide notice

 of a violation of this Consent Decree set forth in the preceding Paragraph.

        49.     All reports shall be submitted to the persons designated to receive Notices for

 Plaintiffs in Section XV (Notices) of this Consent Decree. All notices and submittals to “EPA

 and/or LDEQ” under this Consent Decree (including Appendices), other than those required by

 this Section or that are submitted for approval pursuant to Paragraphs 27-31, may be submitted to

 LDEQ only, provided that a copy of the cover letter identifying the notice or submittal is also

 sent to EPA. Mosaic also shall supply EPA with a copy of such notice(s) or submittal(s) upon

 request by EPA.



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        50.     Each report submitted by Mosaic under this Section shall be signed by a

 responsible corporate official of Mosaic (as defined in 40 C.F.R. § 270.11(a)) and shall include

 the following certification:

                I certify under penalty of law that this document and all attachments
                were prepared under my direction or supervision in accordance with
                a system designed to assure that qualified personnel properly gather
                and evaluate the information submitted. Based on my inquiry of the
                person or persons who manage the system, or those persons directly
                responsible for gathering the information, the information submitted
                is, to the best of my knowledge and belief, true, accurate, and
                complete. I am aware that there are significant penalties for
                submitting false information, including the possibility of fine and
                imprisonment for knowing violations.

 This certification requirement does not apply to emergency notifications where compliance

 would be impractical.

        51.     The reporting requirements of this Consent Decree do not relieve Mosaic of any

 reporting obligations required by the RCRA Requirements, or by any other federal, Louisiana, or

 local law, regulation, permit, or other requirement. However, the reporting requirements of this

 Consent Decree shall not require Mosaic to re-submit any report, plan or information submitted

 by Mosaic to EPA and/or LDEQ prior to the Effective Date of this Consent Decree.

        52.     Any information provided pursuant to this Consent Decree may be used by the

 Plaintiffs in any proceeding to enforce the provisions of this Consent Decree and as otherwise

 permitted by law.

                                IX. STIPULATED PENALTIES

        53.     Mosaic shall be liable for stipulated penalties to the United States and LDEQ for

 violations of this Consent Decree as specified below, unless excused under Section X (Force

 Majeure). A violation includes failing to perform any obligation required by the terms of this

 Consent Decree, including any work plan or schedule approved under this Consent Decree,

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 according to all applicable requirements of this Consent Decree and within the specified time

 schedules established by or approved under this Consent Decree.

        54.     Civil Penalty and BEPs. If Mosaic fails to pay the civil penalty and/or fails to

 submit payment to an escrow account for the BEPs, as required under Sections IV (Civil Penalty)

 and VII (Beneficial Environmental Projects) of this Consent Decree when due, Mosaic shall pay

 a stipulated penalty of $1,000 per Day for each Day that the payment is late for the first ten (10)

 Days, together with Interest. Thereafter, Mosaic shall pay $3,000 per Day for each Day that the

 payment is late, with Interest. Late payment of the federal civil penalty shall be made in

 accordance with Section IV (Civil Penalty), Paragraph 10, and late payment of the Louisiana

 penalty and/or BEP funding shall be made in accordance with Section IV (Civil Penalty),

 Paragraph 11. Stipulated penalties for late payment of the civil penalty or BEP shall be paid in

 accordance with Paragraphs 58 - 64, below. All transmittal correspondence shall state that any

 such payment is for late payment of the civil penalty or BEP due under this Consent Decree, or

 for stipulated penalties for late payment, as applicable, and shall include the identifying

 information set forth in Paragraphs 10 or 11, above as applicable.

        55.     Compliance Requirements. The following stipulated penalties shall accrue per

 violation per Day for each violation of the requirements identified in Section V (Compliance

 Requirements):

                Penalty Per Violation Per Day          Period of Noncompliance

                $1,000                                 1st through 14th Day

                $2,000                                 15th through 30th Day

                $3,000                                 31st Day and beyond

        (a)     Uncle Sam Facility. Stipulated penalties shall not apply to spills and leaks that are



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 successfully managed in compliance with the approved BMP set forth in Appendix 5.

        56.     Reporting Requirements. The following stipulated penalties shall accrue per

 violation per Day for each violation of the requirements of Section VIII of this Consent Decree

 (Reporting Requirements):

        Penalty Per Violation Per Day                  Period of Noncompliance

                $ 750                                  1st through 14th Day

                $1,000                                 15th through 30th Day

                $2,000                                 31st Day and beyond



        57.     Subject to the provisions of Paragraph 30(c), above, and except as otherwise

 specified in Paragraphs 30(c) and 65(b), stipulated penalties under this Section shall begin to

 accrue on the Day after performance is due or on the Day a violation occurs, whichever is

 applicable, and shall continue to accrue until performance is satisfactorily completed or until the

 violation ceases. Stipulated penalties shall accrue simultaneously for separate violations of this

 Consent Decree.

        58.     Mosaic shall pay stipulated penalties to the United States and to LDEQ within

 twelve (12) Days of a written demand by either Plaintiff, subject to its right to invoke dispute

 resolution in accordance with Section XI (Dispute Resolution). Except as provided in Paragraph

 45, Mosaic shall pay fifty percent (50%) of the total stipulated penalty amount due to the United

 States and fifty percent (50%) to LDEQ. The Plaintiff making a demand for payment of a

 stipulated penalty shall simultaneously send a copy of the demand to the other Plaintiff.

        59.     Each Plaintiff, may, in the unreviewable exercise of its discretion, reduce or

 waive stipulated penalties otherwise due to it under this Consent Decree. The determination by



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 one Plaintiff not to seek stipulated penalties, or to subsequently waive or reduce the amount it

 seeks, shall not preclude the other Plaintiff from seeking the full amount of the stipulated

 penalties owed.

        60.     Stipulated penalties shall continue to accrue as provided in Paragraph 57, during

 any Dispute Resolution, but need not be paid until the following:

        (a)     If the dispute is resolved by agreement or by a decision of the United States or

 LDEQ that is not subject to judicial review or appealed to the Court, Mosaic shall pay accrued

 penalties determined to be owing, together with Interest, to the United States or LDEQ within

 thirty (30) Days of the effective date of the agreement or the receipt of the United States’ or

 LDEQ’s decision or order.

        (b)     If the dispute is appealed to the Court and the United States or LDEQ prevails in

 whole or in part, Mosaic shall pay all accrued penalties determined by the Court to be owing,

 together with Interest, within sixty (60) Days of receiving the final Court decision.

        61.     Mosaic shall pay stipulated penalties owing to the United States in the manner set

 forth and with the confirmation notices required by Paragraph 10, except that the transmittal

 letter shall state that the payment is for stipulated penalties and shall state for which violation(s)

 the penalties are being paid. Mosaic shall pay stipulated penalties owing to LDEQ in accordance

 with Paragraph 11, except that the transmittal letter shall state that the payment is for stipulated

 penalties and shall state for which violation(s) the penalties are being paid.

        62.     Mosaic shall not deduct stipulated penalties paid under this Section in calculating

 its Louisiana and federal income tax.

        63.     If Mosaic fails to pay stipulated penalties according to the terms of this Consent

 Decree, Mosaic shall be liable for Interest on such penalties, as provided for in 28 U.S.C. § 1961,



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 accruing as of the date payment became due. Nothing in this Paragraph shall be construed to

 limit the United States or LDEQ from seeking any remedy otherwise provided by law for

 Mosaic’s failure to pay any stipulated penalties.

        64.        Subject to the provisions of Section XIII (Effect of Settlement/ Reservation of

 Rights) of this Consent Decree, the stipulated penalties provided for in this Consent Decree shall

 be in addition to any other rights, remedies, or sanctions available to the United States or LDEQ

 for Mosaic’s violation of this Consent Decree or applicable law. Where a violation of this

 Consent Decree is also a violation of relevant statutory or regulatory requirements, Mosaic shall

 be allowed a credit for any stipulated penalties paid against any statutory penalties imposed for

 such violation.

                                        X. FORCE MAJEURE

        65.        Force majeure, for purposes of this Consent Decree, is defined as any event

 arising from causes beyond the control of Mosaic, of any entity controlled by Mosaic, or of

 Mosaic’s contractors that delays or prevents the performance of any obligation under this

 Consent Decree despite Mosaic’s best efforts to fulfill the obligation. The requirement that

 Mosaic exercise best efforts to fulfill the obligation includes using best efforts to anticipate any

 potential force majeure and best efforts to address the effects of any potential force majeure (1)

 as it is occurring and (2) following the potential force majeure such that the delay and any

 adverse effects of the delay are minimized to the greatest extent possible. Force majeure does

 not include Mosaic’s financial inability to perform any obligation under this Consent Decree.

        66.        If any event occurs or has occurred that may delay the performance of any

 obligation under this Consent Decree, whether or not caused by a force majeure event, Mosaic

 shall provide notice orally or by electronic or facsimile transmission as soon as possible, as



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 provided in Section XV (Notices) of this Consent Decree, but not later than seven (7) Days after

 the time when Mosaic first knew that the event might cause a delay. Within ten (10) Days

 thereafter, Mosaic shall provide written notice to EPA and LDEQ with an explanation and

 description of the reasons for the delay; the anticipated duration of the delay; all actions taken or

 to be taken to prevent or minimize the delay; a schedule for implementation of any measures to

 be taken to prevent or mitigate the delay or the effect of the delay; Mosaic’s rationale for

 attributing such delay to a force majeure event if it intends to assert such a claim; and a statement

 as to whether, in the opinion of Mosaic, such event may cause or contribute to an endangerment

 to public health, welfare or the environment. Mosaic shall include with any notice all available

 documentation supporting a claim that the delay was attributable to a force majeure event.

 Mosaic shall be deemed to know of any circumstance of which Mosaic, any entity controlled by

 Mosaic, or Mosaic’s contractors knew or reasonably should have known. Failure to comply with

 the above requirements regarding an event shall preclude Mosaic from asserting any claim of

 force majeure regarding that event, provided, however, that if EPA, despite the late notice, is

 able to assess to its satisfaction whether the event is a force majeure under Paragraph 65 and

 whether Mosaic has exercised its best efforts under Paragraph 65, EPA may, in its unreviewable

 discretion, excuse in writing Mosaic’s failure to submit timely notices under this Paragraph.

        67.     If EPA, after consultation with LDEQ, agrees that the delay or anticipated delay is

 attributable to a force majeure event, the time for performance of the obligations under this

 Consent Decree that are affected by the force majeure event will be extended by EPA, after

 consultation with LDEQ, for such time as is necessary to complete those obligations. An

 extension of the time for performance of the obligations affected by the force majeure event shall

 not, of itself, extend the time for performance of any other obligation. If EPA, after consultation



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 with LDEQ, agrees that the delay is attributable to a force majeure event, EPA will notify

 Mosaic in writing of the length of the extension, if any, for performance of the obligations

 affected by the force majeure event.

         68.     If EPA, after consultation with LDEQ does not agree that the delay or anticipated

 delay has been or will be caused by a force majeure event, EPA will notify Mosaic in writing of

 its decision.

         69.     If Mosaic elects to invoke the dispute resolution procedures set forth in Section

 XI (Dispute Resolution), it shall do so no later than fifteen (15) Days after receipt of EPA’s

 notice. In any such proceeding, Mosaic shall have the burden of demonstrating by a

 preponderance of the evidence that the delay or anticipated delay has been or will be caused by a

 force majeure event, that the duration of the delay or the extension sought was or will be

 warranted under the circumstances, that best efforts were exercised to avoid and mitigate the

 effects of the delay, and that Mosaic complied with the requirements of Paragraphs 65 and 66,

 above. If Mosaic carries this burden, the delay at issue shall not constitute a violation by Mosaic

 of the affected obligation of this Consent Decree identified to EPA and the Court.

                                  XI. DISPUTE RESOLUTION

         70.     Unless otherwise expressly provided for in this Consent Decree, the dispute

 resolution procedures of this Section shall be the exclusive mechanism to resolve all disputes

 arising under or with respect to this Consent Decree. Mosaic’s failure to seek resolution of a

 disputed issue under this Section shall preclude Mosaic from raising any such issue as a defense

 to an action by the United States or LDEQ to enforce any obligation of Mosaic arising under this

 Consent Decree.




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        71.     Informal Dispute Resolution. Any dispute subject to Dispute Resolution under

 this Consent Decree shall first be the subject of informal negotiations, which may include any

 third-party assisted, non-binding alternative dispute resolution process agreeable to the Parties.

 Mosaic shall submit a written Notice of Dispute to both the United States and LDEQ within

 thirty (30) Days after receiving written notice from EPA of a decision that Mosaic disputes. The

 dispute shall be considered to have arisen on the later of the dates that the United States or

 LDEQ receives a written Notice of Dispute. Such Notice of Dispute shall state clearly the matter

 in dispute. The period of informal negotiations shall not exceed twenty (20) Days from the date

 that the dispute arises, unless that period is modified by written agreement between the United

 States and Mosaic. If the Parties cannot resolve a dispute by informal negotiations, then the

 position of EPA, after consultation with LDEQ, shall be considered binding, unless Mosaic

 invokes formal dispute resolution procedures as provided in the following Paragraph.

        72.     Formal Dispute Resolution. If Mosaic elects to invoke formal dispute resolution,

 Mosaic shall, within thirty (30) Days after the conclusion of the informal negotiation period,

 submit to EPA and LDEQ a written Statement of Position regarding the matter in dispute. The

 Statement of Position shall include, but need not be limited to, any factual data, analysis, or

 opinion supporting Mosaic’s position and any supporting documentation relied upon by Mosaic.

        73.     EPA, after consultation with LDEQ, shall submit its Statement of Position within

 forty-five (45) Days of receipt of Mosaic’s Statement of Position. The EPA Statement of

 Position shall include or clearly reference, but need not be limited to, any factual data, analysis,

 or opinion supporting that position and any supporting documentation relied upon by EPA.

 Where appropriate, EPA may allow submission of supplemental statements of position by the




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 Parties to the dispute. The EPA Statement of Position shall be binding on Mosaic unless Mosaic

 files a motion for judicial review of the dispute in accordance with the following Paragraph.

        74.     Unless expressly stated otherwise in this Consent Decree, Mosaic may seek

 judicial review of the dispute by filing with the Court and serving on the United States and

 LDEQ, in accordance with Section XV (Notices) of this Consent Decree, a motion requesting

 judicial resolution of the dispute. The motion must be filed within thirty (30) Days of receipt of

 the EPA Statement of Position pursuant to the preceding Paragraph. The motion shall contain a

 written statement of Mosaic’s position on the matter in dispute, including any supporting factual

 data, analysis, opinion, or documentation, and shall set forth the relief requested and any

 schedule within which the dispute must be resolved for orderly implementation of the Consent

 Decree.

        75.     The United States, after consultation with LDEQ, shall respond to Mosaic’s

 motion within the time period allowed by the Local Rules of this Court. Mosaic may file a reply

 memorandum, to the extent permitted by the Local Rules.

        76.     Standard of Review

                (a)     Disputes Concerning Matters Accorded Record Review. In any dispute

 brought under this Section pertaining to the adequacy or appropriateness of plans, procedures to

 implement plans, schedules or any other items requiring approval by EPA under this Consent

 Decree; the adequacy of the Work performed pursuant to this Consent Decree; and all other

 disputes that are accorded review on the administrative record under applicable principles of

 administrative law, EPA shall compile an administrative record of the dispute containing all

 Statements of Position, including supporting documentation and referenced data or information,




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 and Mosaic shall have the burden of demonstrating, based on the administrative record, that the

 position of the United States is arbitrary and capricious or otherwise not in accordance with law.

                (b) In any other dispute brought under this Section, Mosaic shall bear the burden

 of demonstrating that its position complies with and furthers the objectives of this Consent

 Decree.

        77.     The invocation of dispute resolution procedures under this Section shall not, by

 itself, extend, postpone, or affect in any way any obligation of Mosaic under this Consent

 Decree, unless and until final resolution of the dispute so provides or unless ordered by the

 Court. Stipulated penalties with respect to the disputed matter shall continue to accrue from the

 first Day of noncompliance, but payment shall be stayed pending resolution of the dispute as

 provided in Paragraph 72. If Mosaic does not prevail on the disputed issue, stipulated penalties

 shall be assessed and paid as provided in Section IX (Stipulated Penalties).

                   XII. INFORMATION COLLECTION AND RETENTION

        78.     The United States, LDEQ, and their representatives, including attorneys,

 contractors, and consultants, shall have the right of entry into any of Mosaic’s Louisiana

 Facilities, at all reasonable times, upon presentation of appropriate identification, to:

                (a) monitor the progress of activities required under this Consent Decree;

                (b) verify any data or information submitted to the United States or LDEQ in

 accordance with the terms of this Consent Decree;

                (c) obtain samples and, upon request, splits of any samples taken by Mosaic or its

 representatives, contractors, or consultants;

                (d) obtain documentary evidence, including photographs and similar data;

                (e) assess Mosaic’s compliance with this Consent Decree; and



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                (f) conduct, direct or review Work pursuant to Section VI (Work Takeover) of

 this Consent Decree.

        79.     Upon request, Mosaic shall provide EPA, LDEQ and their authorized

 representatives splits of any samples taken by Mosaic. Upon request, EPA and LDEQ shall

 provide Mosaic splits of any samples taken by EPA, LDEQ, and their authorized representatives.

        80.     Mosaic shall retain, and shall require its contractors and agents to preserve, all

 non-identical copies of all documents, records, or other information (including documents,

 records, emails or other information in electronic form and including any documents, records,

 data or other information underlying the submission of any Report required pursuant to Section

 VIII (Reporting Requirements)) in its or its contractors or agents possession or control, or that

 come into its or its contractors’ or agents’ possession or control and that relate to Mosaic’s

 performance of its obligations under this Consent Decree or adherence to the requirements

 associated with the management of waste materials allowed under Paragraphs 15 through 18 for

 a period of five (5) years after the creation of such documents, records or other information.

 This information-retention requirement shall apply regardless of any contrary corporate or

 institutional policies or procedures. At any time during this information-retention period, upon

 request by the United States or LDEQ, Mosaic shall provide copies of any documents, records,

 or other information required to be maintained under this Paragraph.

        81.     At the conclusion of the information-retention period provided in the preceding

 Paragraph, Mosaic shall notify the United States and LDEQ at least ninety (90) Days prior to the

 destruction of any documents, records, or other information subject to the requirements of the

 preceding Paragraph and, upon request by the United States or LDEQ, Mosaic shall deliver any

 such documents, records, or other information to EPA or LDEQ. Mosaic shall not dispose of



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 materials following the expiration of its five (5) year retention period more often than once a

 year.

         82.    In connection with any request for documents, records, or other information

 pursuant to this Consent Decree, Mosaic may assert that certain documents, records, or other

 information are privileged under the attorney-client privilege or any other privilege recognized

 by federal law, provided that Mosaic shall not assert a legal privilege for any data, records or

 information (excluding legal advice) generated or received in connection with Mosaic’s

 obligations pursuant to the requirements of this Consent Decree. If Mosaic asserts a privilege, it

 shall provide the following: (1) the title of the document, record, or information; (2) the date of

 the document, record, or information; (3) the name and title of each author of the document,

 record, or information; (4) the name and title of each addressee and recipient; (5) a description of

 the subject of the document, record, or information; and (6) the privilege asserted by Mosaic. If

 Plaintiffs and Mosaic disagree as to whether a particular document or record is privileged,

 Mosaic shall deliver such document or record to the United States or LDEQ unless it invokes

 dispute resolution pursuant to Section XI (Dispute Resolution), in which case, Mosaic shall not

 have an obligation to deliver such document or record until a final determination is made,

 pursuant to the procedures set forth in Section XI (Dispute Resolution), that such document or

 record is not privileged.

         83.    Mosaic may also assert that information provided pursuant to this Consent Decree

 is protected as Confidential Business Information (“CBI”) under the criteria and procedures set

 forth in 40 C.F.R. Part 2 or LAC 33:I.Chapter 5, provided that: (a) Mosaic shall not assert a CBI

 claim with respect to any physical, sampling, monitoring, or analytical data other than data

 related to: (i) development of new or modified products; (ii) development of new or modified



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 production processes; (iii) production materials or analyses collected for quality control or other

 manufacturing purposes; or (iv) analyses undertaken for competitive business purposes; and (b)

 Mosaic shall not assert a CBI claim for Financial Assurance information required to be provided

 pursuant to Paragraphs 10.e, 15(e) and 32 of Appendix 2 of this Consent Decree. If Mosaic

 claims any information related to Financial Assurance submissions and Cost Estimates is CBI,

 Mosaic shall submit two versions, one version with the CBI material redacted, and so identified

 in the document, which will be publicly available, and the second version will contain the CBI

 material.

        84.     This Consent Decree in no way limits or affects any right of entry and inspection,

 or any right to obtain information, held by the United States or LDEQ pursuant to applicable

 federal or Louisiana laws, regulations, or permits, nor does it limit or affect any duty or

 obligation of Mosaic to maintain documents, records, or other information imposed by applicable

 federal or Louisiana laws, regulations, or permits.

              XIII. EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

        85.     This Consent Decree resolves the civil claims of the United States and LDEQ

 against Mosaic and, as to liability arising out of Mosaic’s liability only, The Mosaic Company

 for the violations at the Facilities alleged in the Complaint filed in this action through the date of

 the lodging of the Consent Decree. This Consent Decree also resolves such claims, if any, of the

 United States and LDEQ against the corporate officers, directors, and employees, acting in their

 capacities as such, of Mosaic or The Mosaic Company, but only as to liability arising out of

 Mosaic’s liability. For continuing violations alleged in the Complaint, provided that Mosaic

 complies with this Consent Decree at a Facility, as set forth in Paragraph 87, from the date of

 lodging of the Consent Decree through its Effective Date, these claims shall also be resolved



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 through the Effective Date of this Consent Decree, as of the Effective Date, for that Facility; and,

 provided that Mosaic complies with the Consent Decree at a Facility from the Effective Date of

 this Consent Decree through the date of termination of this Consent Decree for that Facility

 pursuant to Section XIX (Termination), these claims shall be finally resolved as of the date the

 Consent Decree terminates for that Facility.

                86.     Provided that Mosaic is in compliance with this Consent Decree, and

 subject to the reservation below, Plaintiffs covenant not to sue or take administrative action,

 under Section 3008(a) of RCRA, 42 U.S.C. § 6928(a) or a state law counterpart, seeking to

 require Mosaic’s Facilities to comply with the RCRA Requirements, with respect to: (a) the

 generation, treatment, storage, transport, management, and disposal of Bevill-Exempt Wastes

 that have been commingled with hazardous wastes or otherwise managed in violation of law as

 alleged in the Complaint, and that are resolved in accordance with Paragraph 85; (b) wastes that

 Paragraphs 15 through 18 of this Consent Decree allow to be input to Upstream Operations or

 Downstream Operations or managed in BHT Recovery Units, IGPUs, GPUs, Granulation Sump

 Ditches or with Bevill-Exempt Wastes; and (c) conditions addressed under Paragraphs 23 and

 24. Further, provided that Mosaic is in compliance with this Consent Decree, LDEQ covenants

 not to sue or take administrative action seeking to require the Phosphogypsum Stack System at

 Mosaic’s Uncle Sam Facility to comply with otherwise applicable requirements of the Louisiana

 Solid Waste Management and Resource Recovery Law (La. R.S. 30:2151 et seq.) and the

 regulations promulgated thereunder (LAC 33:VII, Subpart 1). (The interface of the Louisiana

 Solid Waste Management and Resource Recovery Law (La. R.S. 30:2151 et seq.) and the

 regulations promulgated thereunder (LAC 33:VII, Subpart 1) and Defendant’s obligations under

 this Consent Decree is further addressed in the letter from LDEQ dated September 29, 2015.)



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 Nothing in this Paragraph, however, shall affect Plaintiffs’ rights to determine and require

 necessary Corrective Action Work in accordance with Paragraphs 21 and 22(a)(1), respectively,

 of this Consent Decree, or to restrict Non-CD Corrective Action that may be required at a

 Facility pursuant to Plaintiffs’ residual authorities under federal, state, and local laws.

        87.     The resolution under this Section XIII (Effect of Settlement/Reservation of

 Rights) of the Plaintiffs’ civil claims set forth in the Complaint and the Plaintiffs’ covenants not

 to sue are expressly conditioned upon Mosaic’s timely and satisfactory compliance with the

 requirements of this Consent Decree. For the purposes of this Paragraph (and Paragraphs 85 and

 86), and with respect to the wastes that Paragraphs 15 through 18 allow to be input to Upstream

 Operations or Downstream Operations, managed in BHT Recovery Units, IGPUs, GPUs,

 Granulation Sump Ditches, or with Bevill-Exempt Wastes, compliance with the Continuing

 Compliance Criteria set forth in Paragraph 32 constitutes compliance with this Consent Decree.

        88.     The United States and LDEQ reserve all legal and equitable remedies available to

 enforce the provisions of this Consent Decree, and Mosaic reserves all legal and equitable

 defenses available to it in the defense of any such enforcement. This Consent Decree shall not

 be construed to limit the rights of the United States or LDEQ to obtain penalties or injunctive

 relief under the federal and Louisiana environmental statutes or their implementing regulations,

 or under other federal or Louisiana law regulations or permit conditions, including Section

 3008(h) of RCRA, 42 U.S.C. § 6928(h), except as expressly specified in Paragraphs 85 and 86,

 and Mosaic in any such action shall not assert any defense based upon the contention that such

 claims raised by the Plaintiffs were or should have been brought in the instant case under

 principles of waiver, res judicata, collateral estoppel, issue preclusion, claim preclusion, claim-

 splitting, or other such defenses. The United States and LDEQ further retain all authority and



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 reserve all rights to take any and all actions authorized by law to protect human health and the

 environment, including Corrective Action Work and Non-CD Corrective Action, and all legal

 and equitable remedies to address any imminent and substantial endangerment to the public

 health or welfare or the environment arising at, or posed by, Mosaic’s Facilities, whether related

 to the violations addressed in this Consent Decree or otherwise.

        89.     This Consent Decree is not a permit, or a modification of any permit, under any

 federal, State, or local law or regulation. While this Consent Decree resolves the Parties’ dispute

 regarding the violations alleged in the Complaint as set forth in Paragraph 85, compliance with

 the terms of this Consent Decree does not guarantee compliance with all applicable federal,

 State, or local laws or regulations. Except as provided in Paragraphs 34, 85, and 86 of this

 Consent Decree, Mosaic is not relieved of its obligation to achieve and maintain compliance with

 all applicable federal, State, and local laws, regulations, and permits; Mosaic’s compliance with

 this Consent Decree shall be no defense to any action commenced by Plaintiffs pursuant to any

 such law, regulation, or permit, except as expressly specified in Paragraphs 34, 85 and 86.

        90.     This Consent Decree does not limit or affect the rights of the Parties against any

 third-parties (persons not a Party to this Consent Decree), nor does it limit the rights of third-

 parties except as otherwise provided by the doctrine of federal preemption or by other applicable

 principles of law or precedent.

        91.     This Consent Decree shall not be construed to create rights or obligations in, or

 grant any cause of action to, any third-party.

        92.     Nothing in the Complaint filed in this action or in this Consent Decree, including

 the execution and implementation of this Consent Decree, shall constitute an admission by

 Mosaic of any violation of the RCRA Requirements or of any of the allegations of the



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 Complaint. Mosaic reserves all rights to dispute the factual and legal representations of the

 Complaint and Consent Decree except in an action to enforce this Consent Decree by a Party.

 The terms of this Consent Decree may not be used as evidence in any litigation between the

 Parties except (a) pursuant to Section XI (Dispute Resolution), (b) in an action to enforce this

 Consent Decree, or (c) in an action by Plaintiffs in which Mosaic asserts a defense based on this

 Consent Decree.

                                            XIV. COSTS

        93.     The Parties shall bear their own costs of this action, including attorneys’ fees,

 except that the United States and LDEQ shall be entitled to collect costs (including attorneys’

 fees) incurred in any action necessary to access Financial Assurance pursuant to Paragraph 25

 and Appendix 2 (Financial Assurance) of this Consent Decree, or to collect any portion of the

 civil penalty or any stipulated penalties or other costs due under this Consent Decree but not paid

 by Mosaic.

        94.     LDEQ Costs Incurred in Oversight of Consent Decree.

        (a)     LDEQ may employ, arrange for, or contract with a qualified person to perform

 oversight tasks related to the Work performed under this Consent Decree. Mosaic shall bear

 reasonable and necessary costs incurred by LDEQ for oversight related to the Work performed

 under this Consent Decree following the Entry Date and as allowed by law. Following the first

 anniversary of this Consent Decree, LDEQ may propose to increase the Annual Oversight Cost

 Cap on an annual basis to reflect cost increases; provided, however, such proposed increase shall

 not exceed the current inflationary rate for the specific year.

                (b)     LDEQ shall keep accurate books and accounts of oversight costs. Such

 books and accounts may be audited by Mosaic upon written request. Annually from the



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 Effective Date of this Consent Decree, or at the end of each calendar-quarter if deemed

 appropriate by LDEQ, LDEQ shall submit to Mosaic an invoice for oversight costs that LDEQ

 asserts are recoverable under Paragraph 94(a). The invoice shall describe for each person and for

 each day the oversight work for which LDEQ seeks reimbursement in sufficient detail to

 document the amount of time spent on oversight work and to describe the oversight work

 performed during the time documented. If Mosaic disagrees with this invoice on the basis that

 costs incurred by LDEQ are not reasonable, not necessary, or excessive or the invoice fails to

 provide sufficient information as described above, then Mosaic may invoke Section XI (Dispute

 Resolution) of this Consent Decree. Mosaic shall, within sixty (60) calendar Days of receiving

 the invoice, unless it has invoked Section XI (Dispute Resolution) before this 60 Day period has

 passed, remit a check or electronic payment for the amount of those costs made payable to the

 Louisiana Department of Environmental Quality. Checks shall specifically reference the Facility

 and invoice number, and be mailed to the following address:

           Accountant Administrator
           Financial Services Division
           Office of Management and Finance
           Louisiana Department of Environmental Quality
           P.O. Box 4303
           Baton Rouge, LA 70821-4303

 Electronic Payments shall specifically reference the Facility and invoice number and can be made
 to the following:

                Bank Name:            JP Morgan Chase
                Account Name:         State of Louisiana, Dept. of Environmental Quality
                Routing:              XXXXXX021 (ACH) or
                                      XXXXXX137 (Fed Wire)
                Account Number:       XXXXX544




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 A copy of the check or payment confirmation and transmittal letter shall be mailed to:

              Cost Recovery Officer
              Office of Environmental Compliance
              Remediation Services Division
              Louisiana Department of Environmental Quality
              P.O. Box 4314
              Baton Rouge, LA 70821-4314


 This Paragraph shall not prejudice LDEQ’s right to bring an action against any party, including

 Mosaic, under the Comprehensive Environmental Response, Compensation, and Recovery Act

 (CERCLA) for recovery of any future costs incurred by LDEQ related to this Consent Decree and

 not reimbursed by Mosaic.

                                          XV. NOTICES

        95.      Unless otherwise specified herein, whenever notifications, submissions, or

 communications are required by this Consent Decree in accordance with Section VIII (Reporting

 Requirements) they shall be made electronically, unless otherwise requested by either LDEQ or

 EPA, and addressed as follows:


 To the United States:

 Chief, Environmental Enforcement Section
 Environment and Natural Resources Division
 U.S. Department of Justice
 Re: DOJ No. 90-7-1-[08388]

 To Deborah Reyher:

 via email:
 Deborah.Reyher@usdoj.gov

 via facsimile:
 (202) 514-4113 or (202) 514-0097
 via regular mail or post office express mail:
 Box 7611 Ben Franklin Station
 Washington, D.C. 20044-7611

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 via private overnight service:
 601 D Street, NW, 2nd Floor
 Washington, D.C. 20004

 United States Attorney for the Eastern District of Louisiana
 Hale Boggs Federal Building
 500 Poydras Street, Suite 210
 New Orleans, Louisiana 70130
 Phone: (504) 680-3000
 Fax: (504) 589-4661

 and to EPA, below.

 To EPA:
 Associate Director
 Hazardous Waste Enforcement Branch
 U.S. Environmental Protection Agency,
 Region 6
 1445 Ross Avenue, Suite 1200
 Dallas, TX 75202-2733
 Phone: (214) 665-6746
 Fax: (214) 665-2182

 Van Housman and Bethany Russell
 Office of Civil Enforcement
 Mail Code 2249A
 U.S. Environmental Protection Agency
 Clinton Building-South
 1200 Pennsylvania Ave., NW
 Washington, D.C. 20460
 Phone: (202) 564-1849
 Fax: (202) 564-0019
 Housman.van@epa.gov
 russell.bethany@epa.gov

 To LDEQ:

 Celena J. Cage
  Administrator
 LDEQ Office of Environmental Compliance-Enforcement Division
 Post Office Box 4312
 Baton Rouge, LA 70821-4312
 Phone: 225 219-3715
 Fax: 225- 325-8142
 celena.cage@la.gov

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 Lewis Donlon
 Administrator
 LDEQ Waste Permits Division
 P.O. Box 4313
 Baton Rouge, LA 70821-4313
 Phone: 225-219-3393
 Fax: 225-219-3474
 Dutch.donlon@la.gov


 Kathy M. Wright and Perry Theriot
 Office of the Secretary
 Legal Affairs Division
 Louisiana Dept. of Environmental Quality
 P.O. Box 4302
 Baton Rouge, Louisiana 70821-4302
 Phone: (225) 219-3985
 Fax: (225) 219-4068
 Kathy.wright@la.gov
 Perry.theriot@la.gov


 To Mosaic and the Mosaic Company:

 David Jellerson
 Senior Director of Environmental
 Mosaic Fertilizer, LLC
 13830 Circa Crossing Drive
 Lithia, FL 33547

 Patrick van der Voorn
 The Mosaic Company on behalf of Mosaic Fertilizer, LLC
 Senior Environmental Counsel
 Atria Corporate Center, Suite E490
 3033 Campus Drive
 Plymouth, MN 55441

 To Arnold & Porter LLP (Counsel for Mosaic):
 Joel M. Gross
 Lester Sotsky
 Peggy Otum
 Eric Rey
 Arnold & Porter LLP
 555 Twelfth Street, N.W.
 Washington, DC 20004-1206

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        96.     Any Party may, by written notice to the other Parties, change its designated notice

 recipient or notice address provided above.

        97.     Notices submitted pursuant to this Section shall be deemed submitted upon

 electronic transmission, unless otherwise provided in this Consent Decree or by mutual

 agreement of the Parties in writing.

                                     XVI. EFFECTIVE DATE

        98.     The Entry Date of this Consent Decree shall be the date of a Final Order by which

 this Consent Decree is entered by the Court or by which a motion to enter the Consent Decree is

 granted, whichever occurs first, as recorded on the Court’s docket. The Effective Date of this

 Consent Decree shall be the later of the Entry Date of this Consent Decree or the Entry Date of

 the Consent Decree resolving claims by the United States and the Florida Department of

 Environmental Protection against Mosaic relating to Mosaic’s facilities in Florida. The filing or

 pendency of an appeal of the Court’s entry of this Consent Decree shall not stay the Effective

 Date, except as may be otherwise determined pursuant to Paragraph 100 (Modification). In the

 event that either Consent Decree is not entered by the Court, the Parties shall jointly stipulate to

 stay any previously entered Consent Decree. Notwithstanding the foregoing, Mosaic hereby

 agrees that it shall be bound from the date of its execution of this Consent Decree to perform

 obligations scheduled in this Consent Decree to occur prior to the Effective Date.

                            XVII. RETENTION OF JURISDICTION

        99.     The Court shall retain jurisdiction over this case until termination of this Consent

 Decree for both Facilities, pursuant to Section XIX (Termination), for the purpose of resolving

 disputes arising under this Consent Decree (including disputes under any Trust Agreements



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 entered pursuant hereto) or entering orders modifying this Consent Decree, pursuant to Sections

 XI (Dispute Resolution) and XVIII (Modification), or effectuating or enforcing compliance with

 the terms of this Consent Decree.

                                XVIII. MODIFICATION

        100.    The terms of this Consent Decree may be modified only by a subsequent written

 agreement of the Parties to this Consent Decree as set forth herein. Any modifications to the

 provisions of Appendices 1 through 7, hereto and any other modifications to any other

 provisions of this Consent Decree that do not constitute a material change to this Consent Decree

 may be made without approval by the Court upon written agreement between Mosaic and the

 United States, after consultation with LDEQ. Any modifications to the provisions of Appendix 8

 may be made without approval by the Court upon written agreement between Mosaic and

 LDEQ, after consultation with the United States. Any such changes shall become enforceable

 under this Consent Decree upon execution by Mosaic and the United States (for changes to the

 Consent Decree or Appendices 1 through 7) or Mosaic and LDEQ (for changes to Appendix 8),

 shall be made available to the public by EPA and LDEQ (except to the extent such changes

 contain information determined to be CBI pursuant to Paragraph 83 and 40 C.F.R. Part 2), and

 shall periodically be filed by EPA or LDEQ with the Court. Any other modifications agreed to

 by the Parties shall be effective only upon approval by the Court. Except as otherwise provided

 in this Paragraph and in Paragraph 102, a Party’s refusal to agree to a modification of this

 Consent Decree shall be subject to dispute resolution, but a Party seeking judicial review of such

 a refusal shall bear the burden of demonstrating that it is entitled to the requested modification

 based on a significant change in factual conditions or the law or other reason that would make

 inequitable the continued application of the Consent Decree without the modification sought.



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        101.    In the event that a potential transferee under Section II (Applicability) of this

 Consent Decree has agreed to become a party to this Consent Decree and subject to all its terms

 and provisions, it may do so upon written approval of the United States pursuant to Section II

 (Applicability) of this Consent Decree and Section XVIII (Modification), without further order

 from the Court, in which event a supplemental signature page will be affixed to this Consent

 Decree and filed with the Court.

                                      XIX. TERMINATION

        102.    Periodic Review of Work Status. At least once every three (3) years, and more

 often if the Parties so agree, the Parties shall meet to review the status of the Work and to

 evaluate whether discrete portions of the Work have either been completed or may be

 accomplished and supervised under an EPA or LDEQ administrative order or permit in lieu of

 this Consent Decree. If all Parties agree to such a modification, such agreement shall be

 memorialized in a written modification to this Consent Decree pursuant to Section XVIII

 (Modification) and shall not require judicial approval. If the Parties agree that such

 modifications allow this Consent Decree to be terminated as to one or both Facilities, the Parties

 shall submit, for the Court’s approval, a joint stipulation terminating the Consent Decree for the

 relevant Facilities. The Parties’ inability to reach an agreement under this Paragraph shall not be

 subject to dispute resolution or judicial review.

        103.    Completion of Work. Within ninety (90) Days after Mosaic concludes that all

 Work required under this Consent Decree has been fully performed at a Facility, EPA and/or

 LDEQ may conduct an inspection of the Facility to be attended by EPA, LDEQ and Mosaic at a

 mutually agreeable time. Following the inspection, and correction of any problems or

 deficiencies noted by EPA, after consultation with LDEQ, Mosaic shall submit one or more



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 written reports by a third-party registered professional engineer in the relevant technical field,

 certifying compliance with Section V (Compliance Requirements) of this Consent Decree that

 the Work has been completed in full satisfaction of the requirements of this Consent Decree. The

 reports shall indicate the case name and civil action number, and shall be submitted, together

 with a request for Acknowledgment of Completion, in accordance with Section VIII (Reporting

 Requirements) of this Consent Decree. Third-party engineer certification of any of the written

 reports may be waived at EPA’s discretion, after consultation with LDEQ.

        104.    If, after review of the written report(s) and certification and consultation with

 LDEQ, EPA determines that any portion of the Work has not been completed in accordance with

 this Consent Decree, EPA will notify Mosaic in writing of the activity(ies) and/or obligation(s)

 that must be undertaken to complete the Work. EPA will set forth in the notice a schedule for

 performance of the activity(ies) and/or obligation(s) required under the Consent Decree, or will

 require Mosaic to submit a schedule for EPA approval pursuant to Section V (Compliance

 Requirements) of this Consent Decree. Mosaic shall perform all activities described in the notice

 in accordance with the specifications and schedules established therein, subject to Mosaic’s right

 to invoke the dispute resolution procedures set forth in Section XI (Dispute Resolution) of this

 Consent Decree.

        105.    If EPA concludes, based on the initial or any subsequent request for an

 Acknowledgment of Completion by Mosaic, and after reasonable opportunity for review and

 comment by LDEQ, that the Work has been fully performed in accordance with this Consent

 Decree, EPA will so notify Mosaic in writing, which notice shall constitute the Acknowledgment

 of Completion.




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         106. Termination. After Mosaic has completed the requirements set forth in Paragraphs

 102 and 103 of this Section, has obtained an Acknowledgment of Completion, has complied with

 all other requirements of this Consent Decree, and has paid the civil penalty and any accrued

 stipulated penalties as required by this Consent Decree, Mosaic may serve upon the United

 States and LDEQ a Request for Termination, stating that Mosaic has satisfied those

 requirements, together with all necessary supporting documentation. A Request for Termination

 may address one or both of Mosaic’s Facilities.

         107. Following receipt by the United States and LDEQ of Mosaic’s Request for

 Termination, the Parties shall confer informally concerning the Request and any disagreement

 that the Parties may have as to whether Mosaic has satisfactorily complied with the requirements

 for termination of this Consent Decree. If the United States, after consultation with LDEQ

 agrees that the Consent Decree may be terminated for one or both Facilities, the Parties shall

 submit, for the Court’s approval, a joint stipulation terminating the Consent Decree as to the

 relevant Facilities.

         108. If the United States, after consultation with LDEQ, does not agree that the Consent

 Decree may be terminated as to one or both Facilities, Mosaic may invoke Dispute Resolution

 under Section XI (Dispute Resolution) of this Consent Decree. However, all time periods and

 deadlines established under Section XI (Dispute Resolution) shall be extended by sixty (60)

 Days, or more by the agreement of the Parties.

                               XX. PUBLIC PARTICIPATION

         109. This Consent Decree shall be lodged with the Court for a period of not less than

 forty-five (45) Days for public notice and comment in accordance with 28 C.F.R. § 50.7 and La

 R.S. 30:2050.7. The United States reserves the right to withdraw or withhold its consent if the



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 comments regarding the Consent Decree disclose facts or considerations indicating that the

 Consent Decree is inappropriate, improper, or inadequate. Mosaic and The Mosaic Company

 consent to entry of this Consent Decree without further notice and agree not to withdraw from or

 oppose entry of this Consent Decree by the Court or to challenge any provision of the Consent

 Decree, unless the United States has notified Mosaic in writing that it no longer supports entry of

 the Consent Decree. Further, the parties agree and acknowledge that final approval by LDEQ

 and entry of this Consent Decree is subject to the requirements of LA. R.S. 30:2050.7, which

 provides for public notice of this Consent Decree in the newspapers of general circulation and

 the official journal of the parish in which the Facilities are located, an opportunity for public

 comment, consideration of any comments, and concurrence by the State of Louisiana Attorney

 General. Evidence of final approval of this Consent Decree by LDEQ shall be LDEQ’s

 execution of a Motion to Enter this Consent Decree. LDEQ reserves the right to withdraw or

 withhold consent and will not join in the filing of a Motion to Enter this Consent Decree if the

 state Attorney General raises objections or if comments regarding this Consent Decree disclose

 facts or considerations which indicate that this Consent Decree is inappropriate, improper or

 inadequate.

                                 XXI. SIGNATORIES/SERVICE

        110.    Each undersigned representative of Mosaic and The Mosaic Company, the

 Assistant Attorney General for the Environment and Natural Resources Division of the

 Department of Justice, or her designee, and the Secretary of the Louisiana Department of

 Environmental Quality certifies that he or she is fully authorized to enter into the terms and

 conditions of this Consent Decree and to execute and legally bind the Party he or she represents

 to this document. The undersigned Attorney General of Louisiana is authorized to and as



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 evidenced either by his signature below or his concurrence letter communicated to LDEQ

 concurs in the entry of this Consent Decree.

        111.    This Consent Decree may be signed in counterparts, and its validity shall not be

 challenged on that basis. Mosaic and The Mosaic Company agree to accept service of process

 by mail with respect to all matters arising under or relating to this Consent Decree and to waive

 the formal service requirements set forth in Rules 4 and 5 of the Federal Rules of Civil Procedure

 and any applicable Local Rules of this Court including, but not limited to, service of a summons.

                                      XXII. INTEGRATION

        112.    This Consent Decree and its Appendices constitute the final, complete, and

 exclusive agreement and understanding among the Parties with respect to the settlement

 embodied in the Consent Decree and supersedes all prior agreements and understandings,

 whether oral or written, concerning the settlement embodied herein. Other than the Appendices,

 which are attached to and incorporated in this Consent Decree, no other document, nor any

 representation, inducement, agreement, understanding, or promise, constitutes any part of this

 Consent Decree or the settlement it represents, nor shall it be used in construing the terms of this

 Consent Decree.

                                   XXIII. FINAL JUDGMENT

        113.    Upon approval and entry of this Consent Decree by the Court, this Consent

 Decree shall constitute a final judgment of the Court as to the United States, LDEQ, Mosaic and

 The Mosaic Company. The Court finds that there is no just reason for delay and therefore enters

 this judgment as a final judgment under Fed. R. Civ. P. 54 and 58.




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                                      XXIV. APPENDICES

        114.     The following Appendices are attached to and part of this Consent Decree:

 Appendix 1 contains the following compliance requirements:

        Attachment A (Site Assessment, Reporting, and Corrective Action);

        Attachment B (Annual Groundwater Requirements);

        Attachment C (Phosphogypsum Stack System Construction and Operational Requirements);

        Attachment D (Closure of Phosphogypsum Stacks/Stack Systems);

        Attachment E (Critical Conditions and Temporary Measures);

        Attachment F (Definitions for Purpose of the Consent Decree);

        Attachment G (Phosphogypsum Stack System Closure Application);

 Appendix 2 establishes Financial Assurance Requirements;

        Attachment A (CFO Certification);

        Attachment B (Annual Submittal of Phosphogypsum Stack System Closure and Long

        Term Care Cost Estimate);

        Attachment C (Summary Costs for Phosphogypsum Stack System Closure and Long Term

        Care);

        Attachment D (Financial Mechanisms);

        Attachment E (Type B Financial Metrics Charts);

        Attachment F (Current Configuration of Operating Facilities’ Phosphogypsum Stack

        Systems and Planned Expansions);

        Attachment G (Summary of Phosphogypsum Stack System Volumes and Closure Areas);

        Attachment H (Guarantor’s Representation and Certification);




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        Attachment I (Executed Phosphogypsum Stack System Closure and Long Term Care

        Guarantee);

 Appendix 3 is the collected Site Maps of the Mosaic Facilities;

 Appendix 4 is the Uncle Sam and Faustina Facility Reports;

 Appendix 5 is the Mosaic’s current BMP Plan;

 Appendix 6 is the RCRA Project Narrative and Compliance Schedule;

 Appendix 7 is Mosaic’s Phosphogypsum Stack System Alternative Liner Compliance

 Requirements, Exemptions and Conditions for the Uncle Sam Facility; and

 Appendix 8 is LDEQ Administrative Order on Consent MM-AOA-14-00269.



 Dated and entered this __ day of __________, 2015.


                                              _________________________________
                                              UNITED STATES DISTRICT JUDGE
                                              EASTERN DISTRICT OF LOUISIANA




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   FOR THE UNITED STATES OF AMERIC~4:




          /k   ~      G.       d


   Date: ~/ ~ l ~~~




                                         United States Department of Justice
                                         950 Pennsylvania Avenue, NW
                                         Washi~n, D.C. 20530


   Date:       ~ .~        ~              /
                                         DEBORAI-~ M. REYHER
                                         Senior Counsel
                                         Environmental Enforcement Section
                                         Environment and Natural Resources Division
                                         United States Department of Justice
                                         P.O. Box 7611, Ben Franklin Station.
                                         Washington, D.C. 20044
                                         {202)514-411.3




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               WE HEREBY CONSENT to the entry of the Consent Decree irz United States et al. v. Mosaic
               Fertilizer, LLC,subject to tl~e public notice requirements of28 G.F.R § 50.7.

                                                FUR TI-~ UNITED STAfiES flF A~.MERICA:

•

                   Date:
                                                       RON C
,.             ~                  ~                    Regional     inistrator             .
                                                       U.S. En omnen        rotection Agency,
                                                       Region 6
                                                       1445 Ross Avenue, Suite 1200
                                                       Dallas, TX 75202-273
         .     ~


                   Dam: ~ ~.~ ~Z.~1~.
                                                       N~CIA 1VIONCRIEFF
                                                       Assistazrt Regional Cow~sel
                                                       office ofRegional Counsel
                                                       U.S. Environmental Protection Agency,
                                                       Region 6
     .                                                 1445 Ross Avenue, Suite 12Q4
                                                       Dallas, TX'75202-2733




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  ~WE HEREBY CONSENT to the entry ofthe Consent Decree in United States at al. v. Mosaic
  Fertilizer, LLC {E.D. La.), a civil action, subject to the public notice and comment requirements
  of LA. R.S. 30:20Sfl.~.

    ••     1   i      ~     i '~'       1   •         1'i     1     ~   •




   Date.   ~'~ ~'~
                                                     .~
                                                       D. CI~[ANCE           LY
                                                        Assistant Secretary
                                                        Office ofEnvironmental Compliaxice
                                                        Louisiana Dept. oFEnvironmental Quality



   Date:   9~~~ ~o~d/~-
                                                      KA       M.        HT(L,A Bar Roll
                                                      #30804)
                                                      ELLIOTT VEGA(LA Bar Roll ~# 2139'
                                                      PERKY TI~RTOT(LA Bar Roll#191S1)
                                                      Office ofthe Secretary
                                                      Legal Affairs Division
                                                      Louisiana Dept. of Environmental Quality
                                                      P.O. Box 4302
                                                      Baton Rouge,Louisiana'70821-4302
                                                      Phone:{225)219-3985
                                                      Fax:(22S)219-4068




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1VIosait Consent Decree —EPA Region 6 and LDEQ




WE HEREBY CONSP,NI'to the entry of the Consent Decree in United States et al. v. Mosaic
Fertilizer, LLC, Civil Action No.     ,subject to the public notice and comment
requirements of28 C.1~'.R. § 50.7.


T'OR MOSAIC FERTILIZER, I,LC:

Date: ~..__
                                             Mark isaacs~sn
                                             Senior Vice President and t;orporate Secretary
                                             Mosaic I~erkilizer, LLC




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Mosaic Consent Aecree —EPA Region 6 aad [.DEQ


FOR THE MOSAIC COMPANY (as to Sections I (Jurisdiction and Venue), TI' (Applicability),
XI (Dispute Kesolution), XIII {~ffeet of Settle;ment), XV {Notices), XVI (E~f'ective Date), XVII
(Retention of Jurisdiction), XVIII (Modification), XX (Public Participation), XXI
(Signatories/Service), XXI1 (3ncegration), XXIII (Final Judgment), and Paragraphs 25 and 26
(Financial Assurance)):



Date:




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  From:             Betancourt, Amaury
  To:               DWRMIW.PM
  Subject:          FW: FL0000752-020 - Mosaic - Green Bay - Courtesy Notice re: Start of Gypsum Transfer to Reactivated Green
                    Bay Stack
  Date:             Monday, July 26, 2021 10:24:49 AM


  Please place in OCULUS:

  MMR_FL0000752, Construction-operation-related, Transfer to Operation, “North Gypstack
  Reactivation”.

  Thank you,
  Amaury

  Amaury P. Betancourt, Ph.D., P.E.
  Phosphate Management Program
  Florida Department of Environmental Protection
  W: (813) 470-5905; M: (305) 300-2462
  Amaury.Betancourt@FloridaDEP.gov


  From: Provenzano, Santino <Santino.Provenzano@mosaicco.com>
  Sent: Thursday, July 22, 2021 1:44 PM
  To: Sathe, Vishwas <Vishwas.Sathe@dep.state.fl.us>
  Cc: Coates, John <John.Coates@FloridaDEP.gov>; Betancourt, Amaury
  <Amaury.Betancourt@dep.state.fl.us>; D'Abreu, Gordon <Gordon.D'Abreu@dep.state.fl.us>; Lewis,
  Donovan <Donovan.Lewis@mosaicco.com>; Ford, Dara <Dara.Ford@mosaicco.com>; Wozniak,
  Matthew <Matthew.Wozniak@mosaicco.com>; SAMANTHA.ANDREWS@mosaicco.com; Williams,
  Andrea <Andrea.Williams@mosaicco.com>
  Subject: FL0000752-020 - Mosaic - Green Bay - Courtesy Notice re: Start of Gypsum Transfer to
  Reactivated Green Bay Stack

  Dear Vishwas:

  As verbally requested by the Department yesterday, I am providing courtesy notification that as of
  12:21PM on 7/22/2021, we have initiated gypsum transfer from the Bartow facility to the north cell
  of the newly reactivated Green Bay stack.

  If you require any additional information please feel free to contact me.

  Thanks

               Santino A. Provenzano | Director, Environmental
               Mosaic Fertilizer, LLC | Mail: 13830 Circa Crossing Drive, Lithia, FL 33547
               P: 813.500.6853 | C: 813.781.1185 | E: santino.provenzano@mosaicco.com | W: www.mosaicco.com




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   www.tampabay.com /news/environment/water/mosaic-plant-sinkhole-dumps-215-million-gallons-of-rep…


   Mosaic plant sinkhole dumps 215 million gallons of
   reprocessed water into Floridan Aquifer (w/video)
   Christopher O'Donnell ⋮ 6-7 minutes ⋮ 9/16/2016


   Published Sept. 16, 2016

   MULBERRY

   A massive sinkhole that opened underneath a gypsum stack at a Mosaic phosphate
   fertilizer plant in Mulberry may have dumped at least 215 million gallons of contaminated
   water into the Floridan Aquifer over the past three weeks, company officials say.

   And it could be months before the hole is plugged, the officials acknowledge.

   The 45-foot-wide sinkhole opened at the New Wales plant, where phosphate rock mined
   elsewhere is converted into fertilizer.

   It drained millions of gallons of acidic water laced with sulfate and sodium from a pool atop
   a 120-foot gypsum stack. An unknown amount of gypsum, a fertilizer byproduct with low
   levels of radiation, also fell into the sinkhole, which is believed be at least 300 feet deep.

   The pond is now drained, but aerial video taken Friday shows polluted water is still
   seeping from the gypsum stack and plunging like a waterfall into the sinkhole. More
   contaminated water will leak with every new rainfall until the sinkhole is filled. The acidic
   level of the water is roughly equivalent to vinegar or lemon juice.

   Mosaic workers became aware of the leak when water levels in the pond dropped 2 feet
   between readings on Aug. 27. They began diverting water from the pond, which can hold
   up to about 250 million gallons.

   Wells were used to monitor groundwater around the sinkhole. No off-site contamination
   has been detected, Mosaic officials said.

   The company notified the Florida Department of Environmental Protection, the U.S.
   Environmental Protection Agency and Polk County about the leak.

   But neither Mosaic nor DEP officials notified the public about the spill.

   David Jellerson, senior director of environment and phosphate projects, said Mosaic
   decided there was no need to alert neighbors — many of whom use well water —
   because testing has shown that the contamination has not spread from the 1,600-acre
   site.
                                       APPX ATT_V4_1880
USCA
  TheCase
      DEP #25-1087      Document
           was notified Aug.       #2105058 Dee Ann
                             28, spokeswoman     Filed:  03/10/2025
                                                     Miller said. StaffersPage
                                                                           were 351 of 472
                                                                                on site
   the next day and are making frequent visits to monitor cleanup efforts.

   "The department's focus at this time is on the oversight of Mosaic's first-response efforts in
   order to safeguard public health and the environment," Miller said in an email.

   Mosaic has agreed to pay for the testing of well water at surrounding properties and has
   received 14 requests so far. Testing will be conducted by a contractor hired by Mosaic and
   is expected to start next week.

   To tackle the contamination in the aquifer, Mosaic is using a recovery well that pumps
   3,500 gallons of water per minute from the aquifer back to the surface, where it will be
   reused for phosphate processing.

   "We're confident the recovery well is effectively collecting the contaminants," Jellerson
   said.

   Water in the aquifer is laden with sand and sediment and flows slowly. Nonetheless,
   extracting all of the contaminated water and sediment before it spreads will be extremely
   difficult, said Robert Brinkmann, a professor of geology and environmental sustainability at
   Hof­stra University and author of Florida Sinkholes: Science and Policy.


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   "That's the bad thing about this: The aquifer is like Swiss cheese and it's interconnected,"
   Brinkmann said. "Contamination can be very rapid. They must be working very hard to
   figure out where this is going."

   Longer term, Mosaic will likely fill the sinkhole with a concrete-like grout and repair the
   heavy-duty plastic liner beneath the gypsum stack.

   First, though, it will have to drop sonarlike equipment into the hole to map its dimensions.

   It isn't yet known whether the DEP will insist that Mosaic remove phosphogypsum from the
   sinkhole before filling it or whether Mosaic will face fines for the spill.
                                     APPX ATT_V4_1881
USCA Case
  "Once the#25-1087       Document
            initial response phase is #2105058           Filed:
                                      complete, we will have    03/10/2025
                                                             a more            Page 352 of 472
                                                                     complete understanding
   of all circumstances surrounding the event," Miller said. "At that time, we will turn our
   attention to determining the best next steps in DEP's enforcement process."

   The incident hasn't affected the plant's daily operations. It produces roughly 4 million tons
   a year of fertilizer and animal feed.

   But the spill has angered environmentalists, who question Mosaic's ability to prevent the
   leak from contaminating the aquifer beyond Mosaic's property line.

   "We don't know how deep the monitoring wells are," said Andy Mele, conservation
   chairman for the Sierra Club's Manatee-Sarasota group. "I trust nothing that Mosaic says."

   Mosaic has run afoul of environmental regulators before.

   Last October, it agreed to pay nearly $2 billion to settle a federal lawsuit over hazardous
   waste and to clean up operations at six Florida sites and two in Louisiana.

   The EPA said it had discovered Mosaic employees were mixing highly corrosive
   substances from its fertilizer operations with the solid waste and wastewater from mineral
   processing, in violation of federal and state hazardous waste laws.

   The sinkhole is the second to open at the New Wales plant, following a 120-foot-wide one
   in 1994 at a different section of the facility.

   At that time, the plant was owned by IMC, which became Mosaic after merging with
   Cargill. It cost IMC about $7 million to remediate the site, according to a Sarasota Herald-
   Tribune report.

   The same approach of pumping water out of the aquifer was used then and was
   successful, Jellerson said.

   Still, a second potential contamination of the aquifer shows that phosphate production
   puts water supplies at risk, said Tania Galloni, managing attorney for the Florida Office of
   Earthjustice, an environmental nonprofit group.

   "These phosphate companies are playing roulette with our public waters," Galloni said.
   "They cause devastation so severe that the scars can be seen clearly from space."

   Contact Christopher O'Donnell at codonnell@tampabay.com or (813) 226-3446. Follow
   @codonnell_Times.




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        PHASE IV GYPSUM STACK EXTENSION




                          Mosaic Fertilizer, LLC
                           New Wales Facility
                          Polk County, Florida




             FDEP CONSTRUCTION/OPERATION
                PERMIT APPLICATION AND
            SUPPORTING ENGINEERING REPORT

                                VOLUME I




                                Prepared by




                               February 2024




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                                                      Section 1

                    OVERVIEW OF NEW WALES GYPSUM STACK SYSTEM
                    AND PLAN OF STUDY FOR FDEP PERMIT APPLICATION


 The Mosaic Fertilizer, LLC (Mosaic) New Wales facility is located on County Road 640 West
 (Lithia-Pinecrest Road). It lies to the southwest of Mulberry, Florida, within Polk County and just
 east of the Polk-Hillsborough County line. The facility is about ½ mile south of County Road 640
 West and 2 to 4 miles west of State Road 37, which are the two closest public roads. The facility
 is located about ¾ mile from the closest abutting property located northeast of the facility.

 The New Wales facility manufactures solid ammoniated phosphate fertilizers [mono-ammonium
 phosphate (MAP), diammonium phosphate (DAP), and MicroEssentials®] and animal feed
 ingredients (monocalcium phosphate, dicalcium phosphate, and sodium calcium phosphate).

 The location and boundary of the 31,640-acre Mosaic landholding, which encompasses and
 surrounds the New Wales facility, are shown on the location map in Figure 1-1. 1 The New Wales
 facility comprises the following elements (see Figure 1-2):

                385-acre closed North Gypsum Stack including the lined auxiliary holding
                ponds designated LESP-1 and LESP-2 atop the stack;
                704-acre South Gypsum Stack;
                226-acre Phase III Gypsum Stack Extension;
                411-acre cooling pond and associated west, east, and north cooling
                channels;
                94-acre below-grade auxiliary holding pond (AHP);
                235-acre plant site;
                76-acre below-grade emergency diversion impoundment area (EDI); and
                122 acres of land within the facility not specifically designated.

 1.1       Facility History

 The New Wales facility was originally constructed by International Minerals and Chemical
 Corporation (IMC) and began operation in 1975. The facility was part of the merger between IMC
 and Cargill’s fertilizer division in October 2004 that resulted in the formation of The Mosaic
 Company and its affiliates and subsidiaries, including Mosaic Fertilizer, LLC. Mosaic has operated
 the facility since that time to manufacture ammoniated phosphate fertilizer and animal feed
 ingredients. Operations to support the manufacturing process include phosphoric acid production,
 1
     The 2,065-acre New Wales facility depicted on Figure 1-1 is an area that has been designated by Mosaic to contain
     the New Wales facility manufacturing areas and gypsum stack system. The facility area is not a permit or regulatory
     defined area.



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 sulfuric acid production, sulfur prill storage and melting, molten sulfur storage, and phosphate
 rock storage and grinding.

 1.1.1   North Gypsum Stack

 The North Gypsum Stack was activated in April 1975, and was subsequently expanded or
 modified in several phases. Following closure construction, it has a base area of 385 acres and
 a top area of 111 acres. The stack was actively utilized from April 1975 through 1992, shortly after
 the Phase I portion of the South Gypsum Stack was activated. From then until June 1994, the
 North Gypsum Stack was used intermittently. In June 1994, a sinkhole occurred within the North
 Gypsum Stack and, hence, gypsum deposition into the stack was suspended. The sinkhole was
 repaired between June 1994 and April 1995. Gypsum deposition resumed in June 1995 in
 preparation for closure and continued through June 2000. Closure of the stack was initiated
 shortly thereafter and was substantially completed in September 2005. The 234-acre side slope
 and 41-acre top gradient watersheds (excluding the 70-acre LESP-1 and LESP-2) were removed
 from the watershed of the gypsum stack system in August 2005, when stormwater runoff from
 these areas was routed to the freshwater pond located north of the North Gypsum Stack.

 As part of closure for the North Gypsum Stack, two lined auxiliary holding ponds, designated
 LESP-1 and LESP-2, were permitted and constructed atop the closed North Gypsum Stack and
 became part of the active gypsum stack system. Construction of LESP-1 and LESP-2 was
 initiated in February 2001. Construction of LESP-1 was substantially completed in August 2001,
 when LESP-1 was activated for the storage of process water with the crest of the perimeter and
 partition dikes and the overflow spillway from LESP-1 to LESP-2 had not yet been completed.
 Grading of the LESP-2 pond bottom and construction of the surrounding perimeter gypsum dike
 was completed in September 2001. Installation of the 60-mil HDPE liner in LESP-2 began in
 August 2001 and was completed in October 2001. LESP-2 was activated for process water
 storage in November 2001. The construction of LESP-1 and LESP-2 portions of the Phase I
 closure of the North Gypsum Stack was substantially completed in February 2002.

 LESP-1 and LESP-2, including the crest of the perimeter containment dikes, originally occupied
 an area of 70 acres and had an original storage capacity of 1,504 acre-feet. At maximum normal
 storage depths (i.e., with minimum 3-foot freeboard) of 37 and 29 feet, LESP-1 and LESP-2
 provide 722 and 782 acre-feet of water storage volume, respectively.

 In September 2013, water level monitoring indicated that a thin erosion channel had developed
 at the previously repaired erosion cavity in the confining unit beneath the stack associated with
 the June 1994 sinkhole. Maintenance grouting was initiated in January 2015 and completed in
 June 2015. The closed top gradient was disturbed in the vicinity of the repair work over an area
 of about 10 acres. Restoration of the top gradient liner and soil cover was initiated in August 2016
 and completed in January 2017.

 The LESP-1 and LESP-2 perimeter containment dike crest and HDPE liner on the inside slope of
 the dike was raised up to 13 feet and re-constructed to a uniform elevation of about 350 feet
 (NGVD) to restore a portion of the storage capacity lost over time due to differential settlement on
 top of the closed stack. The re-construction increased the storage capacity by 574 acre-feet to a
 total of 1,224 acre-feet. The Q4 2022 hydrographic survey performed by Pickett and Associates



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 showed a combined water inventory of 1,060 acre-feet in LESP-1 and LESP-2. Re-construction
 of the perimeter dikes and HDPE liner was initiated in August 2018 and completed in February
 2019. Because of the outward movement of the perimeter dike crest required to raise the dikes,
 the area occupied by the auxiliary holding ponds increased by 2 acres to 71 acres while the closed
 side slope area decreased by 2 acres to 273 acres.

 1.1.2   South Gypsum Stack

 Construction of the 394-acre lined Phase I expansion portion of the South Gypsum Stack was
 initiated in September 1990. The Phase I stack was divided into two similar-sized compartments
 designated the East Area and West Area. Construction for the West Area and East Area was
 completed in April 1992 and June 1992, respectively. Gypsum slurry was first introduced into the
 Phase I expansion in April 1992.

 Construction of the 310-acre lined Phase II expansion portion of the South Gypsum Stack was
 initiated in September 2001. The Phase II stack was divided into two similar-sized compartments,
 also designated the East Area and West Area. The East Area was completed in September 2002
 and filled with process water shortly thereafter. The West Area was further divided into two similar-
 sized cells to facilitate operations. The north cell of the West Area was completed and activated
 in July 2003. The south cell was completed and activated in November 2003.

 An anomaly developed in the Phase I West Area of the South Gypsum Stack in February 2004.
 The anomaly was repaired by a grouting program undertaken from June through October 2004.
 In order to optimize water storage in the Phase I West Area abutting the repaired area, the top of
 the stack was re-graded and lined with a 60-mil HDPE liner to create a 19-acre lined auxiliary
 holding pond, designated LESP-3. LESP-3 was activated in 2005 and remained in use until June
 2018 when it was incorporated into the Phase II West-North settling compartment.

 Early closure of the 55-acre northwest corner of the South Gypsum Stack (see Figure 1-2) was
 initiated in October 2013 to reduce the watershed of the gypsum stack system. Closure
 construction was completed in February 2021. Runoff from the closed surfaces is now routed by
 pipes to the west stormwater drainage ditch, then flows southward into the extension of the west
 drainage ditch along the south perimeter of the Phase III gypsum stack extension, and then enters
 the southwest corner of the EDI through a culvert. Accumulated stormwater is transferred from
 the EDI to the Area A-11 to Area K-4 drainage ditch by pumping.

 A water loss incident (WLI) occurred in the Phase II West Area of the South Gypsum Stack in
 August 2016. Gypsum placement into the West Area ceased at that time. Repair of the sinkhole
 in the stack and groundwater recovery was undertaken in accordance with the October 24, 2016
 Consent Order 16-1356 between Mosaic and the Florida Department of Environmental Protection
 (Department) and the Corrective Action and Grouting Plan (CAGP). Grouting operations
 substantially were completed in March 2018. Controlled filling of the remaining cavity in the stack
 above the grout with sedimented gypsum was initiated shortly thereafter. Filling of the cavity to
 the end of the CAGP filling period elevation of 320 feet (NGVD) was completed in May 2018. The
 Remedial Summary Report (RSR) documenting the work efforts and groundwater monitoring
 performed for the CAGP was submitted to the FDEP in June 2018. FDEP approval of the RSR
 and recommendations was received by Mosaic in July 2018.



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 Post-CAGP filling with sedimented gypsum to Elevation 330 feet (NGVD) was completed in
 January 2019. Mechanical grading and placement of gypsum from Elevation 330 feet (NGVD) at
 the work pad surrounding the repair area to 350 feet (NGVD) at the center of the area in
 preparation for closure was completed in March 2019. The repair area has been and will be
 periodically filled and re-graded to maintain a mound such that drainage continues to occur from
 the center to the perimeter of the area. Closure of the 43-acre Restricted Use Area atop the Phase
 II West Area established as part of the recommendations of the RSR (see Figure 1-3) is currently
 scheduled to start in CY2024 with closure construction tentatively scheduled for completion in
 CY2028.

 Construction of the 25-acre lined Phase II West-South Area for gypsum stacking was initiated in
 July 2018 and completed in June 2019. Construction of the 40-acre lined Phase II West - North
 Area for gypsum stacking, which encompasses LESP-3, was initiated in July 2019 and was
 substantially completed in December 2020. Figure 1-3 depicts the base areas of the Phase II
 West - South and Phase II West - North gypsum stack areas.

 Signature Acoustic Emissions (SAEs) were detected by the existing Passive Seismic Monitoring
 System at four areas within the South Gypsum Stack designated Areas of Interest (AOI) 1, 2, 3
 and 4.2 The locations are depicted on Figure 1-4.

           Area of Interest 1. Seven SAEs with energies of 3 to 1,725 joules, all less than the
           2,000 joules energy considered a potential indicator of subsurface activity, were
           detected in October 2021 within an approximately 165-foot diameter area between
           elevations -267 and +163 feet (NGVD) below the upper portion of the south slope
           of the SGS East compartment. As presented in the June 23, 2022, Ardaman report
           titled “Results of Exploration and Findings at Area of Interest 1 (AOI1) Identified by
           Reported Signature Acoustic Emissions Passive Seismic Monitoring System”, the
           initial exploration in AOI1 provided multiple indications of the absence of a breach
           in the liner system or a void above the liner at or in the vicinity of AOI1. That
           observation was based on core recovery, observed condition of the recovered
           gypsum cores, absence of voids or cavities detected while drilling, absence of
           drilling fluid circulation losses in gypsum in the lower portion of the borehole, and
           the measured piezometric water elevation in the borehole near the base of the
           stack. Twenty-two additional SAEs were detected at AOI1 over the 22-month
           period from November 2021 through August 2023 with energies varying from <1
           to 1,664 joules.
 2
     The Passive Seismic Monitoring System (PSMS) consists of an array of 40 receiver stations equipped with
     subsurface geophones and associated data collection systems around the perimeter of the existing Phase I/II stack
     and Phase III Extension gypsum stack (see locations on Figure 1-4). The subsurface monitoring system is a passive,
     automated, real-time surveillance program for early detection of subsurface activity within the boundaries of Phase
     I/II and Phase III Extension gypsum stack. At each of the 40 stations, an array of multiple 3-component seismometers
     is grouted into a borehole. At 12 of the 40 stations the geophone array consists of 2 levels of geophone assemblies
     located at depths of 125 and 175 feet below ground surface (MSI-18 to MSI-22 and MSI-25 to MSI-31). At the
     remaining 28 stations (MSI-41 through MSI-68), the array has 3 levels of geophone assemblies at approximately
     100, 200 and 300 feet below ground surface.




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       Subsequent to the initial exploration, vibrating wire (VW) piezometers were
       installed to measure piezometric water levels in gypsum above the liner, in cast
       overburden soils underlying the liner, and in the upper portion of the
       Undifferentiated Arcadia Formation. On-going piezometric water level monitoring
       continues to indicate the absence of a breach in the liner system or anomalous
       subsurface conditions at AOI1.

       Area of Interest 2. Several hundred SAEs were detected in March 2022 below the
       southern portion of the Phase II East Area within a 550-foot diameter area between
       elevations -1,300 and +25 feet (NGVD) with sufficient energy, recurrence and
       similar spatial positioning in the limestone formations to identify an area of interest
       and warrant investigation. Most of the SAEs (89 percent) were less than 200
       joules, less than 10 percent of the 2,000 joules energy considered a potential
       indicator of subsurface activity. Eight SAEs had energies above the 2,000-joule
       threshold between 2,295 and 7,012 joules. Exploratory borings indicated that a
       cavity existed in gypsum at the base of the stack and that the HDPE liner was
       breached. An exclusion zone was established around AOI2, a work pad with
       gypsum dikes was constructed to separate the operational portion of the Phase II
       East Area from AOI2, and a Corrective Action Grouting Plan was submitted, in
       June 2022, to the FDEP. Stabilization grouting, consisting of the bulk filling of the
       cavity in the base of the stack with concrete grout, was initiated in July 2022 and
       completed in November 2022. Pressure grouting of the foundation soils and
       Intermediate Aquifer System upper confining unit was initiated in January 2023
       with completion expected in February 2024. Post-repair performance monitoring
       of the grouted cavity will be undertaken with piezometers to measure water levels
       in the gypsum stack, in cast overburden soils underlying the liner, and in the
       Undifferentiated Arcadia Formation within the upper confining unit. Post-repair use
       of the top of the South Gypsum Stack at AOI2 will be undertaken in accordance
       with conditions yet to be established between Mosaic and the FDEP.

       Area of Interest 3. Seven SAEs with low energies of 4 to 180 joules were detected
       in March 2022 southwest of AOI2 below the southwest portion of the Phase II East
       Area within a 550-foot diameter area between elevations -850 and -250 feet
       (NGVD). Thirty-two SAEs had been detected in that area between June 2020 and
       July 2021 with energies up to 1,112 joules, but no SAEs were detected over the
       seven-month period from August 2021 through February 2022. Given the proximity
       to AOI2 and prior SAEs, two inclined boreholes were advanced in gypsum and two
       VW piezometers were installed in gypsum above the liner. Findings from
       observations of the gypsum core samples recovered from the boreholes and
       piezometric water elevations measured by piezometers do not indicate the
       presence of a liner breach. Thirty-five additional SAEs have been detected at AOI3
       over the 17-month period from February 2022 through August 2023 all with low
       energies varying from <1 to 180 joules.

       On-going piezometric water level monitoring continues to indicate the absence of
       a breach in the liner at AOI3. A microgravity survey in the vicinity of AOI3 will be
       performed to further check for a detectable cavity in gypsum at the base of the



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       stack. Future use of the top of the South Gypsum Stack at AOI3 will be undertaken
       in accordance with conditions yet to be established between Mosaic and the
       FDEP.

       Area of Interest 4. Sixty-one SAEs with energies of up to 2,324 joules were
       detected in Q4 2022 below the Phase II-West North Area within a 272-foot
       diameter area between elevations -1,300 and -50 feet (NGVD) with sufficient
       energy, recurrence and similar spatial positioning in the limestone formations to
       identify an area of interest and warrant investigation. Most of the SAEs (78 percent)
       were less than 200 joules, less than 10 percent of the 2,000 joules energy
       considered a potential indicator of subsurface activity. One SAE had energy above
       the 2,000-joule threshold at 2,324 joules. Over 98 percent of the SAEs were
       located within the Avon Park Formation at depths between 570 and 1,440 feet
       below the liner on the base of the South Gypsum Stack and between 750 and
       1,620 feet below the additional liner on the base of the Phase II West-North stack
       area. Nine additional SAEs were detected in early January 2023. Three of the nine
       were above 2,000 joules with energies of 4,340 to 6,860 joules and were located
       within the Avon Park Formation. Based on the SAEs that occurred in early January
       2023, Ardaman provided engineering recommendations to Mosaic on January 20,
       2023, in a report titled “Recommendations for Investigation Plan at Area of Interest
       4 (AOI4), New Wales Plant, South Phosphogypsum Stack, Phase II West-North
       Area”. The recommendations included removing process water from Phase II
       West-North Area Settling compartment and performing a subsurface exploration
       program to determine if a subsurface feature or cavity exists in the vicinity of AOI4.

       An additional 109 SAEs were subsequently detected in AOI4 through August 2023
       with energies varying from <1 to 34,987 joules. Most of the SAEs (95, or 87
       percent) were less than 200 joules, less than 10 percent of the 2,000 joules energy
       considered a potential indicator of subsurface activity. Twelve SAEs were between
       200 and 2,000 joules and two SAEs were above the 2,000-joule threshold with
       energies of 2,116 and 34,987 joules. The 34,987 joules SAE occurred in March
       2023 in the Avon Park Formation at Elevation -800 feet (NGVD), 940 feet below
       the liner on the base of the South Gypsum Stack and 1,120 feet below the
       additional liner on the base of the Phase II West-North stack area.

       An initial subsurface exploration program consisting of vertical and inclined core
       borings and installation of vibrating wire piezometers and a stability monitoring
       instrument was completed in July 2023. The second phase of the exploration
       program was started in November 2023. In December 2023 one of second phase
       inclined core holes encountered a complete loss of drilling fluid circulation and
       cavity confirming a breach in the HDPE liner at the base of the gypsum stack
       caused by an anomaly in the underlying foundation. A letter confirming a critical
       condition at AOI4 was submitted to the Department on December 14, 2023. The
       subsurface exploration program intended to estimate the size and characteristics
       of the anomaly (to develop a CAGP for the Department’s review) is in-progress.

       Mosaic suspended gypsum deposition and process water storage within the 40-
       acre Phase II-West North Area in January 2023. Future use of the Phase II-West


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         North Area will be undertaken in accordance with conditions yet to be established
         between Mosaic and the FDEP.

 1.1.3   Phase III Extension

 The Phase III Extension is a 226-acre area abutting the south side of the South Gypsum Stack.
 Construction of the east portion of the Phase III Extension, comprising 121 acres of lined gypsum
 stack area, was initiated in March 2019. Construction and activation is scheduled in phases, with
 three of five phases already activated. The phases are described below and denoted on Figure
 1-4.

         Construction of the 24-acre lined Area SG-1 portion within the 76-acre lined Phase
         III East-North Area was completed in May 2022. Area SG-1 was activated in
         September 2022.

         The remaining 52-acre portion of the Phase III East-North Area was completed in
         December 2022 and activated in January 2023. The perimeter gypsum dike has
         been raised to about Elevation 194 feet (NGVD) as of mid-December 2023,
         approximately 22 feet above the perimeter earthen dike, with ponded water atop
         the stack at about Elevation 174 feet (NGVD).

         Construction of the 45-acre lined Phase III East-South Area was completed in May
         2023. The area was activated in August 2023.

         Construction of the Phase III West-North Area, comprising a lined area of 30 acres,
         is scheduled for completion in December 2024.

         Construction of the Phase III West-South Area, comprising a lined area of 11
         acres, has not yet been scheduled.

 Ground improvement construction in two paleo-sink features (Area 4 and Area III-2) within the
 Phase III East Extension was undertaken to restore the structural and hydrogeologic
 characteristics of the Intermediate Aquifer System upper confining unit and maintain separation
 between the surficial soils and the underlying limestones within the Floridan Aquifer System. Area
 4 is located below the toe of slope of the South Gypsum Stack at about the mid-point of the south
 slope where the Phase III Extension will overlap the existing stack. Area III-2 is located within the
 central portion if the Phase III Extension. Construction was completed in July 2022 in accordance
 with design drawings, specifications, and stabilization plan reviewed and approved by the Florida
 Department of Environmental Protection. The stabilization plan in Area 4 included: (i) installing
 overlapping soilcrete columns within the upper confining unit over an area of 0.2-acres between
 elevations -20 feet to +100 feet (NGVD) using jet grouting; (ii) injecting cementitious grout under
 high pressure into the upper confining unit from grout casings advanced from a work pad
 surrounding the aven over an area of 1.6 acres between elevations -30 feet to +100 feet (NGVD);
 (iii) placing bentonite grout in the grout holes from a minimum of 10 feet below the HDPE liner on
 the base of the South Gypsum Stack to Elevation 155 feet (NGVD); (iv) installing a 0.7-acre 2-
 foot-thick gravel drain system in gypsum at Elevation 155 feet (NGVD) above the grouted area to
 maintain a piezometric water elevation of 157 feet (NGVD); and (v) installing a 60-mil HDPE liner
 above the drain and on the south slope of the existing South Gypsum Stack to isolate the Phase



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 III Extension from Area 4 and the existing stack.

 The stabilization plan in Area III-2 included: (i) installing overlapping jet-grouted soilcrete columns
 around the perimeter of the aven between bottom elevations of +10 to +40 feet (NGVD) to top
 elevations of +50 to 54 feet (NGVD); (ii) installing overlapping deep soil-mixed soilcrete columns
 close to and within the aven over an area of about 0.2 acres from bottom elevations of -20 feet to
 +10 feet (NGCD) to the below-grade work pad at Elevation 74 feet (NGVD); (iii) placing a 1-acre
 minimum 20-foot thick compacted clay liner above the jet-grouted and soil-mixed soilcrete
 columns; (iv) installing a high tensile-strength woven geotextile reinforcement at the base of and
 within the clay liner; (v) installing a 100-mil high-density polyethylene geomembrane liner on top
 of the clay liner; and (vi) backfilling the excavation using soils previously excavated and
 stockpiled. The foundation drainage layer installed as part of Phase III Extension construction
 maintains the piezometric water elevation in the soils above the liner and grouted area between
 elevations 136 and 138 feet (NGVD).

 Vibrating wire piezometers were installed at four stations in Area 4 and six stations in Area III-2
 to monitor piezometric water elevations and allow Mosaic to respond appropriately to changes in
 performance of the areas. Each Area 4 station includes one piezometer tapping cast overburden
 soils and two piezometers tapping the upper and lower portions of the upper confining unit in the
 Undifferentiated Arcadia Formation for a total of 12 piezometers. Three of the stations are located
 in the grouted area and one station is located outside and adjacent to the grouted area. Four of
 the six stations in Area III-2 include one piezometer tapping cast overburden or backfilled soils
 and two piezometers tapping the upper and lower portions of the upper confining unit in the
 Undifferentiated Arcadia Formation. These stations are located outside and adjacent to the
 grouted area. Two of the six stations are located above the grouted area with one piezometer
 installed just above the 100-mil high-density polyethylene geomembrane liner. The six stations
 contain a total of 14 piezometers.

 Each of the 26 piezometers consist of a pair of VW sensors to provide instrument redundancy.
 Cables extend from each sensor through 2-inch diameter conduits buried in soil below the Phase
 III Extension to readout stations located in the perimeter earthen dike toe road. Piezometric water
 levels are read and recorded at 4-hour intervals via an automated data acquisition system.
 Monitoring has been underway since August 2022 at the Area 4 stations and February 2023 at
 the Area III-2 stations. Performance to-date at both areas is satisfactory.

 1.1.4   Emergency Diversion Impoundment

 The emergency diversion impoundment (EDI) is located below-grade within an existing mine pit
 abutting the east side of the South Gypsum Stack (see Figure 1-4). It was approved for
 incorporation into the New Wales facility site-specific water management plan by the FDEP in
 March 2019 for enumerated emergency uses. The EDI occupies an area of about 57 acres at the
 maximum operating water elevation of 157.0 feet (NGVD) and is bordered: (i) on the east by an
 existing access road along the CSX railroad tracks in the northern portion and an existing earthen
 embankment dike and access road along the Area A-11 to Area K-4 drainage ditch in the southern
 portion; (ii) on the south by the existing earthen embankment dike and access road along the
 Area A-11 to Area K-4 drainage ditch; and (iii) on the west by the South Gypsum Stack perimeter
 earthen dike in the northern portion, the Phase III East perimeter earthen dike in the southern
 portion, and the EDI divider dike at the south end of the west wall. The area within the enclosing



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 dikes/embankments is approximately 76 acres. In November 2021, the crest of the divider dike
 between the EDI and Phase III East Extension was raised from 158.0 feet (NGVD) to 160.0 feet
 (NGVD).

 The EDI has not been activated for process water storage. It is available for emergency storage
 of up to 810 acre-feet of process water between the normal and maximum operating water
 elevations of 138.0 and 157.0 feet (NGVD), respectively.

 1.2     Gypsum Stack System

 The New Wales facility operates a gypsum stack system to manage by-product phosphogypsum
 generated during phosphoric acid production. The aerial photograph in Figure 1-4 identifies the
 locations of various components of the gypsum stack system including:

             the process water cooling pond and west cooling channel between the plant
             hot water discharge and the west end of the cooling pond;
             the east and north cooling channels downstream of the internal water level
             control structure;
             the South Gypsum Stack, which includes Phase I, Phase II, the eastern portion
             of the Phase III Extension, and will include the western portion of the Phase III
             Extension once constructed and activated;
         ;

             the two auxiliary holding ponds (LESP-1 and LESP-2) atop the closed North
             Gypsum Stack; and
             the below-grade auxiliary holding pond (AHP).

 Operation of the gypsum stack system is subject to National Pollutant Discharge Elimination
 System (NPDES) industrial wastewater facility Permit FL0036421 for the New Wales facility. The
 existing permit became effective July 31, 2018 with an expiration date of July 30, 2023. A permit
 renewal application was submitted to the FDEP in a timely manner and pursuant to the provisions
 of Rule 62-620.335, Florida Administrative Code (F.A.C.); therefore, the existing permit is
 considered to be administratively continued. Mosaic received notification from the FDEP on May
 3, 2023 that the renewal application has been determined to be complete. Mosaic acknowledges
 that the incorporation of the Phase IV Extension within the NPDES permit will occur, if approved,
 in a separate action following final issuance of the renewal permit that is currently being processed
 by the FDEP.

 1.2.1   Cooling Pond System

 The facility uses recirculated process water for phosphoric acid plant cooling and for transport of
 phosphogypsum to the South Gypsum Stack including the Phase III Extension. Process water is
 also utilized in the ball mill rock grinding system and in phosphoric acid production as a
 consumption measure to reduce the volume of process water within the gypsum stack system.




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 The discharge of treated process water is authorized under Permit FL0036421 through the New
 Wales facility Outfall D-006.

 The cooling pond system was activated in April 1975. The system was expanded or modified in
 several phases and presently occupies a total area of 411 acres that comprise a pondable area
 up to 289 acres and 122 acres of abutting land surfaces within the watershed of the cooling pond
 system. Heated process water is introduced into the cooling pond system at the north end of the
 west cooling channel at a flow rate between 100,000 and 175,000 gpm, depending upon P 2O5
 production rate. Process water flows from the west cooling channel into the serpentine channels
 on the south side of the cooling pond, then into the western portion of the cooling pond, then into
 the east cooling channel, and finally into the north cooling channel. Process water is returned to
 the plant using two pump stations located at the west end of the north cooling channel. An internal
 water level control structure is located at the south end of the east cooling channel. The structure
 allows the storage of water within the cooling pond at water elevations higher than in the
 downstream east and north cooling channels. The water level elevations in the cooling pond
 typically vary from 152.5 to 154.5 feet (NGVD). The water level elevations in the east and north
 cooling channels typically vary from 149 to 151 feet (NGVD). The South Gypsum Stack perimeter
 ditch system is connected to the cooling pond system via the east and west flume structures
 located on the north perimeter of the South Gypsum Stack.

 The cooling pond system is unlined and mostly below-grade. 3 The cooling pond system perimeter
 earthen dike impounds water above-grade along the easternmost 1,300 feet of the north wall and
 the northernmost 1,500 feet of the east wall. In 1992, the perimeter earthen dike was retrofitted
 within this section with a soil-bentonite cut-off wall, designated the North Cooling Pond Dike Cut-
 Off Wall (see Figure 1-4). The cut-off wall extends for a distance of 4,650 feet from the north end
 of the east cooling channel to the animal feed ingredients plant railroad tracks. The cut-off wall
 penetrates to depths of 70 to 90 feet through the dike fill, underlying foundation soils or cast
 overburden, and into the bedrock formation. The west end of the North Cooling Pond Dike Cut-
 Off Wall ties into the east end of the Plant Cut-Off Wall. The Plant Cut-Off Wall extends for a
 distance of 7,500 feet around the north, west and south sides of the plant site to just north of the
 northwest corner of the AHP (see Figure 1-4). The cut-off wall penetrates to depths of 65 to 85
 feet through foundation soils or cast overburden and into the bedrock formation. The south wall
 of the cooling pond was retrofitted with an 8,100-foot-long soil-bentonite cut-off wall, designated
 the Expansion Area Cut-Off Wall (see Figure 1-4), in 1991. The cut-off wall penetrates through
 cast overburden and surficial soils, and into the bedrock formation, to depths of 95 to 115 feet
 below land surface.

 A 0.2-acre sump, designated the northeast sump, previously existed at the toe of slope at the
 northeast corner of the cooling channel perimeter earthen dike. The sump area collected local
 seepage through the perimeter earthen dike and seepage from a gravel toe drain prior to
 installation of the North Cooling Pond Dike Cut-Off Wall. The gravel toe drain, designated the
 north toe drain (see Figure 1-4), was installed to a depth of 20 feet just beyond the toe of slope of
 the north wall perimeter earthen dike in 1990. Seepage collected in the toe drain previously
 discharged by gravity to the sump area. Seepage through the perimeter earthen dike had been

 3
     The unlined cooling pond was deemed environmentally protective under Appendix 7 of the Consent Decree among
     Mosaic Fertilizer, LLC, the U.S. Environmental Protection Agency and the Florida Department of Environmental
     Protection that became effective on August 6, 2016.



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 curtailed by the cut-off wall. In addition to some remnant seepage, the sump area had been largely
 used to collect surface water runoff and rainfall recharge from its 3-acre watershed. A pump
 station maintained the sump water level elevations between 135.0 and 136.5 feet (NGVD) and
 transferred any excess water to the adjacent north cooling channel. The northeast sump was
 modified in 2017 to remove the 3-acre watershed from the gypsum stack system. The 0.2-acre
 sump area was filled and capped with a 60-mil HDPE liner with a 2-foot-thick protective soil cover.
 A drain was installed below the liner to collect seepage previously reporting to the sump. Seepage
 from the sump drain and the existing north toe drain is collected in a pump station and transferred
 to the adjacent north cooling channel. Clean rainfall runoff from the 3-acre watershed is routed
 into a drainage ditch that flows to George Allen Branch.

 The cooling pond system has two siphon spillway structures located at the south end of the west
 cooling channel adjacent to the below-grade auxiliary holding pond (see Figure 1-4). Each
 structure contains four siphon spillways set at Elevation 155.3 feet (NGVD) that can each
 discharge 50 cfs under 0.2 feet of hydraulic head. Each structure has three 36-inch diameter
 HDPE pipes connecting it to the below-grade auxiliary holding pond.

 Operation of the cooling pond system is covered under the industrial wastewater facility Permit
 FL0036421 for the New Wales Concentrates Plant. Changes to the cooling pond system are not
 planned or requested as part of this application.

 1.2.2   South Gypsum Stack

 The South Gypsum Stack is a lined stack. The HDPE liner covers a 704-acre base area within
 the upstream crest of the perimeter earthen dike. The design of the South Gypsum Stack includes
 the following key design features:

            A 60-mil high density polyethylene (HDPE) liner was installed over the base
            and upstream slope of the perimeter earthen dike. The Phase I gypsum stack
            expansion HDPE liner (which was completed prior to enactment of Chapter 62-
            673, F.A.C.) was overlain by a 24-inch-thick layer of compacted gypsum on
            approximately 40 percent of its surface with sedimented gypsum placed in
            slurry form over the remainder of the area. The Phase II gypsum stack
            expansion was constructed in accordance with the Chapter 62-673, F.A.C.
            (enacted in March 1993) and incorporated a 24-inch-thick layer of mechanically
            compacted gypsum having a saturated hydraulic conductivity equal to or less
            than 1.0x10-4 cm/sec placed on top of the HDPE liner.

            Three parallel rows of gravel drains, designated Drains A, B and C, were
            installed atop the HDPE liner below the projected slope of the gypsum stack.
            The gravel drains were installed to lower the hydraulic water pressure on the
            HDPE liner. The drain system outlets consist of 108 outlet pipes at 26 locations
            around the perimeter of the stack. The outlet locations are designated N1 to
            N7, E1 to E8, W1 to W7, EH, and WH on Figure 1-4. The drain system outlets
            convey water from the gravel drains to the seepage collection ditch
            surrounding the gypsum stack for return to the cooling pond.




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                 Two containment dikes, designated the perimeter earthen dike and the internal
                 gypsum dike, and two ditches, designated the seepage collection ditch and
                 decant water/runoff collection ditch surround the stack. A toe road surrounds
                 the perimeter earthen dike for inspection. The internal gypsum dike, upstream
                 of the perimeter earthen dike, separates the seepage collection ditch from the
                 decant water/runoff collection ditch.

                 The seepage collection ditch is located between the perimeter earthen dike
                 and internal gypsum dike. The ditch collects seepage from the drain system
                 installed atop the liner and routes the flow of water to two flume structures
                 located on the north wall of the stack for return to the cooling pond. The two
                 reinforced concrete flume structures, designated the east flume and west
                 flume, control the flow of water from the seepage collection and decant
                 water/runoff collection ditches into the cooling pond. The decant water/runoff
                 collection ditch surrounds the toe of slope of the active portions of the gypsum
                 stack.4 The ditch collects decant water from the top of the stack and rainfall
                 runoff from the stack slopes and routes the flow of water to the flume structures
                 for return to the cooling pond.

                 The relief drain, designated the north relief drain, was installed in the
                 foundation beneath the liner and underlies the north perimeter of the Phase I
                 portion of the South Gypsum Stack. The relief drain is used to control the
                 groundwater level below the lined seepage collection ditch along the north wall
                 of the stack. Five manholes, three fitted with pumps (i.e., MH-2, MH-7 and MH-
                 9), are located along the 7,900-foot-long north relief drain alignment (see
                 Figure 1-4). Water collected in the relief drain is pumped into the seepage
                 collection ditch along the north wall of the stack.

 1.2.3      Phase III East Extension

 Construction and activation of the 121-acre lined Phase III East Extension area was completed in
 three phases.

            Construction of the 24-acre lined Area SG-1 portion within the 76-acre lined Phase
            III East-North Area was completed in May 2022. Area SG-1 was activated in
            September 2022.

            The remaining 52-acre portion of the Phase III East-North Area was completed in
            December 2022 and activated in January 2023.

            Construction of the 45-acre lined Phase III East-South Area was completed in May
            2023, activated in August 2023.

 The design of Phase III East Extension is similar to that for the South Gypsum Stack as described

 4
     The decant water/runoff collection ditch was removed at the toe of slope of the 55-acre early closure area at the
     northwest corner of the stack and reconstructed into a freshwater stormwater ditch. Flow in the decant water/runoff
     collection ditch on the west side of the stack is routed into the seepage collection ditch via a box culvert in the internal
     gypsum dike just south of the early closure area (see Figure 1-4).



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 above in Section 1.2.2. A 60-mil textured HDPE liner with a 24-inch-thick layer of compacted
 gypsum cover will was installed over the base and slopes of the perimeter earthen dike. Three
 parallel rows of gravel drains, designated Drains A, B and C, were installed atop the HDPE liner
 below the projected slopes of the gypsum stack. The drain system has six outlets designated E9
 through E14 on the south side of Phase III East and one outlet designated E15 on its west side.
 The drain system outlets convey water from the gravel drains to the seepage collection ditch that
 surrounds the gypsum stack for return to the cooling pond. Geonet-geocomposite vent strips are
 provided beneath the liner along the perimeter earthen dike crest, drains and drain outlets with
 vent pipe outlets on the perimeter earthen dike crest.

         Construction of the Phase III West-North Area, comprising a lined area of 30 acres,
         is scheduled for completion in December 2024.

         Construction of the Phase III West-South Area, comprising a lined area of 11
         acres, has not yet been scheduled.

 Two paleo-sink features (Area III-2 and Area 4) within the Phase III Extension area were stabilized
 as part of construction. In addition to the foundation improvements at Area III-2 and Area 4, the
 Phase III Extension design includes three monitoring or control features comprising the
 Subsurface Activity Early Detection System (SAEDS) required by the existing permit: (i) a
 foundation drainage system consisting of a continuous 3-foot thick permeable sand layer with
 embedded drainage pipes directly underlying the HDPE liner to control the hydraulic head below
 the liner and to reduce the hydraulic head difference across the upper confining unit; (ii) a
 piezometer monitoring system comprised of 112 piezometers installed below the foundation
 drainage system permeable sand layer to detect changes in water levels within the drainage
 system that could be indicative of the development of an erosion feature in the upper confining
 unit; and (iii) a passive seismic monitoring system.

 1.2.4   Phase III West Extension

 The Phase III West Extension is divided into north and south areas. Construction of the Phase III
 West-North Area, comprising a lined area of 30 acres, is scheduled for completion in December
 2024. The design will incorporate the same features included in the Phase III East Extension.
 Construction of the Phase III West-South Area has not been scheduled.

 1.2.5   Lined Auxiliary Holding Ponds

 Two HDPE-lined auxiliary holding ponds (LESPs) were constructed atop the North Gypsum Stack
 in 2001 as part of closure of the stack (see Figure 1-4). The ponds are lined with a 60-mil HDPE
 liner and had an original combined total area including the perimeter containment dike crest of 69
 acres. Process water can be pumped from the plant to the northwest corner of LESP-1 for storage
 when needed. LESP-2 receives water from LESP-1 after LESP-1 is full via the overflow spillway
 between LESP-1 and LESP-2. The perimeter containment dike crest and HDPE liner on the inside
 slope of the dike was raised and re-constructed to a uniform elevation of about 350 feet (NGVD)
 to restore 574 acre-feet of storage capacity that had been lost over time due to differential
 settlement of the top of the closed stack. Re-construction of the perimeter dikes and HDPE liner
 was initiated in August 2018 and completed in February 2019. Because of the outward movement



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 of the perimeter dike crest required to raise the dikes, the total area including the crest of the
 perimeter containment dikes increased from 69 to 71 acres (with a corresponding reduction of the
 closed side slope area from 275 to 273 acres). A siphon line is used to transfer water from LESP-
 2 to the north cooling channel.

 LESP-3 was constructed atop the Phase I West Area gypsum stack in 2005 and was activated in
 the same year. The pond was constructed with a 60-mil HDPE liner and occupied an area of 19
 acres, including the crest of the perimeter containment dike. LESP-3 was incorporated into the
 Phase II West-North Area for gypsum stacking (see Figure 1-3). In preparation for construction of
 the Phase II West-North Area, the lower 25 feet of LESP-3 was filled with sedimented gypsum
 from June through August 2018. The upper 15 feet of the auxiliary holding pond continued to be
 use for water storage to January 2019. Removal of the remaining water in LESP-3 was initiated
 in January 2019 and completed at the end of March 2019.

 Operation of LESP-1 and LESP-2 is included as part of industrial wastewater facility Permit
 FL0036421 for the New Wales facility. Additional changes to the LESPs are not planned or
 requested as part of this application.

 1.2.6   Below-Grade Auxiliary Holding Pond

 The 94-acre below-grade auxiliary holding pond (AHP) is used for process water storage. The
 AHP was activated in June 2003 and has remained in use since activation. Two siphon spillway
 structures located at the south end of the west cooling channel are used to transfer water from
 the cooling pond to the AHP. The AHP has minimum and maximum operating water elevations of
 125 and 155 feet (NGVD), respectively, with a water storage capacity between the minimum and
 maximum operating water elevations of approximately 2,000 acre-feet. A floating pump is used
 to transfer water back to the cooling pond.

 The AHP was retrofitted with a soil-bentonite cut-off wall, designated the AHP Cut-Off Wall
 Extension, in 2014. The soil-bentonite cut-off wall extends 4,100 feet along the west and south
 walls of the AHP (see Figure 1-4). The north end of the cut-off wall ties into the south end of the
 Plant Cut-Off Wall. The cut-off wall extends 940 feet east beyond the southeast corner of the AHP
 to the Expansion Area Cut-Off Wall at the southwest corner of the cooling pond to provide a long
 overlap between the two cut-off walls. The cut-off wall penetrates to depths of 55 to 85 feet and
 is keyed into the top of the underlying bedclay/bedrock formation.

 Operation of the AHP is included as part of industrial wastewater facility permit FL0036421 for
 the New Wales facility. Changes to the AHP are not planned or requested as part of this
 application.

 1.3     Closed North Gypsum Stack

 The closed North Gypsum Stack is not part of the active gypsum stack system (excluding LESP-
 1 and LESP-2 on top of the stack). Stormwater runoff from the closed stack is routed to the
 freshwater pond located north of the gypsum stack system and subsequently pumped to
 Impoundment Area A-11. Seepage collected by side slope drains, which were installed as part of




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 closure of the stack side slopes, drains into the cooling pond and cooling channels from 25 outlet
 locations (see Figure 1-4) around the perimeter of the stack.

 The freshwater pond occupies an area of about 60 acres and abuts the north side of the north
 cooling channel (see Figure 1-4). Stormwater from the closed North Gypsum Stack is conveyed
 to the freshwater pond via a system of HDPE pipes, four 48-inch pipes from the toe ditch, three
 42-inch pipes from the mid-slope ditch, one 18-inch pipe from the top gradient, and two 12-inch
 pipes from the LESP’s (when the LESP’s are not being used for process water storage). The
 water level in the freshwater pond is normally maintained at elevation of 142 feet (NGVD) and
 has a maximum operating elevation of 150 feet (NGVD). Stormwater within the freshwater pond
 is intermittently pumped to Impoundment Area A-11 by a pump station located in the southeast
 corner.

 The closed North Gypsum Stack is operated and maintained in accordance with industrial
 wastewater facility permit FL0178527 for the New Wales facility. The existing permit became
 effective October 1, 2018 with an expiration date of September 30, 2023. A permit renewal
 application was submitted to the FDEP in a timely manner and pursuant to the provisions of Rule
 62-620.335, Florida Administrative Code (F.A.C.); therefore, the existing permit is considered to
 be administratively continued. Mosaic received notification from the FDEP on May 2, 2023, that
 the renewal application has been determined to be complete. Changes to the closed North
 Gypsum Stack are not planned or required to accommodate the Phase IV Extension.

 1.4    Performance of South Gypsum Stack and Phase III East Extension

 Performance of the South Gypsum Stack (Phase I and Phase II) and the recently activated Phase
 III Extension is monitored by the following groundwater monitoring plan and Subsurface Activity
 Early Detection System (SAEDS) required by the existing permit.

            Groundwater Monitoring. Groundwater within aquifer systems near the South
            Gypsum Stack (Phase I and Phase II) and Phase III East Extension is
            monitored quarterly at the 31 wells listed below and shown on Figure 1-5). Five
            are background wells, eleven are observation wells in the Surficial Aquifer
            System installed near the perimeter of the gypsum stack, six are compliance
            wells in the upper portion (I1-zone) of the Intermediate Aquifer System installed
            near the perimeter of the gypsum stack, six are compliance wells in the
            Floridan Aquifer System (two F1-zone tapping the Suwannee Limestone and
            four F2-zone wells tapping the Avon Park Formation), one is an observation
            wells in the Floridan Aquifer System (F1-zone), and two are Floridan Aquifer
            System recovery wells tapping the Avon Park Formation.

                                           FDEP      Depth      Aquifer    Well
                               Well
                                           Well ID   (feet)    Monitored   Type
                       S-2               MWB-2         18         S         B
                       SA-5              MWB-3        108          I        B
                       NWC-3-I4          MWB-9        272          I        B
                       NWC-43-F1         MWB-46       346         F         B
                       NWC-44-F1         MWB-61       345         F         B




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                                             FDEP         Depth       Aquifer      Well
                            Well
                                             Well ID      (feet)     Monitored     Type
                     NWC-22-S1             MWI-4            36           S          O
                     NWC-23-S1             MWI-5            36           S          O
                     NWC-23-I1             MWC-6            74           I          C
                     NWC-24-S1             MWI-7            36           S          O
                     NWC-32-F2             MWC-14           751          F          C
                     NWC-33-F1             MWI-24           306          F          O
                     NWC-33-F2             MWC-47           850          F          C
                     NWC-34-S1             MWI-15           32           S          O
                     NWC-34-I1             MWC-16           92           I          C
                     NWC-35-S1             MWI-17           33           S          O
                     NWC-36-S1R            MWI-18R          38           S          O
                     NWC-36-I1R            MWC-19R          82           I          C
                     MWC-37-S1R            MWI-20R          42           S          O
                     NWC-38-S1R            MWI-21R          27           S          O
                     NWC-38-I1R            MWC-22R          90           I          C
                     NWC-39-S1             MWI-23           55           S          O
                     NWC-40-F2             MWC-43           919          F          C
                     NWC-41-F2             MWC-44           874          F          C
                     NWC-42-F1             MWC-45           315          F          C
                     NWC-45-F1             MWC-62           346          F          C
                     NWC-47-S1             MWI-55           30           S          O
                     NWC-47-I1             MWC-58           90           I          C
                     NWC-48-S1             MWI-56           43           S          O
                     NWC-48-I1             MWC-59           89           I          C
                     Recovery Well P4-B    MWC-P4B          832          F          C
                     Recovery Well P5      MWC-P5           825          F          C
                     Where: S= Surficial Aquifer System; I= Intermediate Aquifer System;
                     F= Floridan Aquifer System; B= Background Well; O= Observation
                     well; and C= Compliance well.


          Passive Seismic Monitoring System. A Passive Seismic Monitoring System
          (PSMS), comprised of a seismic monitoring array with 40 stations, is installed
          around the perimeter of the South Gypsum Stack and Phase III Extension (see
          Figure 1-6). The PSMS is a component of the SAEDS required by the existing
          permit. At twelve of the stations (MSI-18 to MSI-22 and MSI-25 to MSI-31) the
          geophone array consists of two levels of 3-component geophone assemblies
          installed at elevations of 75 and 25 feet (NGVD) within the upper confining unit.
          At the newer 28 stations (MSI-41 through MSI-68), the geophone array has
          three levels of 3-component geophone assemblies installed at elevations of 60
          and -40 feet (NGVD) in the upper confining unit at Elevation -140 feet (NGVD)
          in the upper part of the Suwannee Limestone.

          Ten inactive stations (MSI-23, MSI-24 and MSI-32 to MSI-39) are located
          within the Phase III Extension. The geophone array at these stations consists
          of two levels of 3-component geophone assemblies installed at elevations of



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               75 and 25 feet (NGVD) within the upper confining unit. The geophone cables
               were extended as part of Phase III construction and the stations can be
               reactivated.

               Foundation Drainage Layer Piezometer Monitoring System. A foundation
               piezometer monitoring system, comprised of 112 piezometers (see Figure 1-
               7), is included within the Phase III Extension foundation drainage layer system
               to detect changes in water level that could be indicative of the development of
               an erosion feature in the underlying foundation. The piezometer monitoring
               system is a component of the SAEDS required by the existing permit. The
               piezometers are typically located midway between drains at grid spacings of
               250 feet by 250 feet or 150 feet by 250 feet. The water level in each piezometer
               is measured with a vibrating wire pressure transducer monitored via a data
               acquisition system. Initial monitoring of piezometers in Phase III East area
               began in September 2022 with the entire system of 88 piezometers monitored
               since June 2023. The 24 piezometers in Phase III West will be installed as part
               of construction.

               Stabilized Subsurface Feature Piezometer Monitoring Systems. The
               performance of the Area III-2 and Area 4 stabilized subsurface features in the
               Phase III Extension area are monitored with six and four piezometer monitoring
               stations, respectively (see Figure 1-8). Each Area 4 station includes one
               piezometer tapping cast overburden soils and two piezometers tapping the
               upper and lower portions of the upper confining unit in the Undifferentiated
               Arcadia Formation for a total of 12 piezometers. Four of the six stations in Area
               III-2 include one piezometer tapping cast overburden or backfilled soils and
               two piezometers tapping the upper and lower portions of the upper confining
               unit in the Undifferentiated Arcadia Formation, and two of the six stations have
               one piezometer installed just above the 100-mil high-density polyethylene
               geomembrane liner. The six stations contain a total of 14 piezometers.

 1.4.1     Groundwater Monitoring

 1.4.1.1     Surficial Aquifer System
 Groundwater quality in the Surficial Aquifer System is monitored at six observation wells (22-S1, 23-
 S1, 24-S1, 34-S1, 35-S1 and 39-S1) at the perimeter of the Phase I and Phase II portions of the
 South Gypsum Stack and was previously monitored at three other locations (36-S1, 37-S1 and 38-
 S1) on the south wall of the stack prior to being relocated in CY2021 as part of construction of the
 Phase III Extension. Groundwater quality in the Surficial Aquifer System is monitored at five
 observation wells (36-S1R, 37-S1R, 38-S1R, 47-S1 and 48-S1) at the perimeter of the Phase III
 Extension.5

 Groundwater quality at observation wells in the Phase I and Phase II portions of the South

 5   Groundwater quality data from installation of the monitor wells through the third quarter of CY2023 are shown on
     Figures A-1 through A-24, Figures A-29 through A-32 and Figures A-37 through A-38 in Appendix A and tabulated
     in Tables B-1 through B-11, B-15, B-16 and B-19 in Appendix B.



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 Gypsum Stack meet primary and secondary drinking water maximum contaminant levels (MCLs)
 for total dissolved solids, sulfate, sodium, fluoride and gross alpha particle activity, except for
 total dissolved solids and gross alpha particle activity at NWC-39-S1.6 Average constituent
 concentrations the six functioning and three former wells over the last year of quarterly sampling
 are shown in Table 1-1.7
                              Table 1-1. Groundwater Quality in South Gypsum Stack
                                         Surficial Aquifer System Monitor Wells
                       Water                   Total        Sulfate   Sodium     Fluoride   Ortho-PO4     Gross Alpha
       Monitor
                     Elevation     pH       Dissolved        SO4        Na          F          as P          Particle
        Well
                    (ft, NGVD)             Solids (mg/l)    (mg/l)     (mg/l)     (mg/l)      (mg/l)      Activity (pCi/l)
     NWC-22-S1        145.8        6.23        232           <1.4       20.4       1.20        1.36              2.4
     NWC-23-S1        145.8        6.92        399            1.8       16.6       1.62        0.43              3.1
     NWC-24-S1        147.5        6.69        366           <1.4       18.7       0.93        0.52              3.4
     NWC-34-S1        145.2        6.72        378           <1.4       17.0       0.81        0.20              2.3
     NWC-35-S1        140.0        6.31        238           <1.4       20.0       1.38        1.21              2.7
     NWC-36-S1        140.8        6.14        291            0.5       15.0       0.84        0.96              3.3
     NWC-37-S1        134.2        6.29        460           46.4       35.1       0.40        0.82              7.3
     NWC-38-S1        141.0        6.08        362            0.4       17.9       0.38        0.47              4.4
     NWC-39-S1        133.7        6.01        673           239        36.9       0.81        0.44             18.3


 The groundwater impact at monitor well NWC-39-S1 is associated with an isolated incident during
 initial operation of the Phase II East Area that allowed leakage of process water for several weeks
 through a hole in the liner created by a backhoe bucket at a location just northwest of monitor well
 NWC-39-S1. Constituent concentrations at NWC-39-S1 have decreased from peak total
 dissolved solids, sulfate and sodium concentrations of about 900, 400 and 50 mg/l, respectively,
 but have not yet returned to corresponding background concentrations of 300, 70 and 30 mg/l.
 Accordingly, based on up to 31 years of groundwater monitoring the liner system in the base of
 the South Gypsum Stack has largely functioned to protect the Surficial Aquifer System from
 groundwater impacts.

 Average constituent concentrations over the last year of quarterly sampling are shown in Table
 1-2 for the five observation wells in the Phase III Extension.
                          Table 1-2. Groundwater Quality in Phase III Gypsum Stack
                                     Surficial Aquifer System Monitor Wells
                         Water                  Total       Sulfate   Sodium    Fluoride    Ortho-PO4     Gross Alpha
        Monitor
                      Elevation      pH      Dissolved       SO4        Na         F           as P          Particle
         Well
                      (ft, NGVD)            Solids (mg/l)   (mg/l)     (mg/l)    (mg/l)       (mg/l)      Activity (pCi/l)
     NWC-36-S1R         139.9       6.67         321          98       26.7       1.00        0.44              3.9
     NWC-37-S1R         143.1       6.49         285         <1.4      28.6       0.28        0.14              2.5
     NWC-38-S1R         140.6       5.95         450          222      44.1       0.47        1.85              3.7
     NWC-47-S1          140.7       6.16         353          114      59.1       0.13        0.09              2.4
     NWC-48-S1          138.1       6.61         471          91       43.2      1.01         0.83              2.9



 6   Average combined radium 226 and radium 228 over the same period was 4.7 pCi/l.
 7
     Last year of quarterly sampling for functioning monitor wells, unless indicated otherwise, includes sampling events
     from Q3 2022 to Q3 2023.



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 Groundwater quality at monitor wells meet primary and secondary drinking water MCLs for total
 dissolved solids, sulfate, sodium, fluoride and gross alpha particle activity. These wells have a
 shorter monitoring history than the Phase I and Phase II monitor wells as installation occurred in
 CY2021, sampling was initiated in the third quarter of CY2021, and the initial portion of the Phase
 III Extension was just activated in third quarter of CY2022.

 Total dissolved solids, sulfate and sodium concentrations at the Phase III Extension wells are
 generally higher than at the Phase I and Phase II wells. The higher concentrations are attributed
 to recovery well P4 groundwater that was pumped into mine pits that previously existed within
 the Phase III Extension area. Recovery well P4 groundwater pumped into the mine pits had
 typical total dissolved solids, sulfate and sodium concentrations of 660, 220 and 40 mg/l.

 1.4.1.2      Intermediate Aquifer System

 Groundwater quality in the uppermost transmissive zone (I1-zone) of the Intermediate Aquifer
 System is monitored at two compliance wells (23-I1 and 34-I1) at the perimeter of the Phase I and
 Phase II portions of the South Gypsum Stack and was previously monitored at two other locations
 (36-I1 and 38-I1) on the south wall of the stack prior to being relocated in CY2021 as part of
 construction of the Phase III Extension. Groundwater quality in the I1-zone at the perimeter of the
 Phase III Extension is monitored at four compliance wells (36-I1R, 38-I1R, 47-I1 and 48-I1).8

 Average constituent concentrations at the two functioning (Q3 2022 to Q3 2023 samples) and two
 former wells at the Phase I and Phase II portions of the South Gypsum Stack (CY2021 samples,
 wells were relocated after Q4 2021 as part of Phase III construction) are shown in Table 1-3.
 Measured parameters meet primary drinking water MCLs for sodium, fluoride and gross alpha
 particle activity and secondary drinking water MCLs for total dissolved solids and sulfate. The
 sulfate and sodium concentrations are relatively low, have remained stable without monotonic
 trends of increasing concentrations with time, and indicate that over the up to 31 years of
 groundwater monitoring the South Gypsum Stack has not caused groundwater impacts at monitor
 wells in the uppermost transmissive zone from either liner leakage, the 2004 anomaly or the 2016
 WLI.

                               Table 1-3. Groundwater Quality in South Gypsum Stack
                                          Intermediate Aquifer System Monitor Wells
                        Water                 Total        Sulfate     Sodium      Fluoride   Ortho-PO4     Gross Alpha
     Monitor Well     Elevation     pH     Dissolved        SO4          Na           F          as P          Particle
                     (ft, NGVD)           Solids (mg/l)    (mg/l)       (mg/l)      (mg/l)      (mg/l)      Activity (pCi/l)

      NWC-23-I1        144.3       7.39       248           1.6         16.9        1.02         0.06             2.7
      NWC-34-I1        126.9       7.73       215           2.9         14.1        0.54         0.03             2.9
      NWC-36-I1        140.9       7.32       212           1.4          7.3        0.26         0.06             2.8
      NWC-38-I1        138.9       7.04       241           0.4          6.6        0.40         0.06             3.2




 8   Groundwater quality data from installation of the monitor wells through the third quarter of 2023 are shown on Figures
     A-39 through A-50 and Figures A-55 through A-60 in Appendix A, and tabulated in Tables B-20 through B-25 and
     Tables B-28 through B-30 in Appendix B.




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 Average constituent concentrations in the I1-zone compliance wells around the perimeter of the
 Phase III Extension over the last year of quarterly sampling are shown in Table 1-4.

                        Table 1-4. Groundwater Quality in Phase III Gypsum Stack
                                   Intermediate Aquifer System Monitor Wells
                       Water                Total       Sulfate   Sodium    Fluoride   Ortho-PO4     Gross Alpha
       Monitor
                    Elevation    pH      Dissolved       SO4        Na         F          as P          Particle
        Well
                    (ft, NGVD)          Solids (mg/l)   (mg/l)     (mg/l)    (mg/l)      (mg/l)      Activity (pCi/l)
     NWC-36-I1R      137.4       6.88       132           0.4       9.2      0.80         0.37             1.2
     NWC-38-I1R      129.2       8.50       180          27.4      22.7      0.88        <0.03             2.7
     NWC-47-I1       139.2       6.62       161           1.6       6.5      0.57         0.91             2.0
     NWC-48-I1       138.8       7.30       208           1.7       9.6      0.78         0.33             2.2


 Measured parameters meet primary drinking water MCLs for sodium, fluoride and gross alpha
 particle activity and secondary drinking water MCLs for total dissolved solids and sulfate. 9 These
 wells have a shorter monitoring history than the Phase I and Phase II monitor wells as installation
 occurred in CY2021, sampling was initiated in the third quarter of CY2021, and the initial portion
 of the Phase III Extension was just activated in the third quarter of CY2022.

 1.4.1.3    Floridan Aquifer System

 Groundwater quality in the Upper Floridan Aquifer portion of the Floridan Aquifer System is
 monitored at three wells tapping the upper permeable zone in the Suwannee Limestone and four
 wells tapping the lower permeable zone in the Avon Park Formation. Groundwater monitoring in
 the upper permeable zone (F1-zone) in the Suwanee Limestone is undertaken at observation well
 NWC-33-F1 located about 300 feet west of the South Gypsum Stack, and compliance wells NWC-
 42-F1 located 800 feet west of the southwest corner of the South Gypsum Stack and NWC-45-
 F1 located 2,000 feet southwest of the Phase III Extension. Groundwater quality in the lower
 permeable zone (F2-zone) in the Avon Park Formation is monitored at compliance wells NWC-32-
 F2, NWC-33-F2, NWC-40-F2 and NWC-41-F2. Groundwater quality in the lower permeable zone
 is also monitored at recovery well P4-B and stand-by recovery well P-5 when operated. 10

 Upper Permeable Zone in Suwannee Limestone: Groundwater impacts in the upper permeable
 zone of the Upper Floridan aquifer, if occurring, would be expected to be from either the 2004
 anomaly or 2016 WLI because of the depth of the monitor wells, and not from incidental leaks in
 the liner system. Average constituent concentrations at the three monitor wells over the last year
 of quarterly sampling are shown in Table 1-5. Background concentrations at two monitor wells
 located approximately 1,900 feet upgradient of the South Gypsum Stack and 1,000 feet upgradient
 of the Phase III Extension (see Figure 1-5) are included for comparison.



 9 The pH, and sulfate and sodium concentrations at monitor well NWC-38-I1R are suspect and likely a result of an
    issue with the neat cement grout seal placed above the collection zone. The well will be re-developed to restore
    ambient groundwater conditions or replaced if needed .
 10 Groundwater quality data from installation of the monitor wells through the third quarter of CY2023 are shown on

    Figures A-113 through A-114 in Appendix A, and tabulated in Tables B-57 through B-58 in Appendix B.




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        Table 1-5. Groundwater Quality in Upper Permeable Zone of Upper Floridan Aquifer
                    Water                Total       Sulfate   Sodium     Fluoride   Ortho-PO4    Gross Alpha
      Monitor
                 Elevation    pH      Dissolved       SO4        Na          F          as P         Particle
       Well
                 (ft, NGVD)          Solids (mg/l)   (mg/l)     (mg/l)     (mg/l)      (mg/l)     Activity (pCi/l)
    Background
    NWC-43-F1      67.2       7.58       ----         36.3      5.9        0.32        0.03             2.0
    NWC-44-F1      65.4       7.78       ----         23.3      9.0        0.42        0.04             1.9
    NWC-33-F1      59.8       7.59       243           5.9      18.4       0.77        0.05            <2.5
    NWC-42-F1      59.3       7.32       ----         20.6      15.6       0.30        0.05             2.0
    NWC-45-F1      60.4       7.68       ----         27.1       8.2       0.35        0.05             1.6


 Groundwater quality at observation well NWC-33-F1 and compliance well NWC-42-F1
 downgradient of the South Gypsum Stack meets primary drinking water MCLs for sodium, fluoride
 and gross alpha particle activity and secondary drinking water MCL for sulfate. The sulfate and
 sodium concentrations are relatively low, have remained stable without monotonic trends of
 increasing concentrations with time over the 19- and 7-year monitoring periods of the wells,
 respectively, and indicate that the South Gypsum Stack has not caused groundwater impacts at
 the monitor wells from either liner leakage, the 2004 anomaly or the 2016 WLI.

 Groundwater quality at compliance well NWC-45-F1 southwest of the Phase III Extension is
 consistent with background concentrations. The well has a shorter monitoring history of 4 years
 and is located too far south to monitor groundwater flowing within the Upper Floridan Aquifer
 below the South Gypsum Stack and Phase III Extension. It is positioned for monitoring the Phase
 IV Extension.

 Lower Permeable Zone in Avon Park Formation: Groundwater impacts in the lower permeable
 zone of the Upper Floridan aquifer, if occurring, would be expected to be from either the 2004
 anomaly or 2016 WLI because of the depth of the monitor wells, and not from incidental leaks in
 the liner system. Average constituent concentrations at the three compliance monitor wells over
 the last year of quarterly sampling are shown in Table 1-6. Background concentrations are shown
 for comparison. Total dissolved solids, sulfate and sodium concentrations are also plotted versus
 time below.

        Table 1-6. Groundwater Quality in Lower Permeable Zone of Upper Floridan Aquifer
                    Water                Total       Sulfate   Sodium     Fluoride   Ortho-PO4    Gross Alpha
      Monitor
                 Elevation     pH     Dissolved       SO4        Na          F          as P         Particle
       Well
                 (ft, NGVD)          Solids (mg/l)   (mg/l)     (mg/l)     (mg/l)      (mg/l)     Activity (pCi/l)

    Background      ----      7.60       275           75        8.5       0.50        0.02             3.0
    NWC-40-F2     56.68       7.53       286           61        8.9       0.23        0.04             2.9
    NWC-41-F2     57.86       7.50       347           75       12.4       0.26        0.18             2.3
    NWC-32-F2     57.65       7.52       424          133       12.4       0.27        0.08             2.1




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                        Sulfate, Sodium and Total Dissolved Solids Concentrations
                            in Lower Permeable Zone of Upper Floridan Aquifer
           200
                         NWC-32-F2
                         NWC-41-F2
                         NWC-40-F2
           150           Background




           100



            50



             0
            20


            15


            10


             5


             0
           600

           500

           400

           300

           200

           100
             Jan-15   Jan-16    Jan-17    Jan-18   Jan-19   Jan-20   Jan-21   Jan-22   Jan-23   Jan-24

 Constituent concentrations at wells NWC-32-F2, NWC-40-F2 and NWC-41-F2 remain below
 primary drinking water MCLs for sodium, fluoride and gross alpha particle activity, and below
 secondary drinking water MCLs for total dissolved solids and sulfate.

 Peak changes in constituent concentrations from groundwater impacts associated with the 2016
 WLI in the Phase II West Area at wells NWC-32-F2, NWC-40-F2 and NWC-41-F2 of about 1.0,
 0.6 and <0.1 percent of the attenuated source concentrations were predicted for CY2023,
 respectively, corresponding to about 115, 70 and 12 mg/l total dissolved solids and about 35, 22
 and 4 mg/l sulfate. Although changes in constituent concentrations are greater at NWC-41-F2
 than at NWC-40-F2, the changes in constituent concentrations at the three wells are consistent



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 with or less than predicted. Deviations between predicted and measured constituent
 concentrations can result from local differences in aquifer transmissivity and dispersivity than
 conditions assumed in the groundwater model.

 Recovery Wells: Recovery well P4-B was activated in February 2017. The zone of capture for the
 recovery well encompasses the South Gypsum Stack and the foot-print of the Phase III Extension
 (see Figure 1-9). The operating protocol for recovery well P4-B establishes a minimum monthly
 average pumping rate of 3,500 gal/min to maintain the zone of capture and recover groundwater
 from the repaired 2016 sinkhole in the South Gypsum Stack. Recovery well P5 is maintained as
 a standby recovery well. The operating protocol for recovery well P5 requires sampling water
 quality quarterly for pH, specific conductance, total dissolved solids, sulfate, sodium and
 orthophosphate. During each sampling event, P5 is pumped at a minimum rate of 2,000 gal/min
 for a period of 7 days and sampled daily. It is not required to be activated as a recovery well
 unless the following groundwater quality criteria are met:

                specific conductance exceeds 1,150 µmhos/cm and exhibits continually an
                increasing trend over time;
                the sulfate concentration exceeds 240 mg/l and exhibits continually an
                increasing trend over time; or
                the sodium concentration exceeds 30 mg/l and exhibits continually an
                increasing trend over time.

 Constituent concentrations at the two recovery wells and observation well NWC-33-F2, located
 between the South Gypsum Stack and recovery well P4-B, are shown in Table 1-7. Background
 concentrations are shown for comparison. Total dissolved solids, sulfate and sodium concentrations
 are plotted versus time below.

         Table 1-7. Groundwater Quality in Lower Permeable Zone of Upper Floridan Aquifer
                                   Specific          Total       Sulfate   Sodium     Fluoride   Ortho-PO4     Gross Alpha
         Well            pH      Conductance      Dissolved       SO4        Na          F          as P          Particle
                                 (µmhos/cm)      Solids (mg/l)   (mg/l)     (mg/l)     (mg/l)      (mg/l)      Activity (pCi/l)

  Background             7.60          410            275          75        8.5       0.50        0.02              3.0

  Observation Well
                         7.10          840            490         115       20.9       1.70        0.48              2.0
  NWC-33-F2

  Recovery Well P4-B     6.61         1,360           866         220       54.1        ---        3.32              4.6

  Recovery Well P5       6.77         1,050           705         180       33.2        ---        1.83              ---

  1. Recovery well P5 concentrations are from March, May and September 2023 selected peak concentrations at the end of each
     7-day pumping event.
  2. Recovery well P4-B concentrations are averages from weekly samples over the same period as the P5 pumping events.
  3. Observation Well NWC-33-F2 concentrations from five samples over a similar period as the P5 pumping events.




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                          Recovery Well P4-B and P5 Groundwater Quality
         1,200
                                                                Recovery Well P4-B
         1,100                                                  Recovery Well P5
                                                                Observation Well NWC-33-F2
         1,000
           900
           800
           700
           600
           500
           400
           300
           300

           250

           200

           150

           100

            50
            80
            70
            60
            50
            40
            30
            20
            10
             0
             Jan-17    Jan-18     Jan-19    Jan-20    Jan-21     Jan-22      Jan-23      Jan-24

 The increase in recovery well P4-B constituent concentrations from mid-2020 through mid-2021
 could be attributed to the subsequently detected breach in the HDPE liner in the Phase II East
 Area of the South Gypsum Stack at AOI2. A period of generally decreasing dissolved solids and
 sulfate concentrations then followed through the end of CY2022 which coincided with stabilization
 grouting activities at AOI2. Constituent concentrations at recovery well P4-B began to increase
 again in early-CY2023. Constituent concentrations at recovery well P4-B still remain below the
 primary drinking water MCLs for sodium and gross alpha particle activity. Sulfate concentrations
 also continue to remain below the secondary drinking water MCL.

 The current groundwater flow and transport model utilized for the South Gypsum Stack was last
 modified in CY2017 and calibrated to groundwater quality data from recovery wells P4 and P5.
 Since construction of the model, an additional six-years of groundwater monitoring has occurred,



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 recovery well P4-B was installed and operated continuously, and AOI2 and AOI4 have been
 identified. Modification and recalibration of the flow and transport model is underway to
 incorporate additional groundwater monitoring data from the recovery and monitor wells and
 leakage from AOI2 and AOI4.

 Observation well NWC-33-F2 was installed between the South Gypsum Stack and recovery well
 P4-B. It was expected that constituent concentrations would be higher at NWC-33-F2 than at the
 recovery well because the well is located closer to stack. The consistently lower constituent
 concentrations at well NWC-33-F2 indicate that the monitor well collection zone, while installed
 to the same depth as recovery well P4-B, may not tap the same cavernous zone within the Upper
 Floridan Aquifer. Constituent concentrations at well NWC-33-F2, however, are higher than
 observed at wells NWC-32-F2, NWC-40-F2 and NWC-41-F2 indicating that groundwater impacts
 associated with the 2016 WLI in the Phase II West Area are being detected at the well. Constituent
 concentrations at well NWC-33-F2 remain below the primary MCLs for sodium and gross alpha
 particle activity and remain below the secondary MCL for sulfate. Fluoride concentrations at the
 well previously averaged 4.2 mg/l, slightly above the primary MCL of 4.0 mg/l, but have declined
 to below 2.0 mg/l.

 Constituent concentrations are trending higher with time at recovery well P-5, which likely reflects
 the dispersed front of the impacted groundwater being recovered at P4-B. Specific conductance
 and sulfate concentrations remain below the threshold concentrations of 1,150 µmhos/cm and
 240 mg/l that trigger operation of P5 as a recovery well at concentrations of 1,050 µmhos/cm and
 180 mg/l. Sodium concentrations exceeded the threshold concentration of 30 mg/l during the
 March, May and September 2023 pumping events with concentrations averaging 33.2 mg/l.
 Additional quarterly pumping events will be evaluated to determine if the trend over time above
 30 mg/l continues before activation of recovery well P5. Recalibration of the flow and transport
 model that may also yield a revised sodium threshold concentration for activation.

 1.4.2   Passive Seismic Monitoring

 During the 43-month monitoring period from the inception of the Passive Seismic Monitoring
 System in June 2020 through December 2023, a total of 1,502 SAEs have been identified. Most
 of the SAEs (1,498 out of 1,502) were spatially located in the South Gypsum Stack. Two SAEs
 were identified in the Phase III Extension. The remaining two SAEs were located outside of the
 area encompassing the South Gypsum Stack and Phase III Extension.

 Based on the spatial distribution, recurrence, and energies of the SAEs, four Areas of Interest
 (AOI) were previously identified: three within or near the east compartment of the Phase II portion
 of the stack (AOI1, AOI2 and AOI3); and one near the Phase II-West North Area (AOI4).

         The exploration in AOI1 indicated the absence of a breach in the liner system or a
         void above the liner. On-going piezometric water level monitoring in piezometers
         installed in gypsum above the liner, in cast overburden soils underlying the liner,
         and in the upper portion of the Undifferentiated Arcadia Formation continue to
         indicate the absence of a breach in the liner system or anomalous subsurface
         conditions.




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         Exploratory borings in AOI2 indicated that a cavity existed in gypsum at the base
         of the stack and that the HDPE liner was breached. Stabilization grouting,
         consisting of the bulk filling of the cavity in the base of the stack with concrete
         grout, was initiated in July 2022 and completed in November 2022. Pressure
         grouting of the foundation soils and Intermediate Aquifer System upper confining
         unit was initiated in January 2023 with completion expected in February 2024.
         Post-repair performance monitoring of the grouted cavity will be undertaken with
         piezometers to measure water levels in the gypsum stack, in cast overburden soils
         underlying the liner, and in the Undifferentiated Arcadia Formation within the upper
         confining unit. Closure of the top of the South Gypsum Stack at AOI2 will be
         undertaken in accordance with a closure plan approved by the Department.

         The exploration in AOI3 indicated the absence of a breach in the liner system or a
         void above the liner. On-going piezometric water level monitoring in piezometers
         installed in gypsum above the liner continue to indicate the absence of a breach in
         the liner system. A microgravity survey will be performed to further check for a
         detectable cavity in gypsum at the base of the stack. Closure of the top of the
         South Gypsum Stack in the vicinity of AOI3 will be undertaken in conjunction with
         closure of the area containing AOI2.

         An initial subsurface exploration program consisting of vertical and inclined core
         borings and installation of vibrating wire piezometers and a stability monitoring
         instrument was completed at AOI4 in July 2023. The second phase of the
         exploration program was started in November 2023. In December 2023 one of
         second phase inclined core holes encountered a complete loss of drilling fluid
         circulation and cavity confirming a breach in the HDPE liner at the base of the
         gypsum stack caused by an anomaly in the underlying foundation. A letter
         confirming a critical condition at AOI4 was submitted to the Department on
         December 14, 2023. The subsurface exploration program intended to estimate the
         size and characteristics of the anomaly (to develop a CAGP for the Department’s
         review) is in-progress.

 Only two SAEs have been detected in the Phase III Extension. The SAEs occurred in December
 2020 and February 2021 in the Floridan Aquifer System at respective depths of 540 and 520 feet
 below the base of the stack. The SAEs had low energies of 171 and 223 joules corresponding to
 8 and 11 percent of the 2,000 joules energy considered a potential indicator of subsurface activity.
 SAEs have not been detected in the Phase III Extension since its activation in September 2022.

 1.4.3   Foundation Drainage Layer Piezometer Monitoring

 Monitoring of the 88 foundation drainage layer piezometers in East Area of the Phase III Extension
 began in June 2023. Water levels within the sand drainage layer are variable and are not yet at
 equilibrium because of on-going adjacent construction activities in the Phase III West Area.
 Additional deairing of some of the piezometer pipes between the vibrating wire sensors and




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 piezometer collection zones at the base of foundation drainage layer will likely be undertaken
 once nearby construction activity is complete.

 Measured piezometric water levels in September 2023 are presented below. Line J through Line
 O represent areas which are located in the 97-acre lined Phase III East-North and Phase III East-
 South areas (see Section 1.2.3) and Lines 2 and 3 represent areas which are located in the 24-
 acre lined Area SG-1 portion of the Phase III East-North Area. Piezometric water elevations are
 typically between 137 and 139 feet (NGVD) which is consistent with the target range of 136 to
 138 feet (NGVD) that the drainage layer will be operated within once in equilibrium.

                            Piezometric Water Elevations in Foundation Drainage Layer
                  145
                                   TOP OF GYPSUM LINER COVER
                                   LINER LEVEL
                  144              LINE J
                                   LINE K
                  143              LINE L
                                   LINE M
                                   LINE N
                  142              LINE O
                                   BASE OF SAND LAYER
                  141

                  140

                  139

                  138

                  137

                  136

                  135
                  143
                                  LINE 2
                  142             LINE 3


                  141

                  140

                  139

                  138

                  137

                  136

                  135
                        0       250        500    750      1000    1250   1500     1750
                                                 Distance (feet)



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 1.4.4   Stabilized Paleo-Sink Feature Piezometer Monitoring

 Vibrating wire piezometers were installed at four stations in Area 4 and six stations in Area III-2
 to monitor piezometric water elevations and allow Mosaic to respond appropriately to changes in
 performance of the stabilized areas. Piezometric water levels are read and recorded at 4-hour
 intervals via an automated data acquisition system. Monitoring has been underway since August
 2022 at the Area 4 stations and since February 2023 at the Area III-2 stations. Performance to-
 date at both areas is satisfactory.

 1.4.5   Findings of Performance Monitoring

 Findings from ongoing performance monitoring at the South Gypsum Stack and Phase III
 Extension indicate that:

            groundwater impacts from prior subsurface anomalies in the South Gypsum
            Stack occur in the lower permeable zone of the Upper Floridan Aquifer, are
            contained on Mosaic property and captured with recovery wells;

            groundwater monitoring at the I1-zone compliance monitor wells in the
            uppermost transmissive zone of the Intermediate Aquifer System and at F1-
            zone compliance monitor wells in the upper permeable zone of the Upper
            Floridan Aquifer indicate that impacts from either liner leakage, the 2004
            anomaly, the 2016 WLI, AOI-2 or AOI4 have not occurred;

            the passive seismic monitoring system has demonstrated the ability to function
            as an early detection system for subsurface activity and will be expanded to
            encompass the Phase IV Extension;

            the foundation drainage system piezometric water level monitoring system is
            functioning satisfactorily, and a similar system will be incorporated into the
            Phase IV Extension; and

            repair of foundation features can be successfully performed prior to liner
            installation to restore the integrity of the Intermediate Aquifer System upper
            confining unit and similar remediation will be implemented in the Phase IV
            Extension if foundation anomalies are identified.

 1.5     Plan of Study for Preparation of FDEP Phase IV Permit Application

 Ardaman & Associates, Inc. was retained by Mosaic Fertilizer, LLC to provide engineering
 services to design the Phase IV Extension for the New Wales facility and to develop supporting
 documentation for the associated FDEP construction/operation permit application. Specifically,
 the plan of study included the following items.

            Review of: (i) previous engineering studies of the New Wales gypsum stack
            system and performance monitoring data from the South Gypsum Stack and
            Phase III Extension relevant to the design of the Phase IV Extension; (ii)
            prospect borings performed by Mosaic for stratigraphic information relevant to



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          determining depths to the top of the upper confining unit; and (iii) well
          installation and abandonment records to identify wells within the extension
          area that have not been properly abandoned.

          A geotechnical field exploration program within the Phase IV Extension that
          included performance of Standard Penetration Test borings along the
          perimeter and within the interior of the site, Cone Penetration Tests to
          investigate the extent and thickness of soft phosphatic clays that were
          deposited within prior mine pits at the site, and undisturbed sampling of soils
          at selected boring locations.

          Investigation of selected locations of prior topographic depressions along and
          at the intersections of photolinears identified on historical aerial photography
          and 7.5-minute USGS quadrangle maps with Standard Penetration Test
          borings and piezometer installations to determine whether the topographic
          depressions were associated with a geologic feature within the upper confining
          unit that could potentially result in the formation of a sinkhole.

          Microgravity and seismic reflection tomography geophysical surveys for
          detection of geologic features within the upper confining unit that could
          potentially result in the formation of a sinkhole.

          A geotechnical laboratory testing program on representative natural ground
          and cast overburden soils to characterize the index, strength, permeability and
          deformation characteristics of soils relevant to the design of the Phase IV
          Extension.

          Geotechnical evaluation of the site in accordance with Rule 62-673.320(3)(k)
          addressing soil stratigraphy, engineering properties of in situ soils, engineering
          properties of New Wales gypsum, and engineering properties of earthen
          construction materials relevant to the design and construction of the Phase IV
          Extension.

          Hydrological evaluation of the site in accordance with Rule 62-673.320(3)(j)
          addressing: (i) surface hydrology; (ii) hydrogeology of the Surficial,
          Intermediate and Floridan Aquifer Systems and groundwater quality within the
          aquifer systems; and (iii) geology relevant to evaluation of sinkhole potential.

          Design and preparation of schematic drawings and technical specifications for
          construction of the Phase IV Extension: (i) perimeter earthen containment
          dikes; (ii) inverted composite HDPE-compacted gypsum liner system; (iii) drain
          system above the liner for lowering porewater pressures along the liner below
          the stack side slopes; (iv) decant water/stormwater runoff drainage ditch
          system and hydraulic structures; and (v) freshwater stormwater drainage ditch
          system and hydraulic structures.

          Design and preparation of schematic drawings and technical specifications for:
          (i) construction of a foundation drainage system consisting of a continuous
          permeable sand layer with embedded drainage pipes directly underlying the



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            HDPE liner to control the hydraulic head below the liner and to reduce the
            hydraulic head difference across the upper confining unit; (ii) a piezometer
            monitoring system within the foundation drainage system to detect changes in
            water levels within the drainage system that could be indicative of the
            development of an erosion feature in the upper confining unit; (iii) a soil-
            bentonite cut-off wall surrounding the foundation drainage system to contain
            and control the water level within the permeable sand layer; (iv) excavation or
            stabilization of soft clays sediments or phosphatic clays present in valleys
            between spoil piles located in the northeast area; (v) excavation and
            abandonment of prior sealing water wells KS-2 and MM-4; (vi) excavation and
            removal of foundations and demolition debris within the limits of the former
            Kingsford plant; and (vii) groundwater recharge ditches around portions of the
            perimeter of the south and east boundaries of the Phase IV Extension area to
            maintain groundwater flow in the Surficial Aquifer System to abutting and
            nearby wetlands.

            Modifications of the groundwater monitoring plan to: (i) abandon existing
            Surficial and Intermediate (I1-zone) Aquifer System monitor wells along the
            south side of the Phase III Extension to accommodate construction of the
            Phase IV Extension; (ii) incorporate additional Surficial and Intermediate (I1-
            zone) Aquifer System monitor wells around the perimeter of the Phase IV
            Extension on the perimeter earthen dike toe road to provide a spacing between
            monitor well clusters of about 1,500 feet; and (iii) install a monitor well within
            the lower permeable zone of the Upper Floridan Aquifer System (F2-zone)
            immediately west of the Phase IV Extension.

            Selection of a design slope to safely raise the gypsum stack atop the liner to a
            design water elevation within the settling compartments atop the stack of 470
            feet (NGVD).

            Preparation of revisions to the New Wales gypsum stack system operation plan
            as needed to incorporate the Phase IV Extension.

            Preparation of the FDEP construction/operation permit application and
            engineering report in support of the application (NPDES Permit FL0036421).

 Section 2 of the report presents facility and area information. Section 3 describes key features of
 the Phase IV Extension and addresses compliance of the basic design with the requirements in
 Chapter 62-673, F.A.C. Hydrogeologic and geotechnical evaluations, including results of the
 geotechnical and geophysical field exploration programs and laboratory testing programs, are
 presented in Sections 4, 5 and 6, respectively. Design and construction recommendations,
 including seepage and slope stability analyses and stormwater conveyance, are provided in
 Section 7. Operation guidelines and a revised groundwater monitoring plan are included in
 Section 8. Section 9 addresses a conceptual closure plan for the combined South Gypsum Stack
 and Phase III and Phase IV Extensions for conditions at the end of life of the Phase IV Extension.
 Technical construction specifications are included in Section 10.




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             EPA'S OPPORTUNITY TO REVERSE
               THE FERTILIZER INDUSTRY'S
              ENVIRONMENTAL INJUSTICES
                                                                 by Jaclyn Lopez
                            Jaclyn Lopez is a senior attorney with the Center for Biological Diversity.

                                                                   SUMMARY
Seventy phosphogypsum stacks are scattered throughout the United States, concentrated in low-wealth and
Black, indigenous, and people of color communities. These radioactive waste heaps have a long history of
failures, and present a substantial hazard and unreasonable risk of harm. The U.S. Environmental Protection
Agency (EPA) should swiftly move to regulate these environmental and public health hazards. This Article
examines the regulatory failures that have given rise to the proliferation of phosphogypsum stacks in vulner-
able communities and sensitive environments in the United States. It argues that EPA has the authority, and
with President Joseph Biden's Executive Orders, the mandate to take corrective action to remedy these envi-
ronmental injustices.


                                                                                federally threatened Florida manatees. 4 While Piney Point

Over        Florida ordered a state of emergency for Manatee
            County  and weekend
                Easter   the evacuation            governor
                                        of 300thehomes
                                   in 2021,                 of
                                                       because
a phosphogypsum stack (or gypstack) was about to capsize
                                                                                was a particularly well-documented, problematic phospho-
                                                                                gypsum stack, it is not unique.
                                                                                    Many of the more than 70 mountainous piles of radio-
and release a 20-foot tidal wave of wastewater and fertil-                      active, toxic, and hazardous waste scattered throughout the
izer waste.' Ultimately, the Florida Department of Envi-                        United States are concentrated among low-wealth commu-
ronmental Protection (FDEP) authorized the owner of the                         nities and have a long history of structural failures, releases,
Piney Point phosphogypsum stack to discharge wastewa-                           breaches, discharges, and even sinkholes.5 They pose a sub-
ter into Tampa Bay, in an effort to prevent the stack from                      stantial present and future hazard and an unreasonable risk
bursting open. 2 The discharge lasted almost two weeks                          of injury to human health and the environment. Mean-
and contained approximately 186 metric tons of nitrogen,                        while, the fertilizer industry continues to pursue regulatory
which fueled a deadly red tide in Tampa Bay that killed                         loopholes to relieve it regulatory burden and shift the risk
nearly 2,000 tons of marine life,3 including more than 30                       of harm to the public. To date, the U.S. Environmental
                                                                                Protection Agency (EPA) has abdicated its responsibility
                                                                                to evaluate and minimize the unreasonable risk or ensure
                                                                                protection of human health and the environment through
Author's Note: The author is indebted to the invaluable                         adequate regulation.
work of Rachael Curran, a tireless advocate on this issue,                         Given President Joseph Biden's Executive Order Pro-
and whose work co-authoring a petition to the U.S. Envi-                        tecting Public Health and the Environment and Restoring
ronmental Protection Agency to regulate phosphogypsum                           Science to Tackle the Climate Crisis6 and the ever-looming
was essential to the framing of this Article. Jaclyn is also
deeply appreciative of Kara Clauser and Curt Bradley,
geographic information system specialists, for creating the                          Conditions, SARASOTA   HERALD-TRIB. (July 23, 2021), https://www.her-
                                                                                     aldtribune.com/story/news/local/manatee/2021/07/23/local-estuary-pro-
graphics. Jaclyn also thanks the editorial staff at ELI.                             grams-desantis-disagree-piney-point-and-red-tide/8067420002/.
                                                                                4.   MARINE MAMMAL PATHOBIOLOGY       LABORATORY, FLORIDA FISH AND WILD-
1.    Zachary T. Sampson, Five Questions Answered About Piney Point Leak in          LIFE CONSERVATION COMMISSION, 2021 PRELIMINARY RED TIDE MANATEE
      Manatee County, TAMPA BAY TIMES (Apr. 4, 2021), https://www.tampa              MORTALITIES, JAN 01-DEC 03 (2021), https://myfwc.com/media/25649/20
      bay.com/news/environment/2021/04/04/five-questions-answered-about-             21preliminaryredtide.pdf.
      piney-point-leak-in-manatee-county/.                                      5.   Phosphogypsum Free America, Home Page, https://phosphogypsumfreeam-
2.    Id.                                                                            erica.org/ (last visited Dec. 10, 2021).
3.    MARCUS W BECK ET AL., INITIAL ESTUARINE RESPONSE TO THE NUTRIENT-         6.   Exec. Order No. 13990, 86 Fed. Reg. 7037 (Jan. 25, 2021), https://www.
      RICH PINEY POINT RELEASE INTO TAMPA BAY, FLORIDA (2021), https://              whitehouse.gov/briefing-room/presidential-actions/2021/01/20/executive-
      github.com/tbep-tech/piney-point-manu/blob/main/manu-draft.docx;               order-protecting-public-health-and-environment-and-restoring-science-to-
      Jesse Mendoza, Estuary Programs Blame Piney Pointfor Worsening Red Tide        tackle-climate-crisis/.



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failures of these ticking time bombs, the moment is ripe                              gypsum settles, thereby growing the stack.M The settled
for EPA to take back federal control and put an end to                                phosphogypsum is dredged to build up embankments
these environmental and public health hazards. This Arti-                             at the sides of the impoundment containing the process
cle examines the rise of phosphogypsum stacks and their                               wastewater. 5 Cooling ponds containing process wastewa-
placement throughout vulnerable communities and sensi-                                ter are also situated at or below grade along the perimeter
tive environments in the United States, and explains how                              of the stack.I6 The process wastewater is meant to be pri-
President Biden's EPA has the authority and obligation                                marily recycled in fertilizer plant operations, making unin-
to rein them in. It does not document the harm from the                               terrupted plant operation critical to maintaining a negative
phosphate mining that makes phosphogypsum production                                  process water balance.17 Even still, during periods of precip-
possible, the direct water pollution from fertilizer factory                          itation, discharges to surface waters are often permitted.--
effluent, or the impacts of pesticide and fertilizer applica-                             While modern, active stacks and adjacent cooling ponds
tion or runoff that result from the use of synthetic fertilizer,                      are lined with a single synthetic geomembrane liner, these
nor does it analyze the regulatory frameworks for address-                            liners can tear and are designed to leak (i.e., permeable),
ing them.                                                                             creating a "zone of discharge"9 in the surficial aquifer that
                                                                                      in some cases is explicitly allowed by permit.20 As a stack
I.        What Is Phosphogypsum?                                                      grows in height, the settling impoundment atop the stack
                                                                                      decreases in size until the settling pond capacity becomes
Phosphogypsum is the radioactive, toxic waste created dur-                            too small and the pumping height requires too much ener-
ing wet-process phosphoric acid production.? Phosphoric                               gy.2' At this point, the stack is either expanded horizon-
acid is the intermediate feedstock of granular and liquid                             tally, or it reaches the end of its useful life.22
ammonium phosphate fertilizers.s In the United States,                                    Phosphogypsum contains calcium sulfate and many
phosphoric acid is produced from phosphate rock mined                                 contaminants, including radionuclides from uranium, tho-
from mineral deposits in Florida, Idaho, North Carolina,                              rium, and radium, which decay to harmful radon gas; toxic
and Utah, with the largest deposit and the majority of the                            heavy metals; fluoride; ammonia; and residual phosphoric
nation's phosphate mining occurring in Florida, where 27                              and sulfuric acids.23 The process wastewater also contains
strip mines span more than 450,000 acres. 9                                           these harmful toxic constituents and is highly acidic and
   After strip mining and beneficiation to remove sand and                            corrosive, with pH (hydrogen ion concentration) measure-
clay from the phosphate matrix, calcium phosphate ore is                              ments as low as 0.5.24
transported to a fertilizer plant for processing by chemi-                               Phosphogypsum stack systems are prone to extensive
cally digesting the phosphate ore in sulfuric acid.o This                             groundwater contamination, dike breaches, leakage, unex-
reaction results in a slurry of phosphoric acid and phos-                             plained seepage, sinkholes, instability that threatens out-
phogypsum (calcium sulfate dihydrate or calcium sulfate                               right collapse, and excess process water balances in the
hemihydrate, depending on the type of wet process) as a                               event of a plant shutdown or abandonment necessitating
suspended solid, at a rate of 5.2 tons of phosphogypsum                               intentional large-volume releases of process water to pre-
waste for every one ton of phosphoric acid." The phos-                                vent further catastrophe.25 Further, this underregulated
phoric acid solution is filtered from the phosphogypsum
and concentrated through evaporation to be sold as mer-
chant-grade phosphoric acid, feed-grade phosphoric acid,                                  gypsum stack runoff, wastewater generated from the uranium recovery
and superphosphoric acid, or used as feedstock for finished                               step of phosphoric acid production, process wastewater from animal feed
                                                                                          production, and process wastewater from superphosphate production. Min-
fertilizer products like diammonium phosphate (DAP) or                                    ing Waste Exclusion, Final Rule, 55 Fed Reg. 2322, 2328 (Jan. 23, 1990).
monoammonium phosphate (MAP).12                                                           Uranium recovery from phosphate processing became uneconomic in the
   The phosphogypsum waste is then reslurried with recy-                                  1990s. Gerald Steiner et al., Making Uranium Recovery From Phosphates
                                                                                          GreatAgain?, 54 ENV T SCI. &TECH. 1287 (2020), https://pubs.acs.org/doi/
cled process wastewater and pumped via pipeline for dis-                                  pdf/10.1021/acs.est.9b07859.
posal in a settling pond impoundment atop a waste pile                                14. REPORT TO CONGRESS, supra note 10, at 12-4.
known as a phosphogypsum stack,3 where the phospho-                                   15. Id.
                                                                                      16. Id.
                                                                                      17. Id. at 12-2.
                                                                                      18. Id.
7.     U.S. EPA, TENORM: Fertilizer and Fertilizer Production Wastes, https://        19. The horizontal extent of a permitted zone of discharge is typically the prop-
       www.epa.gov/radiation/tenorm-fertilizer-and-fertilizer-production-wastes           erty boundary, but groundwater contamination exceeding drinking water
       (last updated Nov. 5, 2021).                                                       standards often extends well beyond the zone. REPORT TO CONGRESS, supra
8.     U.S. GEOLOGICAL SURVEY, MINERAL COMMODITY SUMMARIES 2020                           note 10, at 12-13.
       (2020), https://pubs.usgs.gov/periodicals/mcs2020/mcs2020.pdf.                 20. FLA. ADMIN. CODE r. 62-673.320(6) (2013).
9.     Id.; FDEP, Phosphate, https://floridadep.gov/water/mining-mitigation/con-      21. Olice C. Carter et al., Investigation of Metal and Non-Metal Ion Migration
       tent/phosphate (last modified Sept. 15, 2021).                                     Through an Active Phosphogypsum Stack, in INTERNATIONAL LAND RECLAMA-
10.    U.S. EPA, REPORT TO CONGRESS ON SPECIAL WASTES FROM MINERAL                        TION AND MINE DRAINAGE CONFERENCE AND THIRD INTERNATIONAL CON-
       PROCESSING 12-1 (1990), https://www.epa.gov/sites/default/files/2015-05/            FERENCE ON THE ABATEMENT OF ACIDIC DRAINAGE 199 (U.S. Department
       documents/2000d96z.pdf [hereinafter REPORT TO CONGRESS].                           of the Interior 1994).
11. U.S. EPA, supra note 7.                                                           22. Id; see also Ardaman & Associates, Phase III Expansion Application, Mosaic
12. Id.                                                                                   Fertilizer, LLC-New Wales Facility, FDEP Permit #MMR_FL0036421
13. Alternatively called "pond water" by industry and state regulating agen-              (Oct. 25, 2019); REPORT TO CONGRESS, supra note 10, at 12-31.
    cies. See FIPR Institute, Process Water, https://fipr.floridapoly.edu/about-us/   23. REPORT TO CONGRESS, supra note 10, at 12-3.
    phosphate-primer/process-water.php (last visited Dec. 10, 2021) (Typical          24. Id at 12-4.
    Pond Water Analysis table). "Process wastewater" also includes phospho-           25. Id. at 12-31.



52 ELR 10126
                                                                 APPX ATT_V4_1962
                                                           ENVIRONMENTAL LAW REPORTER                                                                      2-2022
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waste stream has been abused as a repository for illegal                            A.        Documented Phosphogypsum Stack Failures
dumping for other already designated hazardous wastes. 26                                     Throughout the United States
  The U.S. phosphate fertilizer industry is responsible for
generating approximately 46 million tons of phosphogyp-                             On April 6, 1992, the southern retaining wall of Mobil
sum in the United States annually.27 And while 50% of the                           Mining and Mineral's No. 3 phosphogypsum stack expe-
phosphoric acid product is exported,28 100% of the phos-                            rienced structural failure, releasing 45 million gallons of
phogypsum waste remains in the United States, stored in                             phosphogypsum and process water with a pH of less than
ever-expanding phosphogypsum stacks near the fertilizer                             two standard units.37 The release flowed into Cotton Patch
facilities that generated them.29 A phosphogypsum stack                             Bayou and eventually the Houston Ship Channel through
can be more than one square mile wide3 and 500 feet tall, 3                         a barge basin, covering large areas of terrestrial and aquatic
and store more than one billion gallons of process waste-                           habitat and adversely affecting surface water quality within
water.32 More than 30 million tons of phosphogypsum per                             approximately seven miles of the Houston Ship Channel,
year are produced in Florida alone,33 and an estimated one                          resulting in a fish and macro-crustacean kill.38 Freshwater,
billion tons are already stacked there.34                                           marine, and estuarine wildlife, fish, invertebrates, plants,
   There are no imminent shortages of phosphate rock,                               and sediments all sustained injuries, as well as terrestrial
and global consumption of phosphoric acid is expected to                            wildlife, plants, and soils."9 Cotton Patch Bayou was
increase by three million tons in 2023.35 In Florida, where                         severely impacted, and prior to the release the bayou had
the majority of the nation's phosphate mining occurs,                               provided habitat for species of songbirds and wading birds,
the phosphate industry plans to strip mine an additional                            terrestrial reptiles, amphibians, mammals, crayfish, and
90,905 acres for phosphate over the next 50 years, produc-                          numerous other invertebrates.40
ing approximately another billion tons of phosphogypsum                                  During a Florida rainstorm on December 7, 1997, the
from processing Florida phosphate rock alone.36 Thus,                               crest of the south wall containing a settlement pond atop
these mountains of radioactive waste that are already a part                        the Mulberry facility's south stack washed out, causing
of several states' environmental legacies will only get expo-                       approximately 54 million gallons of process wastewater
nentially larger and more dangerous with time if EPA does                           and an undetermined amount of phosphogypsum slurry to
not take immediate action.                                                          spill into the North Prong of the Alafia River' eventually
                                                                                    traversing 35 miles of the Alafia River before reaching Hill-
                                                                                    sborough and Tampa Bays.42 With a pH of 2, the process
                                                                                    wastewater discharge drastically altered pH throughout
                                                                                    the length of the Alafia River, with post-spill pH measure-
26.   See Consent Decree, United States v. Mosaic Fertilizer, LLC, No. 15-cv-
                                                                                    ments ranging from 2.8 standard units in the upper, fresh-
      04889 (E.D. La. Sept. 30, 2015), https://www.epa.gov/sites/production/        water portion of the river to 4 standard units in the lower,
      files/2015-10/documents/mosaiclouisiana-cd_0.pdf; ConsentDecree, Unit-        estuarine portion.43
      ed States v. Mosaic Fertilizer, LLC, No. 15-cv-0228 6 (M.D. Fla. Sept. 30,
      2015),      https://www.epa.gov/sites/production/files/2016-03/documents/
                                                                                       Reported as the "worst environmental disaster in the
      florida-cd.pdf; Consent Decree, United States v. J.R. Simplot Co. & Sim-      Alafia River's history," the spill caused a significant fish
      plot Phosphates, LLC, No. 20-CV-125-F (D. Wyo. July 9, 2020), https://        kill throughout the length of the river from Mulberry to
      www.epa.gov/sites/production/files/2020-07/documents/jrsimplotcompa-
      ny-cd.pdf.
                                                                                    Hillsborough Bay, including an estimated 1.3 billion bait-
27.   THE FERTILIZER INSTITUTE,       REVISED   REQUEST   FOR APPROVAL   OF AD-     fish and shellfish and 72,900 gamefish."4 The spill also
      DITIONAL USES OF PHOSPHOGYPSUM            PURSUANT TO   40 C.F.R. §61.206,    caused injuries to freshwater benthic communities, oysters,
      at   6   (2020),   https://www.epa.gov/sites/production/files/2020-10/docu-
                                                                                    and mussels.45 Through the loss of habitat and prey, the
    ments/4-72020 pgpetition.pdf.
28. Stephen M. Jasinski, PhosphateRock, in MINERAL COMMODITY SUMMARIES              spill may also have indirectly injured animals that utilize
    2021 (U.S. Geological Survey 2021), https://pubs.usgs.gov/periodicals/          the Alafia River and surrounding wetlands, including for
    mcs2021/mcs202 1-phosphate.pdf.
29. Id.
30. U.S. EPA, supranote 7.
31. Id.
32. JBM&R Engineering, Inc., 2020 Interim Stack System Management
    Plan, Mosaic Fertilizer, LLC-New Wales Facility, FDEP Permit #MMR_              37. Consent Decree for Natural Resource Damages, United States v. Mobil
    FL0036421 (June 25, 2020).                                                          Mining & Minerals Co., No. H96-0695 (S.D. Tex. June 13, 1996).
33. William C. Burnett et al., Radionuclide Flow Duringthe Conversion ofPhos-       38. Id.
    phogypsum to Ammonium Sulfate, 32 J. ENVT RADIOACTIVITY 33 (1996),              39. Id.
      https://doi.org/10.1016/0265-931X(95)00078-0.                                 40. Id.
34.   Francisco   Macias et al., Environmental Assessment and Management of         41. Amundsen & Moore, Summary Report of Determination of Cause of Pro-
      Phosphogypsum According to European and United States of America Regula-          cess Water Discharge From South Gypsum Stack Expansion Area, Mulberry
      tions, 17 PROCEDIA EARTH & PLANETARY SCI. 666, 667 (2017), https://doi.           Phosphates, Inc., Mulberry, Polk County, Florida 1, FDEP Permit #MMR_
                  6           6
      org/10.101 /j.proeps.201 .12.178.                                                 FL0334944 (Jan. 20, 1998).
35. U.S. GEOLOGICAL SURVEY, supra note 8.                                           42. National Oceanic and Atmospheric Administration, Final Damage Assess-
36.   Based on a projected 734,170,244 tons of phosphate rock production in             ment and Restoration Plan and Environmental Assessment for the Decem-
      central Florida over a 50-year period. See U.S. ARMY CORPS OF ENGINEERS,          ber 7, 1997 Alafia River Spill 6 (July 21, 2000), https://www.gc.noaa.gov/
      AREAWIDE ENVIRONMENTAL IMPACT STATEMENT FOR THE CENTRAL FLORI-                    gc-rp/muldarp2.pdf.
      DA PHOSPHATE DISTRICT app. H tbls.3 & 5 (2013). Using the wet process,        43. Id.
      it takes 3.3 metric tons of phosphate rock to produce one metric ton of       44. Tom Palmer, Alafia River Appears to Have Healed After Acid Spill, LED-
      phosphoric acid (1 metric ton equals 1.10231 tons). ML2R Consultancy,             GER (Dec. 9, 2007), https://www.theledger.com/story/news/2007/12/09/
      Raw Materials Requirements, http://ml2rconsultancy.com/raw-materials-             alafia-river-appears-to-have-healed-after-acid-spill/25860770007/.
      requirements/ (last visited Dec. 10, 2021).                                   45. National Oceanic and Atmospheric Administration, supra note 42, at 10.



2-2022                                                      APPX ATT_V4_1963
                                                           ENVIRONMENTAL LAW REPORTER                                                          52 ELR 10127
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breeding.46 Approximately 377 acres of freshwater vegeta-                               Prior to filing for bankruptcy, Mississippi Phosphates
tion were injured or lost to the spill, including the die-off                     had been cited for hundreds of violations of its Clean
of freshwater wetland vegetation and eight acres of mature                        Water Act (CWA)58 permit for discharging wastewater that
hardwoods.47 Due to the 350 tons of nitrogen ultimately                           exceeded limits for ammonia, phosphorus, total suspended
sent to Tampa Bay,48 the spill caused imbalances in aquatic                       solids, fluoride, temperature, and pH." In 2015, the com-
fauna, algae blooms, and increased chlorophyll a concen-                          pany pleaded guilty to discharging more than 38 million
trations in both the river and bay through the following                          gallons of acidic process wastewater in August 2013, failing
year.49 A consultant-led investigation later determined that                      to treat the water with caustics to mitigate its toxicity to
the dike breach formed because of the routine removal of a                        marine life as required by its permit.o The illegal discharge
decant pipe and subsequent backfilling of the pipe trench                         resulted in the death of more than 47,000 fish and the clos-
with phosphogypsum, a process "similar to that used by                            ing of Bayou Cosette, one of the most productive nurseries
many gypsum stack operators worldwide."5o                                         for aquatic species on the Gulf Coast.61
      During Hurricane Frances on September 5, 2004, high                            Piney Point was a Florida phosphate fertilizer plant
winds and rain eroded a berm atop a phosphogypsum stack                           owned and operated by multiple different corporations
at Cargill Fertilizer's Riverview facility,5' causing 65 mil-                     from 1966 until operations ceased in 1999.62 Historically,
lion gallons of process wastewater to discharge into South                        Piney Point consisted of an acid plant, a phosphoric acid
Archie Creek and eventually Hillsborough Bay.52 The spill                         plant, an ammoniated phosphate fertilizer plant with stor-
caused documented death and injury to many estuarine-                             age for ammonia, phosphoric acid, and other products
dependent species, including tidal marsh, red, black, and                         necessary for the manufacture of fertilizer, and related
white mangrove forests, salt grass, blue crab, fiddler crab,                      facilities.63 In February 2001, Mulberry Corporation filed
various shrimp species, water column organisms, sea-                              for bankruptcy and provided the FDEP with 48 hours'
grasses, sand seatrout, striped mullet, spadefish, stingray,                      notice that it was abandoning the property.6 4 Between
croaker, menhaden, sea robin, hog choker, white grunt,                            2001 and 2004, FDEP discharged approximately 1.1 bil-
scaled sardine, mojarra, spotted seatrout, red drum, and                          lion gallons of precipitation and process wastewater from
common snook.53 In addition, the open waters of Hillsbor-                         Piney Point into Tampa Bay and Bishop Harbor.65
ough Bay provide important habitat for seabirds, marine                                 In 2011, Piney Point again discharged 169 million gal-
fish species, and marine mammals like the bottlenose dol-                         lons of wastewater. 66 On March 25, 2021, HRK Holdings,
phin and West Indian manatee, although no direct injuries                         LLC reported to FDEP increased flow and conductivity
of these species were observed.54 Approximately 78.4 acres                        measurements in the drains that surround the phospho-
of mangroves and 57.3 acres of tidal marsh experienced                            gypsum impoundments. FDEP authorized the discharge of
die-off, while 21.57 of 24.44 acres of seagrass along the                         215 million gallons of toxic wastewater into Tampa Bay.67
shoreline of Hillsborough Bay showed signs of stress after                        The discharge contained significant amounts of nutrients,
contact with the process wastewater, with the remaining                           including nearly 200 metric tons of nitrogen.61 That pol-
2.87 acres of seagrass no longer visible after the discharge.55                   lution fueled a red tide and fish kill in Tampa Bay,69 and
    On April 14, 2005, a rainfall of 26 centimeters (cm) in                       gave rise to a lawsuit under the Resource Conservation
less than 24 hours caused a stack breach at the Mississippi
Phosphates facility, releasing more than 17 million gallons
of process wastewater and damaging marsh vegetation,
fish, and oysters at the Bangs Lake station of the Grand                          58. 33 U.S.C. §§1251-1387, ELR STAT. FWPCA §§101-607.
                                                                                  59. Felony Information, United States v. Mississippi Phosphates Corp., No.
Bay National Estuarine Research Reserve.56 Seven years
                                                                                      1:15-cr-00058LG-RHW (S.D. Miss. sentence entered Aug. 19, 2015).
later, after 76 cm of rain fell from August 28-30 due to                          60. Id.
Hurricane Isaac, the facility released another 90 million                         61. Id.
                                                                                  62.   Christopher O'Donnell, Piney Point From 1966-Present: On the Edge of
gallons of process wastewater over the course of three days                             Disaster, TAMPA BAY TIMES (Apr. 24, 2021), https://www.tampabay.com/
into Bayou Cosette, where a fish kill was observed.57                                   news/environment/2021 /04/06/piney-point-from-1966-present-on-the-
                                                                                        edge-of-disaster/.
                                                                                  63. Id.
                                                                                  64. RobertTrigaux,Executives Turn TheirBacks on the Piney PointDisaster,TAMPA
                                                                                      BAYTIMES (Sept. 1,2005), https://www.tampabay.com/archive/2003/08/18/
46. Id. at 11.                                                                        executives-turn-their-backs-on-the-piney-point-disaster/.
47. Id. at 15.                                                                    65. John Rehill, Piney Point 1966-2011: A Retrospective, BRADENTON TIMES,
48. Palmer, supra note 44.                                                            https://thebradentontimes.com/piney-point-a-retrospective-p6328-158.
49. National Oceanic and Atmospheric Administration, supra note 42, at 22.            htm (last visited Dec. 10, 2021).
50. Amundsen & Moore, supra note 41, at 4-5.                                      66.   Cooper Levey-Baker, Environmental Nonprofits Sue State, Property Owners
51.    Now owned by Mosaic Fertilizer, LLC.                                             Over Piney Point Disaster, SARASOTA MAG. (June 25, 2021), https://www.
                                                                                                                                      6
52. Complaint for Natural Resource Damages, United States v. Mosaic Fertil-           sarasotamagazine.com/news-and-profiles/2021 /0 /piney-point-lawsuit.
    izer, LLC, No. 13-cv-00386-RAL-TGW (M.D. Fla. Feb. 11, 2013).                 67. FDEP, Emergency Final Order, DEP #21-0169 (Mar. 29, 2021), https://
53.    Consent Decree app. A at 9, United States v. Mosaic Fertilizer, LLC, No.       floridadep.gov/sites/default/files/21-0323.pdf.
    13-cv-00386-RAL-TGW (M.D. Fla. Feb. 11, 2013).                                68. Jessica Meszaros, Tampa Bay Algae Blooms Could Be Fed by Piney Point
54. Id. at 10.                                                                        Wastewater, WUSF PUB. MEDIA (June 11, 2021), https://wusfnews.
55. Id. at 11.                                                                          wusf.usf.edu/environment/2021-06-11/tampa-bay-algae-blooms-could-be-
56.    Marcus W. Beck et al., Water Quality Trends FollowingAnomalousPhosphorus         fed-by-piney-point-wastewater.
       Inputs to GrandBay, Mississippi, USA, 29 GULF &CARIBBEAN RSCH. 1 (2018),   69.   Id.; Kimberly Kuizon, Trail of Dead Fish Leads to Piney Point, Prompting
       https://aquila.usm.edu/cgi/viewcontent.cgi?article= 1540&context=gcr.            Concern, FOX 13 TAMPA BAY (June 10, 2021), https://www.foxl3news.
57. Id.                                                                                 com/news/trail-of-dead-fish-leads-to-piney-point-prompting-concern.



52 ELR 10128
                                                              APPX ATT_V4_1964
                                                         ENVIRONMENTAL LAW REPORTER                                                                 2-2022
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and Recovery Act (RCRA)70 and the CWA.7 The FDEP                                   frameworks are based on the fundamental principle that
recently issued a permit authorizing the deep well injection                       the federal government has an obligation to protect com-
of the remaining wastewater despite a state ban on the deep                        munities and the environment from harm from industrial
well injection of hazardous waste.72                                               waste. President Biden's recent Executive Orders call on all
                                                                                   federal agencies to address environmental injustices.
B.       Routine Violations of Permit Conditions                                      RCRA directs EPA to protect human health and the
                                                                                   environment from hazardous waste. The Toxic Substances
As an initial matter, it was historically industrywide prac-                       Control Act (TSCA)76 tasks EPA with managing the
tice to illegally commingle other mining-related hazard-                           unacceptable risks of chemicals to human health and the
ous waste with phosphogypsum and process wastewater.                               environment. The Clean Air Act (CAA)77 requires EPA to
Operations at Piney Point illustrate how the industry's                            regulate air emissions that may present a risk to human
MAP and/or DAP production process waste was routinely                              health or the environment. The National Environmen-
mixed with phosphogypsum and process water. In 1990,                               tal Policy Act (NEPA)78 mandates all federal agencies to
Royster Phosphates, Inc., then-operator of the Piney Point                         consider the environmental consequences of their actions,
facility, provided EPA with its response to a regulatory                           prior to acting. Yet, with all these environmental safety
questionnaire entitled "National Survey of Solid Wastes                            nets, there are still billions of tons of radioactive waste
From Mineral Processing Facilities." The questionnaire                             decaying in dozens of communities throughout the United
was "designed to obtain information on the generation and                          States, leaking, breaching, contaminating soil and water,
management of selected solid wastes from mineral process-                          and putting human lives at risk.
ing facilities."73
   The questionnaire was EPA's method of fulfilling the                            A.        Executive Orders on EnvironmentalJustice
congressional requirement that EPA determine whether
"special wastes" such as phosphogypsum should be subject                           In the first few days of his presidency, President Biden
to the requirements of Subtitle C of RCRA, the chapter                             directed every agency to make environmental justice a part
of RCRA that focuses on hazardous wastes. Royster Phos-                            of their missions and to develop and implement programs
phates, Inc.'s response to EPA's questionnaire included                            and policies that address "the disproportionate health,
maps of the Piney Point facility that demonstrate the facil-                       environmental, economic, and climate impacts on dis-
ity utilized a MAP and/or DAP production process. The                              advantaged communities."79 EPA's working definition of
maps identify both a DAP plant as well as a "diammonium                            "environmental justice" is: "The fair treatment and mean-
phosphate pond" at the site and show that the waste stream                         ingful involvement of all people regardless of race, color,
from the DAP production process was disposed of in the                             national origin, or income, with respect to the develop-
phosphogypsum stack system.                                                        ment, implementation, and enforcement of environmental
   In 2015, EPA announced a record $2 billion RCRA                                 laws, regulations, and policies."so
settlement with Mosaic Fertilizer, LLC for illegally com-                              President Biden's Executive Order No. 14008 estab-
mingling 60 billion pounds of hazardous waste with Bevill-                         lishes a White House Environmental Justice Interagency
exempt waste at several facilities in Florida and Louisiana.74                     Council and a White House Environmental Justice Advi-
More recently, EPA settled with J.R. Simplot Company in                            sory Council to ensure agencies work to address environ-
July 2020, where the company agreed to pay a civil penalty                         mental injustices." It also creates the "Justice40 Initiative"
of $775,000, also for placing hazardous wastes in a Bevill-                        with the goal that 40% of federal investments benefit dis-
exempt phosphogypsum stack system.75                                               advantaged communities'2 and instructs the chair of the
                                                                                   White House Council on Environmental Quality (CEQ)
II.      Regulatory Framework                                                      to develop a screening tool to prioritize disadvantaged

There are several applicable laws, regulations, and policies
that individually, and certainly when read together, should
result in the robust regulation of phosphogypsum. These
                                                                                   76.   15 U.S.C. §§2601-2692, ELR STAT. TSCA §§2-412.
                                                                                                       4     6
                                                                                   77.   42 U.S.C. §§7 01-7 71q, ELR STAT. CAA §§101-618.
                                                                                   78.   42 U.S.C. §§4321-4370h, ELR STAT. NEPA §§2-209.
                                                                                   79.   Exec. Order No. 14008, 86 Fed. Reg. 7619 (Feb. 1, 2021), https://www.
70. 42 U.S.C. §§6901-6992k, ELR STAT. RCRA §§1001-11011.                                 govinfo.gov/content/pkg/FR-2021-02-01/pdf/2021-02177.pdf; Fact Sheet,
71. Center for Biological Diversity v. DeSantis, No. 8:21-cv-1521-WFJ-CPT                The White House, President Biden Takes Executive Actions to Tackle the
     (M.D. Fla. June 24, 2021). [Editor's Note: Jaclyn Lopez represents the Cen-         Climate Crisis at Home and Abroad (Jan. 27, 2021), https://www.white-
    ter for Biological Diversity (and co-plaintiffs) in this case.]                      house.gov/briefing-room/statements-releases/2021/01 /27/fact-sheet-pres-
72. FDEP UIC Permit No. 0322708-002-UC/1I (Dec. 16, 2021); FLA. STAT.                    ident-biden-takes-executive-actions-to-tackle-the-climate-crisis-at-home-
     §403.7222 (2020); FLA. ADMIN. CODE r. 17-28.20 (1985); FLA. ADMIN.                  and-abroad-create-jobs-and-restore-scientific-integrity-across-federal-gov-
    CODE r. 62-528.400 (2020).                                                           ernment/.
73. U.S. EPA, National Survey of Solid Wastes From Mineral Processing Facili-      80.   U.S. EPA, Environmentaljustice, https://www.epa.gov/environmentaljustice
    ties, at i (1989) (OMB #2050-0098).                                                  (last updated Oct. 29, 2021).
74.   U.S. EPA, Mosaic Fertilizer, LLC Settlement, https://www.epa.gov/enforce-    81.   Fact Sheet, The White House, supranote 79; News Release, U.S. EPA, EPA
      ment/mosaic-fertilizer-llc-settlement (last updated Nov. 15, 2021).              Administrator Announces Agency Actions to Advance Environmental Jus-
75. Complaint, United States v. J.R. Simplot Co. & Simplot Phosphates, LLC,            tice (Apr. 7, 2021), https://www.epa.gov/newsreleases/epa-administrator-
    No. 20-CV-125-F (D. Wyo. July 9, 2020), https://www.justice.gov/enrd/              announces-agency-actions-advance-environmental-justice.
    consent-decree/file/1293116/download.                                          82. Exec. Order No. 14008, 86 Fed. Reg. 7619 (Feb. 1, 2021).



2-2022                                                    APPX ATT_V4_1965
                                                         ENVIRONMENTAL LAW REPORTER                                                               52 ELR 10129
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    communities and evaluate impacts of federally funded or                                  Within the meaning of solid waste, RCRA further
    authorized projects.83                                                                defines "hazardous waste" as any discarded material "which
        The White House Environmental Justice Interagency                                 because of its quantity, concentration characteristics, or
    Council is charged with developing strategies to address                              physical, chemical or infectious characteristics may-
    environmental injustice and measures for accountabil-
    ity. The White House Environmental Justice Advisory                                        (A) cause, or significantly contribute to an increase in
    Council, a nonfederal stakeholder group, will provide rec-                                 mortality or an increase in serious irreversible, or incapaci-
    ommendations to the CEQ chair on how to address envi-                                      tating reversible, illness; or
    ronmental injustices.4
       Executive Order No. 12898 instructs federal agencies to                                 (B) pose a substantial present or potential hazard to human
    address adverse health and environmental effects on Black,                                 health or the environment when improperly treated, stored,
    indigenous, and people of color (BIPOC) and low-wealth                                     transported, or disposed of, or otherwise managed."90
    populations.5 While the Executive Order does not pro-
    vide a direct right to judicial review,86 courts have reviewed                             In its proposed regulatory framework for implementing
    environmental justice claims under the Administrative                                 the RCRA Subtitle C hazardous waste program, EPA first
    Procedure Act's arbitrary and capricious standard.87                                  introduced the concept of "special wastes," which include
                                                                                          mining, beneficiation, and ore processing because of their
    B.        RCRA                                                                        typically high volumes and perceived low-but at the time
                                                                                          understudied-hazard to human health and the environ-
    Finding that land is "too valuable a national resource to                             ment. While EPA's "special wastes" concept did not make it
    be needlessly polluted by discarded materials,"-- the U.S.                            into the final rules published in 1980, it formed the basis of
    Congress passed RCRA in 1976 to address increasing                                    the Bevill Amendment passed by Congress later that year.
    problems associated with the growing volume of industrial
    and municipal waste. RCRA's goals include reducing the                                1.       The Bevill Amendment
    amount of solid waste generated, ensuring that these wastes
    are managed in an environmentally sound manner, 9 and                                 The 1980 Bevill Amendment suspended EPA's authority
    protecting human health and the environment from the                                  to regulate "special wastes," including mining and min-
    potential hazards of waste disposal. To achieve these goals,                          eral processing wastes, as hazardous under Subtitle C until
    RCRA established two distinct programs: (1) the solid                                 six months after EPA's completion of a detailed study on
    waste program, under RCRA Subtitle D, encourages states                               the adverse human health and environmental effects and
    to develop comprehensive plans to manage nonhazardous                                 a published Bevill determination for each particular cat-
    industrial solid waste and municipal solid waste, sets crite-                         egory of special waste. Study requirements for mineral
    ria for municipal solid waste landfills and other solid waste                         processing wastes like phosphogypsum and process waste-
    disposal facilities, and prohibits the open dumping of solid                          water included analysis of the following:
    waste; and (2) the hazardous waste program, under RCRA
    Subtitle C, establishes a "cradle to grave" system for con-                                (1) the source and volumes generated per year;
    trolling hazardous waste from the time it is generated until                               (2) present disposal and utilization practices;
    its final disposal.                                                                        (3) potential danger, if any, to human health and
                                                                                                   the environment from disposal and reuse of such
                                                                                                   materials;
    83. Id.                                                                                    (4) documented cases in which danger to human
    84. U.S. EPA Charter, White House Environmental Justice Advisory Council                       health or the environment has been proved;
        (WHEJAC) (2021), https://www.epa.gov/sites/default/files/2021-03/docu-
        ments/charter forthewhite house environmental justice advisory
                                                                                               (5) alternatives to current disposal methods;
        council.pdf.                                                                           (6) the costs of such alternatives;
    85. 59 Fed. Reg. 7629 (Feb. 11, 1994).                                                     (7) the impact of those alternatives on the use of
    86. Id. at 7633.
    87. See, e.g., Coliseum Square Ass'n, Inc. v. Jackson, 465 F.3d 215, 232, 36 ELR
                                                                                                   phosphate rock and uranium ore, and other nat-
          20195 (5th Cir. 2006) (environmental justice study part of NEPA analysis                 ural resources; and
          reviewed as part of administrative record subject to arbitrary and capricious        (8) the current and potential utilization of such
          review); Standing Rock Sioux Tribe v. U.S. Army Corps of Eng'rs, 255 F.
                                                                                                  materials.9'
          Supp. 3d 101, 140, 47 ELR 20035 (D.D.C. 2017); Latin Ams. for Soc.
          Econ. Dev. v. Administrator of the Fed. Highway Ass'n, 756 F.3d 447 (6th
          Cir. 2014); but see City of Dallas, Tex. v. Hall, No. 3-07-cv-0060-P, 2007      EPA took more than a decade to make a Bevill determina-
          U.S. Dist. LEXIS 78847, 2007 WL 3125311, at *6 (N.D. Tex. Oct. 24,
                                                                                          tion for mineral processing wastes, including phosphogyp-
          2007) (if mandates of Executive Orders are not part of NEPA analysis, then                                  92
          agency's compliance with Executive Orders is not subject to review under        sum and process wastewater.
        the Administrative Procedure Act's arbitrary and capricious standard).
    88. 42 U.S.C. §6901(b).
    89. "'Solid waste' means any garbage, refuse, sludge from a waste treatment
        plant, water supply treatment plant, or air pollution control facility and        90. Id. §6903(5).
                                                                                                   6 82
        other discarded material, including solid, liquid, semisolid, or contained        91. Id. § 9 (p).
        gaseous material resulting from industrial, commercial, mining, and agricul-      92. Special Wastes From Mineral Processing (Mining Waste Exclusion); Final
        tural operations, and from community activities," subject to certain exclu-           Regulatory Determination and Final Rule, 56 Fed. Reg. 27300 (June 13,
        sions. Id. §6903(27).                                                                 1991).



    52 ELR 10130
                                                                     APPX ATT_V4_1966
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    2.      The Simpson Amendment                                                     use," which include disposal.- EPA must prioritize and
                                                                                      make risk of injury determinations without consideration
    The 1984 Simpson Amendment provided that EPA can                                  of costs and include consideration of the risk to potentially
    modify some of the requirements of Subtitle C for special                         exposed or susceptible subpopulations."9
    wastes that the Agency determines are hazardous waste.                               EPA notes that through the prioritization process, EPA
    The modifications can account for the unique characteris-                         is ultimately making a judgment as to whether or not a
    tics of mining and processing wastes and the practical dif-                       particular chemical substance warrants further assessment
    ficulties associated with implementation, but must "assure                        and ultimately a §6(b) risk evaluation as a high-priority
    protection of human health and the environment."93 The                            substance.100 It intends to select as high-priority chemi-
    amendment specifically lists phosphate mining and pro-                            cals those with the greatest hazard and exposure poten-
    cessing wastes as wastes eligible for this Subtitle C regula-                     tial first.o1 Low-priority substances are thus chemicals for
    tory flexibility.94                                                               which EPA has determined, based on sufficient informa-
        Given RCRA's mandates to protect public health and                            tion to establish and without consideration of costs or other
    the environment from unreasonable risks of harm from                              non-risk factors, that a §6(b) risk evaluation is not war-
    hazardous waste, EPA may find strong support for deci-                            ranted at the time of priority designation.o2
    sionmaking that centers on environmental justice factors.95                          Once the prioritization process is initiated, EPA must
                                                                                      publish a notice in the Federal Register, beginning a
    C.      TSCA                                                                      90-day period during which interested persons may sub-
                                                                                      mit relevant information,103 including information rel-
    TSCA directs EPA to evaluate new and existing chemicals                           evant to the following screening factors EPA will use to
    and their risks to human health and the environment, and                          decide whether to propose designation as a high-priority
    to then implement regulations to manage unacceptable                              or low-priority substance:
    risks, therefore preventing or reducing pollution caused by
    these substances before they enter the environment. Under                            (1) The chemical substance's hazard and exposure
    TSCA, EPA has the authority to impose recordkeeping,                                     potential;
    reporting, and testing requirements upon manufactur-                                 (2) The chemical substance's persistence and
    ers, and to develop restrictions relating to chemical sub-                               bioaccumulation;
    stances 96 and mixtures.97 Once a substance is evaluated for                         (3) Potentially exposed or susceptible subpopulations;
    risk, if EPA determines the risk of injury to human health                           (4) Storage of the chemical substance near signifi-
    and the environment is unreasonable, EPA must propose                                    cant sources of drinking water;
    regulations under §6(a) to remove the unreasonable risk.                             (5) The chemical substance's conditions of use or sig-
       Faced with a significant backlog in EPA's evaluation                                  nificant changes in conditions of use;
    and management of existing chemicals, the Frank R. Laut-                             (6) The chemical substance's production volume or
    enberg Chemical Safety for the 21st Century Act of 2016                                  significant changes in production volume; and
    mandated EPA to evaluate existing chemicals for their risk                           (7) Other risk-based criteria that EPA determines
    of injury to human health and the environment, includ-                                   to be relevant to the designation of the chemical
    ing a system of prioritization, with clear and enforceable                                substance's priority.10 4
    deadlines. The amendment also directed EPA to conduct
    risk-based chemical evaluations without consideration of                             After conducting the screening review, EPA must then
    costs to the industry.                                                            propose to list the chemical as either a high-priority or low-
                                                                                      priority substance, and the proposed designation is subject
    1.      Prioritization Under §6                                                   to another 90-day public comment period.05 A final high-
                                                                                      priority designation is only appropriate after EPA initiates
    A high-priority substance is a chemical substance EPA                             prioritization and the close of the second 90-day comment
    determines may present an unreasonable risk of injury to                          period. The entire prioritization process may take nine to
    health or the environment because of a potential hazard                           12 months from the date of the first publication of the
    and apotential route of exposure under the "conditions of                         notice of initiation of prioritization.106




    93. 42 U.S.C. §6924.
    94. Id. §6924(x).                                                                 98. 40 C.F.R. §702.3 (2020).
    95. Rachael Salcido, Retooling Environmental justice, 39 UCLA J. ENVT L.          99. Id.
        PoL Y 1, 24 (2021).                                                           100. Procedures for Prioritization of Chemicals for Risk Evaluation Under Toxic
    96. "The term 'chemical substance' means any organic or inorganic substance            Substances Control Act; Final Rule, 82 Fed. Reg. 33753 (July 20, 2017); 40
        of a particular molecular identity, including-(i) any combination of such          C.F.R. §702 (2020).
        substances occurring in whole or in part as a result of a chemical reaction   101.40 C.F.R. §702.5(a) (2020).
        or occurring in nature, and (ii) any element or uncombined radical." 15       102.Id. §702.3.
        U.S.C. §2602(2).                                                              103. Id. §702.7(d).
    97. "The term 'mixture' means any combination of two or more chemical sub-        104. Id. §702.9(a).
        stances if the combination does not occur in nature and is not, in whole or   105. Id. §702.9.
        in part, the result of a chemical reaction... ." Id. §2602(10).               106. Id. §702.1(d).



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   Once a substance is designated as a high-priority sub-                    sures to radioactivity are cumulative, that is, each new or
stance, a risk evaluation is initiated and EPA has three years,              additional exposure increases the risk of serious illness.112
subject to a possible one-time extension of six months, to
complete the evaluation and make a final determination                      In 1979, EPA issued a determination that radionuclides
of risk.lo7 For substances that EPA has determined pose an               should be regulated as a hazardous air pollutant under
unreasonable risk, EPA has one year, extendable by up to                 §112 of the CAA because they are a known cause of cancer
two years, to propose a rule under §6(a) where EPA takes                 and genetic damage and present a risk warranting regula-
action to manage or minimize the risk so that it is no lon-              tion under §112.1. Following a lawsuit to enforce §7412(b)
ger unreasonable. Such action can include, among others, a               (1)(B), which required EPA to issue proposed regulations
ban, limitation on quantities produced, or regulation gov-               within 180 days," in 1983, EPA proposed standards regu-
erning disposal.os                                                       lating radionuclide emissions from elemental phosphorus
                                                                         plants, but explicitly not from other sources in the phos-
2.       Testing Rules Under §4                                          phate industry."'
                                                                             In 1984, EPA withdrew the proposed emission standards
To facilitate the policy that "adequate information should               for elemental phosphorus plants, asserting that the public
be developed with respect to the effect of chemical sub-                 was already protected from exposure to radionuclides with
stances and mixtures on health and the environment and                   an ample margin of safety, and reaffirmed its decision to
that the development of such information should be the                   not regulate other aspects of the phosphate industry.116 In
responsibility of those who manufacture and those who                    1985,"' EPA promulgated standards for radionuclide emis-
process such chemical substances and mixtures,"o9 TSCA                   sions from phosphorus plants,s which was challenged by
requires EPA to direct testing on a chemical substance or                conservation and industry groups. In 1987, following a
mixture if it finds the following criteria are met:                      U.S. Court of Appeals for the District of Columbia (D.C.)
                                                                         Circuit decision (Vinyl Chloridecase) that EPA improperly
     (I) the manufacture, distribution in commerce, process-             considered cost and technological feasibility of regulating
     ing, use, or disposal of a chemical substance or mixture,           vinyl chloride without first deciding based exclusively on
     or that any combination of such activities, may present an          risk to health,"s EPA voluntarily remanded its elemental
     unreasonable risk of injury to health or the environment,           phosphorus plants standards decision.2o
                                                                            The Vinyl Chloride case established that to make a deter-
     (II) there is insufficient information and experience upon          mination under §112, EPA must first determine a "safe"
     which the effects of such manufacture, distribution in              or "acceptable" level of risk considering only health-related
     commerce, processing, use, or disposal of such substance            factors, and next must set a standard that provides an
     or mixture or of any combination of such activities on              "ample margin of safety" in which costs, feasibility, and
     health or the environment can reasonably be determined              other relevant factors may be considered.121 In 1989, EPA
     or predicted, and                                                   again determined that radiation causes cancer, hereditary
                                                                         effects, and developmental effects on fetuses; that numer-
     (III) testing . . . is necessary to develop such information 10     ous studies have demonstrated radiation is a carcinogen;
                                                                         that it is assumed that there is no completely risk-free level
                                                                         of exposure of radiation for cancer; and that its initial eval-
D.       The CAA                                                         uation of radionuclides in 1979 was correct. EPA accord-
                                                                         ingly proposed listing radionuclides for regulation under
The purpose of CAA §112(a) is to control air emissions
from any hazardous air pollutant that "causes or contrib-
utes to air pollution which may reasonably be anticipated
to result in an increase in mortality or an increase in serious           112. H.R. REP. No. 95-294, at 36-37, reprinted in 1977 U.S.C.C.A.N. 1077,
irreversible or incapacitating illness.""' In 1977, Congress                   1114-15.
                                                                          113. National Emission Standards for Hazardous Air Pollutants; Addition of Ra-
amended the CAA after finding:                                                 dionuclides to List of Hazardous Air Pollutants, 44 Fed. Reg. 76738 (Dec.
                                                                               27, 1979).
     It is clear that exposure to radioactive materials can cause         114. Sierra Club v. Gorsuch, 551 F. Supp. 785, 13 ELR 20231 (N.D. Cal. 1982).
                                                                          115. National Emission Standards for Hazardous Air Pollutants; Standards for
     serious harm to health, including cancer, genetic damage,                 Radionuclides, 48 Fed. Reg. 15076 (Apr. 6, 1983).
     and birth deformities. Materials that are radioactive may            116. National Emission Standards for Hazardous Air Pollutants; Regulation of
     remain so for thousands of years. This longevity poses a                  Radionuclides, 49 Fed. Reg. 43906 (Oct. 31, 1984).
                                                                          117. Sierra Club v. Ruckelshaus, 602 F. Supp. 892, 15 ELR 20080 (N.D. Cal.
     special problem for living organisms. Furthermore, expo-                  1984).
                                                                          118. National Emission Standards for Hazardous Air Pollutants; Standard for
                                                                               Radon-222 Emissions From Underground Uranium Mines, 50 Fed. Reg.
                                                                               7280 (Feb. 21, 1985).
                                                                          119. Natural Res. Def. Council v. Environmental Prot. Agency, 824 F.2d 1211,
107. Id. §702.49.                                                              17 ELR 21100 (D.C. Cir. 1987).
108. 15 U.S.C. §2605(a).                                                  120. National Emission Standards for Hazardous Air Pollutants; Regulation of
109. Id. §2601(b)(1).                                                          Radionuclides, 54 Fed. Reg. 9612 (Mar. 7, 1989).
110. Id. §2603(a)(1)(A)(i).                                               121. Natural Res. Def. Council v. Environmental Prot. Agency, 824 F.2d 1211,
111.42 U.S.C. §7412.                                                           17 ELR 21100 (D.C. Cir. 1987).



52 ELR 10132
                                                        APPX ATT_V4_1968
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    §112.122 Later that year, EPA finalized the rule for emis-                      action, but also its indirect and cumulative impacts.132
    sions of radionuclides from elemental phosphorus plants                         "Indirect effects" are "caused by the action and are later
    and phosphogypsum stacks.123                                                    in time or farther removed in distance, but are still rea-
       While the CAA does not specifically dictate environ-                         sonably foreseeable."133 A "cumulative effect" is the impact
    mental justice considerations, it does require agency deci-                     on the environment "which results from the incremental
    sionmaking that considers levels of risk to communities,                        impact of the action when added to other past, present,
    albeit with an allowance for weighing technological and                         and reasonably foreseeable future actions."134 This ensures
    economic factors.124                                                            "environmental information is available to public officials
                                                                                    and citizens before decisions are made and before actions are
    E.       NEPA                                                                   taken."35 Because the information presented "must be of
                                                                                    high quality,... [a]ccurate scientific analysis ... and public
    NEPA is "our basic national charter for protection of the                       scrutiny are essential to implementing NEPA."136
    environment."125 Congress enacted NEPA with the ambi-                              The preparation of an EIS does not terminate an agency's
    tious objectives of "encourag[ing] productive and enjoy-                        duties under NEPA. NEPA requires that an agency "shall"
    able harmony between man and his environment . .                                supplement an EIS when the "agency makes substantial
    promot[ing] efforts which will prevent or eliminate dam-                        changes in the proposed action," or "significant new cir-
    age to the environment and biosphere and stimulating the                        cumstances or information" arise that are relevant to the
    health and welfare of man; and enrich[ing] the under-                           environmental impacts of the action.137 Underlying all of
    standing of the ecological systems and natural resources                        NEPA's procedural requirements is the mandate that agen-
    important to the Nation .... "126 Further,                                      cies take a "hard look" at all of the environmental impacts
                                                                                    and risks of a proposed action. This hard look must include
         NEPA has twin aims. First, it places upon an agency the                    an analysis of environmental justice impacts.138
         obligation to consider every significant aspect of the envi-                  The NEPA process provides the clearest avenue for
         ronmental impact of a proposed action, and to consider                     agency decisionmaking that incorporates environmental
         reasonable alternatives that could mitigate those impacts.                 justice considerations.'" CEQs guidance to federal agen-
         Second, it ensures that the agency will inform the public                  cies on incorporating environmental justice considerations
         that it has indeed considered environmental concerns in                    in decisionmaking explains that they are to be considered
                                         27
         its decisionmaking process.1                                               at every stage. 40 For example in the scoping stage, the
                                                                                    action agency should develop a strategy for seeking input
      NEPA mandates several "action forcing" proce-                                 from low-wealth and BIPOC communities in the area and
    dures-most importantly, the requirement to prepare an                           should substantively address concerns raised by those com-
    environmental impact statement (EIS) on major federal                           munities. 4 ' The CEQ guidance states that participation
    actions "significantly affecting the quality of the human
    environment."128 The term "human environment" is to be
    interpreted comprehensively to include the natural and
    physical environment and "the relationship of people with
                                                                                    132.40 C.F.R. §§1502.16, 1508.7, 1508.8 (2020).
    that environment."129 The CEQ regulations, which are
                                                                                    133.Id. §1508.8(b).
    binding on all federal agencies, explain, "When an envi-                        134. Id. §1508.7. "[A]ssessment of a given environmental impact must occur as
    ronmental impact statement is prepared and economic or                               soon as that impact is 'reasonably foreseeable."' N.M. ex rel. Richardson v.
                                                                                         Bureau of Land Mgmt., 565 F.3d 683, 716, 39 ELR 20101 (10th Cir. 2009)
    social and natural or physical environmental effects are                             (citing 40 C.F.R. §1502.22); see also Kern v. Bureau of Land Mgmt., 284
    interrelated, then the environmental impact statement will                           F.3d 1062, 1072, 32 ELR 20571 (9th Cir. 2002) ("NEPA is not designed
    discuss all of these effects on the human environment."130                           to postpone analysis of an environmental consequence to the last possible
                                                                                         moment. Rather, it is designed to require such analysis as soon as it can
       An EIS must detail "the environmental impact of the                               reasonably be done.").
    proposed action," "any adverse environmental effects which                      135.40 C.F.R. §1500.1(b) (2020) (emphasis added).
    cannot be avoided," and any reasonable alternatives.m' It                       136. Id.
                                                                                    137.Id. §1502.9(c)(1)(i)-(ii).
    must analyze not only the direct impacts of a proposed                          138. See Standing Rock Sioux Tribe v. U.S. Army Corps of Eng'rs, 255 F. Supp.
                                                                                         3d 101, 140, 47 ELR 20035 (D.D.C. 2017) (holding agency's "bare-bones"
                                                                                         environmental justice analysis concluding that tribe would not be dispro-
                                                                                         portionately harmed violated NEPA's hard look requirement); see also Sierra
    122. 54 Fed. Reg. at 9615.                                                           Club v. Federal Energy Regul. Comm'n, 867 F.3d 1357, 1369, 47 ELR
    123. Phosphogypsum is the waste byproduct of wet-process phosphoric acid             20104 (D.C. Cir. 2017) (upholding EIS that fully discussed disproportion-
         production, the intermediate feedstock of granular and liquid ammonium          ate impacts on environmental justice communities while recognizing that
         phosphate fertilizers. U.S. GEOLOGICAL SURVEY, supra note 8.                    plaintiffs "[p]erhaps would have a stronger claim if the agency had refused
    124. Salcido, supra note 95, at 24.                                                  entirely to discuss the demographics of the populations that will feel the
    125.40 C.F.R. §1500.1(a) (2020).                                                     pipelines' effects").
    126.42 U.S.C. §4321.                                                            139. Alan Ramo, EnvironmentalJustice as an Essential Tool in EnvironmentalRe-
    127. Baltimore Gas & Elec. Co. v. Natural Res. Def. Council, 462 U.S. 87, 97,        view Statutes: A New Look at FederalPolicies and Civil Rights Protectionsand
         13 ELR 20544 (1983) (citation omitted).                                         California'sRecent Initiatives, 19 HASTINGS W.-Nw. J. ENVT L. & POL'Y 41,
    128. Robertson v. Methow Valley Citizen Council, 490 U.S. 332, 348, 19 ELR           52-56 (2013).
         20743 (1989); 42 U.S.C. §4332(2)(C).                                       140. CEQ, ENVIRONMENTAL JUSTICE: GUIDANCE UNDER THE NATIONAL ENVI-
    129.40 C.F.R. §1508.14 (2020).                                                       RONMENTAL POLICY ACT 10, 12 (1997), https://www.epa.gov/sites/default/
    130. Id.                                                                             files/2015-02/documents/ejguidancenepa_ceq1297.pdf.
    131.42 U.S.C. §4332(2)(C).                                                      141.Id. at 10-11.


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from these communities is "necessary" for the "full consid-                         Citing    concern      that     radium-rich        phosphogypsum
eration" of the project and alternatives.142                                   would be incorporated into other products and diffused
   The action agency should also analyze and explain                           throughout the country such that EPA would be unable
whether the project will have a "disproportionately high                       to ensure phosphogypsum radon emissions do not present
and adverse human health or environmental impact" on                           an unacceptable risk to public health, EPA promulgated
BIPOC or low-wealth communities.4 Where the project                            a national emission standards for hazardous air pollutants
will cause impacts, the action agency should consider those                    (NESHAP) rule in the form of a work practice standard
impacts in its analysis and identification of the "environ-                    that required all phosphogypsum be disposed into stacks
mentally preferable alternative" in the record of decision,                    or old phosphate mines.15o EPA found that in order to
and describe efforts to minimize and mitigate them.1"                          control the dispersion of phosphogypsum and the resul-
EPA's Guidance for Incorporating Environmental Justice                         tant release of radon gas (a decay product of radium-226
Concerns in EPA's NEPA Compliance Analyses goes fur-                           found in phosphogypsum) to ambient air, the phospho-
ther, requiring enhanced outreach efforts to BIPOC and                         gypsum, once created, must be disposed in stacks such
low-wealth communities as well as an enhanced analysis to                      that the radon emission is limited to a level of 20 picocu-
identify and assess impacts.41                                                 ries per square meter per second (pCi/m2 -s).151 The 1989
   The D.C. Circuit has held that "section 111 of the Clean                    rule also found that, if dispersed throughout the country,
Air Act, properly construed, requires the functional equiv-                    phosphogypsum would present a public health threat from
alent of a NEPA impact statement."146 Courts applying                          radon gas emissions that would continue for generations
other sections of the CAA and other statutes EPA imple-                        given radium-226's 1,600-year half-life, and that it would
ments have likewise held that while EPA is not required                        be impracticable for EPA to implement regulation of such
to comply with NEPA as an "environmentally protective                          numerous and diffuse sources. 52
regulatory agency," it is required to provide the functional                       The rule also limited radon emissions from stacks to a
equivalent to NEPA. Notably, even where there is no                            flux of 20 pCi/m2 -s, but EPA acknowledged that both the
statutory requirement to prepare an EIS or environmental                       stack requirement and the numerical radon flux emission
assessment (EA), like with the CAA's functional equiva-                        standard imposed on the stacks were simply a maintenance
lent, agencies should still meet their obligations to consider                 of the status quo, as phosphogypsum stacks were already
the environmental justice impacts of their actions and                         standard industry practice, and the NESHAP rule imposed
"augment their procedures as appropriate to ensure that                        no additional control technology since EPA believed all
the otherwise applicable process or procedure for a federal                    existing stacks already met the numerical radon flux stan-
action addresses environmental justice concerns."147                           dard.153 In other words, EPA did nothing to manage or
                                                                               reduce the measured risk of fatal cancer from radon expo-
III.       Regulatory History of                                               sure that at the time applied to 95 million people living
           Phosphogypsum Stacks                                                within 80 kilometers of a stack.154 Testing to demonstrate
                                                                               compliance with the flux standard need only be measured
Despite EPA's acknowledgment of the need for comprehen-                        one time once a stack becomes inactive. If the standard is
sive federal phosphogypsum stack regulation since at least                     met, it never needs to be tested again.55 Since then, EPA
1984, the fertilizer industry has enjoyed relative freedom                     has only become less consistent and firm in its regulation
from regulation of many of the legal frameworks it is theo-                    of phosphogypsum.
retically subject to. 48 The most significant form of regula-
tion came when EPA reevaluated the need for radionuclide                       A.         EPA's Determination of Unacceptable Level of
emission standards under the CAA, after preliminary risk                                  Risk to Public Health
assessments indicated individual lifetime risks of cancer
from exposure to radon emissions from existing stacks                          Shortly following EPA's 1989 final rule, The Fertilizer
were as high as eight in 10,000 and that population risks                      Institute (TFI) and others petitioned EPA under 42 U.S.C.
were on the order of one fatal cancer per year. 4 9                            §7607(d)(7)(B) to reconsider the portion of the regulation
                                                                               (Subpart R) that requires disposal of phosphogypsum in
                                                                               stacks, arguing the regulation prevented other uses of phos-
                                                                               phogypsum.156 Industry argued the rule was adopted with-
142. Id. at 12.
143. Id. at 15.
144. Id. at 15-16.                                                             150. An old phosphate mine receiving phosphogypsum waste would then also
145. U.S. EPA, GUIDANCE FOR INCORPORATING ENVIRONMENTAL JUSTICE CON-                become a "phosphogypsum stack" for the purposes of the NESHAP. Na-
       CERNS   IN   EPA'S NEPA COMPLIANCE ANALYSES (1998), https://www.epa.         tional Emission Standards for Hazardous Air Pollutants; Radionuclides; Fi-
       gov/sites/default/files/2014-08/documents/ej_guidancenepa_epa0498.           nal Rule and Notice of Reconsideration, 54 Fed. Reg. 51654, 51675 (Dec.
       pdf.                                                                         15, 1989).
146. Portland Cement Ass'n v. Ruckelshaus, 486 F.2d 375, 384-85, 3 ELR         151. Id
     20642 (D.C. Cir. 1973).                                                   152. Id.
147. CEQ, supra note 140, at 17.                                               153. Id.
148. Withdrawal of Proposed Standards, National Emission Standards for Haz-    154. Id.
     ardous Air Pollutants; Regulation of Radionuclides, 49 Fed. Reg. 43906,   155. Id
     43914 (Oct. 31, 1984).                                                    156. NESHAPS for Radionuclides Reconsideration; Phosphogypsum, 55 Fed.
149. Id.                                                                            Reg. 13480 (Apr. 10, 1990).



52 ELR 10134
                                                            APPX ATT_V4_1970
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out proper notice and comment, was contrary to a national                       at radium-226 concentrations 3 pCi/g, the risk to the
policy favoring recycling, prevented beneficial uses, would                     maximum exposed individual is well above the accept-
cause irreparable harm to farmers, was arbitrary and capri-                     able level."66 EPA also determined that, besides certain
cious because it prevented the sale of phosphogypsum                            restricted uses for agriculture and research, "other uses
for industrial processes, and that it was possible to make                      of phosphogypsum will be prohibited without prior EPA
phosphogypsum radon gas emissions safe.57 EPA granted                           approval," approval that would be reviewed on a case-by-
limited reconsideration to receive more information on                          case basis "only if EPA finds that the proposed use of phos-
(1) specific types of proposed alternative uses; (2) current                    phogypsum will be at least as protective of public health in
and anticipated feasibility of those uses; (3) research and                     the short and long term as disposal in a stack or mine.".67
development of processes that remove radium from phos-                             EPA established a process to consider other uses of
phogypsum; (4) health risks associated with those uses;                         phosphogypsum for approval. It requires an application
(5) the availability, cost, and effectiveness of substitutes for                that includes a description of the proposed use, handling,
phosphogypsum; and (6) the proper definition of phospho-                        processing, and location of the facility; the quantity of
gypsum regarding its radium content.' It also established                       phosphogypsum to be used by each facility; the average
a 60-day public comment period and a public hearing.5                           concentration of radium-226 in the phosphogypsum to be
   In 1992, in response to TFI's petition for reconsidera-                      used; a description of measures to prevent the uncontrolled
tion, EPA finalized national emission standards for radon                       release of phosphogypsum into the environment; an esti-
emissions from phosphogypsum stacks approving the use of                        mate of the MIR, risk distribution, and incidence associ-
phosphogypsum in agriculture at 10 pCi per gram (pCi/g)                         ated with the proposed use; and the intended disposition of
and limited research and development with no more than                          any unused phosphogypsum.168 In 1994, EPA increased the
700 pounds of phosphogypsum. However, EPA found that                            permitted distribution of phosphogypsum to up to 7,000
"regardless of the radium-226 concentration, the use of                         pounds at a time for research and development activities.
phosphogypsum in road construction always resulted in a                           On October 15, 2019, TFI, on behalf of its members that
MIR [maximum individual risk] significantly greater than                        own or operate phosphogypsum stacks, petitioned EPA to
the presumptive safe level. . . . Therefore, EPA has deter-                     approve the removal of phosphogypsum from stacks for
mined that the use of phosphogypsum in road construction                        use in road construction under 40 C.F.R. §61.206.169 On
presents an unacceptable level of risk to public health."160                    April 7, 2020, TFI submitted a revised request for approval
   EPA also found that phosphogypsum "contains appre-                           for use of phosphogypsum in federal, state, and local
ciable quantities of radium-226, uranium, and other ura-                        departments of transportation or public works.170 Specifi-
nium decay products . .. The radionuclides of significance                      cally, the request was for EPA to grant a blanket approval,
are uranium-238, uranium-234, thorium-230, radon-222,                           in advance, for the use of phosphogypsum containing up
lead-210, [and] polonium-210,"161 and that these toxins can                     to an average of 35 pCi/g in road base, paving, and various
be resuspended into the air by wind and vehicular traf-                         combinations of road base and paving in any government
fic.I62 It found that "[t]race metals may also be leached                       roadway projects that are (1) authorized by federal, state, or
from phosphogypsum, as are radionuclides, and migrate to                        local departments of transportation or public works; and
nearby surfaces and groundwater resources,"16 that chro-                        (2) conducted as part of a government road project using
mium and arsenic may also pose a significant health risk,164                    appropriate road construction standards.
and that a "number of potential constituents in phospho-                           TFI's risk assessment purported to evaluate gamma
gypsum from some facilities ... [may] cause adverse effects                     radiation and phosphogypsum dust from no more than
or the restriction of potential uses of nearby surface or                       50% of the roadbed material by weight and no more than
groundwater resources" such as arsenic, lead, cadmium,                          2.25% of road surface material by weight,71 and asserted
chromium, fluoride, zinc, antimony, and copper.1 65                             the risk of fatal cancer in various exposure scenarios for
   EPA concluded that "the level of risk presented by a par-                    road construction workers to be 0.5 in 10,000, road users
ticular application depends not only upon the radium-226                        0.1 in 10,000, truck drivers of phosphogypsum for road
concentration in the phosphogypsum, but also the nature                         construction 0.5 in 10,000, residents 0.08 in 10,000, and
of the application, the exposure scenario, the exposure                         utility workers 0.004 in 10,000.172 It also included an
pathway, the amount of phosphogypsum used, and other
factors" and that "for road construction applications, even
                                                                                166.57 Fed. Reg. at 23305.
                                                                                167.Id.
157. Id.                                                                        168. Id.
158. Id. at 13480, 13482.                                                       169. Letter from Andrew Wheeler, Administrator, U.S. EPA, to Corey Rosen-
159. Id. at 13482.                                                                   busch, President and Chief Executive Officer, TFI 2 (Oct. 14, 2020) [here-
160. National Emission Standards for Hazardous Air Pollutants; National Emis-        inafter Wheeler Letter].
     sions Standards for Radon Emissions From Phosphogypsum Stacks, 57 Fed.     170. It appears one major difference between the two requests is that the October
     Reg. 23305 (June 3, 1992) (emphasis added).                                    2019 petition requested a waiver that phosphogypsum be placed in stacks,
161. U.S. EPA, POTENTIAL USES OF PHOSPHOGYPSUM AND ASSOCIATED RISK:                 whereas the revised petition's request is narrower asking that phosphogyp-
     BACKGROUND INFORMATION DOCUMENT (1992).                                        sum under 35 pCi/g be used for road construction.
162. Id.                                                                        171.ARCADIS, RADIOLOGICAL RISK ASSESSMENT IN SUPPORT OF PETITION FOR
163. Id. at 2-8.                                                                    BENEFICIAL USE OF PHOSPHOGYPSUM app. 2 at ES-2 (2019); Wheeler Let-
164. Id.                                                                            ter, supra note 169, at 4.
165. Id.                                                                        172. ARCADIS, supra note 171, at ES-2; Wheeler Letter, supra note 169, at 3.



2-2022                                                  APPX ATT_V4_1971
                                                       ENVIRONMENTAL LAW REPORTER                                                            52 ELR 10135
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"Extreme Hypothetical 'Reclaimer Exposure Scenario,"' in                   be returned to the stack.179 EPA "questioned some of the
which it described the future scenario where a road breaks                 modeling assumptions used by TFI to generate the esti-
down or is broken down and a house is constructed on                       mate of the reclaimer . . . but based on new information
top of it. TFI's "reclaimer exposure scenario" presumed                    and analysis in the revised request now concludes that risks
customary construction methods for a house on grade and                    associated with the reclaimer scenario can be addressed
calculated risk of fatal cancer at 0.4 in 10,000.173                       with conditions."o
   In its 1992 rule, EPA estimated the lifetime risk in the                   The request does not include information required by
reclaimer scenario from external radiation, dust inhalation,               40 C.F.R. §61.206(b)(3)-(5) and (10), regarding where
and ingestion of food for 30 years of exposure to be 3.5                   the ultimate requested use will take place, including the
in 1,000 (35 in 10,000), far outside the acceptable level                  roads or intermediary locations, or how much phospho-
of risk.174 In response to TFI's 2020 request, EPA retained                gypsum will be used at each facility.181 EPA nonetheless
SC&A, Inc. as its expert reviewer. SC&A determined                         concludes that given "the nature of the request and the
TFI's consultant, Arcadis, used modeling that was inap-                    conditions" imposed, that required information "is not
propriate and recommended that EPA request TFI revise                      essential to making the determination of whether the pro-
its reclaimer radon exposure dose calculation "using more                  posed use of PG [phosphogypsum] would be at least as
realistic (i.e., less optimistic) parameter values, or provide             protective of public health as stacking."I.2 These conditions
additional justification for the values".17 Instead, EPA                   are (1) the average radium-226 content of phosphogypsum
stated that:                                                               to be used in a road base or pavement must not exceed
                                                                           35 pCi/g; (2) pavement may contain no more than 2.25%
   though likely an underestimation of the dose and risk to a              phosphogypsum by weight; (3) road base may contain no
   future resident of a house built on a site of an abandoned              more than 50% phosphogypsum by weight; (4) road base
   road built with phosphogypsum, the TFI risk assessment                  containing phosphogypsum may consist of one lift of up
   does show that risk to a future resident of the site might be           to 25 cm-depth and not extend beyond paved areas of the
   acceptable depending on the methods used to construct                   road; and (5) a minimum 50-foot setback from the edge of
   the house,176                                                           the road to inhabited structures.'
                                                                              On December 18, 2020, conservation and public health
and accordingly,                                                           organizations, joined by a major workers union, peti-
                                                                           tioned the D.C. Circuit to review EPA's approval.114 The
   that the risk to members of the public in the future is not             same day, those same groups also directly petitioned EPA
   above the acceptable risk, the redevelopment of any aban-               for reconsideration under CAA §307(d)(7)(B). On June 3,
   doned roads as anything other than a road constructed                   2021, EPA withdrew, revoked, and rescinded its October
   in accordance with this risk assessment should not be                   2020 approval of using phosphogypsum in roads because
   undertaken until an additional site-specific risk assess-               the petitioner did not provide the information required at
   ment demonstrates that risks to members of the public                   40 C.F.R. §61.206. EPA noted that its decision is without
   are acceptable.177                                                      prejudice regarding any subsequent request that complies
                                                                           with 40 C.F.R. §61.206.
   EPA stated it "remains concerned" about potential
exposure should the road become abandoned, particularly                    B.       EPA's Bevill Amendment Analysis
for residences built on road material containing phospho-
gypsum, and "does not agree that TFI's assumptions in its                  After a series of lawsuits imposing a deadline and requiring
analysis of this scenario . . . could be relied upon to limit              EPA to narrow the scope of its Bevill Amendment inter-
the potential risks to a future residential individual from                pretation, EPA completed its study of phosphogypsum
such an occurrence."178 EPA determined "this risk can be                   under RCRA and submitted the required report to Con-
acceptably mitigated by including appropriate terms and                    gress for 20 mineral processing special wastes, including
conditions in the approval." EPA stated that roads con-                    phosphogypsum and process wastewater, in 1990.185 The
structed with phosphogypsum may not be abandoned
or used for other non-road purposes, and that any phos-
phogypsum removed from the stack but not used must
                                                                           179.Id
                                                                           180. Wheeler Letter, supra note 169, at 5.
                                                                           181.Id at 3.
                                                                           182.Id. at 4.
                                                                           183.Id. at 7.
173. ARCADIS, supra note 171, at 3-12, app. 1 at 10.                       184. Center for Biological Diversity v. Environmental Prot. Agency, No. 20-
174. U.S. EPA, REVIEW OF THE RADIOLOGICAL RISK ASSESSMENT     IN SUPPORT        1506 (D.C. Cir. Dec. 18, 2020). [Editor's Note: Jaclyn Lopez represents the
     OF PETITION FOR BENEFICIAL USE OF PHOSPHOGYPSUM PREPARED FOR THE           Center for Biological Diversity (and co-plaintiffs) in this case.]
     FERTILIZER INSTITUTE 17 (2020) (EPA-HQ-OAR-2020-0442).                185. Concerned Citizens of Adamstown v. Environmental Protection Agency, No.
175. SC&A, INC., TECHNICAL REVIEW OF THE FERTILIZER INSTITUTE RISK AS-          84-3041 (D.D.C. Aug. 21, 1985), imposed the deadline; Environmental
     SESSMENT FOR ADDITIONAL USE OF PHOSPHOGYPSUM IN ROAD BASE 45               Defense Fund v. EnvironmentalProtection Agency (EDFII), 852 F.2d 1316,
     (2020).                                                                    18 ELR 21169 (D.C. Cir. 1988), held EPA can only apply the Bevill exclu-
176.Id. at 18.                                                                  sion to wastes generated in high volume with low toxicity, in accordance
177. Id. at 20.                                                                with EPA's original "special waste" concept, as opposed to all mineral pro-
178.57 Fed. Reg. at 66552.                                                      cessing wastes. REPORT TO CONGRESS, supra note 10; Special Wastes From



52 ELR 10136
                                                         APPX ATT_V4_1972
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study found widespread groundwater contamination at                                    phogypsum or phosphoric acid process wastewater. 9 4 The
phosphogypsum stack sites, including contaminated off-                                 exact nature of the dialogue committee's activities, includ-
site wells, the potential for drinking water source expo-                              ing which process changes were considered and what cri-
sures, several documented damage cases that impacted                                   teria were used to determine feasibility, remain unknown,
both groundwater and surface waters and threatened and                                 as EPA has acknowledged that the dialogue committee's
harmed aquatic life, increased air pathway cancer risk for                             report is "missing" from its document collection, perhaps
those living near stacks, and varied and inadequate state                              destroyed in a basement flood with no available duplicate
regulation.186 Constituents of most concern that present                               copies. 95 Nevertheless, somehow finding that TSCA regu-
a hazard to human health include radionuclides, arse-                                  lation would not be possible, EPA decided it would revisit
nic, chromium, selenium, cadmium, radium-226, lead,                                    the 1991 Bevill regulatory determination and determine
vanadium, copper, antimony, thallium, fluoride, and sele-                              whether RCRA Subtitle C regulation of phosphoric acid
nium.187 The report also found an increased hazard and                                 special wastes remained inappropriate.196
contaminant release potential should the industry expand                                 Following the conclusion of the dialogue committee,
in the absence of Subtitle C regulation.ss                                             EPA evaluated the environmental risks posed by phos-
    Nevertheless, due to costs to the industry in complying                            phogypsum and process wastewater at 13 Florida sites by
with a Subtitle C program, EPA's determination published                               applying the RCRA National Corrective Action Prioritiza-
the following year exempted phosphogypsum and process                                  tion System to each site.197 The results showed that all 13
wastewater (as well as all other special wastes) from Subtitle                         facilities evaluated had groundwater contamination and all
C regulation.189 The determination promised a Subtitle D                               13 would qualify as "high priority."198 Despite this, EPA
solid waste program with tailored minimum federal guide-                               to date has neither revisited its Bevill determination for
lines for 18 of the special wastes, and announced the devel-                           phosphogypsum and process wastewater, nor initiated any
opment and future promulgation of a TSCA regulatory                                    rulemakings under TSCA concerning phosphogypsum
program for phosphogypsum and process wastewater.190                                   and process wastewater.
EPA further stated it planned to use existing authorities
under either RCRA §7003 or the Comprehensive Envi-
ronmental Response, Compensation, and Liability Act                                    C.         U.S. Army Corps of Engineers' Refusal to
(CERCLA)'9' §106 to address site-specific phosphogypsum                                           Evaluate Impacts of Phosphogypsum
and process wastewater groundwater contamination prob-
lems that pose substantial and imminent endangerment to                                Between 2010 and 2011, the U.S. Army Corps of Engi-
human health or the environment. 192                                                   neers (the Corps) received four applications from phos-
   As part of its development of a TSCA regulatory pro-                                phate companies for permits to dredge and fill 51,000 acres
gram, EPA chartered the Phosphoric Acid Waste Dialogue                                 of wetlands, watersheds, and habitat across large areas of
Committee under the Federal Advisory Committee Act                                     DeSoto, Hardee, Hillsborough, Manatee, and Polk, Coun-
in 1992 to determine whether TSCA could effectively                                    ties in Florida to mine 823 million tons of phosphate rock
regulate phosphoric acid wastes. 93 According to a later                               for fertilizer production over the next few decades.1" The
EPA report as part of EPA's 1998 Phase IV Land Disposal                                Corps "determined that, when viewed collectively, the sep-
Restriction rulemaking, the dialogue committee could not                               arate proposed phosphate mining projects have similarities
identify any feasible in-plant process changes that would                              that provide a basis for evaluating their direct, indirect,
significantly reduce the volume and/or toxicity of phos-                               and cumulative environmental impacts in a single Area-
                                                                                       wide Environmental Impact Statement."200
                                                                                          Despite numerous and repeated requests from EPA, local
                                                                                       municipalities, and the general public, the Corps refused
     Mineral Processing (Mining Waste Exclusion); Final Regulatory Determi-
                                                                                       to analyze phosphogypsum, the reasonably foreseeable
     nation and Final Rule, 56 Fed. Reg. 27300 (June 13, 1991).                        indirect effect of phosphate mining.201 The applicant and
186. REPORT TO CONGRESS, supra note 10.
187. Id.
188. Id. Both the industry and the size of many stacks have indeed expanded
     since 1990.                                                                       194. Id. at 7-8.
189. Special Wastes From Mineral Processing (Mining Waste Exclusion); Final            195. Personal Correspondence with EPA Docket Center, Arctic Slope Mission
     Regulatory Determination and Final Rule, 56 Fed. Reg. 27300 (June 13,                  Services-Contractor,   e-mail: docket-customerservice@epa.gov   (Sept.   16,
     1991).                                                                                 2020).
190. EPA has acknowledged Subtitle D does not contain effective enforcement            196. U.S. EPA, supra note 193, at 7.
     and oversight tools that would be necessary to create such a program, but         197. Id.
     said it would work with Congress to obtain these authorities and would rely       198. Id.
     on the existing regulatory efforts of states to the extent possible. Regulatory   199. Nancy J. Sticht, Areawide EnvironmentalImpact Statement Addressing Phos-
     Determination for Wastes From the Extraction and Beneficiation of Ores                phate Mining in CentralFloridaPhosphate District Completed, U.S. ARMY
     and Minerals, 51 Fed. Reg. 24496 (July 21, 1986). Just as it never created a           CORPS ENGINEERS JACKSONVILLE DISTRICT (May 9, 2013), https://www.
     phosphogypsum and process wastewater TSCA program, EPA never created                   saj.usace.army.mil/Media/News-Stories/Article/479623/areawide-environ-
     the Subtitle D program for the other 18 mining processing special wastes.              mental-impact-statement-addressing-phosphate-mining-in-central/.
191. 42 U.S.C. §§9601-9675, ELR STAT. CERCLA §§101-405.                                200. U.S. ARMY CORPS OF ENGINEERS, FINAL ENVIRONMENTAL IMPACT STATE-
192. Special Wastes From Mineral Processing (Mining Waste Exclusion); Final                 MENT EXECUTIVE       SUMMARY    (2013), https://www.saj.usace.army.mil/
     Regulatory Determination and Final Rule, 56 Fed. Reg. 27300 (June 13,                  Portals/44/docs/regulatory/Items%20of%20Interest/Phosphate%20Min-
     1991).                                                                                 ing/_Final%20AEIS%20ExecutiveSummary.pdf.
193. U.S. EPA, RISKS POSED BY BEVILL WASTES 7 (1997).                                  201. Id.



2-2022                                                       APPX ATT_V4_1973
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the Corps explicitly tied the application to dredge wetlands                       It's not just the journey, though, it's also the destination.
to mine phosphate to the applicant's fertilizer plants. In its                     All the natural gas that will travel through these pipelines
permit application, the applicant averred the viability of its                     will be going somewhere: specifically, to power plants in
fertilizer plants "is dependent upon the ability to continue                       Florida, some of which already exist, others of which are
phosphate mining, which in turn depends on issuance of                             in the planning stages. Those power plants will burn the
the pending 404 permit applications."202                                           gas, generating both electricity and carbon dioxide. And
   Conservation groups filed a lawsuit challenging the                             once in the atmosphere, that carbon dioxide will add to
Corps' failure to analyze the production and storage of                            the greenhouse effect, which the EIS describes as "the pri-
phosphogypsum in its NEPA analysis.o3 The plaintiffs                               mary contributing factor" in global climate change.210
argued the Corps violated NEPA and the Administrative
Procedure Act by ignoring the indirect and cumulative                              Plaintiffs argued that like FERC in Sabal Trail, the
environmental effects of phosphogypsum production and                           Corps was charged with balancing "'the public benefits
storage in its NEPA analysis. They argued that the appli-                       against the adverse effects of the project' . . . including
cant's production of phosphogypsum was the foreseeable                          adverse environmental effects,"211 and that like FERC, the
result of mining phosphate ore that would not occur but                         Corps had the authority to condition or deny a permit "on
for the permittee's mining practices,204 and that NEPA                          the ground that [it] would be too harmful to the environ-
therefore demands that the Corps take a "hard look" at                          ment," making the agency the "'legally relevant cause' of
the significant effects of the phosphate mine and phospho-                      the direct and indirect environmental effects of the project
gypsum, including the indirect and cumulative impacts.20                        it approves."2
They argued that phosphogypsum production and storage                               The Ninth Circuit had likewise held that downstream
would not occur but for the Corps' permitting, and, hence,                      activities that affect the human environment should be
are among the "indirect effects" of phosphate mining.206                        considered indirect effects under NEPA. In South Fork
They alleged the applicant operates its fertilizer plants near                  Band Council of West Shoshone of Nevada v. U.S. Depart-
its mines, and many of the plants have been built on mined-                     ment of the Interior, the Ninth Circuit explained that "[t]
out land.207 They argued that it was the fertilizer plants that                 he air quality impacts associated with transport and off-
actually met the Corps' stated "purpose and need" of the                        site processing of the five million tons of refractory ore are
mines (i.e., to create fertilizer), and the plants also produce                 prime examples of indirect effects that NEPA requires be
the radioactive phosphogypsum.208                                               considered."213 Applying this authority, many district courts
    Four appeals courts, including the D.C. Circuit, the                        in the Ninth Circuit have reached similar holdings.24 The
U.S. Courts of Appeals for the Eighth Circuit, the U.S.                         Tenth Circuit has also held that the downstream impacts
Courts of Appeals for the Ninth Circuit, and the U.S.                           of extractive activities must be analyzed as indirect effects
Courts of Appeals for the Tenth Circuit, had reached simi-                      under NEPA.
lar conclusions in cases involving mining approvals, direct-                        For instance, in WildEarth Guardiansv. U.S. Bureau of
ing federal agencies to consider downstream effects such                        Land Management, the Tenth Circuit concluded that an
as the transportation and processing of mined ore and the                       EIS unlawfully failed to review impacts from coal combus-
greenhouse gas emissions from mined coal. These courts                          tion emissions.215 In Colorado Environmental Coalition v.
and their lower district courts have consistently held that
these types of downstream effects fall within the scope of
indirect impacts that should be reviewed under NEPA as
                                                                                210. Id. at 1371.
"reasonably foreseeable."                                                       211. Id. at 1373 (quoting Minisink Residents for Env't Pres. & Safety v. Federal
   For example, in Sierra Club v. FederalEnergy Regulatory                           Energy Regul. Comm'n, 762 F.3d 97, 101-02, 44 ELR 20190 (D.C. Cir.
Commission (Sabal Trail), the D.C. Circuit held that the                             2014)).
                                                                                212. Id. at 1373, 1375 (holding that even though the power plants will be subject
Federal Energy Regulatory Commission (FERC) violated
                                                                                     to "state and federal air permitting processes," 'the existence of permit re-
NEPA by failing to analyze the burning of natural gas, a                             quirements overseen by another federal agency or state permitting authority
greenhouse gas, transported by the Sabal Trail natural gas                           cannot substitute for a proper NEPA analysis").
                                                                                213.588 F.3d 718, 725, 39 ELR 20276 (9th Cir. 2009) (finding the Bureau of
pipeline, finding, "greenhouse-gas emissions are an indirect                         Land Management failed to evaluate the environmental impacts of trans-
effect of authorizing this project, which FERC could rea-                            porting and processing ore at a facility 70 miles away); see also North Plains
sonably foresee, and which the agency has legal authority                            Res. Council, Inc. v. Surface Transp. Bd., 668 F.3d 1067, 1077-79 (9th
                                                                                     Cir. 2011) (finding EIS for railroad line failed to review cumulative impacts
to mitigate."209 In making this finding, the court reasoned:                         from coal mine that would utilize the rail line).
                                                                                214. See, e.g., Montana Env't Info. Ctr. v. U.S. Office of Surface Mining, 274
                                                                                     F. Supp. 3d 1074, 1090-99, 47 ELR 20101 (D. Mont. 2017) (finding EA
                                                                                     for expansion of coal mine failed to take a hard look at the indirect and
                                                                                     cumulative effects of coal transportation, coal combustion, and foreseeable
202. Id.                                                                             greenhouse gas emissions); WildEarth Guardians v. Office of Surface Min-
203. Complaint, Center for Biological Diversity v. U.S. Army Corps of Eng'rs,        ing, Reclamation & Enf't, No. 14-103-BLG-SPW, 2015 U.S. Dist. LEXIS
                 6
     No. 8:17-cv- 18 (M.D. Fla. Mar. 15, 2017) [hereinafter CBD complaint].          145149, at **19-20 (D. Mont. Oct. 23, 2015) (finding the Office of Surface
204. Id.                                                                             Mining's finding of no significant impact failed to take a hard look at en-
205.40 C.F.R. §§1508.7, 1508.8, 1508.25(c) (2020).                                   vironmental impacts including downstream greenhouse gas emissions from
206. CBD complaint, supra note 203.                                                  federal coal leasing), report and recommendation adopted in part, rejected in
207.Id.                                                                             part on other grounds, 2016 U.S. Dist. LEXIS 7223 (D. Mont. Jan. 21,
208. Id.                                                                             2016).
209. 867 F.3d 1357, 1374, 47 ELR 20104 (D.C. Cir. 2017).                        215. 870 F.3d 1222, 1233-40, 47 ELR 20115 (10th Cir. 2017).



52 ELR 10138
                                                            APPX ATT_V4_1974
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Office of Legacy Management, the U.S. District Court for                               IV.     Environmental Justice Demands EPA
the District of Colorado found an agency unlawfully failed                                     Regulate Phosphogypsum
to consider the indirect effects of processing ore that would
be mined with agency-issued permits.216 As in Colorado                                 There have been numerous documented phosphogypsum
EnvironmentalCoalition, the Corps here has failed to con-                              stack failures throughout the United States. Even phos-
sider the indirect effects of processing the phosphate ore                             phogypsum stacks that do not have massive, unpermit-
that would be mined with Corps-issued CWA permits.217                                  ted failures routinely violate their permit conditions. As
The same is true for the Eighth Circuit.218                                            a result, phosphogypsum and process wastewater are haz-
    The U.S. District Court for the Middle District of Flor-                           ardous wastes that present a substantial risk to the envi-
ida determined "it was reasonable for the Corps to con-                                ronment and nearby communities. Unfortunately, these
clude that the environmental effects of phosphogypsum                                  phosphogypsum stacks are near vulnerable communities
production and storage fell outside the scope of its NEPA                              and sensitive environments. EPA must regulate phos-
review."219 Plaintiffs-appellants appealed to the U.S. Court                           phogypsum and process wastewater as hazardous under
of Appeals for the Eleventh Circuit.220 In a split decision                            RCRA and regulate them as high-priority chemical sub-
authored by Judge John Rogers, the majority, over a strong                             stances under TSCA.
dissent by Judge Beverly Martin, held that (1) "even if the
Corps' permit is a but-for cause of those effects, it is not
a proximate-or legally relevant-cause"; (2) "because                                   A.       Phosphogypsum and Process Wastewater
the Corps lacks the authority to regulate phosphogypsum                                         Are Hazardous Wastes
wholesale, the 'rule of reason' instructs that the Corps need
not consider its effects"; and (3) "the Corps' scoping deci-                           While the Bevill Amendment only requires one study and
sion is consistent with its own regulations, the Corps' inter-                         report to Congress for each special waste, 223 nothing pre-
pretation of which is entitled to deference."221                                       cludes EPA from conducting additional study or revisiting
   Judge Martin dissented on the grounds that the rul-                                 the initial determination at a later date when more infor-
ing runs counter to Public Citizen and limitations on Auer                             mation about the present and potential hazard becomes
deference, and eviscerates NEPA's requirements insofar                                 known. Indeed, EPA has repeatedly acknowledged its
as they bear on the consideration of foreseeable indirect                              authority to reverse its Bevill determination, starting with
effects. However, as it stands, the Corps is not required                              the notice publishing the determination itself: "If infor-
to analyze, much less regulate, the phosphogypsum that                                 mation obtained or findings developed .. . are such that
results from the phosphate mining it authorizes.222                                    RCRA could better handle this matter, the Agency will
                                                                                       revisit today's regulatory determination, and determine
                                                                                       whether subtitle C regulation of the phosphoric acid spe-
                                                                                       cial wastes remains inappropriate."224
                                                                                          EPA next suggested it would revisit its Bevill regulatory
                                                                                       determinations for certain "high-risk" mining wastes in
                                                                                       a 1997 rulemaking on various mining waste issues. EPA
216.819 F. Supp. 2d 1193, 1212 (D. Colo. 2011), amended in part on other
                                                                                       cited concern about "environmental and natural resource
    grounds by No. 08-01624-WJM-MJW, 2012 U.S. Dist. LEXIS 24126 (D.                   damages from acid mine drainage, the use of cyanide and
     Colo. Feb. 27, 2012).                                                             other toxic chemicals, radioactivity, stability of tailings and
217. See also Sierra Club v. U.S. Dep't of Energy, 255 F. Supp. 2d 1177, 1185
     (D. Colo. 2002) (holding agency must review impacts from "reasonably
                                                                                       waste rock piles, and in-situ mining methods."225
     foreseeable" mine on private land when preparing NEPA document for                  In 2010, after a breach in an impoundment pond at the
     federal land easement related to the future mine); High Country Conser-           Tennessee Valley Authority's Kingston, Tennessee, power
     vation Advocates v. U.S. Forest Serv., 52 F. Supp. 3d 1174, 1189-94, 44
     ELR 20144 (D. Colo. 2014) (finding EIS for coal lease modification and
                                                                                       plant released 1.1 billion gallons of coal ash slurry, EPA
     mine expansion must consider downstream emissions from coal combus-               revisited its May 2000 Bevill determination excluding
     tion); Dine Citizens Against Ruining Our Env't v. Office of Surface Mining,       coal combustion residuals (CCR) from Subtitle C require-
     Reclamation & Enf't, 82 F. Supp. 3d 1201 (D. Colo. 2015) (holding the
                                                                                       ments. EPA proposed a reversal of its Bevill determination
     agency improperly limited its scope of review by failing to assess the indirect
     and cumulative impacts of a coal mine expansion that would create an ad-          and regulation under Subtitle C, or, in the alternative,
     ditional 12.7 million tons of coal combustion), order vacatedin part, appeal      minimum federal standards under Subtitle D.226 Multiple,
     dismissed in part as moot by 643 Fed. App'x 799 (10th Cit. 2016).
218. Mid States Coal. for Progress v. Surface Transp. Bd., 345 F.3d 520, 548-50
     (8th Cit. 2003) (holding that the agency was required to consider impacts
     from burning coal when reviewing a proposed railway access and transpor-          223. See Solite Corp. v. Environmental Prot. Agency, 952 F.2d 473, 22 ELR
     tation of the coal even though the power plants using the coal were hun-               20376 (D.C. Cit. 1991).
     dreds of miles away).                                                             224. Special Wastes From Mineral Processing (Mining Waste Exclusion); Final
219. Center for Biological Diversity v. U.S. Army Corps of Eng'rs, No. 8:17-cv-             Regulatory Determination and Final Rule, 56 Fed. Reg. 27300, 27316
     618-T-23MAP, 2017 U.S. Dist. LEXIS 205629 (M.D. Fla. Dec. 14, 2017).                   (June 13, 1991) (emphasis added).
     [Editor's Note: Jaclyn Lopez represented the Center for Biological Diversity      225. Second Supplemental Proposal on Treatment Standards for Metal Wastes
     (and co-plaintiffs) in this case.]                                                     and Mineral Processing Wastes, Mineral Processing and Bevill Exclusion
220. Center for Biological Diversity v. U.S. Army Corps of Eng'rs, 941 F.3d                 Issues, and the Use of Hazardous Waste as Fill; Proposed Rule, 62 Fed. Reg.
     1288, 50 ELR 20176 (11th Cit. 2019). [Editor's Note: Jaclyn Lopez repre-               26041, 26054 (May 12, 1997) ("the Agency is therefore seeking comment
     sented the Center for Biological Diversity (and co-plaintiffs) in this case.]          on whether reexamination of some Bevill wastes is warranted").
221. Id. at 1294.                                                                      226. Hazardous and Solid Waste Management System; Identification and Listing
222. Id. at 1306-15.                                                                        of Special Wastes; Disposal of Coal Combustion Residuals From Electric



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similar large-volume releases have occurred in the phos-                           istics of corrosivity and toxicity, satisfying the criteria for
phoric acid production waste context since EPA's 1991 Bev-                         designation as a characteristic hazardous waste as well.232
ill regulatory determination.
    Further, RCRA and its implementing regulations are                             1.         Phosphogypsum Stacks Contain
designed to prevent harm caused by solid and hazardous                                        Toxic Constituents
wastes, and to adequately protect human health and the
environment by ensuring these wastes are properly man-                             Active phosphogypsum stacks are entirely uncovered,
aged and disposed of in the first place. EPA cannot con-                           open-air dumps. Even inactive portions of active stacks
tinue to ignore this mandate by pointing to authority to                           can remain uncovered until stack closure, when a vegetated
enforce corrective action cleanup or abatement orders                              cover is finally installed.233 Phosphogypsum stacks with a
after the harm has already occurred (i.e., remediation of                          soil cover of just 0.5 m of dirt would emit less radon (6
site-specific groundwater contamination) under a higher                            pCi/m2 -s) than the current management practice of no soil
imminent and substantial endangerment standard. EPA                                cover (up to 20 pCi/m-s).234 EPA has already concluded
must ensure proper management and disposal of phospho-                             that phosphogypsum stacks pose a considerable air path-
gypsum and process wastewater under RCRA Subtitle C                                way cancer risk as a result of radon emissions.235 In addi-
by reversing its Bevill determination and listing the wastes                       tion, disturbed phosphogypsum (e.g., construction vehicles
as hazardous before looking to future corrective actions, as                       driving over the stacks and removing the crust) and wind
said corrective actions would not be necessary if the waste                        erosion cause fugitive dust emissions.236 These dust emis-
were properly and safely managed.                                                  sions provide an inhalation pathway for toxic constitu-
   RCRA regulations provide that a solid waste not                                 ents within phosphogypsum particles, including arsenic,
excluded from regulation as a hazardous waste may be des-                          chromium, and radionuclides.237 Combining the risk from
ignated as a listed "toxic waste" (hazardous waste with toxic                      radon inhalation from the stacks themselves with the risks
constituent(s)) or a "characteristic hazardous waste."227 The                      of radionuclide, arsenic, and chromium-containing par-
solid waste may be listed as a toxic waste if (1) it contains                      ticle inhalation, EPA estimated a total air pathway lifetime
a toxic constituent listed in Appendix VIII to 40 C.F.R.                           maximally exposed individual cancer risk of approximately
§261 and (2) an analysis of 11 enumerated factors supports                         9 x 10-5.238
a conclusion that the waste is "capable of posing a sub-                                Phosphogypsum leachate contains the following toxic
stantial present or potential hazard to human health or the                        constituents listed in Appendix VIII to 40 C.F.R. §261:
environment when improperly treated, stored, transported                           arsenic, lead, nickel, cadmium, chromium, silver, anti-
or disposed of, or otherwise managed."228 A "characteristic                        mony, copper, mercury, and thallium,239 with concentra-
hazardous waste" must exhibit one of the four following                            tions of arsenic and chromium in phosphogypsum solids
hazardous waste characteristics: ignitability, corrosivity (as                     also exceeding EPA's health-based screening criteria in
determined by pH), reactivity, or toxicity (as determined                          1990.240 Despite high migration potential of contami-
by a leaching test).229                                                            nants within phosphogypsum and process water, neither
   Long-term exposure to fine particulate matter also                              is treated to remove impurities like radionuclides or heavy
adversely affects the respiratory and cardiovascular systems                       metals either while active or at time of closure. Process
and otherwise increases mortality risk.23o For instance, par-                      water is only treated by double-liming,24i or in some cases
ticulate matter exposure is associated with an increased risk
of COVID-19 death in the United States, with an increase
of only 1 microgram per cubic meter (pg/m 3) associated
with an 8% increase in the COVID-19 death rate.23' Phos-                           232. In addition to satisfying listing criteria for a toxic waste, some phosphogyp-
phogypsum contains toxic constituents, including partic-                                sum samples from Rock Springs, Wyoming, also exhibited the toxicity char-
                                                                                        acteristic for chromium in 1990 using the extraction procedure (EP) leach
ulate matter, and as such is capable of posing substantial                              test. REPORT TO CONGRESS, supra note 10, at 12-3 to 12-4. The EP has since
hazards. Process wastewater also exhibits the character-                                been replaced by the toxicity characteristic leaching procedure (TCLP). 40
                                                                                                  6
                                                                                        C.F.R. §2 1.24(a) (2020).
                                                                                   233. FLA. ADMIN. CODE r. 62-673.610 (2013).
                                                                                   234. National Emission Standards for Hazardous Air Pollutants; National Emis-
    Utilities, Proposed Rule, 75 Fed. Reg. 35127 (June 21, 2010). The final rule        sions Standards for Radon Emissions From Phosphogypsum Stacks; Final
    adopted the Subtitle D minimum standards option, deferring a final Bevill           Rule, 54 Fed. Reg. 51654, 51676 (Dec. 19, 1989).
    regulatory determination "until additional information ... needed to quan-     235. REPORT TO CONGRESS, supra note 10, at 12-17.
    tify the risks of CCR disposal, . . . the potential impacts of recent Agency   236. Id. In some parts of the country, fugitive dust emissions from wind ero-
    regulations on the chemical composition of CCR, [and] the adequacy of the           sion occur even without phosphogypsum disturbance. For example, in
    state programs" is available. Hazardous and Solid Waste Management Sys-             Idaho, phosphogypsum stacks have a sandy consistency that do not crust
    tem; Disposal of Coal Combustion Residuals From Electric Utilities, Final           over due to the type of phosphate ore and beneficiation process used prior
    Rule, 80 Fed. Reg. 21302, 21309 (Apr. 17, 2015).                                    to phosphoric acid production. Idaho stacks also do not receive the same
227.40 C.F.R. §261 (2020).                                                              level of dust suppression influenced by rainfall as stacks in the subtropi-
228.Id. §261.11.                                                                        cal Southeast. THOMAS HORTON,     U.S. EPA, A PRELIMINARY RADIOLOGICAL
229. Id. §§261.20-.24.                                                                  ASSESSMENT OF RADON EXHALATION FROM PHOSPHATE GYPSUM PILES AND
230. XIAO WU ET AL., HARVARD     CHAN SCHOOL OF PUBLIC HEALTH, ExPOSURE                 INACTIVE URANIUM MILL TAILINGS PILES 2 (1979).
     TO AIR POLLUTION AND    COVID-19 MORTALITY IN THE UNITED STATES: A            237. HORTON, supra note 236.
     NATIONWIDE CROSS-SECTIONAL STUDY (2020) (preprinted), https://www.            238. Id.
     medrxiv.org/content/medrxiv/early/2020/04/27/2020.04.05.20054502.             239. REPORT TO CONGRESS, supra note 10, at 12-8.
     full.pdf.                                                                     240. Id
231. Id.                                                                           241. Id. at 12-24.



52 ELR 10140
                                                              APPX ATT_V4_1976
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reverse osmosis, when release is necessary to maintain surge                         in a wide range of wild waterfow.253 Reports of poisoned
capacity or to prevent an uncontrolled release.242                                   wildlife have continued frequently since that time.254 Vari-
                                                                                     ous authors have attempted to define tissue concentrations
Q Arsenic. Arsenic is a protoplastic poison causing mal-                             in birds indicative of excessive lead exposure, sublethal
functioning of cell respiration, cell enzymes, and mitosis.243                       poisoning, and acute poisoning,255 but there is no defini-
Several studies have noted an association between chronic                            tive consensus on "background" lead levels for wild birds.
exposure to high levels of arsenic and lung cancer in oc-                            Long-lived animals are particularly susceptible to bioaccu-
cupationally exposed subpopulations.244 Prolonged inges-                             mulation of lead in bone tissues, and repeated lead inges-
tion of water contaminated with arsenic may result in the                            tion and accumulation in long-lived species can reduce
manifestations of toxicity in practically all systems of the                         bone mineralization, which could mean an increase in
human body.4 Chronic oral exposure to inorganic arsenic                              bone fragility.256
causes a pattern of skin changes associated with changes
in the blood vessels of the skin, including patches of dark-                         Q Nickel. In nickel-sensitized individuals representing ap-
ened skin and the appearance of small "corns" or "warts"                             proximately 10%-20% of the general population, dermal
on the palms, soles, and torso.246 Ingesting arsenic has been                        contact with a small amount of nickel or oral exposure to
reported to increase the risk of cancer in the skin, liver,                          fairly low doses of nickel can result in dermatitis.257 Oc-
bladder, and lungs, and the U.S. Department of Health                                cupational exposure to airborne nickel has caused chronic
and Human Services has determined that inorganic arsenic                             bronchitis, reduced lung function, and cancer of the lung
is known to be a human carcinogen.247                                                and nasal sinus.258 The Department of Health and Human
                                                                                     Services has determined that metallic nickel may reason-
Q Lead. Toxic effects of chronic lead exposure have been                             ably be anticipated to be a human carcinogen.2"
observed in every human organ system that has been rigor-
ously studied.248 Adverse neurological, renal, cardiovascular,                       Q Cadmium. Long-term exposure to cadmium through air,
hematological, immunological, reproductive, and develop-                             water, soil, and food leads to cancer and organ system tox-
mental effects, especially in children, have been observed at                        icity such as skeletal, urinary, reproductive, cardiovascular,
low measured blood levels (PbB) of less than 5 pg per day                            central and peripheral nervous, and respiratory systems. 60
(pg/d).249 The Centers for Disease Control and Prevention                            Breathing air with very high levels of cadmium can severely
states that "no safe blood lead level in children has been                           damage the lungs, and may cause death.61 Chronic expo-
identified."51 The Department of Health and Human Ser-                               sure to low levels of cadmium in the air results in a buildup
vices classifies lead and lead compounds as reasonably an-                           of cadmium in the kidneys and may result in kidney dis-
ticipated to be human carcinogens and lead has long been                             ease.26 2 Damage to the lungs and nasal cavity has been ob-
recognized as a poison to living organisms51 with negative
effects on general health, reproduction, and behavior.51
    Lead was highlighted as an important cause of mortal-
ity in wildlife populations in the late 1950s when ingestion                         253. Frank C. Bellrose, Lead Poisoningas a Mortality Factorin Waterfowl Popula-
of spent hunting lead pellets was recognized to cause death                               tions, 27 ILL. NAT. HIST. SURV. BULL. 235 (1959).
                                                                                     254. EY. Bates et al., Lead Toxicosis in MallardDucks, 4 BULL. WILDLIFE DISEASE
                                                                                          ASS'N 116 (1968); GLEN C. SANDERSON & FRANK C. BELLROSE, A REVIEW
                                                                                          OF THE PROBLEM OF LEAD POISONING IN WATERFOWL (Illinois Natural His-
242. Bill Perpich Jr. et al., Mobile Wastewater TreatmentHelps Remediate Concen-          tory Survey, Special Publication No. 4, 1986); James C. Irwin & Lars H.
     tratedAcidicProcess Water at FertilizerPlant, FLA. WATER RES. J., July 2005,         Karstad, The Toxicity for Ducks of DisintegratedLead Shot in a Simulated-
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243. Monisha Jaishankar et al., Toxicity, Mechanism, and Health Effects of Some           Epizootiologic View, 31 J. RAPTOR RSCH. 327 (1997); Anton M. Scheuham-
     Heavy Metals, 7 INTERDISC. TOXIcOLOGY 60 (2014), https://www.ncbi.nlm.               mer & S.L. Norris, The Ecotoxicology of Lead Shot and Lead FishingWeights,
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     Communities SurroundingArsenic ProducingIndustries, 17 INT'L J. EPIDEMI-             Red-Tailed Hawks, 30 J. RAPTOR RSCH. 7 (1996); Deborah J. Pain, Lead
     OLOGY 407 (1988), https://pubmed.ncbi.nlm.nih.gov/3042651/.                          in Waterfowl, in ENVIRONMENTAL CONTAMINANTS IN WILDLIFE: INTER-
245. Ranjit N. Ratnaike, Acute and Chronic Arsenic Toxicity, 79 POSTGRADU-                PRETING TISSUE CONCENTRATIONS      251 (WM. Beyer et al. eds., CRC Press
     ATE   MED.    J. 391 (2003), https://pmj.bmj.com/content/postgrad-                   1996).
     medj/79/933/391.full.pdf.                                                       256. Laura Gangoso et al., Long-Term Effects of Lead Poisoningon Bone Mineral-
246. AGENCY FOR TOXIC SUBSTANCES AND DISEASE REGISTRY, U.S. DEPARTMENT                    ization in Vultures Exposed to Ammunition Sources, 57 ENV T POLLUTION 569
     OF HEALTH AND HUMAN SERVICES, TOXICOLOGICAL PROFILE FOR ARSENIC                      (2009).
      (2007), https://www.atsdr.cdc.gov/toxprofiles/tp2.pdf.                         257. AGENCY FOR TOXIC SUBSTANCES AND DISEASE REGISTRY, U.S. DEPARTMENT
247. Id.                                                                                  OF HEALTH AND HUMAN SERVICES, TOXICOLOGICAL PROFILE FOR NICKEL            7
248. AGENCY FOR TOXIC SUBSTANCES AND DISEASE REGISTRY, U.S. DEPARTMENT                    (2005), https://www.atsdr.cdc.gov/toxprofiles/tpl5.pdf.
     OF HEALTH AND HUMAN SERVICES, TOXICOLOGICAL PROFILE FOR LEAD 4                  258. Id.
     (2020), https://www.atsdr.cdc.gov/toxprofiles/tp13.pdf.                         259. Id. at 6.
249. Id. at 3.                                                                       260. Mehrdad Rafati Rahimzadeh et al., Cadmium Toxicity and Treatment: An
250. Id.                                                                                   Update, 8 CASPIAN   J. INTERNAL MED. 135 (2017), https://www.ncbi.nlm.
251. George B. Grinnell, Lead Poisoning, 42 FOREST & STREAM 117 (1894); J.E.              nih.gov/pmc/articles/PMC5596182.
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252. M. Douglas Ris et al., Early Exposure to Lead and Neuropsychological Out-            COLOGICAL PROFILE FOR CADMIUM].
      come in Adolescence, 10   J. INT'L NEUROPSYCHOLOGICAL SoC'Y 261 (2004).        262. Id.



2-2022                                                      APPX ATT_V4_1977
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    served in animals exposed to cadmium in the air.3 Lung                                  compounds are carcinogenic to humans.277 Both chro-
    cancer has been found in some studies of workers exposed                                mium and arsenic, which exceeded EPA's health-based
    to cadmium in the air and studies of rats that breathed in                              screening criteria for phosphogypsum solids in 1990, bio-
    cadmium." Eating food or drinking water with very high                                  accumulate in aquatic species.278
    cadmium levels severely irritates the stomach, leading to
    vomiting and diarrhea, and sometimes death. 265                                         Q Silver. Silver compounds can cause some areas of the
       Chronic ingestion of cadmium can lead to a buildup of                                skin and other body tissues to turn gray or blue-gray, a
    cadmium in the kidneys and kidney disease.266 Chronic                                   permanent condition known as "argyria."27 Argyria occurs
    exposure to low levels of cadmium can also cause bones                                  in people who eat or breathe in silver compounds over a
    to become fragile and break easily.267 Animal studies indi-                             long period of several months to years.280 Exposure to dust
    cate that the young are more susceptible than adults to                                 containing relatively high levels of silver compounds may
    a loss of bone and decreased bone strength from expo-                                   cause breathing problems, lung and throat irritation, and
    sure to cadmium.268 Kidney and bone effects have also                                   stomach pain.281
    been observed in laboratory animals ingesting cadmium,
    as well as anemia, liver disease, and nerve or brain dam-                               Q Antimony. Electrocardiogram alterations were found
    age. 269 The Department of Health and Human Services                                    in about 50% of the workers exposed to antimony com-
    has determined that cadmium and cadmium compounds                                       pounds.282 Other health effects that have been observed in
    are known human carcinogens.270                                                         animals orally exposed to higher doses of antimony include
       Cadmium is toxic and has no biological function in liv-                              hepatocellular vacuolization, hematological alterations in-
    ing organisms.27I It causes both acute and sublethal effects,                           cluding decreases in red blood cell counts and hemoglobin
    and is toxic at low concentrations to plants, fish, birds,                              levels, and histological alterations in the thyroid.283
    mammals             (including humans),            and microorganisms.272
    In a 2005 study that compared acute toxicity of 63 heavy                                Q Copper. Long-term exposure to copper dust can irri-
    metals to a widespread crustacean found in both fresh and                               tate the nose, mouth, and eyes, and cause headaches, diz-
    brackish water (Hyalella azteca), cadmium was the most                                  ziness, nausea, and diarrhea.284 Water that contains higher
    toxic.273 It bioaccumulates in all levels of the food chain in                          than normal levels of copper may cause vomiting, stomach
    both aquatic and terrestrial organisms.274                                              cramps, or diarrhea.285 Intentionally high intakes of copper
                                                                                            can cause liver and kidney damage and even death.286
    Q Chromium. The primary effects associated with expo-
    sure to chromium(VI) compounds are respiratory, gastro-                                 Q Mercury. The nervous system is highly sensitive to mer-
    intestinal, immunological, hematological, reproductive,                                 cury. 7 Some people who ate fish contaminated with large
                                                                                                  2
                                                                                                      1


    and developmental, while the primary effects associated                                 amounts of methylmercury or seed grains treated with
    with exposure to chromium(III) compounds are on the                                     methylmercury or other organic mercury compounds de-
    respiratory and immunological systems. 275 Numerous epi-                                veloped permanent damage to the brain and kidneys.2-
    demiological studies recognizing the association between                                Permanent damage to the brain has also been shown to
    chromium inhalation and lung cancer have been pub-                                      occur from exposure to sufficiently high levels of metal-
    lished since the 19 4 0s.276 The International Agency for                               lic mercury.289 The kidneys are also sensitive to the effects
    Research on Cancer has determined that chromium(VI)                                     of mercury, because mercury accumulates in the kidneys
                                                                                            and causes higher exposures to these tissues, and thus more


    263. Id.                                                                                277. TOXICOLOGICAL PROFILE FOR CHROMIUM, supra note 275, at 4.
    264. Id. at 5.                                                                          278. Valerie Canivet et a1., Toxicity and Bioaccumulation ofArsenic and Chromium
    265. Id.                                                                                     in Epigean and Hypogean FreshwaterMacroinvertebrates,40 ARCHIVES ENV T
    266. Id.                                                                                     CONTAMINATION     & TOXICOLOGY 345 (2001), https://ink.springer.com/
    267.Id.                                                                                      article/l10.1007/s002440010182.
                 6
    268.Id. at                                                                              279.AGENCY    FOR TOXIC SUBSTANCES      AND DISEASE     REGISTRY, U.S. PUBLIC
    269.Id. at 5.                                                                                HEALTH SERVICE, TOXICOLOGICAL PROFILE FOR SILVER           (1990), https://
    270. Id.                                                                                     www.atsdr.cdc.gov/toxprofiles/tp146.pdf.
    271. STUART M. LEVIT, A LITERATURE REVIEW OF EFFECTS OF CADMIUM ON FISH                 280. Id.
         2 (2010), https://www.conservationgateway.org/ConservationByGeogra-                281.Id
         phy/NorthAmerica/UnitedStates/alaska/sw/cpa/Documents/L2010Cadmi-                  282. AGENCY FOR TOXIC SUBSTANCES AND DISEASE REGISTRY, U.S. DEPARTMENT
         umLR122010.pdf.                                                                         OF HEALTH AND HUMAN SERVICES, TOXICOLOGICAL PROFILE FOR ANTIMO-
    272. Id.                                                                                     NY AND COMPOUNDS       (2019), https://www.atsdr.cdc.gov/toxprofiles/tp23.
    273. Uwe Borgmann et al., Toxicity of Sixty-Three Metals and Metalloids to                   pdf.
         Hyalella Azteca at Two Levels of Water Hardness, 24 ENV'T TOXICOLOGY               283. Id.
         CHEMISTRY 641 (2005).                                                              284. AGENCY FOR TOXIC SUBSTANCES AND DISEASE REGISTRY, U.S. DEPARTMENT
    274. TOXICOLOGICAL PROFILE FOR CADMIUM, supra note 261.                                      OF HEALTH AND HUMAN SERVICES, TOXICOLOGICAL PROFILE FOR COPPER 6
    275. AGENCY FOR TOXIC SUBSTANCES AND DISEASE REGISTRY, U.S. DEPARTMENT                      (2004), https://www.atsdr.cdc.gov/ToxProfiles/tp132.pdf.
         OF HEALTH AND HUMAN            SERVICES, TOXICOLOGICAL PROFILE FOR CHRO-           285.Id.
         MIUM        (2012), https://www.atsdr.cdc.gov/toxprofiles/tp7.pdf   [hereinafter   286.Id. at7.
         TOXICOLOGICAL PROFILE FOR CHROMIUM].                                               287. AGENCY FOR TOXIC SUBSTANCES AND DISEASE REGISTRY, U.S. DEPARTMENT
    276. A.D. Dayan & Alan J. Paine, Mechanisms of Chromium Toxicity, Carcino-                   OF HEALTH AND HUMAN SERVICES, TOXICOLOGICAL PROFILE FOR MERCURY
         genicity, and Allergenicity: Review of the Literature From 1985 to 2000, 20             (1999), https://www.atsdr.cdc.gov/toxprofiles/tp46.pdf.
         HUM. & EXPERIMENTAL TOXICOLOGY 439 (2001), https://journals.sagepub.               288. Id.
         com/doi/pdf/10. 1191/096032701682693062.                                           289.Id.



    52 ELR 10142
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damage.9 All forms of mercury can cause kidney damage                               stack, they are difficult if not impossible to remediate due
if large enough amounts enter the body.9                                            to uncertainty in the fate and transport of contaminants
                                                                                    after sinkhole collapse,304 and a need for a better under-
Q Thallium. Thallium can affect the human nervous sys-                              standing of karst processes and characterization of fast-
tem, lung, heart, liver, and kidney if large amounts are                            moving conduit flow patterns.
eaten or drunk for short periods of time.292 Temporary
hair loss, vomiting, and diarrhea can also occur, and death
may result after exposure to large amounts of thallium for                          2.       Phosphogypsum and Process Wastewater
short periods. Thallium can be fatal from a dose as low as                                   Pose a Substantial Hazard to Human Health
1 g. 293 The Agency for Toxic Substances and Disease Reg-                                    or the Environment
istry reports no information was found on health effects
in humans after exposure to smaller amounts of thallium
                                                                                    Phosphogypsum and process wastewater presently pose a
for longer periods.9 As in humans, animal studies indicate
                                                                                    substantial hazard to human health or the environment as
that exposure to large amounts of thallium for brief periods
                                                                                    a result of improper treatment, storage, and disposal. In
of time can damage the nervous system and heart and can
                                                                                    addition to containing toxic, heavy metals, phosphogyp-
cause death.9 Animal reproductive organs, especially the
                                                                                    sum and process wastewater are radioactive. Phosphogyp-
testes, are damaged after drinking small amounts of thalli-
                                                                                    sum has very high levels of gross alpha and beta radiation
um-contaminated water for two months.9
                                                                                    (10 to 100 pCi/g) relative to levels in typical soils (approxi-
    The concentrations of these toxic constituents vary from
                                                                                    mately 1 pCi/g). Radium-226 concentrations in U.S. phos-
stack to stack according to the source phosphate ore pro-
                                                                                    phogypsum samples have measured as high as 49 pCi/g.
cessed. Concentrations of chromium and arsenic exceeded
                                                                                    EPA has repeatedly compared phosphogypsum stacks
EPA's health-based risk screening criteria for inhalation in
                                                                                    to uranium mill tailing impoundments in both size and
the 1990 study, meaning these constituents could pose a
                                                                                    radiation exposure. Yet, uranium byproduct materials are
significant (i.e., greater than I x 10-5) risk if phosphogyp-
                                                                                    managed under standards-in place since 1983-that are
sum were released to the ambient air as particles.297 Con-
                                                                                    identical to Subtitle C standards for hazardous waste treat-
centrations of arsenic also exceeded EPA's health-based risk
                                                                                    ment, storage, and disposal facilities, while state-managed
screening criteria for ingestion.21
                                                                                    phosphogypsum stack designs, according to EPA, do not
    Process wastewater also exhibits the corrosivity and tox-
                                                                                    even "approach the protectiveness of the uranium mill tail-
icity characteristics. Process wastewater is measured with
                                                                                    ings standards."305
pH values typically lower than 2, and as extreme as 0.5
                                                                                        Sanjay Sahu et al. found that phosphate ore processing
(battery acid has a pH of around 1).299 Concentrations of
                                                                                    and disposal of phosphogypsum contributes to enhanced
cadmium, chromium, and selenium in process wastewa-
                                                                                    levels of natural radionuclides and heavy metals in the
ter exceeded extraction procedure (EP) regulatory levels in
                                                                                    environment, and that the resulting environmental impact
1990.300 And all of the toxic constituents in phosphogyp-
                                                                                    should be considered carefully to ensure safety.306 They
sum are metals or other inorganics that do not degrade.3.1
                                                                                    found that gypstacks can cause serious environmental con-
    Moreover, the metal and nonmetal ions in phospho-
                                                                                    tamination of soils, water, and the atmosphere through
gypsum are highly mobile when leached due to the acidity
                                                                                    gypstack erosion and the release of heavy metals, sulphates,
of process water, indicating a strong potential for ground-
                                                                                    fluorosilicates, hydrogen fluorides, phosphorus, cadmium,
water contamination.302 Heavy metals are persistent in
                                                                                    and radium-226.
the environment.303 Once groundwaters in karst geologi-
                                                                                       Alicja Borylo and Bogdan Skwarzec found elevated lev-
cal terrains like those in Florida are contaminated with
                                                                                    els of metals in plants nearby phosphogypsum stacks, some
toxic phosphogypsum constituents by large-scale pollution
                                                                                    higher than permissible levels in food.307 They calculated
events like sinkholes forming within a phosphogypsum
                                                                                    that the factor contamination for the plants were 2.1 for
                                                                                    lead, 3.7 for zinc, 2.8 for nickel, and 3.2 for iron for green
290. Id.                                                                            parts, to 11.8 for lead, 12.2 for zinc, 9.4 for nickel, and 5.5
291.Id.
292. AGENCY FOR TOXIC SUBSTANCES AND          DISEASE   REGISTRY,   U.S.   PUBLIC
    HEALTH SERVICE, TOXICOLOGICAL PROFILE FOR THALLIUM          (1992), https://
    www.atsdr.cdc.gov/toxprofiles/tp54.pdf.
293. Id.                                                                            304. Daljit Sandu et al., Fate and TransportofRadioactive Gypsum Stack Water En-
294. Id.                                                                                 tering the FloridanAquifer Due to a Sinkhole Collapse, 8 SCI. REP. art. 11439
295. Id.                                                                                 (2018), https://www.nature.com/articles/s41598-018-29541-0. Daljit San-
296. Id.                                                                                 du, Implications of Groundwater Plume Transport and Analysis of Karst
297. REPORT TO CONGRESS, supra note 10, at 12-7.                                         Aquifer Characteristics in Central Florida (2019) (Ph.D. dissertation, Uni-
298. Id.                                                                                 versity of Central Florida), http://purl.fcla.edu/fcla/etd/CFE0007723.
299. Id. at 12-58.                                                                  305. U.S. EPA, OFFICE OF SOLID WASTE, FEASIBILITY ANALYSIS: A COMPARISON
300. The EP test has since been replaced by the more rigorous TCLP test. 40              OF PHOSPHOGYPSUM AND URANIUM MILL TAILING WASTE UNIT DESIGNS
               6
     C.F.R. §2 1.24(a) (2020).                                                           26 (1997).
301. REPORT TO CONGRESS, supra note 10, at 12-1.                                    306. Sanjay K. Sahu et al., NaturalRadioactivityAssessment of a PhosphateFertil-
302. Carter et al., supra note 21.                                                       izer PlantArea, 7 J. RADIATION RSCH. & APPLIED SCI. 123 (2014).
303. Hazrat Ali et al., Environmental Chemistry and Ecotoxicology of Hazardous      307. Alicja Borylo & Bogdan Skwarzec, Bioaccumulation of Polonium ("Po)
     Heavy Metals: Environmental Persistence, Toxicity, and Bioaccumulation,             and Uranium (2-U, `U) in PlantsAround Phosphogypsum Waste Heap in
     2019 J. CHEMISTRY art. 6730305, https://www.hindawi.com/journals/                   Wilinka (NorthernPoland), 99 RADIOCHIMICA ACTA 719 (2011), https://
     jchem/2019/6730305/.                                                                www.degruyter.com/document/doi/10.1 524/ract.2011.1872/html.



2-2022                                                    APPX ATT_V4_1979
                                                         ENVIRONMENTAL LAW REPORTER                                                              52 ELR 10143
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for iron in the roots near phosphogypsum stacks in com-                                         Figure 1. Florida Subsidence Incident
parison to non-contaminated plants. They concluded that                                         Reports and Phosphogypsum Stacks
the subject gypstack may pose a health risk to the local                                          Florida Subsidence Incident Reports and Phosphogypsum Stacks
population through consumption of the vegetables.
    Borylo et al. found elevated levels of polonium and lead
in soil near a phosphogypsum stack.308 They theorized                                                                                                            0
                                                                                                                            0      0
that heavy rainfall for a long time may cause infiltration
                                                                                                                                       akand
of radionuclides from phosphogypsum stacks to nearby                                                                                     a       l   o           \I
soils and waterways. Lina Al Attar et al. found elevated
levels of fluoride in air and soil sampling near phospho-                                                         00                    9

gypsum stacks.309 Eduardo Da Silva et al. found that where                               o
phosphate was mined and processed (where phosphogyp-
sum was created) cadmium was enriched 105-208 times
and uranium was enriched 18-44 times.31o That study also
found a general trend of an increase in heavy metals con-
tent with decreasing particle size.                                                          Phosphogypsum Stacks
    On June 24, 2021, conservation groups filed a lawsuit                                                                                            w      6         M
                                                                                     o       Florida Subsidence Incident Reports
against Florida Gov. Ron DeSantis, the FDEP, HRK
Holdings, and the Manatee Port Authority, alleging that                            Source: Map generated from ArcGIS, Find a Phosphogypsum Stack Near
Piney Point "presents an imminent and substantial endan-                           You, https://center.maps.arcgis.com/apps/View/index.html?appid=a0cc8c
germent to Floridians' lives, health, and environment"31"                          be12ea4ff9831822243b360766 (last visited Dec. 21, 2021).

after the FDEP authorized the discharge of process waste-
water into Tampa Bay to avert a catastrophic failure of the                        80 million gallons of process wastewater 314 ; the 2009 sink-
phosphogypsum stack. On August 5,2021, the FDEP like-                              hole beneath a phosphogypsum stack at the PCS facility
wise filed a complaint against the owner of Piney Point                            in White Springs, releasing 84 million gallons of pro-
requesting a court-appointed receiver.312 A few weeks later,                       cess wastewater315 ; and, most recently, the 2016 sinkhole
a judge approved an order appointing a receiver over Piney                         beneath a phosphogypsum stack just 1.25 miles away
Point following a motion for an emergency hearing, citing                          from the 1994 original sinkhole at the New Wales facil-
"HRK's continuing failure in its duty to ensure adequate                           ity in Mulberry, releasing 215 million gallons of process
water management by providing sufficient storage capacity                          wastewater. 16 Despite the proven geological instability of
at the Site to prevent flooding, overtopping of lined areas,                       the area, the FDEP recently issued a permit to expand the
and uncontrolled or untreated discharges."3'3                                      New Wales phosphogypsum stack facility by more than
   Phosphogypsum stack mismanagement is not only                                   230 acres. 317 A few days later, seismic monitoring of sur-
plausible, but numerous documented damage cases have                               face conditions at the south phosphogypsum stack led the
already occurred. Phosphogypsum stacks are built in sink-                          FDEP to conclude "the presence of a subsurface condition
hole-prone areas atop drinking water sources (see Figure 1).                       that has the potential to adversely affect the integrity of the
These gypstacks are lined by a single high-density polyeth-                        phosphogypsum stack."318
ylene liner, which often tears, allowing the acidic process                           All states containing phosphogypsum stacks have
water to penetrate the phosphogypsum stack.                                        adopted the federal exclusion from hazardous waste reg-
   Since EPA's Bevill determination, there have been three                         ulations, and therefore do not require double liners with
reported major sinkholes underneath phosphogypsum                                  double leachate detection and collection systems above and
stacks, releasing millions of gallons of untreated process                         between the liners. While Florida's Phosphogypsum Man-
wastewater and an undetermined amount of phosphogyp-                               agement Rule now requires stacks to be lined with a single
sum into the Floridan aquifer: the 1994 sinkhole beneath                           composite liner, the state of Florida allowed phosphate to
a stack at the New Wales facility in Mulberry, releasing                           be deposited in unlined stacks until March 25, 2001.319
                                                                                   Louisiana considers phosphogypsum stacks to be solid
                                                                                   waste landfills and has no regulations specific to phospho-
                                           0
308. Alicja Borylo et al., A Study on Lead (" Pb) and Polonium ("'Po) Contami-
     nation From Phosphogypsum in the Environment of Wislinka (NorthernPo-
     land), 15 ENV T SCI.: PROCESSES & IMPACTS 1622 (2013).                        314. James Marshall, Mountains of Waste Menace Florida's "Swiss Cheese"Aquifers,
309. Lina Al Attar et al., Case Study: Heavy Metals and Fluoride Contents in the        E&E NEWS (Apr. 9, 2020), https://www.eenews.net/stories/1062576963.
     Materials of Syrian Phosphate Industry and in the Vicinity of Phosphogypsum   315. Id.
     Piles, 33 ENVT TECH. 143 (2012).                                              316. Id.
310. Eduardo E Da Silva et al., Heavy Elements in the Phosphorite From Kalaat      317. Permit No. FL0036421 (issued Oct. 15, 2021).
     KhasbaMine (North-Western Tunisia): PotentialImplicationson the Environ-      318. Letter from the FDEP to Mosaic Fertilizer, LLC, Re: Subsurface Activity
     ment and Human Health, 182    J. HAZARDOUS MATERIALS 232 (2010).                   Early Detection System Non-Routine Report Notification New Wales Fa-
311. Complaint at 1, Center for Biological Diversity v. DeSantis, No. 8:21-cv-           cility-South Phosphogypsum Stack Wastewater/NPDES Facility ID No.
     1521 (M.D. Fla. June 24, 2021).                                                     FL0036421 (Oct. 21, 2021); Expansion Paused:Seismic Activity Detected at
312. Florida Dept of Env't Prot. v. HRK Holdings, LLC, No. 2021-CA-003192-               Mosaic New Wales, 1o TAMPA BAY (Oct. 29, 2021), https://www.wtsp.com/
     AX (Fla. 12th Cir. Ct. Aug. 5, 2021).                                              article/news/local/polkcounty/mosaic-gypsum-stack-seismic-activity/67-
313. Fortress 2020 Landco, LLC v. HRK Holdings, LLC, No. 2020-CA-                       da4b496d-07b9-4cla-9e44-af8dcdf7cfl9.
     004459-AX (Fla. 12th Cir. Ct. Aug. 25, 2021).                                 319. FLA. ADMIN. CODE r. 62-673.440 (1993).


52 ELR 10144
                                                              APPX ATT_V4_1980
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gypsum stacks, except that the regulatory authority may                              gypsum would present a public health threat from radon
give "special consideration" to phosphogypsum stacks and                             gas emissions that would continue for generations given
waive or modify requirements, including the operation of                             radium-226's 1,600-year half-life; and it would be imprac-
liners and leachate collection and removal systems appli-                            ticable if not impossible for EPA to implement regulation
cable to any other solid waste landfill.320                                          of such numerous and diffuse sources.32 9
   These single liners are designed to leak and discharge                               In 1992, EPA finalized its national emission standards
water to underlying groundwater, creating a permitted                                for radon emissions from phosphogypsum stacks, finding
"zone of discharge" in Florida.32I Idaho does not currently                          that "regardless of the radium-226 concentration, the use
apply any solid waste requirements to phosphogypsum                                  of phosphogypsum in road construction always resulted
stacks, but Idaho's Department of Environmental Qual-                                in a MIR significantly greater than the presumptive safe
ity is undergoing rulemaking for the design, construction,                           level. . . . Therefore, EPA has determined that the use of
and management of phosphogypsum stacks and lateral                                   phosphogypsum in road construction presents an unac-
expansions.322 Mississippi, North Carolina, Texas, and                               ceptable level of risk to public health."330 EPA also found
Wyoming have no solid waste regulations specific to phos-                            that phosphogypsum "contains appreciable quantities of
phogypsum stacks.323                                                                 radium-226, uranium, and other uranium decay products
                                                                                     ...   The radionuclides of significance are uranium-238,
3.       Phosphogypsum Stacks Are Near Vulnerable                                    uranium-234, thorium-230, radon-222, lead-210, [and]
         Communities and Sensitive Environments                                      polonium-210,"331 and that these toxins can be resuspended
                                                                                     into the air by wind and vehicular traffic. It found that
Systemic and pervasive racism in America has resulted in                             trace metals may also be leached from phosphogypsum,
significant environmental injustices affecting the health                            as are radionuclides, and migrate to nearby surfaces and
of vulnerable communities.324 Air pollution is of particu-                           groundwater resources, that chromium and arsenic may
lar concern as low-wealth and BIPOC communities live                                 also pose a significant health risk, and that a "number of
nearer to urban sources of pollution than other segments of                          potential constituents in phosphogypsum from some facili-
society.325 Phosphogypsum stacks produce radon, a radio-                             ties . . . may cause adverse effects or restrictions of potential
active gas. Radon exposure is the second leading cause of                            uses of nearby surface and groundwater resources" such as
lung cancer in the United States behind cigarette smoking,                           arsenic, lead, cadmium, chromium, fluoride, zinc, anti-
killing 15,000-22,000 people per year.326                                            mony, and copper. 332
   There is no known safe level of exposure to radon,327 but                             Many of the nation's 70 phosphogypsum stacks are near
to control the dispersion of phosphogypsum and the resul-                            low-wealth and BIPOC communities (see Figures 2-4).
tant release of radon gas (a decay product of radium-226                             Some of these communities are also vulnerable to sea-level
found in phosphogypsum) to ambient air, EPA mandates                                 rise. And some appear to be built on weak soils, further
that once created, phosphogypsum must be disposed in                                 threatening nearby residents and the environment. Sev-
stacks such that the radon emission is limited to a level of                         eral phosphogypsum stack owners have gone bankrupt,
20 pCi/m2 -s.32s This method of disposal is the least bad                            leaving the communities and local governments to fend
option, for if dispersed throughout the country, phospho-                            for themselves.
                                                                                         The proximity of massive volumes of phosphogypsum
                                                                                     and process wastewater to vulnerable communities is an
                                                                                     environmental injustice. African Americans are 75% more
320. LA. ADMIN. CODE tit. 33, §N.1 (2020).
                                                                                     likely than other Americans to live in "fence-line" com-
321. U.S. EPA, supra note 193, at 15.
322. Idaho Department of Environmental Quality, Design and Construction of           munities near industrial facilities, including those that
     Phosphogypsum Stacks: Docket No. 58-0119-2001, https://www.deq.idaho.           produce hazardous waste, and are directly affected by the
     gov/public-information/laws-guidance-and-orders/rulemaking/design-and-
     construction-of-phosphogypsum-stacks-docket-no-58-0119-2001/            (last
                                                                                     facilities' operation.333 The injustice presented by phospho-
     visited Dec. 10, 2021).                                                         gypsum and process wastewater is made all the worse by
323. REPORT TO CONGRESS, supra note 10, at 12-34 to 12-35.                           the fact that the hazardous wastes stored near these com-
324. SOFIA CARRATALA & CONNOR MAXWELL, CENTER FOR AMERICAN PROG-
                                                                                     munities are not currently managed in RCRA-permitted
     RESS, HEALTH DISPARITIES BY RACE AND ETHNICITY (2020), https://cdn.
     americanprogress.org/content/uploads/2020/05/06130714/HealthRace-               hazardous waste treatment, storage, and disposal facilities
     factsheet.pdf.                                                                  with strict manifest and land disposal requirements, but
325. Marie S. O'Neill et al., Health, Wealth, andAir Pollution: Advancing Theory
     and Methods, 111 ENV T HEALTH PERSP. 1861 (2003); Murray M. Finkel-
     stein et al., Relation Between Income, Air Pollution, and Mortality: A Co-
     hort Study, 169 CMAJ 397 (2003); Ariana Zeka et al., Short Term Effects of
     Particulate Matter on Cause Specific Mortality: Effects of Lags and Modifica-   329. Id.
     tion by City Characteristics, 62 OCCUPATIONAL & ENVT MED. 718 (2005);           330. National Emission Standards for Hazardous Air Pollutants; National Emis-
     American Lung Association, Urban Air Pollution and Health Inequities: A              sions Standards for Radon Emissions From Phosphogypsum Stacks, 57 Fed.
     Workshop Report, 109 ENVT HEALTH PERSP. (suppl. 3) 357 (2001).                       Reg. 23305 (June 3, 1992).
326. National Cancer Institute, Radon and Cancer, https://www.cancer.gov/            331. U.S. EPA, supra note 161.
     about-cancer/causes-prevention/risk/substances/radon/radon-fact-sheet           332. Id.
     (last reviewed Dec. 6, 2011).                                                   333. NAACP & CLEAN AIR TASK FORCE, FUMES ACROSS THE FENCE-LINE: THE
327. U.S. EPA, Publications About Radon, https://www.epa.gov/radon/publica-               HEALTH IMPACTS OF AIR POLLUTION FROM OIL & GAS FACILITIES ON AFRI-
     tions-about-radon (last updated Nov. 29, 2021).                                      CAN AMERICAN COMMUNITIES (2017), https://naacp.org/resources/fumes-
328. National Emission Standards for Hazardous Air Pollutants; Radionuclides,             across-fence-line-health-impacts-air-pollution-oil-gas-facilities-african-
     54 Fed. Reg. 51654 (Dec. 15, 1989).                                                  american.



2-2022                                                     APPX ATT_V4_1981
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   Figure 2. Percent of Population Living Below                                                 Figure 4. Percent of Population African
  the Poverty Level and Phosphogypsum Stacks                                                    American and Phosphogypsum Stacks
Percent of Population uving Below the Poverty Level and Phosphogypsum Stacks              Percent of Population African American and Phosphogypsum Stacks




                                                                                                            "J                                                10.01% - 25%/
                                                                                                                                                              25.01%/o- 50%/
                                                                                                                                                              50 S.01%/o- 75%/
                                                                                                                                                            = 75.01% - 100%/

                                                                                                                                    eV




Source: Map generated from ArcGIS, Find a Phosphogypsum Stack Near                     Source: Map generated from ArcGIS, Find a Phosphogypsum Stack Near
You, https://center.maps.orcgis.com/apps/View/index.html?appid=a0cc8c                  You, https://center.maps.orcgis.com/apps/View/index.html?appid=a0cc8c
be12ea4ff9831822243b360766 (last visited Dec. 21, 2021).                               be12ea4ff9831822243b360766 (last visited Dec. 21, 2021).


               Figure 3. Percent of Population                                         health testing conducted by the applicant,336 while Loui-
            Hispanic and Phosphogypsum Stacks                                          siana's Department of Environmental Quality rejected a
                                                                                       similar proposal at the Uncle Sam facility due to health
       Perrent of Pnnulatinn Hiananir and Phncnhnnvncum Stark
                                                                                       and safety concerns. 337
                                                                                         For example, the active phosphogypsum stack at Mosa-
                                                                                       ic's Riverview facility south of Tampa currently sits adjacent
                                                                                       to the historically Black community of Old Progress Vil-
                                                                                       lage (Progress Village). Progress Village was designed in the
                                                                                       1950s as a means to provide home ownership to Tampa's
                                                                                       segregated Black residents, who lived primarily in housing
                                                                                       projects and were purposefully displaced by construction
                                                                                       of an interstate.338 The community learned in 1982 of then-
                                                                                       owner Gardiner's plans to build a second phosphogypsum
                                                                                       stack, this time across the street from Progress Village and
                                                                                       near a school, and fought hard to stop the company from
                                                                                       obtaining its necessary local permit.
                                                                                           Community members organized petitions and protests,
Source: Map generated from ArcGIS, Find a Phosphogypsum Stock Near                     and showed up in large numbers to several county com-
You, https://center.maps.arcgis.com/apps/View/index.htmI?appid=ao0cc8c                 mission meetings over the course of the next two years. 33 9
be12ea4ff9831822243b360766 (last visited Dec. 21, 2021).
                                                                                       At one meeting, a resident voiced:

rather in underregulated open air stacks that emit radon                                  What do you tell people 15 or 20 years from now when
and are prone to large-volume releases.                                                   someone wants to know who let a company put two moun-
   Mosaic Fertilizer installed four mechanical evapora-                                   tains of waste within the city limits of Tampa? How do
tors in 2019 at its New Wales facility in order to increase                               you tell the next generation that we have messed up again?
process wastewater evaporation and help maintain a nega-                                  What do I tell my grandkids? Will their mother and father
tive process wastewater balance.334 However, Mosaic has                                   let them visit me? What do I do when I retire? I won't have
been unable to determine the amount of process wastewa-                                   the funds to move to the mountains or some resort area
ter evaporated in this way due to "numerous operational                                    or take extended vacations in Europe. No, Mr. and Mrs.
and climatic inputs and outputs."335 The FDEP authorized                                   Commissioners. I'll be stuck with that gypsum pile the
the use of these evaporators through the national pollu-                                   rest of my life. So, I appeal to you as God-fearing and law-
tion discharge elimination system (NPDES) and Title V
air permit modifications without reviewing any industrial
                                                                                       336. Personal Correspondence with Vishwas Sathe, Environmental Administra-
                                                                                            tor, FDEP Phosphogypsum Management Program (Aug. 14, 2020).
                                                                                       337. Letter from Louisiana Department of Environmental Quality to Mosaic
334. Notification of Completion of Construction-Spray Evaporator System,                    Fertilizer, LLC Re: Water Management Options at the Mosaic Fertilizer,
     Mosaic Fertilizer, LLC-New Wales Facility, FDEP Permit #MMR_                           LLC-Uncle Sam Facility (July 30, 2019).
     FL0036421 (Nov. 18, 2019).                                                        338. Laura E. Baum, Neighborhood Perceptions of Proximal Industries in Prog-
335. Mosaic Fertilizer, LLC, Quarter 1 Spray Evaporation Report-New Wales                   ress Village, FL 7-8 (2016) (M.A. thesis, University of South Florida).
     Facility, FDEP Permit #MMR_FL0036421 (Apr. 28, 2020).                             339. Id. at 71.


52 ELR 10146
                                                                               APPX ATT_V4_1982
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    abiding citizens. Please for one time give us a break. Let                         gypsum stacks higher than 12 m (40 feet) to be unstable
    the little people win one. We already have an ammonia                              due to the weak nature of Louisiana soils.351 Yet because of
    pipeline140 running through Progress Village that could                            inadequate federal oversight, the Uncle Sam stack is now
    burst anytime. We don't need to be subjugated to another                           nearing 60 m (200 feet),352 and is predictably unstable.
    hazard. Vote no against the gypsum pile proposal.14'                                  In response, Mosaic has been shifting its process waste-
                                                                                       water inventory from the pond atop the stack to other
    The "little people" did not win, and Hillsborough                                  nearby ponds in an attempt to both relieve pressure caused
County commissioners approved the proposal in 1984.342                                 by the weight of the process wastewater on the northern
Gardiner entered into an agreement with Progress Village                               slope and to mitigate the damage caused in the plausible
leaders that year providing mostly short-term beautification                           event of a collapse and resulting release of process wastewa-
benefits and a scholarship program.3 43 There is some dispute                          ter from the pond onto adjacent agricultural fields and the
if the agreement was necessary to gain county approval for                             surrounding community. To date, however, the stack slope
stack construction or if it was merely a side deal aimed at                            containing millions of gallons of process wastewater is still
bettering community relations.14" Little remains of the                                moving and threatening collapse.
benefits promised, but the growing radioactive, hazardous                                 These issues are not unique to the Southeast. In the
mountain will remain forever.345 EPA reports that within                               1980s, EPA discovered elevated levels of heavy metal in
a three-mile radius, 60% of the population are "people of                              monitoring wells in the deep confined aquifer at the Sim-
color" and 44% are low-income.346                                                      plot plant. EPA later classified the plant part of the East-
    Meanwhile, across the Gulf of Mexico, Mosaic Fertil-                               ern Michaud Flats Superfund site near Pocatello, Idaho,
izer's Uncle Sam facility is located in an infamous 85-mile                            though it was permitted to remain an active operating
stretch of industrial area in southern Louisiana containing                            facility. The plant is the source of pollution of the nearby
150 facilities, known as Cancer Alley due to its increased                             area, including Shoshone-Bannock tribal lands. EPA
cancer rates when compared to the rest of the nation.347                               reports that within a three-mile radius, 37% of the people
The population of Convent, where the stack is located, is                              are low-income, and the Shoshone-Bannock Tribes of the
62.20% Black, with average annual earnings of $35,667.348                              Fort Hall Reservation are less than one-half-mile away.35 3
EPA reports that within a three-mile radius, 39% of the popu-                             In May 2018 testimony to Congress on a bill regarding
lation are "people of color" and 29% are low-income.34                                 a land exchange, the chairman of the Shoshone-Bannock
    This community is now facing the consequences of an                                Tribe's Fort Hall Business Council said:
inadequately regulated stack system that has been permit-
ted to grow too large and unstable given the weak nature of                                [J.R.] Simplot continues to process phosphates at its
Louisiana soils noted by EPA three decades ago; the north                                 Pocatello Don Plant, which is located adjacent to the
slope of the facility's No. 4 phosphogypsum stack has been                                Reservation within our ceded lands where we have vested
moving laterally since at least January 9, 2019. The state's                              treaty property rights to hunt, gather, and graze live-
review of the root cause determined that a five- to 10-foot                               stock.. .. The EMF Site is a continuing source of chemi-
zone of under-consolidated, interbedded weak organic                                      cal and radioactive contamination, introducing dangerous
and marine clay, ignored at the time of stack design, is                                  airborne, surface, and groundwater contamination into
at fault.35o In 1990, EPA considered Louisiana phospho-                                   our ecosystem and into the regional ecosystem. Contami-
                                                                                          nants from the Site move off the private property bound-
                                                                                          ary via groundwater and air and enter the Reservation,
                                                                                          impacting our health, our land, and water resources.
340. The ammonia pipeline through Old Progress Village was constructed in the
     1970s to transport ammonia from the port of Tampa to another fertilizer              The groundwater moves generally north-northeast under
     facility in Bartow, Florida. Id. at 65.                                              the EMF Site, and discharges into springs and into the
341.Id. at 72-73.
                                                                                          Portneuf River, which flows past the Simplot Don Plant
342. Id. at 74.
343. Id. at 75.                                                                           and onto the Reservation. Thousands of mammals, rep-
344. Id. at 73-74.                                                                        tiles and birds that have come into contact with the Site
345. Id. at 97.
                                                                                          have died. The Site has also affected the Bottoms area, our
346. EPA Enforcement and Compliance History Online, Detailed Facility Re-
     port-Mosaic Fertilizer LLC-Riverview, https://echo.epa.gov/detailed-                 sacred hunting grounds.54
     facility-report?fid=1 10056968875#overEffReport (last updated Dec. 6,
     2021).
347. James Pasley, Inside Louisiana's Horrifying "Cancer Alley" an 85-
     Mile Stretch of Pollution and Environmental Racism Thats Now Deal-
     ing With Some of the Highest Coronavirus Death Rates in the Country,              351. REPORT TO CONGRESS, supra note 10, at 12-19.
     BUSINESS     INSIDER   (Apr.   9,   2020),   https://www.businessinsider.com/     352. Tom Wright, Mosaic Says It Can Keep Wastewater on Site in Case of Breach,
     louisiana-cancer-alley-photos-oil-refineries-chemicals-pollution-2019-11.              LENS (Feb. 13, 2019), https://thelensnola.org/2019/02/13/mosaic-
348. World Population Review, Convent, Louisiana Population 2021, https://                  says-it-can-keep-wastewater-on-site-in-case-of-breach/.
     worldpopulationreview.com/us-cities/convent-la-population         (last visited   353. EPA Enforcement and Compliance History Online, Detailed Facil-
     Dec. 10, 2021) (Source: U.S. Census Bureau 2018 American Commu-                        ity Report-JR Simplot Don Plant, https://echo.epa.gov/detailed-facility-
     nity Survey).                                                                          report?fid=1 10000600421 (last updated Dec. 6, 2021).
349. EPA Enforcement and Compliance History Online, Detailed Facility Re-              354. HearingBeforethe Subcommittee on Interior, Environment, andRelatedAgencies
     port-MosaicFertilizerLLC Uncle Sam Plant, https://echo.epa.gov/detailed-               of the House Committee on Appropriations, 115th Cong. 386 (2018), https://
     facility-report?fid=1 10006020215 (last updated Dec. 6, 2021).                         www.govinfo.gov/content/pkg/CHRG-115hhrg3085 8/pdf/CHRG-
350. Louisiana Department of Environmental Quality, Uncle Sam Facility, Gov-                115hhrg30858.pdf (statement of Nathan Small, Chairman, Fort Hall Busi-
     ernment Review of Root Cause Analysis (Mar. 2, 2020).                                  ness Council, Shoshone-Bannock Tribes).



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       The Shoshone-Bannock Tribes' heritage includes subsis-                          to climate change.32 Projections anticipate an increase in
    tence fish consumption; a high proportion of the diet of the                       the acceleration of sea-level rise in Florida,363 which when
    Shoshone-Bannock Tribes consists of fish and shellfish, which                      combined with intensifying hurricanes and storm surge is
    accumulate toxins from polluted water.355 On August 12,                            greatly increasing the flooding risk.364 Under a lower emis-
    2020, the Bureau of Land Management approved the transfer                          sions Representative Concentration Pathway 4.5 scenario,
    of ownership of 719 acres of federal public land entirely within                   storm surge is projected to increase by 25% to 47% along
    the Tribes' aboriginal and ceded territory and the Fort Hall                       the U.S. Gulf and Florida coasts due to the combined
    Reservation to J.R. Simplot adjacent to Simplot's phospho-                         effects of sea-level rise and growing hurricane intensity.365
    gypsum stack.356 The Shoshone-Bannock Tribes of the Fort                           The increasing frequency of extreme precipitation events is
    Hall Reservation have filed a lawsuit against the federal                          also compounding coastal flooding risk when storm surge
    government challenging that land transfer.357                                      and heavy rainfall occur together.366
        A study examining mortality over decades in a cohort                              Flooding concerns extend to those associated with
    of Florida phosphate fertilizer plant workers found sig-                           high tide. Since the 1960s, sea-level rise has increased the
    nificantly elevated mortality due to all causes, including                         frequency of high-tide flooding by a factor of 5 to 10 for
    all cancers, lung cancer, and leukemia as compared to the                          several U.S. coastal communities, and flooding rates are
    overall U.S. population and the population of Florida, as                          accelerating in many Atlantic and Gulf Coast cities.367 A
    well as increased incidence of mental disorders and chronic                        local sea-level rise of 1.0 to 2.3 feet would be sufficient
    obstructive pulmonary disease.358 Although an exposure-                            to turn nuisance high-tide events into major destructive
    response relation could not be established due to limitations                      floods.368 In Florida specifically, which could have more
    of the study, the authors noted that phosphate processing                          than six feet of sea-level rise by the end of the century, nui-
    results in exposures to aerosolized radiation, acid vapors,                        sance flooding due to sea-level rise has already resulted in
    and other airborne toxins.3"9 Radiation exposure routes to                         severe property damage and social disruption.369
    fertilizer plant workers and local residents near fertilizer                           The frequency, depth, and extent of tidal flooding are
    plants include external radiation, inhalation and ingestion                        expected to continue to increase in the future.370 As the
    of radionuclide-containing dust, and inhalation of radon                           sea level rises, storm surge and tidal flooding will occur on
    and radon daughters.36                                                             an increasingly higher sea surface, which will push water
       To transport phosphate rock and phosphoric acid to and                          further inland and create more flooding.371 With water
    from fertilizer facilities, associated nearby phosphogypsum                        pushed further inland, not just during storm surge events,
    stack systems are often located in coastal areas of the Gulf.                      but also due to a general state of elevated sea level, areas
    The Gulf region is particularly vulnerable to sea-level rise,                      once deemed suitable for phosphogypsum stack construc-
    with the highest rates of sea-level rise in the nation occur-                      tion will no longer be so.
    ring from the mouth of the Mississippi River westward,361                              Climate change-driven and increasingly frequent,
    where several stacks are located. As seas continue to rise                         intense, and precipitous storms and hurricanes have
    in the coming decades, many of the Gulf Coast stacks are                           already created major problems for phosphogypsum
    likely to be catastrophically inundated.                                           stack management, where maintaining design freeboard
        On this backdrop of rising sea levels, coastal regions are                     and surge capacity in process wastewater impoundments
    threatened by increased flooding and intensifying storm
    surge, which in combination further threaten the integrity
    of coastal phosphogypsum stacks and future stack expan-
    sions. Coastal flooding is becoming more damaging as
                                                                                       362. Katherine Hayhoe et al., Our Changing Climate, in 2 IMPACTS, RISKS, AND
    hurricane-generated storm surges grow more severe due                                   ADAPTATION IN THE UNITED STATES: FOURTH NATIONAL CLIMATE ASSESS-
                                                                                            MENT 72 (David R. Reidmiller et al. eds., U.S. Global Change Research
                                                                                            Program 2018), https://nca2018.globalchange.gov/downloads/NCA4_
                                                                                            Ch02_Changing-Climate_Full.pdf.
                                                                                       363. SEA LEVEL RISE AD HOC WORK GROUP, SOUTHEAST FLORIDA REGIONAL
                                                                                            CLIMATE CHANGE     COMPACT, UNIFIED SEA LEVEL RISE PROJECTION-
    355. Barbara Harper,     SHOSHONE-BANNOCK      ExPOSURE SCENARIO FOR USE IN             SOUTHEAST    FLORIDA (2019), https://southeastfloridaclimatecompact.org/
         RISK ASSESSMENT      (2017), https://superfund.oregonstate.edu/sites/super-        wp-content/upload/2020/04/Sea-Level-Rise-Proection-Guidance-Re-
         fund.oregonstate.edu/files/shoshone_bannock_scenario_2017.pdf.                     port_FINAL_02212020.pdf.
    356. Bureau of Land Management National NEPA Register, DOI-BLM-ID-                 364. Christopher M. Little et al., Joint Projections of US East Coast Sea Level and
         I020-2019-0008-EIS Documents, https://eplanning.blm.gov/eplanning-ui/              Storm Surge, 5 NATURE CLIMATE CHANGE 1114 (2015).
         project/i 19626/570 (last updated Oct. 13, 2020).                             365. Karthik Balaguru et al., Future HurricaneStorm Surge Risk for the U.S. Gulf
    357. Shoshone-Bannock Tribes of the Fort Hall Reservation v. Land & Minerals            and FloridaCoasts Based on Projections of Thermodynamic PotentialIntensity,
         Mgmt., Dept of the Interior, No. 4:20-cv-00553-BLW (D. Idaho Dec. 5,               138 CLIMATIC CHANGE 99 (2016).
         2020).                                                                        366. Thomas Wahl et al., IncreasingRisk of CompoundFloodingFrom Storm Surge
    358. James H. Yiin et al., A Study Update of Mortality in Workers at a Phosphate        and RainfallforMajor US Cities, 5 NATURE CLIMATE CHANGE 1093 (2015).
         Fertilizer Production Facility, 59 AM. J. INDUS. MED. 12 (2016), https://     367. Hayhoe et al., supra note 362.
         www.ncbi.nlm.nih.gov/pmc/articles/PMC4913354/.                                368. Id.
    359. Id.                                                                           369. Shimon Wdowinski et al., IncreasingFlood Hazardin Coastal Communities
    360. Kwang Pyo Kim et al., Characterization of RadioactiveAerosols in Florida           Due to Rising Sea Level: Case Study of Miami Beach, Florida, 126 OCEAN
         Phosphate Processing Facilities, 40 AEROSOL SCE & TECH. 410 (2006),                COASTAL MGMT. 1 (2016).
         https://doi.org/10.1080/02786820600643313.                                    370. Hayhoe et al., supra note 362.
    361. Rebecca Lindsey, Climate Change: Global Sea Level, CLIMATE.GOV (Oct.          371. Claudia Tebaldi et al., Modelling Sea Level Rise Impacts on Storm Surges Along
         7,    2021),   https://www.climate.gov/news-features/understanding-climate/        US Coasts, 7 ENV T RSCH. LETTERS art. 014032 (2012), https://iopscience.
         climate-change-global-sea-level.                                                   iop.org/article/10. 1088/1748-9326/7/1/014032/pdf.



    52 ELR 10148
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is critical to dam integrity and preventing large-volume                          amounts of phosphogypsum and process wastewater to
releases to the environment.                                                      the aquifer below.383
   Sinkholes occur when the sand, clay, shells, or other                               Florida adopted its Phosphogypsum Management Rule
near-surface rock subsides or collapses into fissures and                         in 1993, which established a performance standard based
cavities in the underlying carbonic rock.372 This happens                         on the permitted zone of discharge.384 Stacks are required to
when the carbonic rock that forms karst geography dis-                            be designed, operated, and maintained such that ground-
solves after coming into contact with acidic rainwater, sur-                      water and surface water quality standards are not violated
face water, or groundwater.373 Soluble rock underlies nearly                      beyond the zone.385 The state has entered into numerous
18% of the total area of the United States,374 but Florida-                       consent orders and corrective action plans for permit viola-
which has the most phosphogypsum stacks of any state-is                           tions. For instance, after the 2016 New Wales sinkhole,
also the most prone to sinkholes. For example, in 2012,                           where Mosaic Fertilizer violated its permit's vertical zone
Florida experienced a massive sinkhole event leading to                           of discharge by discharging into the Floridan aquifer, the
hundreds of collapse-sinkholes across the state following                         FDEP and Mosaic entered into a consent order directing
record rainfall.375 Sinkholes are of particular concern in                        the company to study methods and technologies to locate
Florida for their direct effect on aquifer vulnerability and                      "zones of weakness, solution cavities, erosion features or
Florida's dependence on groundwater for its water needs.376                       other subsurface anomalies" that may cause sinkholes.386
   There have been major sinkholes underneath phospho-
gypsum stacks in Florida in the past few decades, releas-
ing millions of gallons of untreated process wastewater                           B.         Stack Owners Have Gone Bankrupt and
and an undetermined amount of phosphogypsum into the                                         Abandoned Their Facilities
Floridan aquifer.377 Remediation of contamination in the
Floridan aquifer is likely not possible, as one study found                       Mulberry Phosphates, Inc. declared bankruptcy in Febru-
"there is uncertainty in the fate of the contaminant waste                        ary 2001, giving the FDEP approximately 48 hours' notice
after the sinkhole collapse."378 Another study called for an                      that it would abandon its Piney Point facility and that the
improved understanding of karst processes and character-                          phosphogypsum stack there was in need of continuous
ization of fast-moving conduit flow patterns.379 While these                      maintenance for which the corporation would be unable
sinkholes released an alarming amount of phosphogypsum                            to provide any funding.387 The total process water and pore
into subsurface waters, at least they were in known, dis-                         volume was 1.2 billion gallons when Mulberry Phosphates
crete, isolated locations where a well-funded and techno-                         declared bankruptcy.388 Since each inch of rain that falls
logically equipped company was responsible for mitigating                         on the facility has been calculated to add approximately
the damage. No such outcome would be likely in the event                          12.5 million gallons of water to the process wastewater vol-
of a sinkhole in a road containing phosphogypsum.                                 ume, a series of reasonably strong rain events adding 12
   While still attempting to remediate the contamination                          to 15 inches, or a 50- or 100-year storm, could overflow
caused by the 2016 sinkhole, the FDEP has authorized a                            part of the berm and collapse the entire structure, releasing
231-acre expansion of the same phosphogypsum stack.380                            several million gallons of process water and some portion
And remediation of contamination in the Floridan aqui-                            of the pore waters as a slurry and putting more than 60
fer is likely not even possible, as one study found "there                        homeowners in the immediate area in imminent danger
is uncertainty in the fate of the contaminant waste after                         of a spill.389
the sinkhole collapse,"381 and another study called for an                           The state moved to assume receivership in bankruptcy
improved understanding of karst processes and character-                          proceedings, and was then forced to immediately discharge
ization of fast-moving conduit flow patterns.38 2 In addi-                        50 million gallons of process wastewater after only single-
tion to these reported sinkholes, at least two unreported                         lime treatment into adjacent Bishop Harbor.39o Single-lime
sinkhole-like "anomalies" occurred in 2004 and 2013                               treatment raises the process wastewater pH to 4.5 standard
at the same New Wales facility, releasing undetermined                            units and removes most of the metal constituents, but does
                                                                                  not remove enough phosphorus or nitrogen to meet state or



                                                                                  383. Nadim F. FULEIHAN, INVESTIGATION OF 2013 ANOMALY NEW WALES PLAN
372. FDEP, THE FAVORABILITY OF FLORIDAS GEOLOGY TO SINKHOLE FORMATION                  CLOSED NORTH GYPSTACK (2013); REPORT TO CONGRESS, supra note 10, at
     4 (2017).                                                                         12-34 to 12-35.
373. Id. at 7.                                                                    384. FLA. ADMIN. CODE r. 62-673.340 (1993).
374. Praveen Subed et al., Sinkhole Susceptibility Mapping in Marion County,      385. Id.
     Florida: Evaluation and Comparison Between Analytical HierarchyProcess and   386. Consent Order, Florida Dept of Env't Prot. v. Mosaic Fertilizer, LLC, OGC
     Logistic Regression Based Approaches, 9 Sci. REP. art. 7140 (2019).               No. 1356 (Oct. 24, 2016).
375. Id. at 5.                                                                    387. Carl Henderson, Piney Point Phosphate Plant: An Environmental Analy-
376. Id.                                                                               sis 40 (2004) (honors thesis, University of South Florida, St. Petersburg),
377. Id.; see also supra notes 314-16 and accompanying text.                           https://digital.stpetersburg.usf.edu/cgi/viewcontent.cgi?article=1062&cont
378. Sandu et al., supra note 304.                                                     ext=honorstheses.
379. Sandu, supra note 304.                                                       388. Similar to process water in chemical composition, pore water is not ponded,
380. Ardaman & Associates, supra note 22.                                              but rather interspersed throughout the stack. Id. at 41.
381. Sandu et al., supra note 304.                                                389. Id. at 40.
382. Sandu, supra note 304.                                                       390. Id. at 41.


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    federal water quality standards or to be discharged on even                       els above EPA's Safe Drinking Water Act (SDWA)399
    a limited basis to surface waters such as the poorly flushed                      maximum contaminant levels, and multiple city-owned
    Bishop Harbor.391                                                                 groundwater wells are located within four miles of the
        While the state managed the site, it intentionally                            site.400 Surface soil contains arsenic above screening val-
    released 248 million gallons of partially treated process                         ues for site workers and elevated levels of cadmium, chro-
    wastewater into the Gulf of Mexico via 35 barge trips from                        mium, lead, nickel, vanadium, radium-226, radium-228,
    July 20 to November 30, 2003.392 Between 2005 and 2009,                           and associated decay products. Bayou Cossette sediment
     the FDEP drained and lined the ponds atop the stack as part                      is contaminated with arsenic, chromium, and lead above
     of a project to "reclaim" the stack for beneficial reuse. HRK                    screening values for the salt water environment.401
     Holdings acquired the stack in 2006 and allowed it to be
     used for deposition of dredge material from the adjacent Port
    Manatee expansion activities. This attempted beneficial reuse                     C.        EPA Must Regulate Phosphogypsum and Process
     of a phosphogypsum stack has been an utter failure, resulting                              Wastewater Under TSCA
     in multiple liner tears and releases into Bishop Harbor, with a
    2011 leak sending 170 million gallons into Bishop Harbor."39                      Despite a preference for initiating prioritization for sub-
     HRK Holdings informed local officials that the ponds are                         stances listed on the 2014 TSCA Work Plan for Chemical
     again nearing capacity, able to store only an additional 60 mil-                 Assessments,402 EPA retains discretion to initiate prioritization
    lion gallons of water, or 19 inches of rainfall.394 In 2012, HRK                  for substances not on the work plan, like phosphogypsum and
    Holdings filed for bankruptcy.395                                                 process wastewater from phosphoric acid production, since
       Over Easter weekend 2021, the FDEP authorized the                              TSCA regulations require only that 50% of the substances
    discharge of up to 480 million gallons of wastewater from                         currently undergoing risk evaluation are drawn from the work
    one of the ponds. That water contained nitrogen, ammonia,                         plan. Because EPA indicated almost 30 years ago that phos-
    phosphorus, and an undisclosed amount of heavy metals and                         phoric acid production wastes would be subject to a future
    radioactivity. The discharge fueled a red tide bloom in Tampa                     TSCA regulatory program, EPA should now initiate their pri-
    Bay that raged for more than one month and killed tons of                         oritization as high-priority substances under the Act.
    marine life, including endangered and threatened species like                        Rather than study the toxicity, concentration of hazardous
    the Florida manatee. On August 25, 2021, a court authorized                       constituents at various U.S. phosphogypsum stacks, exposure,
    the emergency appointment of a receiver, citing imminent                          and other health and environmental effects relevant to an
    harm and HRK's inability to afford averting disaster.396                          unreasonable risk finding, the majority of current, published
       Mississippi Phosphates Corporation filed for Chapter 11                        phosphogypsum research is centered on potential commercial
    bankruptcy in December 2014, ceasing plant operations at                          uses that are already banned by EPA under the NESHAP due
    the time and leaving more than 700 million gallons of pro-                        to the risk of widespread radon exposure. With such misdi-
    cess wastewater stored at the facility, with an additional nine                   rected science, many people living near a phosphogypsum
    million gallons generated for every one inch of rainfall.397 The                  stack may not even know what the substances in the stack
    bankruptcy settlement established a trust that was used to pay                    are, let alone the risks to which they are being subjected. In
    for process wastewater treatment overseen by the state, but the                   this respect, the state-funded Florida Industrial and Phosphate
    funds were depleted on February 10, 2017. EPA's Emergency                         Research Institute, which advocates for a reversal of the limited
    Response and Removal Program took control of the facility on                      ban,o3 might as well be a trade association.
    February 11, 2017, and wastewater treatment is occurring at                           Since the 1990 report to Congress, updated information
    a rate of approximately 2,000,000 gallons per day at a cost to                    on population-level exposure risks for radionuclide constitu-
    taxpayers of approximately $1,000,000 per month.398                               ents and radon emissions for phosphogypsum stack systems
       Groundwater beneath the plant is contaminated with                             is necessary, as the population within 80 kilometers of each
    arsenic, cadmium, lead, selenium, and thallium at lev-                            phosphogypsum stack has likely greatly increased, as well as
                                                                                      the number and size of the stacks themselves. Updated toxicity
                                                                                      information using the toxicity characteristic leach procedure,
                                                                                      which replaced the EP, is also necessary. Should EPA designate
    391. Id.
    392. CHUANMIN Hu      & FRANK    E. MULLER-KARGER, UNIVERSITY OF SOUTH            phosphogypsum and process wastewater as high-priority sub-
         FLORIDA, SATELLITE MONITORING OF THE FDEP GULF DISPERSAL OF THE              stances and conduct a risk evaluation, a testing rule under §4404
         PINEY POINT TREATED WASTEWATER  2 (2003).
    393. Josh Salman, HRK Knew of TearingProblems Before Piney Point Spill, BRA-
         DENTON HERALD (Sept. 25, 2012), https://www.bradenton.com/news/busi-
         ness/article34551327.html.                                                   399.42 U.S.C. §§300f to 300j-26, ELR STAT. SDWA §§1401-1465.
    394. Craig Pittman, PhosphateWaste ThreatensBay Again, So What ifWe BottledIt?,   400. U.S. EPA, NATIONAL PRIORITIES LIST (NPL): MISSISSIPPI PHOSPHATES
         FLA. PHOENIX (Oct. 1,2020), https://www.floridaphoenix.com/2020/ 10/01            CORPORATION (2018), https://semspub.epa.gov/work/HQ/197100.pdf.
         phosphate-waste-threatens-bay-again-so-what-if-we-bottled-it/.               401.Id.
    395.In re HRK Holdings, LLC, No. 8:12-bk-09868 (Bankr. M.D. Fla. filed            402. U.S. EPA, A WORKING APPROACH FOR IDENTIFYING POTENTIAL CANDI-
         June 27, 2012).                                                                   DATE CHEMICALS FOR PRIORITIZATION (2018), https://www.epa.gov/sites/
    396. Fortress 2020 Landco, LLC v. HRK Holdings, No. 2020-CA-004459-AX                  production/files/20 18-09/documents/preprioritizationwhitepaper_
         (Cir. Ct. Fla. Aug. 25, 2021).                                                    9272018.pdf; 40 C.F.R. §702.5(c) (2020).
    397. U.S. EPA, MISSISSIPPI PHOSPHATES CORPORATION SITE-PASCAGOULA,                403. See Florida Industrial and Phosphate Research Institute, Phosphogypsum
         MISSISSIPPI FACTSHEET (2017), https://www.epa.gov/sites/production/               and the EPA Ban, https://fipr.floridapoly.edu/about-us/phosphate-primer/
         files/2017-03/documents/mpc_factsheetlfinalv2.pdf.                                potential-phosphogypsum-use.php (last visited Dec. 22, 2021).
    398. Id.                                                                          404. 15 U.S.C. §2603.



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will contribute to the development of information necessary to                substances not only may-but do-pose an unreasonable risk
conduct the risk evaluation.                                                  of injury to human health and the environment.
   The need for a §4 testing rule is only further under-
scored should EPA find that there are not sufficient facts                    3.       Other Federal Regulatory Programs Are
to warrant initiation of prioritization. Further, should EPA                           Inadequate to Manage the Risk
initiate prioritization but find that the development of new
information is necessary to finalize a prioritization deci-                   Under TSCA §9, if a chemical substance's risk of injury to
sion for phosphogypsum and process wastewater, EPA                            human health and the environment is managed effectively
should exercise its authority under §4(a)(2)(B) to obtain                     under a different statute, regulation under TSCA is not neces-
that information and establish priority.                                      sary. Section 9 also directs that if EPA determines that a risk
                                                                              to health or the environment associated with a chemical sub-
1.      The Necessary Information Is                                          stance or mixture could be eliminated or reduced to a suffi-
        Reasonably Available                                                  cient extent by actions taken under those other federal laws,
                                                                              EPA must use those other laws unless EPA determines it is in
To initiate prioritization, TSCA regulations require only that                the public interest to protect against such risk by actions taken
EPA believe information on relative hazard and exposure                       under TSCA.
potential necessary to prioritize the substance is reasonably                    With the exception of Subtitle C regulation under RCRA,
available. The information and findings in EPA's 1990 Report                  from which phosphogypsum and process wastewater remain
to Congress on Special Wastes From Mineral Processing and                     Bevill-excluded, other federal regulatory programs remain
any supplemental analysis concerning the risks of phosphogyp-                 inadequate to manage the risk of injury to human health and
sum and process wastewater to human health and the environ-                   the environment. EPA has concluded that the CWAs NPDES
ment are certainly reasonably available, and provide enough                   permitting requirements govern point source discharges to
information on the risks of these substances to not only initi-               surface waters, but not groundwaters.406 The SDWA's regula-
ate prioritization, but also to make a high-priority designation              tions apply only to public water systems, with limited enforce-
based on the exposure potential and substantial hazard find-                  ment at the tap. And the CAA's NESHAP remains minimally
ings in that report alone, especially when considering that both              protective for radon emissions, containing no prescriptive
the size of the stacks and exposed populations have greatly                   requirements other than the numerical radon flux standard
increased since 1990. Once EPA initiates the prioritization                   tested once at the time of closure and imposing no pollution
process, however, any information EPA has obtained or any                     control technology.
findings EPA has made, including those in the 1990 report
to Congress, concerning the costs to the industry of certain                  4.       Feasible Alternatives to Current Management
regulatory, management, or disposal alternatives, must not be                          Are Available
considered under TSCA as amended by the Lautenberg Act.
                                                                              There are alternatives that EPA can explore after it fully evalu-
                                                                              ates the risk posed by these substances, including:
2.      EPA Has Already Determined That a
        Risk Management Regulatory Program                                            1. Taking advantage of the high mobility of metal and
        Is Appropriate                                                                   nonmetal ions in phosphogypsum when leached by
                                                                                         implementing a closure technique where the entire
Regulation of chemical substances under TSCA involves                                    stack is rinsed with a "clean" but non-potable water,
a three-step process: (1) evaluation of the substance's risk to                          the leachate collected, and treatedo7
human health and the environment, without consideration
                                                                                      2. Requiring new stack expansions like the 231-acre
of costs; (2) a determination that the risk is unreasonable;
                                                                                         expansion planned for New Wales to have double
and (3) promulgation of regulations necessary to minimize
                                                                                         geomembrane liners and leak detection leachate sys-
or manage the unreasonable risk posed by the chemical sub-
                                                                                         tems in place
stance so that the risk is no longer unreasonable. EPA's 1991
Bevill determination not only exempted phosphogypsum                                  3. Requiring facilities to use the hemihydrate wet pro-
and process wastewater from RCRA Subtitle C regulation, it                               cess rather than the dihydrate process, because it pro-
also determined that a TSCA regulatory program was more                                  duces fewer impurities in both the phosphoric acid
appropriate, rather than a RCRA Subtitle D program or no                                   product and phosphogypsumo-
regulation at all.4o5 Inherent to this determination that TSCA
regulation is appropriate is an unreasonable risk determina-
tion. EPA's investigation of a TSCA regulatory program to
manage phosphogypsum and process wastewater means these                       406. U.S. EPA, INTERPRETIVE STATEMENT ON THE APPLICATION OF THE NP-
                                                                                   DES PROGRAM TO RELEASES OF POLLUTANTS FROM POINT SOURCES TO
                                                                                   GROUNDWATER    (2019), https://nepis.epa.gov/Exe/ZyPDF.cgi/P1010I11.
                                                                                   PDF?Dockey=P1010I11.PDF.
                                                                              407. Carter et al., supra note 21, at 200.
405. Special Wastes From Mineral Processing (Mining Waste Exclusion); Final   408. PACIFIC ENVIRONMENTAL        SERVICES,   INC.,   BACKGROUND REPORT:   AP-42
     Regulatory Determination and Final Rule, 56 Fed. Reg. 27300, 27316            SECTION 5.11 PHOSPHORIC ACID 4, https://www3.epa.gov/ttn/chief/ap42/
     (June 13, 1991).                                                              ch08/bgdocs/b08s09.pdf.



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             Requiring double-lime treatment and reverse osmo-                       to establish specific regulations to control phosphoric acid pro-
             sis for stored process wastewater and stack leachate                    duction wastes as promised under either RCRA or TSCA is
                                                                                     now more than 30 years running.
         5. Requiring a soil, synthetic, or artificial turf cover for
            inactive portions of stacks                                                 Given the substantial present and potential hazards to
                                                                                     human health posed by these improperly managed wastes,
         6. Regulating the quality of phosphate ore mined, as                        especially in low-wealth and BIPOC communities, and EPAs
            the radioactivity of phosphogypsum is dependent on                       stated commitment to environmental justice, EPA must reverse
            the radium content of the mined phosphate ore itself                     its Bevill regulatory determination for phosphogypsum and
         7. Requiring phosphoric acid production limits to limit the                 process wastewater and subject these hazardous waste moun-
             amount of phosphogypsum generated                                       tains to RCRA Subtitle C regulations. Further, given the mag-
                                                                                     nitude of potential exposure, EPA must begin the prioritization
V.       Conclusion                                                                  process for a phosphogypsum and process wastewater risk eval-
                                                                                     uation under TSCA §6 and issue a §4 testing rule to develop
                                                                                     information with respect to health and environmental effects
The damage already caused by phosphogypsum and process                               relevant to an unreasonable risk finding for disposed phospho-
wastewater disposal is a consequence of this country's "most                         gypsum, and a TSCA Significant New Use Rule under §5 for
dramatic environmental regulatory loophole."o9 EPAs failure                          phosphogypsum used in road construction.




409. Jane Kloeckner, Developing a Sustainable HardrockMining and MineralPro-
      cessing Industry: Environmental and Natural Resource Law for Twenty-First
      Century People, Prosperity, and the Planet, 25 J. ENV'T L. & LITIG. 123, 131
      (2010) (quoting Oversight Hearing to Consider Whether PotentialLiability
      Deters Abandoned HardrockMine Cleanup:Hearing Before the S. Comm. on
      Environment and Public Works, 109th Cong. 70 (2006) (statement of Velma
      M. Smith, Senior Policy Associate, National Environmental Trust)).



52 ELR 10152
                                                                APPX ATT_V4_1988
                                                          ENVIRONMENTAL LAW REPORTER                                                        2-2022
    3/4/25, 9:41 AM                                                 2023 Biennial Report Summary Results for National | US Environmental Protection Agency
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                          An official website of the United States government.




                   You are here: Biennial Report Summary
                   => 2023 Biennial Report Summary Results for National

                   2023 Biennial Report Summary Results for National
                   Criteria Name Criteria Value
                   Location          National
                   Report Cycle      2023

                   The Biennial Report Summary provides the number of hazardous waste generators, managers, shippers, and receivers and the total quantity, in
                   tons, of hazardous waste generated, managed, shipped, and received for the reporting year and State specified. The data is presented in
                   alphabetical order by State Name, but may be reordered by clicking the column name of interest.

                   The individual sites that comprised the summary information may be ascertained in a number of ways. To see the quantity of hazardous waste
                   generated, managed, shipped, and received for each individual site, click the State name (or National) of interest. To see individual sites engaged
                   in a specific activity (i.e., generation, management, shipments, or receipts), click the quantity associated with the activity and State of interest.




APPX ATT_V4_1989
                   The individual sites that contributed to that specific activity will be listed.

                   69 items found, displaying 1 to 59.[First/Prev] 1, 2 [Next/Last]
                         Location Name              # of        Generated            # of             Managed               # of           Shipped            # of        Received
                                                   Genrs         (Tons)             Mngrs              (Tons)              Shprs            (Tons)           Recvrs        (Tons)
                   * NATIONAL *                     18,731        32,219,747               804          35,376,446          18,602           6,278,457           451       6,028,906
                   ALABAMA                             237            753,754                14             599,842             234            224,967            10         468,153
                   ALASKA                                38              2,718                5                  270              38              2,610               2          209
                   AMERICAN SAMOA                          0                  0               0                     0              0                    0             0              0
                   ARIZONA                             181             82,753                 8                5,938            178              87,541               8        8,436


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    3/4/25, 9:41 AM                                                2023 Biennial Report Summary Results for National | US Environmental Protection Agency
                                   USCA Case #25-1087    Document #2105058       Filed: 03/10/2025   Page 460 of 472
                       Location Name      # of     Generated      # of     Managed         # of    Shipped       # of                                            Received
                                         Genrs        (Tons)    Mngrs       (Tons)        Shprs     (Tons)     Recvrs                                             (Tons)
                   ARKANSAS                          458             391,674                21             578,622             451            259,243        5      301,101
                   CALIFORNIA                     4,428              226,445                46              94,742           4,395            296,059       52      126,504
                   COLORADO                          144               69,569                4              66,893             145              85,141       5       79,146
                   CONNECTICUT                       278               32,612               10              12,134             277              32,099       6       11,793
                   DELAWARE                           85                6,416                3                  516              85              5,902       0              0
                   DISTRICT OF                        37                1,799                0                     0             37              1,789       0              0
                   COLUMBIA
                   FLORIDA                           375               62,592               20              28,751             376              48,558      16       14,545
                   GEORGIA                           304               66,525                8                  440            303              66,308       5          445
                   GUAM                                 8                  221               1                     2              8                 170      1              91
                   HAWAII                             39             544,648                 2             544,063               38                 561      1              24
                   IDAHO                              43                6,412                3              30,994               43              9,126       3       32,140
                   ILLINOIS                          707             315,025                18             364,962             704            180,585       17      225,005
                   INDIANA                           468             862,215                36          1,251,054              462            397,492       11      645,924




APPX ATT_V4_1990
                   IOWA                              158               53,311                6                  859            158              52,620       4          220
                   KANSAS                            209           1,052,905                26          1,100,616              205              89,675       4      137,710
                   KENTUCKY                          256             152,231                19             146,419             254            177,265        8      130,881
                   LOUISIANA                         414           4,658,831                24          4,505,191              415            494,926       10      339,250
                   MAINE                             105                2,545                3                    76           106               2,628       2        2,110
                   MARYLAND                          347               31,891                9              24,119             347              36,760       5       32,404
                   MASSACHUSETTS                     538               46,166                8                4,034            537              66,924       8       17,565
                   MICHIGAN                          503             319,789                19             323,835             501            335,475       22      339,496
                   MINNESOTA                         280             143,133                22             109,849             277              40,548      10        6,322
                   MISSISSIPPI                       330           1,263,267                 7          1,185,536              324              96,048       2       19,228

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    3/4/25, 9:41 AM                                                2023 Biennial Report Summary Results for National | US Environmental Protection Agency
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                      Location Name      # of     Generated      # of     Managed         # of    Shipped       # of                                             Received
                                        Genrs        (Tons)    Mngrs       (Tons)        Shprs     (Tons)     Recvrs                                              (Tons)
                   MISSOURI                          389             134,826                12             280,954             387              86,123      15      231,674
                   MONTANA                            31               12,503                0                     0             31             11,284       0              0
                   NAVAJO NATIONS                       1                     4              0                     0              1                    4     0              0
                   NEBRASKA                           92               23,603                6              37,963               91             36,310       3       42,171
                   NEVADA                            160               15,938                7              91,280             160              20,395       5       96,024
                   NEW HAMPSHIRE                     155                3,990                2                    37           155               3,736       0              0
                   NEW JERSEY                        527             153,985                11             116,314             523            184,138        8      150,825
                   NEW MEXICO                         81                4,923                5                1,745              82              7,917       4        4,614
                   NEW YORK                          844             156,782                34              55,911             840            160,721       19       58,756
                   NORTH CAROLINA                    427             113,997                10              13,270             427            129,532       11       26,040
                   NORTH DAKOTA                       28             346,323                 2             344,747               28              1,537       2              86
                   NORTHERN                             0                     0              0                     0              0                    0     0               0
                   MARIANAS
                   OHIO                              690           1,711,940                38          1,492,103              681            836,935       22      664,048




APPX ATT_V4_1991
                   OKLAHOMA                          200               91,455               14             256,701             199              85,918       8      250,733
                   OREGON                            166               54,248               13              17,794             165              68,562       2       39,684
                   PENNSYLVANIA                      765             216,892                34             311,167             768            189,228       21      292,472
                   PUERTO RICO                        82                6,919                2                  173              81              7,106       1          343
                   REGION 01 PURVIEW                    0                     0              0                     0              0                    0     0              0
                   REGION 02 PURVIEW                    0                     0              0                     0              0                    0     0              0
                   REGION 03 PURVIEW                    0                     0              0                     0              0                    0     0              0
                   REGION 04 PURVIEW                    0                     0              0                     0              0                    0     0              0
                   REGION 05 PURVIEW                    0                     0              0                     0              0                    0     0              0
                   REGION 06 PURVIEW                  33                   446               0                     0             33                 445      0              0

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    3/4/25, 9:41 AM                                                2023 Biennial Report Summary Results for National | US Environmental Protection Agency
                                     USCA Case #25-1087    Document #2105058       Filed: 03/10/2025   Page 462 of 472
                         Location Name      # of     Generated      # of     Managed         # of    Shipped       # of                                          Received
                                           Genrs        (Tons)    Mngrs       (Tons)        Shprs     (Tons)     Recvrs                                           (Tons)
                   REGION 07 PURVIEW                     0                    0              0                     0              0                    0    0               0
                   REGION 08 PURVIEW                     0                    0              0                     0              0                    0    0               0
                   REGION 09 PURVIEW                     3                  55               0                     0              3                  55     0               0
                   REGION 10 PURVIEW                     3                 118               0                     0              3                 118     0                0
                   RHODE ISLAND                         77              4,766                4                  157              77             12,035      4        10,411
                   SOUTH CAROLINA                      267           151,644                 9             219,653             259            143,229       6       194,308
                   SOUTH DAKOTA                         35              1,917                3                    23             35              1,977      1               82
                   TENNESSEE                           273           237,239                51             154,727             265              78,784      11       69,730

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                            STATE OF FLORIDA DEPARTMENT
                            OF ENVIRONMENTAL PROTECTION




 IN RE:

 HRK Holdings, L.L.C.’s (HRK)
 a.k.a. Eastport Terminal                                            OGC File No. 21-0323
                                       _____________/



                                 EMERGENCY FINAL ORDER

          Under Section 120.569(2)(n) of the Florida Statutes, and upon the following findings
 of fact, the State of Florida Department of Environmental Protection (Department) enters
 this Emergency Final Order (Order), including Findings of Fact and Conclusions of Law, in
 response to the imminent or immediate danger to the public health, safety, and welfare of
 the citizens of the State of Florida resulting from a potential breach in the liner at the Eastport
 Terminal facility.

                                      FINDINGS OF FACT

          1.     HRK Holdings, L.L.C.’s (HRK) is responsible for operation of the closed
 phosphogypsum stacks at the former Piney Point facility, now operated as the Eastport
 Terminal facility (Facility or Site), located in Manatee County, Florida. HRK is authorized to
 manage operations at the Facility under the Department’s Administrative Agreement
 FL0000124-003-AA (hereinafter “HRK AA”), as well as Administrative Agreement, OGC
 No. 06-1685, as amended, hereafter known as the Site Comprehensive Administrative
 Agreement (SCAA) and NPDES Permit No. FL0000124-003-AA. The HRK AA addresses
 the management of wastewater and stormwater at the Facility, via authorized outfall
 structures 001, 002 & 003, along with closure related operation and maintenance
 requirements. The SCAA addresses, among other provisions, HRK’s long-term care
 obligations at the site, and prior approvals for use of three of the lined reservoir




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 compartments on top of the closed phosphogypsum stack for management and disposal
 of Port Manatee dredge material and clarification of transport seawater.
       2.     The 466 acre phosphogypsum stack system (hereinafter “System”), which
 includes the phosphogypsum stack with HDPE lined reservoir compartments discussed
 below, plus the south cooling pond system, north cooling pond system and associated
 lined stormwater ponds, was closed in 2010 based on the requirements for closing
 Systems under Chapter 62-673, Florida Administrative Code (F.A.C.). The top of the
 closed stack was constructed with various top gradient stormwater areas and four 80-mil
 HDPE lined reservoir compartments. Process water continues to be managed separately
 in the new gypsum stack north (NGS-N) lined reservoir compartment. The remaining
 three lined compartments only contained rainwater run-off prior to commencement of
 dredge operations and are designated as the: new gypsum stack south (NGS-S), old
 gypsum stack north (OGS-N), and old gypsum stack south (OGS-S) compartments. The
 OGS-S, OGS-N, & NGS-S compartments were subsequently used as an alternate
 disposal area for the management of dredge materials and for clarification of dredge
 decant water as authorized by Port Manatee Permit Modification No. 0129291-016-EM.
       3.     HRK and Port Manatee executed an April 19, 2007, Dredged Materials
 Containment Agreement to address their operating, maintenance and related
 responsibilities for the management of dredge materials, focusing initially on Port
 Manatee’s then planned Berth 12 construction dredging project. The Berth 12 dredging
 project began on April 22, 2011, with HRK performing operational and monitoring
 requirements for dredge disposal operations at the Site. On May 11, 2011, HRK reported
 increased flows, conductivity, and chloride concentrations in the buried drains based on
 monitoring that was required specifically for the approved dredge disposal operations at
 the Site. Ultimately, the Department issued an Emergency Final Order (EFO No. 11-
 0813) that required HRK to take actions to protect the integrity of the stack system and
 its impoundments, and authorized controlled emergency discharges as needed to protect
 the integrity of the System, including its impoundments, and to protect public health and
 safety, and waters of the state from a potential catastrophic release. The site conducted
 emergency discharges of 169 MGal consisting primarily of dredged seawater with
 detectable process water constituents, and prevented an uncontrolled failure of the stack



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 system and its impoundments. HRK completed grouting and repair operations to the
 stack system and its impoundments by July 2011 so that the Port Manatee Berth 12
 construction dredging project was then completed, and later completed repairs and
 cleanup operations for onsite areas and offsite drainage ditches that contained solids from
 the emergency discharge and turbidity from the dredged seawater.
        4.     The site currently has options for discharges from the site to both freshwater
 locations, and an additional discharge option to marine surface waters of the state. The
 freshwater discharge locations include outfalls 001 and 003, which are NPDES permitted
 discharge locations to freshwater drainage ditches and then to Bishop Harbor, a Class III
 Outstanding Florida Waterbody (OFW) in Tampa Bay; and 002 which discharges to Piney
 Creek which subsequently flows to Tampa Bay. The existing dredge related decant
 structures provide an additional discharge location that is used to transport seawater from
 prior dredging operations and subsequent rainfall for discharge into Class III marine
 surface waters at Berth 12 in Manatee Harbor.
        5.     On March 25, 2021, HRK reported increased flow and specific conductance
 (conductivity) measurements in the buried seepage interceptor drains that surround the
 System and flow to the Structure No. 1 pump station (Structure 1) at the Site. Based on
 HRK’s information and a Department site visit conducted on the evening of March 25, 2021,
 it appears that increased flows and conductivity measurements may indicate the presence
 of a leak from the Site’s NGS-S lined compartment. The NGS-S compartment contains
 about 480 million gallons (MGal) as a mixture of seawater and remnant process water from
 the historical fertilizer manufacturing operations at the site. HRK’s reported information
 identifies the potential for a leak that may be developing likely in the NGS-S lined
 compartment, or elsewhere in the System. HRK and their third-party engineer are reviewing
 conditions at the site, to identify any response actions and repairs that may be necessary.
        6.     Since the March 25, 2021, report HRK has continued increased monitoring of
 the drain flow rates and conductivity, pH, and other parameters to characterize the drain
 flow at Structure 1 and at selected cleanout locations within the Site’s drain system. The
 drain conductivity, pH, and other characteristics indicate that the drain flows contain elevated
 conductivity consistent with the introduction of seawater remaining in the NGS-S
 compartment from the 2011 dredge operation. The NGS-S also contains initial transfer of



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 72 to 107 MGal of process water that was transferred by HRK initially beginning in August
 2012 from the NGS-N compartment to the NGS-S, followed by subsequent smaller transfers
 conducted as needed to ensure that the NGS-N had safe-storage capacities in the event of
 a hurricane or other seasonally expected extreme rainfall events.
        7.     Department inspections show that the quality of the mixture of seawater and
 process water in the NGS-S (Mixed Seawater) has moderated over time, now supporting
 fish, other aquatic organisms, and waterfowl that frequent the NGS-S compartment during
 at least the past five years. Department water quality results from the NGS-S compartment
 in 2019 and since indicate the presence of total dissolved solids, chlorides, and conductivity
 on the order of 14,000 mg/L, 5,900 mg/L, and 21,738 umhos/cm, respectively, indicative of
 the seawater from the 2001 Berth 12 construction project. The NGS-S also contains
 remnant fertilizer constituents including approximately 160 mg/L of total phosphorus and
 230 mg/L of total nitrogen. The most recent pH results from the last seven days indicates
 that pH ranges from 4.7 to 5.3 s.u. in the NGS-S, which is below the applicable lower pH
 standard of 6.5 for marine waters. Total ammonia nitrogen (TAN) is above the marine Class
 III water quality standard assuming a pH less than 6.5 s.u., and expected water
 temperatures. The water quality for other trace constituents that were detected in the NGS-
 S Mixed Seawater were all below or within Class III marine water quality standards in
 Chapter 62-302, F.A.C. The process water in the NGS-N compartment also exhibits
 moderated characteristics consistent with aged process water including fertilizer
 constituents, with approximately 350 mg/L of total phosphorus and 310 mg/L of total
 nitrogen, and pH on the order of 4.8 s.u. However, the process water in the NGS-N
 compartment exhibits significantly less seawater influences from the 2011 dredge
 operations at the Site with total dissolved solids, chlorides, and conductivity on the order of
 6,850 mg/L, 850 mg/L, and 9,273 umhos/cm, respectively.
        8.     HRK has explored options for removing process water from the NGS-N
 compartment, and for additional options for removing the Mixed Seawater from the NGS-S
 compartment at the Site, and currently operates a spray evaporation system to remove
 process water located in the NGS-N compartment. HRK is in the process of commencing
 a permitted discharge to the Manatee County Publicly Owned Treatment System (POTW),
 and that discharge is expected to recommence March 30, 2021, following replacement of a



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 faulty flow meter. Near-term but likely rate limited options for managing or removing water
 from the Site include seeking an increased POTW discharge once the performance of the
 currently permitted discharge is established and a determination is confirmed by Manatee
 County of the ability of its POTW to safely accommodate an increased discharge.
        9.     Other options identified by HRK and others for removing process water,
 including the Mixed Seawater from the NGS-S compartment were identified and
 summarized in the Department’s updated October 1, 2020, summary memo on HRK
 Holdings LLC and Piney Point Long-term Care & Water Management. The identified options
 included a variety of treatment and surface water discharge technologies, treatment and
 underground injection control well disposal, as well as options for the resumption of the
 POTW discharge, and expanded spray evaporation systems, all of which would take time
 for implementation ranging from several months for some limited spray evaporation
 increases to those options requiring environmental permitting and onsite construction that
 could take from 6 to 24 months to implement.
        10.    Contingency measures at the site include the ability to transfer a limited
 portion of the 480 MGal of Mixed Seawater from the NGS-S to other lined areas at the Site.
 A Department review of the available contingency areas shows that there is relatively limited
 storage capacity, particularly when compared to the full quantity of Mixed Seawater in the
 NGS-S. The suitable existing lined contingency storage areas are those where control
 structures may be operated or installed to retain water. These contingency areas have
 initially estimated storage capacities of approximately 21, 28, 6, and 7 MGal, respectively in
 the following lined areas: Basin 2 stormwater pond, OGS-N compartment, NGS-N Relief
 Ditch, and the SCP Cap area.         For these lined areas, the total volume of potential
 contingency storage capacity would be less than 65 MGal; however, their activation would
 increase the contaminated process watershed by 80 acres, or an increase in the process
 watershed catchment of approximately 70%. There may be other options for transfer of
 water from the NGS-S, or other System compartments if needed, where a similar industrial
 facility may be able to receive, store, and properly dispose of the mixture of seawater and
 process water; however, it is likely that even with expedited development of emergency or
 contingency options, that implementation of the necessary logistics for transfers to a suitable
 offsite location would take three weeks or more before the transfers could begin.



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        11.    As of March 28, 2021, the drain flow rates and conductivity measurements at
 Structure 1 have remained elevated and the source of these changed conditions has not
 been identified. Given the uncertainty in the source of the increased drain flow rates and
 increased conductivity measurements at Structure 1, there are potential risks associated
 with each of the lined compartments currently storing process water or a mixture of seawater
 and process water, specifically including the process water in the NGS-N compartment and
 the Mixed Seawater in the NGS-S compartment. At the present time, the observations noted
 above are suspected to be from the Mixed Seawater in the NGS-S that appears to be at risk
 of pressurizing the buried drain system at the Site, and potentially causing System instability
 including uncontrolled boils in the lined stormwater ditches, south or west of the OGS-S or
 south and east of the NGS-S, or failure of the gypsum dikes or the earthen dikes that may
 result in an uncontrolled failure and discharge offsite, particularly along the exterior walls of
 OGS-S and NGS-S compartments.
        12.    HRK has taken and continues to take measures, which include increased
 monitoring and pumping from Structure 1 at the Site, monitoring water levels in System
 compartments, including the NGS-S compartment, and relieving head pressures from the
 System drains below the lined stormwater ditches, particularly adjacent to the south wall of
 OGS-S and NGS-S compartments.
        13.    The Department has determined that the condition described in paragraph 11
 above, creates an imminent threat of a potential loss of containment and a catastrophic
 release of large amounts of seawater, mixed process water, and embankment materials, if
 immediate actions cannot be accomplished to reduce the volume of Mixed Seawater in or
 suspected to be leaking from the NGS-S, or loss of containment from other System
 compartments if occurring; and to prevent the accumulation of pressure within the drains
 and associated System components in the affected areas. A catastrophic release of Mixed
 Seawater, process water, and embankment materials from the System could result in
 personal injury or severe property and environmental damage.
        14.    The Department is entering this Emergency Final Order to protect human
 health and safety and to protect the environment from a potential catastrophic failure of the
 containment system at the Facility. Action is necessary to prevent loss of life, personal
 injury, or severe property damage.



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                                  CONCLUSIONS OF LAW

        15.    The Department is empowered to administer and enforce Chapters 373 and
 403 of the Florida Statutes and the rules promulgated and adopted thereunder.
        16.    Based on the findings recited above, it is hereby concluded that the
 emergency caused by the potential breach in the liner system and the resulting conditions
 associated with Mixed Seawater in the NGS-S compartment, or process water primarily in
 the NGS-N compartment and elsewhere in the System, pose an immediate danger to the
 public health, safety, or welfare and requires an immediate order of the Department.
        17.    Under Sections 120.569(2)(n) of the Florida Statutes, the Secretary of the
 Department, or designee, is authorized to issue this Emergency Final Order.


                                           ORDER
 THEREFORE, IT IS ORDERED THAT:

        18.    HRK shall continue to take immediate emergency actions as necessary to
 ensure the stability of all System dikes, berms, and ditches to prevent a containment failure
 and catastrophic release of Mixed Seawater, process water and embankment materials. At
 a minimum, the HRK shall continue pumping and water management operations as needed
 to reduce or mitigate the potential development of pressures within the OGS-S and NGS-S
 wall and associated drain system; to eliminate or reduce potential impacts to the stability of
 the OGS-S and NGS-S stack walls and the OGS-S and NGS-S ditch embankments; to
 continue exploratory operations to locate, isolate, and repair as needed any potential liner
 breaches contributing to the conditions described in paragraph 11 herein, and to continue
 all feasible efforts to implement options for safely removing process water from the System,
 including any expedited efforts that may be needed to remove the Mixed Seawater from the
 NGS-S compartment and utilize the associated NGS-S decant water management system
 as needed to prevent a containment failure at the Site.
        19.    If HRK determines, based on recommendation of a third party registered
 professional engineer, that (1) the immediate emergency actions -described in Paragraph
 18 above, along with other emergency actions to prevent destabilization of containment



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 structures within the System, are not adequate to contain Mixed Seawater within the NGS-
 S or process water in the NGS-N without a risk of a catastrophic release and (2) there is no
 feasible alternative, then HRK is hereby approved to first begin temporarily discharging the
 Mixed Seawater through the NGS-S decant structure to Class-III marine waters of the state
 at Port Manatee as a bypass pursuant to NPDES Permit No. FL0000124003-AA-. Such a
 bypass would potentially avoid an emergency discharge to Bishop Harbor, an Outstanding
 Florida Water. If the bypass does not alleviate the risk of catastrophic release, then as a
 last option, HRK is hereby may discharge via Outfall 003, or otherwise to any portion of the
 unnamed ditch along Buckeye Road or downstream of Outfall 003 that leads to Bishop
 Harbor so as to avoid or reduce the amount of an uncontrolled release that may otherwise
 result from a loss of containment and unpermitted discharge to surface waters of the state.
 The bypasses/discharges specified herein are hereinafter referred to as “Emergency
 Temporary Discharge.” The Emergency Temporary Discharge shall be made solely to
 preserve the integrity of the System and shall be subject to the conditions further specified
 herein. Notwithstanding an Emergency Temporary Discharge hereunder, all feasible efforts
 to locate and repair as needed any liner breaches, or other sources of leakage within System
 containment areas shall be continued.
        20.    Prior to commencing an Emergency Temporary Discharge, HRK shall inspect
 all downstream conveyances to ensure no impedances exist that may cause adverse
 flooding or harm to public safety, health, welfare, or the property of others based on the
 expected range of emergency discharge flow rates. HRK shall notify the Department of the
 result of such an inspection of the downstream conveyances to Bishop Harbor, including
 any impedances that may cause adverse flooding impacts as noted above, prior to
 discharging to these conveyances. The Emergency Temporary Discharge shall be operated
 to reduce or not cause adverse flooding or harm to public safety, health, welfare, or the
 property of others. This discharge shall not cause adverse scouring to and excessive
 sedimentation of either Manatee Harbor or Bishop Harbor.
        21.    HRK shall provide a status report, at least once every 24 hours, during the
 effective period of this Emergency Final Order that shall include, at a minimum, the following
 information: 1) Number, location, capacity, and types of pumps operating for emergency
 purposes within the System; 2) Condition of the System containment including the south



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 walls of the OGS-S and NGS-S compartments, the earthen ditch embankments, and the
 System stormwater ditches and drains; 3) Location, condition and number of boils detected,
 if any; 4) Any other adverse condition within the System; 5) Response actions taken since
 the last status report; 6) Planned response actions for the upcoming or subsequent periods;
 7) Estimated flow rates or ranges for any Emergency Temporary Discharge; and 8)
 Representative water quality data including turbidity, pH, and specific conductance, as
 measured for the Emergency Temporary Discharge.
        22.    HRK shall submit information required herein to the Department’s
 Phosphate Management Program by electronic mail, or as otherwise directed, to the
 Tallahassee and Tampa area offices.
        23.    After any Emergency Temporary Discharge has ceased, HRK shall inspect
 the System, and any downstream conveyances to ensure no adverse impacts have
 occurred, or to propose any necessary corrective measures in the event of adverse
 impacts to public safety, health, welfare, or the property of others. If corrective measures
 are needed for any adverse impacts, HRK shall submit a detailed plan to correct these
 impacts to the Department within 30 days of cessation of the Emergency Temporary
 Discharge and shall implement such plan, as approved, within 15 days of Department
 approval. The System shall also be inspected by HRK’s third party engineer to evaluate
 damage to its component portions, assess integrity of its containment dams and propose
 recommendations for corrective actions.
        24.    This Emergency Final Order shall take effect immediately upon execution by
 the Secretary of the Department or an authorized designee, and shall expire on April 30,
 2021, unless modified, extended, or cancelled by further Order.
        25.    This Emergency Final Order does not preclude the Department from
 enforcing any criminal or civil liabilities which may arise under Florida law as related to
 matters herein, nor does it relieve HRK of the need to comply with applicable federal,
 state, or local laws, rules, or ordinances.

                                    NOTICE OF RIGHTS

               Pursuant to Section 120.569(2)(n) of the Florida Statutes, any party
 adversely affected by this Order has the right to seek an injunction of this Order in circuit


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 court or judicial review of it under Section 120.68 of the Florida Statutes. Judicial review
 must be sought by filing a notice of appeal under Rule 9.110 of the Florida Rules of
 Appellate Procedure, with the Clerk of the Department in the Office of General Counsel,
 Mail Station 35, 3900 Commonwealth Boulevard , Tallahassee, Florida 32399-3000 , and
 by filing a copy of the notice of appeal accompanied by the applicable filing fees with the
 appropriate district court of appeal. The notice of appeal must be filed within thirty days
 after this Order is filed with the Clerk of the Department.
        DONE AND ORDERED on this 29th day of March, 2021 , in Tallahassee, Florida .



                                            FLORIDA DEPARTMENT OF
                                            ENVIRONMENTAL PROTECTION




                                            John J. Truitt
                                            Deputy Secretary, Regulatory Programs
                                            3900 Commonwealth Boulevard
                                            Tallahassee, Florida 32399-3000



 FILED on this date, pursuant to §120 .52 Florida Statutes, with the
 designated Department Clerk, receipt of which is hereby acknowledged .




 CLERK

 DATE: March 29, 2021




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